                           Case 19-15175-abl                        Doc 31             Entered 08/26/19 17:22:59                                 Page 1 of 648


 Fill in this information to identify your case:

 Debtor 1
                     EDWARD STEVEN BURDEKIN
                   __________________________________________________________________
                     First Name                      Middle Name                    Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                    Last Name


                                         ______________________
 United States Bankruptcy Court for the: District of Nevada     District of __________
                                                                                                (State)
 Case number           19-15175
                     ___________________________________________                                                                                                           Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Sum m a ry of Y our Asse t s a nd Lia bilit ie s a nd Ce rt a in St a t ist ic a l I nform a t ion                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Pa rt 1 :      Sum ma rize Your Asse t s


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 200,000.00
                                                                                                                                                                            ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 341,997.50
                                                                                                                                                                            ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                          $ 541,997.50
                                                                                                                                                                            ________________



Pa rt 2 :      Sum ma rize Your Lia bilit ie s



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 60,000.00
                                                                                                                                                                            ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                          $ 70,000.00
                                                                                                                                                                            ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                      +   $ 76,132.86
                                                                                                                                                                            ________________


                                                                                                                                     Your total liabilities               $ 206,132.86
                                                                                                                                                                            ________________



Pa rt 3 :      Sum ma rize Your I nc ome a nd Ex pe nse s


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 25,758.17
                                                                                                                                                                            ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J ..................................................................................................             $ 18,327.98
                                                                                                                                                                            ________________




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
                         Case 19-15175-abl                Doc 31        Entered 08/26/19 17:22:59                     Page 2 of 648
                  EDWARD STEVEN BURDEKIN                                                                                  19-15175
Debtor 1         _______________________________________________________                           Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Pa rt 4 :      Answ e r T he se Que st ions for Adm inist ra t ive a nd Sta t istic a l Re c ords

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
     Yes
     ✔




7. What kind of debt do you have?

     Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
    ✔


           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                       31,666.33
                                                                                                                                       $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                            Total claim


     From Part 4 on Schedule E/F, copy the following:

                                                                                                                               0.00
    9a. Domestic support obligations (Copy line 6a.)                                                        $_____________________


                                                                                                                     70,000.00
                                                                                                            $_____________________
    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

                                                                                                                               0.00
                                                                                                            $_____________________
    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

                                                                                                                               0.00
                                                                                                            $_____________________
    9d. Student loans. (Copy line 6f.)


    9e. Obligations arising out of a separation agreement or divorce that you did not report as                                0.00
                                                                                                            $_____________________
        priority claims. (Copy line 6g.)

                                                                                                                               0.00
    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              +   $_____________________



    9g. Total. Add lines 9a through 9f.                                                                               70,000.00
                                                                                                            $_____________________




    Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
                      Case
Fill in this information      19-15175-abl
                         to identify                 Doc
                                     your case and this      31
                                                        filing:              Entered 08/26/19 17:22:59              Page 3 of 648

Debtor 1
                    EDWARD STEVEN BURDEKIN
                  __________________________________________________________________
                    First Name               Middle Name                Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name               Middle Name                Last Name


                                        ______________________
United States Bankruptcy Court for the: District of Nevada     District of __________
                                                                                    (State)
Case number           19-15175
                    ___________________________________________
                                                                                                                                         Check if this is an
                                                                                                                                             amended filing

Official Form 106A/B
Sche dule A/B: Prope r t y                                                                                                                              12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Pa rt 1 :      De sc ribe Ea c h Re side nc e , Building, La nd, or Othe r Re a l Est a t e You Ow n or H a ve a n I nt e re st I n
1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
    
    ✔    Yes. Where is the property?                             What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                     Single-family home                           the amount of any secured claims on Schedule D:
      1.1. 350   Stonewall Avenue West
           _________________________________________                 Duplex or multi-unit building
                                                                                                                   Creditors Who Have Claims Secured by Property:
           Street address, if available, or other description
                                                                     Condominium or cooperative                   Current value of the Current value of the
                                                                     Manufactured or mobile home                  entire property?     portion you own?
             _________________________________________
                                                                     Land                                          200,000.00
                                                                                                                   $________________   200,000.00
                                                                                                                                     $_________________
                                                                 
                                                                 ✔    Investment property
             Fayetteville             GA 30214                                                                     Describe the nature of your ownership
             _________________________________________
             City                        State      ZIP Code
                                                                     Timeshare                                    interest (such as fee simple, tenancy by
                                                                     Other __________________________________     the entireties, or a life estate), if known.

                                                                 Who has an interest in the property? Check one.
                                                                                                                   Fee  simple
                                                                                                                   __________________________________________

            Fayette  County                                      
                                                                 ✔ Debtor 1 only                                    Check if this is community property
            _________________________________________
             County                                               Debtor 2 only
                                                                  Debtor 1 and Debtor 2 only
                                                                  At least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number:




    If you own or have more than one, list here:                What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                    Single-family home                            the amount of any secured claims on Schedule D:
                                                                                                                   Creditors Who Have Claims Secured by Property.
      1.2. ________________________________________
           Street address, if available, or other description
                                                                    Duplex or multi-unit building
                                                                   Condominium or cooperative                     Current value of the     Current value of the
                                                                    Manufactured or mobile home                   entire property?         portion you own?
             ________________________________________
                                                                    Land                                          $________________        $_________________
                                                                    Investment property
             ________________________________________
             City                    State   ZIP Code
                                                                    Timeshare                                     Describe the nature of your ownership
                                                                    Other __________________________________      interest (such as fee simple, tenancy by
                                                                                                                   the entireties, or a life estate), if known.
                                                                Who has an interest in the property? Check one.
                                                                                                                   __________________________________________
                                                                 Debtor 1 only
             ________________________________________
             County                                              Debtor 2 only
                                                                 Debtor 1 and Debtor 2 only                        Check if this is community property
                                                                 At least one of the debtors and another             (see instructions)

                                                                Other information you wish to add about this item, such as local
                                                                property identification number:




                                                                                                                                                 page 1 of ___
                                                                                                                                                            10
                        Case 19-15175-abl                    Doc 31          Entered 08/26/19 17:22:59                     Page 4 of 648



1.____                                                           What is the property? Check all that apply.              Do not deduct secured claims or exemptions. Put

            ________________________________________
                                                                    Single-family home                                   the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
            Street address, if available, or other description      Duplex or multi-unit building
                                                                    Condominium or cooperative                           Current value of the      Current value of the
                                                                                                                          entire property?          portion you own?
            ________________________________________                Manufactured or mobile home
                                                                    Land                                                 $________________         $_________________

            ________________________________________
                                                                    Investment property
            City                    State   ZIP Code                Timeshare
                                                                                                                          Describe the nature of your ownership
                                                                                                                          interest (such as fee simple, tenancy by
                                                                    Other __________________________________             the entireties, or a life estate), if known.
                                                                                                                         __________________________________________
                                                                 Who has an interest in the property? Check one.
            ________________________________________              Debtor 1 only
            County
                                                                  Debtor 2 only
                                                                  Debtor 1 and Debtor 2 only                              Check if this is community property
                                                                                                                              (see instructions)
                                                                  At least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number:




2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                  200,000.00
                                                                                                                                                    $_________________
   you have attached for Part 1. Write that number here. ...................................................................................... 


Pa rt 2 :      De sc ribe Y our V e hic le s


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
   
   ✔     Yes


    3.1.
                   Ford
            Make: ____________________________                   Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
                    Mustang
            Model: ____________________________                   Debtor 1 only                                          the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
                                   2008                           Debtor 2 only
            Year:                 ____________
                                                                  Debtor 1 and Debtor 2 only                             Current value of the      Current value of the
                                  72000                                                                                   entire property?          portion you own?
            Approximate mileage: ____________                     At least one of the debtors and another
         Other information:
                                                                                                                           5,000.00                  5,000.00
   Condition: Good                                               
                                                                 ✔ Check if this is community property (see               $________________         $________________
                                                                     instructions)



   If you own or have more than one, describe here:

    3.2.           Ford
            Make: ____________________________                   Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
                    F150
            Model: ____________________________                   Debtor 1 only                                          the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
                                   2008                           Debtor 2 only
            Year:                 ____________                                                                            Current value of the      Current value of the
                                                                  Debtor 1 and Debtor 2 only                             entire property?          portion you own?
                                  98000
            Approximate mileage: ____________                     At least one of the debtors and another
         Other information:
                                                                                                                           10,000.00
                                                                                                                          $________________          10,000.00
                                                                                                                                                    $________________
   Condition: Good                                               
                                                                 ✔ Check if this is community property (see
                                                                     instructions)




                                                                                                                                                                   10
                                                                                                                                                              2 of __
                                                                                                                                                         page ___
                           Case 19-15175-abl                             Doc 31              Entered 08/26/19 17:22:59                                    Page 5 of 648




                       ____________________________                           Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
  ____.    Make:
           Model: ____________________________                                 Debtor 1 only                                                           the amount of any secured claims on Schedule D:
                                                                                                                                                        Creditors Who Have Claims Secured by Property.
                                                                               Debtor 2 only
           Year:                             ____________
                                                                               Debtor 1 and Debtor 2 only                                              Current value of the             Current value of the
                                                                                                                                                        entire property?                 portion you own?
           Approximate mileage: ____________                                   At least one of the debtors and another
           Other information:
                                                                               Check if this is community property (see                                $________________                $________________
                                                                                  instructions)




                                                                              Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
 ____      Make: ____________________________
           Model: ____________________________                                 Debtor 1 only                                                           the amount of any secured claims on Schedule D:
                                                                                                                                                        Creditors Who Have Claims Secured by Property.
                                                                               Debtor 2 only
           Year:                             ____________
                                                                               Debtor 1 and Debtor 2 only                                              Current value of the             Current value of the
                                                                                                                                                        entire property?                 portion you own?
           Approximate mileage: ____________                                   At least one of the debtors and another
           Other information:
                                                                               Check if this is community property (see                                $________________                $________________
                                                                                  instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   
   ✔    No
       Yes


                                                                             Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.1.     Make:       ____________________________

            Model: ____________________________                               Debtor 1 only                                                            the amount of any secured claims on Schedule D:
                                                                                                                                                        Creditors Who Have Claims Secured by Property.
                                                                              Debtor 2 only
            Year:       ____________
                                                                              Debtor 1 and Debtor 2 only                                               Current value of the             Current value of the
            Other information:                                                At least one of the debtors and another                                  entire property?                 portion you own?

                                                                               Check if this is community property (see                                $________________                $________________
                                                                                  instructions)



   If you own or have more than one, list here:
                                                                             Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.2.     Make:       ____________________________

            Model: ____________________________                               Debtor 1 only                                                            the amount of any secured claims on Schedule D:
                                                                                                                                                        Creditors Who Have Claims Secured by Property.
                                                                              Debtor 2 only
            Year:       ____________                                                                                                                    Current value of the             Current value of the
                                                                              Debtor 1 and Debtor 2 only                                               entire property?                 portion you own?
            Other information:                                                At least one of the debtors and another
                                                                                                                                                        $________________                $________________
                                                                               Check if this is community property (see
                                                                                  instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                                                      15,000.00
                                                                                                                                                                                        $_________________
   you have attached for Part 2. Write that number here ............................................................................................................................




                                                                                                                                                                                                   3      10
                                                                                                                                                                                              page ___ of __
                              Case 19-15175-abl                                 Doc 31                Entered 08/26/19 17:22:59                                           Page 6 of 648



Pa rt 3 :      De sc ribe Y our Pe rsona l a nd H ouse hold It e m s

                                                                                                                                                                                                   Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                                  portion you own?
6. Household goods and furnishings                                                                                                                                                                 Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.
   Examples: Major appliances, furniture, linens, china, kitchenware
                             Household goods and furnishings
    No
   
   ✔ Yes. Describe. ........


                                                                                                                                                                                                      7,500.00
                                                                                                                                                                                                    $___________________

7. Electronics

   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
    No                     4 small tv's and 2 55" TV's and 1 70" TV.; Smartphone, 2 Desktop Computers,
   
   ✔ Yes. Describe. ........                                                                                                                                                                          500.00
                                                                                                                                                                                                    $___________________

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
   
   ✔ No

    Yes. Describe. .........                                                                                                                                                                         0.00
                                                                                                                                                                                                    $___________________

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
   
   ✔    No
       Yes. Describe. .........                                                                                                                                                                      0.00
                                                                                                                                                                                                    $___________________

10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   
   ✔ No

    Yes. Describe. .........                                                                                                                                                                        0.00
                                                                                                                                                                                                    $___________________

11. Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No                   Wearing Apparel
   
   ✔    Yes. Describe. .........                                                                                                                                                                      100.00
                                                                                                                                                                                                    $___________________


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
       No                       Wedding Band
   
   ✔    Yes. Describe. .........                                                                                                                                                                      100.00
                                                                                                                                                                                                    $___________________

13. Non-farm animals
   Examples: Dogs, cats, birds, horses

       No
                                 3 dogs, 2 horses, 2 goats, 1 turtle, 8 guinea pigs,.
   
   ✔    Yes. Describe. .........                                                                                                                                                                      2,500.00
                                                                                                                                                                                                    $___________________

14. Any other personal and household items you did not already list, including any health aids you did not list

   
   ✔    No
       Yes. Give specific                                                                                                                                                                            0.00
                                                                                                                                                                                                    $___________________
        information...............

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                        10,700.00
                                                                                                                                                                                                    $______________________
   for Part 3. Write that number here ........................................................................................................................................................ 


                                                                                                                                                                                                                    4      10
                                                                                                                                                                                                               page ___ of __
                                Case 19-15175-abl                                         Doc 31                     Entered 08/26/19 17:22:59                                           Page 7 of 648



Pa rt 4 :     De sc ribe Y our Fina nc ia l Asse t s

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                        Current value of the
                                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                                   or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

   
   ✔   No
      Yes .....................................................................................................................................................................   Cash: .......................    $__________________



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
      No
   
   ✔   Yes .....................                 Institution name:


   17.1. Checking account:
                                                 Chase                                                                                55,968.00
                                                 ___________________________________________________________________________________ $__________________
                                                 Chase                                                                                20,431.00
   17.2. Checking account:                       ___________________________________________________________________________________ $__________________

   17.3. Savings account:                        ___________________________________________________________________________________ $__________________

   17.4. Savings account:                        ___________________________________________________________________________________ $__________________

   17.5. Certificates of deposit: ___________________________________________________________________________________                                                                                               $__________________
   17.6. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                    $__________________
   17.7. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                    $__________________
   17.8. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                    $__________________
   17.9. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                    $__________________




18. Bonds, mutual funds, or publicly traded stocks
   Examples: Bond funds, investment accounts with brokerage firms, money market accounts
      No
   
   ✔   Yes ..................
   Institution or issuer name:
                                                                                                                                                                                                                    $__________________
   SPAR  Group, Inc.
   ___________________________________________________________________________________________________________________
                                                                                                                                                                                                                     287.50
                                                                                                                                                                                                                    $__________________
                                                                                                                                                                                                                    $__________________
   E-Trade
   ___________________________________________________________________________________________________________________
                                                                                                                                                                                                                     4,511.00
                                                                                                                                                                                                                    $__________________
                                                                                                                                                                                                                    $__________________
   Ally
   ___________________________________________________________________________________________________________________
                                                                                                                                                                                                                      100.00
                                                                                                                                                                                                                    $__________________



19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture
    No
   
   ✔ Yes. Give specific
       information about                                                                                                                                                                                            $__________________
       them. ........................
                                                                                                                                                                                                                    $__________________
  Name of entity:                                                                                                                                                                         % of ownership:
                                                                                                                                                                                                                    $__________________
                                                                                                                                                                                                                    $__________________
                                                                                                                                                                                                                     200,000.00
   National Store Retail Services, LLC
  _____________________________________________________________________________________________________                                                                                       100
                                                                                                                                                                                              ___________%
                                                                                                                                                                                                                    $__________________
  _____________________________________________________________________________________________________                                                                                       ___________%

  _____________________________________________________________________________________________________                                                                                       ___________%          $__________________


                                                                                                                                                                                                                                         10
                                                                                                                                                                                                                                    5 of __
                                                                                                                                                                                                                               page ___
                               Case 19-15175-abl                      Doc 31   Entered 08/26/19 17:22:59             Page 8 of 648


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
    
    ✔ No

     Yes. Give specific
         information about
         them. ......................
    Issuer name:

    ___________________________________________________________________________________________________________________
                                                                                                                                       $__________________

    ___________________________________________________________________________________________________________________ $__________________

    ________________________________________________________________________________________________________________ $__________________

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
   
   ✔ Yes. List each

         account separately.                Institution name:
         Type of account:

 401(k) or similar plan:           SPAR 401k
                                   _________________________________________________________________________________________________
                                                                                                                                           35,000.00
                                                                                                                                       $__________________
                                                                                                                                       $__________________
 Pension plan:                     _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________

 IRA:                              _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________
 Retirement account:               _________________________________________________________________________________________________   $___________________
                                                                                                                                       $_________________
 Keogh:                            _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________

 Additional account:               _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________
 Additional account:               _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

    
    ✔    No
        Yes ...........................    Institution name or individual:

Electric:                  ____________________________________________________________________________________________________
                                                                                                                                       $___________________

Gas:                       ____________________________________________________________________________________________________        $___________________
                                                                                                                                       $___________________

Heating oil:               _________________________________________________________________________________________________           $___________________
                                                                                                                                       $___________________

Rental unit:               ____________________________________________________________________________________________________        $___________________
                                                                                                                                       $___________________

Prepaid rent:              _________________________________________________________________________________________________           $___________________
                                                                                                                                       $___________________

Telephone:                 _________________________________________________________________________________________________           $___________________
                                                                                                                                       $___________________

Water:                     _________________________________________________________________________________________________           $___________________
                                                                                                                                       $___________________

Rented furniture:        ______________________________________________________________________________________________________ $___________________
                                                                                                                                $___________________

Other:                   ___________________________________________________________________________________________________ $___________________
                                                                                                                             $___________________

                                                                                                                                       $__________________
                                                                                                                                       _
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

    
    ✔    No
        Yes ...........................   Issuer name and description:
_____________________________________________________________________________________________________________________                  $__________________

_____________________________________________________________________________________________________________________                  $__________________
_____________________________________________________________________________________________________________________                  $__________________
                                                                                                                                       $__________________
                                                                                                                                       $__________________
                                                                                                                                                          10
                                                                                                                                                    6 of __
                                                                                                                                       $__________________
                                                                                                                                               page ___
                             Case 19-15175-abl                        Doc 31         Entered 08/26/19 17:22:59                    Page 9 of 648



24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   
   ✔   No
      Yes .....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

   ____________________________________________________________________________________________________________________                                 $_________________
   ____________________________________________________________________________________________________________________                                 $_________________
   ____________________________________________________________________________________________________________________                                 $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit

   
   ✔   No
      Yes. Give specific
       information about them. ..                                                                                                                        0.00
                                                                                                                                                        $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   
   ✔   No
      Yes. Give specific
       information about them. ..                                                                                                                        0.00
                                                                                                                                                        $__________________


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   
   ✔   No
      Yes. Give specific
       information about them. ..                                                                                                                        0.00
                                                                                                                                                        $__________________


Money or property owed to you?                                                                                                                          Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                        Do not deduct secured
                                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you

   
   ✔   No
      Yes. Give specific information                                                                                         Federal:               0.00
                                                                                                                                                    $_________________
            about them, including whether
            you already filed the returns                                                                                     State:                 0.00
                                                                                                                                                    $_________________
            and the tax years. ......................                                                                                                0.00
                                                                                                                              Local:                $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   
   ✔   No
      Yes. Give specific information. .............
                                                                                                                             Alimony:                    0.00
                                                                                                                                                        $________________
                                                                                                                             Maintenance:                0.00
                                                                                                                                                        $________________
                                                                                                                             Support:                    0.00
                                                                                                                                                        $________________
                                                                                                                             Divorce settlement:         0.00
                                                                                                                                                        $________________
                                                                                                                             Property settlement:        0.00
                                                                                                                                                        $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
             Social Security benefits; unpaid loans you made to someone else
   
   ✔   No
      Yes. Give specific information. ...............
                                                                                                                                                          0.00
                                                                                                                                                        $______________________



                                                                                                                                                                       7     10
                                                                                                                                                                 page ___ of __
                            Case 19-15175-abl                                  Doc 31                Entered 08/26/19 17:22:59                                           Page 10 of 648



31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
   
   ✔    No
       Yes. Name the insurance company             Company name:                                                                                Beneficiary:                                        Surrender or refund value:
             of each policy and list its value. ...
      ____________________________________________________________________________                                                             ____________________________                          $__________________
      ____________________________________________________________________________                                                             ____________________________                          $__________________
      ____________________________________________________________________________                                                               ___________________________                         $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
   
   ✔    No
       Yes. Give specific information. .............
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
   
   ✔    No
       Yes. Describe each claim. .....................
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
   
   ✔    No
       Yes. Describe each claim. .....................
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $_____________________




35. Any financial assets you did not already list

   
   ✔    No
       Yes. Give specific information. ...........                                                                                                                                                   0.00
                                                                                                                                                                                                     $_____________________



36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here ........................................................................................................................................................       316,297.50
                                                                                                                                                                                                     $_____________________




Pa rt 5 :        De sc ribe Any Busine ss-Re la t e d Prope rt y Y ou Ow n or H a ve a n I nt e re st I n. List a ny re a l e st a t e in Pa rt 1 .

37. Do you own or have any legal or equitable interest in any business-related property?

   
   ✔    No. Go to Part 6.
       Yes. Go to line 38.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.

38. Accounts receivable or commissions you already earned

       No
       Yes. Describe .......
                                                                                                                                                                                                   $_____________________

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

       No
       Yes. Describe .......                                                                                                                                                                      $_____________________



                                                                                                                                                                                                                         10
                                                                                                                                                                                                                    8 of __
                                                                                                                                                                                                               page ___
                             Case 19-15175-abl                                 Doc 31                Entered 08/26/19 17:22:59                                           Page 11 of 648



40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       No
       Yes. Describe .......
                                                                                                                                                                                                   $_____________________


41. Inventory
       No
       Yes. Describe .......                                                                                                                                                                      $_____________________


42. Interests in partnerships or joint ventures

       No
       Yes. Describe ....... Name of entity:                                                                                                                         % of ownership:
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________


43. Customer lists, mailing lists, or other compilations
       No
       Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                     No
                     Yes. Describe.........
                                                                                                                                                                                                   $____________________


44. Any business-related property you did not already list
       No
       Yes. Give specific
                              ______________________________________________________________________________________                                                                               $____________________
        information .........
                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                                                                      0.00
                                                                                                                                                                                                   $____________________
   for Part 5. Write that number here ........................................................................................................................................................ 




Pa rt 6 :        De sc ribe Any Fa rm - a nd Com m e rc ia l Fishing-Re la t e d Prope rt y You Ow n or H a ve a n I nt e re st In.
                 If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   
   ✔    No. Go to Part 7.
       Yes. Go to line 47.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
       No
       Yes ...........................

                                                                                                                                                                                                     $___________________



                                                                                                                                                                                                                        10
                                                                                                                                                                                                                   9 of __
                                                                                                                                                                                                              page ___
                                Case 19-15175-abl                                   Doc 31                 Entered 08/26/19 17:22:59                                             Page 12 of 648



48. Crops—either growing or harvested

          No
          Yes. Give specific
           information. ............                                                                                                                                                                           $___________________

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
          No
          Yes ...........................
                                                                                                                                                                                                               $___________________

50. Farm and fishing supplies, chemicals, and feed

          No
          Yes ...........................
                                                                                                                                                                                                               $___________________

51. Any farm- and commercial fishing-related property you did not already list
          No
          Yes. Give specific
           information. ............                                                                                                                                                                           $___________________

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                                                                                                  0.00
                                                                                                                                                                                                               $___________________
     for Part 6. Write that number here ........................................................................................................................................................ 



Pa rt 7 :           De sc ribe All Prope rt y Y ou Ow n or H a ve a n I nt e re st in T ha t Y ou Did N ot List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

     
     ✔     No
          Yes. Give specific
           information. ............




54. Add the dollar value of all of your entries from Part 7. Write that number here ................................................................... 
                                                                                                                                                                                                                  0.00
                                                                                                                                                                                                                 $________________




Pa rt 8 :           List t he T ot a ls of Ea c h Pa rt of t his Form


55. Part 1: Total real estate, line 2 ....................................................................................................................................................................
                                                                                                                                                                                                                200,000.00
                                                                                                                                                                                                               $________________

56. Part 2: Total vehicles, line 5                                                                                    15,000.00
                                                                                                                     $________________

57. Part 3: Total personal and household items, line 15                                                               10,700.00
                                                                                                                     $________________

58. Part 4: Total financial assets, line 36                                                                           316,297.50
                                                                                                                     $________________

59. Part 5: Total business-related property, line 45                                                                  0.00
                                                                                                                     $________________

60. Part 6: Total farm- and fishing-related property, line 52                                                         0.00
                                                                                                                     $________________

61. Part 7: Total other property not listed, line 54                                                               0.00
                                                                                                                + $________________
62. Total personal property. Add lines 56 through 61. ...................                                             341,997.50
                                                                                                                     $________________ Copy personal property total                                              341,997.50
                                                                                                                                                                                                              + $_________________


63. Total of all property on Schedule A/B. Add line 55 + line 62. .......................................................................................                                                       541,997.50
                                                                                                                                                                                                               $_________________



                                                                                                                                                                                                                                  10
                                                                                                                                                                                                                            10 of __
                                                                                                                                                                                                                       page ___
                         Case 19-15175-abl                  Doc 31       Entered 08/26/19 17:22:59                            Page 13 of 648

 Fill in this information to identify your case:

                     EDWARD STEVEN BURDEKIN
 Debtor 1          __________________________________________________________________
                     First Name               Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name               Middle Name               Last Name


                                         ______________________
 United States Bankruptcy Court for the: District of Nevada     District of __________
                                                                                     (State)
 Case number
  (If known)
                      19-15175
                     ___________________________________________                                                                                   Check if this is an
                                                                                                                                                      amended filing


Official Form 106C
Sche dule C: T he Prope r t y You Cla im a s Exe m pt                                                                                                             4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Pa rt 1 :       I de nt ify the Prope rt y You Cla im a s Ex e mpt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     
     ✔ You are claiming state and federal nonbankruptcy exemptions.                 11 U.S.C. § 522(b)(3)
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on        Current value of the                      Amount of the                  Specific laws that allow exemption
       Schedule A/B that lists this property                portion you own                           exemption you claim

                                                            Copy the value from                       Check only one box
                                                            Schedule A/B                              for each exemption
                 Household goods - Household goods and                                                                               Ga. Code Ann. § 44-13-100 (a)(4)
 Brief        furnishings
 description:
                                                                    7,500.00
                                                                   $________________              5,000.00
                                                                                               ✔ $ ____________

                                                                                                 100% of fair market value, up to
 Line from                                                                                          any applicable statutory limit
 Schedule A/B:         6
                 Clothing - Wearing Apparel                                                                                          Ga. Code Ann. § 44-13-100 (a)(4)
 Brief
 description:
                                                                     100.00
                                                                   $________________            $ ____________
                                                                                                ✔  100.00
                                                                                                 100% of fair market value, up to
 Line from                                                                                          any applicable statutory limit
 Schedule A/B:         11
                 Jewelry - Wedding Band                                                                                              Ga. Code Ann. § 44-13-100 (a)(5)
 Brief
 description:
                                                                     100.00
                                                                   $________________              100.00
                                                                                               ✔ $ ____________

                                                                                                 100% of fair market value, up to
 Line from                                                                                          any applicable statutory limit
 Schedule A/B:           12

 3. Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     ✔     No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes



Official Form 106C                                          Schedule C: The Property You Claim as Exempt                                                              2
                                                                                                                                                            page 1 of __
                     Case 19-15175-abl Doc 31 Entered 08/26/19 17:22:59 Page 14 of 648
Debtor           EDWARD STEVEN BURDEKIN
                _______________________________________________________                        19-15175
                                                                        Case number (if known)_____________________________________
                First Name    Middle Name       Last Name




 Pa rt 2 :     Addit iona l Pa ge

            description of the property and line
         Brief                                                                        Amount of the                       Specific laws that allow exemption
                                                               Current value of the   exemption you claim
         on Schedule A/B that lists this property              portion you own
                                                              Copy the value from    Check only one box
                                                               Schedule A/B           for each exemption
               SPAR 401k                                                                                                   O.C.G.A. sec. 44-143100(a)(2.1)
Brief
description:
                                                                 35,000.00
                                                                $________________        35,000.00
                                                                                      ✔ $ ____________

                                                                                       100% of fair market value, up to
Line from                                                                                any applicable statutory limit
Schedule A/B:           21

Brief
description:                                                    $________________      $ ____________
                                                                                       100% of fair market value, up to
                                                                                         any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                    $________________      $ ____________
                                                                                       100% of fair market value, up to
Line from                                                                                any applicable statutory limit
Schedule A/B:
Brief
description:                                                    $________________      $ ____________
                                                                                       100% of fair market value, up to
Line from                                                                                any applicable statutory limit
Schedule A/B:
Brief
description:                                                    $________________      $ ____________
                                                                                       100% of fair market value, up to
Line from                                                                                any applicable statutory limit
Schedule A/B:
Brief
description:                                                    $________________      $ ____________
                                                                                       100% of fair market value, up to
Line from                                                                                any applicable statutory limit
Schedule A/B:
Brief
description:                                                    $________________      $ ____________
                                                                                       100% of fair market value, up to
Line from                                                                                any applicable statutory limit
Schedule A/B:
Brief
description:                                                    $________________      $ ____________
                                                                                       100% of fair market value, up to
                                                                                         any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                    $________________      $ ____________
                                                                                       100% of fair market value, up to
Line from                                                                                any applicable statutory limit
Schedule A/B:
Brief
description:                                                    $________________      $ ____________
                                                                                       100% of fair market value, up to
Line from                                                                                any applicable statutory limit
Schedule A/B:
Brief
description:                                                    $________________      $ ____________
                                                                                       100% of fair market value, up to
                                                                                         any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                    $________________      $ ____________
                                                                                       100% of fair market value, up to
Line from                                                                                any applicable statutory limit
Schedule A/B:


 Official Form 106C                                   Schedule C: The Property You Claim as Exempt                                               2
                                                                                                                                           page ___ of __2
                            Case 19-15175-abl                    Doc 31           Entered 08/26/19 17:22:59                       Page 15 of 648

 Fill in this information to identify your case:

                    EDWARD STEVEN BURDEKIN
 Debtor 1          __________________________________________________________________
                     First Name                   Middle Name                  Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                   Middle Name                  Last Name


                                         ______________________
 United States Bankruptcy Court for the: District of Nevada     District of __________
                                                                                           (State)
 Case number         ___________________________________________
                      19-15175
 (If known)                                                                                                                                             Check if this is an
                                                                                                                                                           amended filing


Official Form 106D
Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
    
    ✔       Yes. Fill in all of the information below.


Pa rt 1 :       List All Se c ure d Cla im s
                                                                                                                           Column A             Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amount of claim                         Value of collateral   Unsecured
   for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. Do not deduct the                      that supports this    portion
   As much as possible, list the claims in alphabetical order according to the creditor’s name.          value of collateral.                   claim                 If any

2.1 Bank of the Ozarks                                     Describe the property that secures the claim:                   $_________________
                                                                                                                             0.00             $________________
                                                                                                                                                 0.00           $____________
                                                                                                                                                                  0.00
     ______________________________________ - $0.00
     Creditor’s Name
                                            Deed reverted back to Debtor pursuant to O.C.G.A. sec. 44-14-80 on
      17901 Chenal Parkway
     ______________________________________ September 1, 2015.
     Number            Street

     ______________________________________                As of the date you file, the claim is: Check all that apply.
      Little Rock           AR 72223
     ______________________________________
                                                               Contingent
     City                          State   ZIP Code            Unliquidated
  Who owes the debt? Check one.                            
                                                           ✔    Disputed
  ✔    Debtor 1 only                                      Nature of lien. Check all that apply.
       Debtor 2 only
                                                           
                                                           ✔    An agreement you made (such as mortgage or secured
       Debtor 1 and Debtor 2 only                              car loan)
       At least one of the debtors and another                Statutory lien (such as tax lien, mechanic’s lien)

    Check if this claim relates to a
                                                               Judgment lien from a lawsuit
     community debt                                            Other (including a right to offset) ____________________
                            2006
  Date debt was incurred ____________                      Last 4 digits of account number
2.2 Synovus Bank                                           Describe the property that secures the claim:                   $_________________
                                                                                                                             60,000.00        $________________
                                                                                                                                                 200,000.00     $____________
                                                                                                                                                                  0.00
     ______________________________________                350 Stonewall Avenue West, Fayetteville, GA 30214 - $200,000.00
     Creditor’s Name
     P.O. Box 120
     ______________________________________
     Number            Street

     ______________________________________
                                                           As of the date you file, the claim is: Check all that apply.
      Columbus              GA
     ______________________________________
                                           31902               Contingent
     City                          State   ZIP Code            Unliquidated
  Who owes the debt? Check one.                                Disputed
       Debtor 1 only                                      Nature of lien. Check all that apply.
       Debtor 2 only
                                                               An agreement you made (such as mortgage or secured
       Debtor 1 and Debtor 2 only                              car loan)
       At least one of the debtors and another                Statutory lien (such as tax lien, mechanic’s lien)

    Check if this claim relates to a                          Judgment lien from a lawsuit
     community debt                                            Other (including a right to offset) ____________________
  Date debt was incurred ____________                      Last 4 digits of account number
       Add the dollar value of your entries in Column A on this page. Write that number here:                                60,000.00
                                                                                                                           $_________________


   Official Form 106D                              Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of ___
                                                                                                                                                                        1
                     Case 19-15175-abl                Doc 31        Entered 08/26/19 17:22:59                     Page 16 of 648
Debtor 1
              EDWARD STEVEN BURDEKIN
               _______________________________________________________                                                 19-15175
                                                                                                Case number (if known)_____________________________________
              First Name     Middle Name        Last Name


  Pa rt 2 :    List Ot he rs t o Be N ot ifie d for a De bt T ha t You Alre a dy List e d

  Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
  agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
  you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
  be notified for any debts in Part 1, do not fill out or submit this page.

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code
                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code


  Official Form 106D                       Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                               page ___
                                                                                                                                                   1 of ___
                                                                                                                                                        1
                               Case 19-15175-abl                      Doc 31      Entered 08/26/19 17:22:59                        Page 17 of 648
  Fill in this information to identify your case:

                           EDWARD STEVEN BURDEKIN
      Debtor 1           __________________________________________________________________
                          First Name                    Middle Name              Last Name

      Debtor 2            ________________________________________________________________
      (Spouse, if filing) First Name                    Middle Name              Last Name


      United States Bankruptcy Court for the: ______________________
                                              District of Nevada     District of __________
                                                                                             (State)
      Case number         ___________________________________________
                            19-15175
                                                                                                                                                        Check if this is an
      (If known)                                                                                                                                           amended filing


 Official Form 106E/F
 Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                                        12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
 List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
 A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
 creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
 needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
 any additional pages, write your name and case number (if known).

 Pa rt 1 :            List All of Y our PRIORI T Y Unse c ure d Cla im s

 1. Do any creditors have priority unsecured claims against you?
          No. Go to Part 2.
         
         ✔ Yes.

 2.      List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
         each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
         nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
         unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
         (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                        Total claim   Priority     Nonpriority
                                                                                                                                                      amount       amount
            Dept. of Employment, Training & Rehab
2.1                                                                                                                                  0.00           0.00        0.00
                                                                        Last 4 digits of account number                            $_____________ $___________ $____________
           ____________________________________________
           Priority Creditor’s Name
            Employment Security Division                                 When was the debt incurred?         None
                                                                                                             ____________
           ____________________________________________
           Number            Street
           500 East Third Street
           ____________________________________________                 As of the date you file, the claim is: Check all that apply.
           Carson City              NV      89713
           ____________________________________________                    Contingent
           City                                 State    ZIP Code
                                                                           Unliquidated
           Who incurred the debt? Check one.                               Disputed
           
           ✔      Debtor 1 only                                         Type of PRIORITY unsecured claim:
                 Debtor 2 only                                            Domestic support obligations
                 Debtor 1 and Debtor 2 only                            
                                                                        ✔   Taxes and certain other debts you owe the government
                 At least one of the debtors and another
                                                                           Claims for death or personal injury while you were
                 Check if this claim is for a community debt               intoxicated
                                                                           Other. Specify
           Is the claim subject to offset?
           ✔ No

                 Yes
             Georgia Department of Revenue
2.2
                                                                        Last 4 digits of account number                                 10,000.00 $___________
                                                                                                                                       $_____________ 0.00      10,000.00
                                                                                                                                                               $____________
            ____________________________________________
            Priority Creditor’s Name                                    When was the debt incurred?          2018
                                                                                                             ____________
             Compliance Division ARCS - Bankruptcy
            ____________________________________________
            Number           Street                                     As of the date you file, the claim is: Check all that apply.
             1800 Century Blvd NE, Suite 9100
            ____________________________________________                   Contingent
             Atlanta                 GA     30345
            ____________________________________________                
                                                                        ✔   Unliquidated
            City                                State    ZIP Code
                                                                           Disputed
            Who incurred the debt? Check one.
                  Debtor 1 only                                        Type of PRIORITY unsecured claim:
                  Debtor 2 only                                           Domestic support obligations
                  Debtor 1 and Debtor 2 only                           
                                                                        ✔   Taxes and certain other debts you owe the government
           
           ✔       At least one of the debtors and another
                                                                           Claims for death or personal injury while you were
                  Check if this claim is for a community debt              intoxicated
                                                                           Other. Specify
           Is the claim subject to offset?
           
           ✔       No
                  Yes

 Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                           page 1 of ___
                                                                                                                                                                       546
                       Case
                    EDWARD   19-15175-abl
                           STEVEN BURDEKIN                    Doc 31          Entered 08/26/19 17:22:59                        Page   18 of 648
                                                                                                                                19-15175
Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                   First Name     Middle Name           Last Name


Pa rt 1 :          Y our PRI ORI T Y Unse c ure d Cla im s ─ Cont inua t ion Pa ge

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.                             Total claim   Priority     Nonpriority
                                                                                                                                                 amount       amount

2.3   Internal Revenue Service
                                                                                                                                     60,000.00 $__________
                                                                                                                                                 0.00        60,000.00
                                                                    Last 4 digits of account number                                $____________           $____________

      ____________________________________________
      Priority Creditor’s Name                                      When was the debt incurred?           2018
                                                                                                         ____________
      Centralized Insolvency Operation
      ____________________________________________
      Number             Street                                     As of the date you file, the claim is: Check all that apply.
      Post Office Box 7346
      ____________________________________________                     Contingent
      Philadelphia             PA     19101-7346                    
                                                                    ✔   Unliquidated
      ____________________________________________
      City                                State    ZIP Code            Disputed
                                                                    Type of PRIORITY unsecured claim:
      Who incurred the debt? Check one.                                Domestic support obligations
            Debtor 1 only                                          
                                                                    ✔   Taxes and certain other debts you owe the government
            Debtor 2 only                                             Claims for death or personal injury while you were
                                                                        intoxicated
            Debtor 1 and Debtor 2 only
                                                                       Other. Specify
      
      ✔      At least one of the debtors and another

            Check if this claim is for a community debt
      Is the claim subject to offset?
      ✔
            No
            Yes
2.4    Nevada Department of Taxation
                                                                                                                                    0.00           0.00        0.00
                                                                    Last 4 digits of account number                                $____________ $__________ $____________

      ____________________________________________                  When was the debt incurred?           None
                                                                                                         ____________
      Priority Creditor’s Name
       Bankruptcy Section
      ____________________________________________                  As of the date you file, the claim is: Check all that apply.
      Number             Street
       555 E. Washington Ave., #1300
      ____________________________________________                     Contingent
                                                                       Unliquidated
       Las Vegas                          NV
      ____________________________________________
                                                  89101                Disputed
      City                                State    ZIP Code
                                                                    Type of PRIORITY unsecured claim:
      Who incurred the debt? Check one.                                Domestic support obligations
      
      ✔      Debtor 1 only                                          
                                                                    ✔   Taxes and certain other debts you owe the government
            Debtor 2 only                                             Claims for death or personal injury while you were
            Debtor 1 and Debtor 2 only                                 intoxicated
            At least one of the debtors and another                   Other. Specify

            Check if this claim is for a community debt
      Is the claim subject to offset?
      
      ✔      No
            Yes


                                                                    Last 4 digits of account number                                $____________ $__________ $____________

      ____________________________________________
      Priority Creditor’s Name                                      When was the debt incurred?          ____________
      ____________________________________________
      Number            Street                                      As of the date you file, the claim is: Check all that apply.
      ____________________________________________                     Contingent
                                                                       Unliquidated
      ____________________________________________
      City                                State   ZIP Code             Disputed
                                                                    Type of PRIORITY unsecured claim:
      Who incurred the debt? Check one.                                Domestic support obligations

       Debtor 1 only                                                  Taxes and certain other debts you owe the government

       Debtor 2 only                                                  Claims for death or personal injury while you were
                                                                        intoxicated
       Debtor 1 and Debtor 2 only                                     Other. Specify
       At least one of the debtors and another
       Check if this claim is for a community debt
      Is the claim subject to offset?
            No
            Yes


  Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                  page __
                                                                                                                                                                  2 of ___
                                                                                                                                                                        546
                          Case
                       EDWARD   19-15175-abl
                              STEVEN BURDEKIN                      Doc 31           Entered 08/26/19 17:22:59                     Page   19 of 648
                                                                                                                                   19-15175
 Debtor 1             _______________________________________________________                                 Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

          A Je Prince                                                                                                                                              Total claim
4.1
                                                                                         Last 4 digits of account number
         _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                 $__________________
         Nonpriority Creditor’s Name
                                                                                         When was the debt incurred?           ____________
          1401 N Hairston Road
         _____________________________________________________________
         Number            Street
          Apt 18K
         _______________________________________________________________________
                                                                                         As of the date you file, the claim is: Check all that apply.
         Stone Mountain                      GA       30083
         _____________________________________________________________                      Contingent
         City                                             State          ZIP Code
                                                                                         
                                                                                         ✔   Unliquidated
         Who incurred the debt? Check one.                                               
                                                                                         ✔   Disputed
         
         ✔      Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only                                                  Student loans
               At least one of the debtors and another                                     Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts

         Is the claim subject to offset?
                                                                                         
                                                                                         ✔   Other. Specify

         
         ✔      No
               Yes
4.2
         Aaron Powell                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                 $__________________
         _____________________________________________________________                   When was the debt incurred?           ____________
         Nonpriority Creditor’s Name
         317 West Cleveland Street
         _____________________________________________________________
         Number            Street
                                                                                         As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
          Baytown                                         TX
                                                      77520
                                                                                            Contingent
         _____________________________________________________________                   
                                                                                         ✔   Unliquidated
         City                                             State          ZIP Code
         Who incurred the debt? Check one.                                               
                                                                                         ✔   Disputed
         
         ✔      Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                            Student loans
               Debtor 1 and Debtor 2 only
                                                                                            Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                      that you did not report as priority claims

               Check if this claim is for a community debt
                                                                                            Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify
         Is the claim subject to offset?
         
         ✔      No
               Yes
          Abdel Contreras
4.3
                                                                                         Last 4 digits of account number
         _____________________________________________________________                                                                                            Unknown
                                                                                                                                                                 $_________________
         Nonpriority Creditor’s Name                                                     When was the debt incurred?           ____________
         5450 Pecos Street
         _____________________________________________________________
         Number            Street

         _______________________________________________________________________
                                                                                         As of the date you file, the claim is: Check all that apply.
         Orlando                             FL       32807
         _____________________________________________________________                      Contingent
         City                                             State          ZIP Code
         Who incurred the debt? Check one.                                               
                                                                                         ✔   Unliquidated

         
         ✔      Debtor 1 only
                                                                                         
                                                                                         ✔   Disputed

               Debtor 2 only                                                            Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                  Student loans
               At least one of the debtors and another                                     Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts

         Is the claim subject to offset?                                                 
                                                                                         ✔   Other. Specify

         
         ✔ No

               Yes


      Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                        page __
                                                                                                                                                                             3 of ___
                                                                                                                                                                                  546
                         Case
                      EDWARD   19-15175-abl
                             STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   20 of 648
                                                                                                                                   19-15175
 Debtor 1            _______________________________________________________                                  Case number (if known)_____________________________________
                     First Name       Middle Name           Last Name


 Pa rt 2 :          List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      
      ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                                   Total claim
4.4     Abraya Cockerman
       _____________________________________________________________                     Last 4 digits of account number
       Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                 $__________________
        320 Walker Road                                                                  When was the debt incurred?           ____________
       _____________________________________________________________
       Number             Street

       _______________________________________________________________________
                                                                                         As of the date you file, the claim is: Check all that apply.
        Elkin                                            NC
       _____________________________________________________________
                                                                        28621
       City                                              State          ZIP Code            Contingent
                                                                                         
                                                                                         ✔   Unliquidated
       Who incurred the debt? Check one.
                                                                                         
                                                                                         ✔   Disputed
       
       ✔       Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only
                                                                                            Student loans
              Debtor 1 and Debtor 2 only
                                                                                            Obligations arising out of a separation agreement or divorce
              At least one of the debtors and another                                       that you did not report as priority claims

              Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify
       Is the claim subject to offset?
       
       ✔       No
              Yes
4.5     Adam Castaneda                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                 $__________________
       _____________________________________________________________                     When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
        2003 NW 24th Street
       _____________________________________________________________
       Number              Street
                                                                                         As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Boynton Beach                       FL       33436                                   Contingent
       _____________________________________________________________
       City                                              State          ZIP Code         
                                                                                         ✔   Unliquidated
       Who incurred the debt? Check one.                                                 
                                                                                         ✔   Disputed
       
       ✔       Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only
              Debtor 1 and Debtor 2 only
                                                                                            Student loans

              At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
              Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify
       Is the claim subject to offset?
       
       ✔       No
              Yes
4.6     Adora Nicole Brown                                                               Last 4 digits of account number
        _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                 $_________________
        Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
        1515 Pleasant Grove Rd.
        _____________________________________________________________
        Number             Street
                                                                                         As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Chester                             SC       29706
        _____________________________________________________________                       Contingent
        City                                             State           ZIP Code
        Who incurred the debt? Check one.                                                
                                                                                         ✔   Unliquidated

       
       ✔       Debtor 1 only
                                                                                         
                                                                                         ✔   Disputed

              Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
              Debtor 1 and Debtor 2 only                                                   Student loans
              At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
              Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                   
                                                                                         ✔   Other. Specify
       
       ✔       No
              Yes


   Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                             4 of ___
                                                                                                                                                                                  546
                         Case
                      EDWARD   19-15175-abl
                             STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   21 of 648
                                                                                                                                   19-15175
 Debtor 1            _______________________________________________________                                  Case number (if known)_____________________________________
                     First Name       Middle Name           Last Name


 Pa rt 2 :          List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      
      ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                                   Total claim
4.7     Adrian Aguilar
       _____________________________________________________________                     Last 4 digits of account number
       Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                 $__________________
        1703 Rainy Drive                                                                 When was the debt incurred?           ____________
       _____________________________________________________________
       Number             Street

       _______________________________________________________________________
                                                                                         As of the date you file, the claim is: Check all that apply.
        Houston                                          TX
       _____________________________________________________________
                                                                        77088
       City                                              State          ZIP Code            Contingent
                                                                                         
                                                                                         ✔   Unliquidated
       Who incurred the debt? Check one.
                                                                                         
                                                                                         ✔   Disputed
       
       ✔       Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only
                                                                                            Student loans
              Debtor 1 and Debtor 2 only
                                                                                            Obligations arising out of a separation agreement or divorce
              At least one of the debtors and another                                       that you did not report as priority claims

              Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify
       Is the claim subject to offset?
       
       ✔       No
              Yes
4.8     Adrian Taylor                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                 $__________________
       _____________________________________________________________                     When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
        107 Heatherbrook Dr
       _____________________________________________________________
       Number              Street
                                                                                         As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Lagrange                            GA       30240                                   Contingent
       _____________________________________________________________
       City                                              State          ZIP Code         
                                                                                         ✔   Unliquidated
       Who incurred the debt? Check one.                                                 
                                                                                         ✔   Disputed
       
       ✔       Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only
              Debtor 1 and Debtor 2 only
                                                                                            Student loans

              At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
              Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify
       Is the claim subject to offset?
       
       ✔       No
              Yes
4.9     Ahkeem Charles                                                                   Last 4 digits of account number
        _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                 $_________________
        Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
        6 Everglades Street
        _____________________________________________________________
        Number             Street
                                                                                         As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Belle Glade                         FL       33430
        _____________________________________________________________                       Contingent
        City                                             State           ZIP Code
        Who incurred the debt? Check one.                                                
                                                                                         ✔   Unliquidated

       
       ✔       Debtor 1 only
                                                                                         
                                                                                         ✔   Disputed

              Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
              Debtor 1 and Debtor 2 only                                                   Student loans
              At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
              Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                   
                                                                                         ✔   Other. Specify
       
       ✔       No
              Yes


   Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                             5 of ___
                                                                                                                                                                                  546
                          Case
                       EDWARD   19-15175-abl
                              STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   22 of 648
                                                                                                                                    19-15175
 Debtor 1             _______________________________________________________                                  Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Total claim
4.10 Aicha Diaby
        _____________________________________________________________                     Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                  $__________________
         1826 Shelton Road                                                                When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.
         Jacksonville                                     FL
        _____________________________________________________________
                                                                         32211
        City                                              State          ZIP Code            Contingent
                                                                                          
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                          
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                             Student loans
               Debtor 1 and Debtor 2 only
                                                                                             Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                       that you did not report as priority claims

               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.11 Aimee Kelley                                                                         Last 4 digits of account number                                          Unknown
                                                                                                                                                                  $__________________
        _____________________________________________________________                     When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         139 East Chicken Road
        _____________________________________________________________
        Number              Street
                                                                                          As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Chester                             GA       31012                                   Contingent
        _____________________________________________________________
        City                                              State          ZIP Code         
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.                                                 
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                             Student loans

               At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.12     Aimee Shirley                                                                    Last 4 digits of account number
         _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                  $_________________
         Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
         1631 E Broadway
         _____________________________________________________________
         Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Campbellsville                      KY       42718
         _____________________________________________________________                       Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                
                                                                                          ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                          
                                                                                          ✔   Disputed

               Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                   Student loans
               At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                   
                                                                                          ✔   Other. Specify
        
        ✔       No
               Yes


   Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                              6 of ___
                                                                                                                                                                                   546
                          Case
                       EDWARD   19-15175-abl
                              STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   23 of 648
                                                                                                                                    19-15175
 Debtor 1             _______________________________________________________                                  Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Total claim
4.13 Akauryana Carter
        _____________________________________________________________                     Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                  $__________________
         2109 Hyde Place                                                                  When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street
         Apt H
        _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.
         Fayetteville                                     NC
        _____________________________________________________________
                                                                         28306
        City                                              State          ZIP Code            Contingent
                                                                                          
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                          
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                             Student loans
               Debtor 1 and Debtor 2 only
                                                                                             Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                       that you did not report as priority claims

               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.14 Albert Osborne                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                  $__________________
        _____________________________________________________________                     When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         4400 Broad Street
        _____________________________________________________________
        Number              Street
                                                                                          As of the date you file, the claim is: Check all that apply.
        Lot 40
        _______________________________________________________________________
        Sumter                              SC       29154                                   Contingent
        _____________________________________________________________
        City                                              State          ZIP Code         
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.                                                 
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                             Student loans

               At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.15     Alberto Moreno                                                                   Last 4 digits of account number
         _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                  $_________________
         Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
         3508 Market Street
         _____________________________________________________________
         Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Houston                             TX       77020
         _____________________________________________________________                       Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                
                                                                                          ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                          
                                                                                          ✔   Disputed

               Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                   Student loans
               At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                   
                                                                                          ✔   Other. Specify
        
        ✔       No
               Yes


   Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                              7 of ___
                                                                                                                                                                                   546
                          Case
                       EDWARD   19-15175-abl
                              STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   24 of 648
                                                                                                                                    19-15175
 Debtor 1             _______________________________________________________                                  Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Total claim
4.16 Aldreanna Knight
        _____________________________________________________________                     Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                  $__________________
         3 Westgate Terrace                                                               When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street
         Apt B
        _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.
         Red Springs                                      NC
        _____________________________________________________________
                                                                         28377
        City                                              State          ZIP Code            Contingent
                                                                                          
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                          
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                             Student loans
               Debtor 1 and Debtor 2 only
                                                                                             Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                       that you did not report as priority claims

               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.17 Alejandra Rico                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                  $__________________
        _____________________________________________________________                     When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         20574 White Bark Drive
        _____________________________________________________________
        Number              Street
                                                                                          As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Strongsville                        OH       44149                                   Contingent
        _____________________________________________________________
        City                                              State          ZIP Code         
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.                                                 
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                             Student loans

               At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.18     Alejandro Garcia                                                                 Last 4 digits of account number
         _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                  $_________________
         Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
         6922 Dusty Dawn
         _____________________________________________________________
         Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Houston                             TX       77086
         _____________________________________________________________                       Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                
                                                                                          ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                          
                                                                                          ✔   Disputed

               Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                   Student loans
               At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                   
                                                                                          ✔   Other. Specify
        
        ✔       No
               Yes


   Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                              8 of ___
                                                                                                                                                                                   546
                          Case
                       EDWARD   19-15175-abl
                              STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   25 of 648
                                                                                                                                    19-15175
 Debtor 1             _______________________________________________________                                  Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Total claim
4.19 Alejandro Mendoza
        _____________________________________________________________                     Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                  $__________________
         1906 SW 3rd Street                                                               When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street
         Apt 205
        _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.
         Miami                                            FL
        _____________________________________________________________
                                                                         33135
        City                                              State          ZIP Code            Contingent
                                                                                          
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                          
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                             Student loans
               Debtor 1 and Debtor 2 only
                                                                                             Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                       that you did not report as priority claims

               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.20 Alesheia Perry                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                  $__________________
        _____________________________________________________________                     When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         26032 Royal Emerald Lane
        _____________________________________________________________
        Number              Street
                                                                                          As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Kingwood                            TX       77339                                   Contingent
        _____________________________________________________________
        City                                              State          ZIP Code         
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.                                                 
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                             Student loans

               At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.21     Alex Figueroa                                                                    Last 4 digits of account number
         _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                  $_________________
         Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
         2826 Herring Place
         _____________________________________________________________
         Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Lithia Springs                      GA       30122
         _____________________________________________________________                       Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                
                                                                                          ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                          
                                                                                          ✔   Disputed

               Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                   Student loans
               At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                   
                                                                                          ✔   Other. Specify
        
        ✔       No
               Yes


   Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                              9 of ___
                                                                                                                                                                                   546
                          Case
                       EDWARD   19-15175-abl
                              STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   26 of 648
                                                                                                                                    19-15175
 Debtor 1             _______________________________________________________                                  Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Total claim
4.22 Alex Monahan
        _____________________________________________________________                     Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                  $__________________
         2003 NW 24th Street                                                              When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.
         Boynton Beach                                    FL
        _____________________________________________________________
                                                                         33436
        City                                              State          ZIP Code            Contingent
                                                                                          
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                          
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                             Student loans
               Debtor 1 and Debtor 2 only
                                                                                             Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                       that you did not report as priority claims

               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.23 Alexander Hatmaker                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                  $__________________
        _____________________________________________________________                     When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         2116 Reedy Branch Rd.
        _____________________________________________________________
        Number              Street
                                                                                          As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Eastman                             GA       31023                                   Contingent
        _____________________________________________________________
        City                                              State          ZIP Code         
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.                                                 
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                             Student loans

               At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.24     Alexander Webb                                                                   Last 4 digits of account number
         _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                  $_________________
         Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
         8500 S Karlov
         _____________________________________________________________
         Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Chicago                             IL       60652
         _____________________________________________________________                       Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                
                                                                                          ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                          
                                                                                          ✔   Disputed

               Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                   Student loans
               At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                   
                                                                                          ✔   Other. Specify
        
        ✔       No
               Yes


   Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                              10 of ___
                                                                                                                                                                                    546
                          Case
                       EDWARD   19-15175-abl
                              STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   27 of 648
                                                                                                                                    19-15175
 Debtor 1             _______________________________________________________                                  Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Total claim
4.25 Alexandria Bradwell
        _____________________________________________________________                     Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                  $__________________
         2205 Antioch Road                                                                When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.
         Albany                                           GA
        _____________________________________________________________
                                                                         31705
        City                                              State          ZIP Code            Contingent
                                                                                          
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                          
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                             Student loans
               Debtor 1 and Debtor 2 only
                                                                                             Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                       that you did not report as priority claims

               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.26 Alexis Burks                                                                         Last 4 digits of account number                                          Unknown
                                                                                                                                                                  $__________________
        _____________________________________________________________                     When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         2700 Westridge
        _____________________________________________________________
        Number              Street
                                                                                          As of the date you file, the claim is: Check all that apply.
        Apt 129
        _______________________________________________________________________
        Houston                             TX       77054                                   Contingent
        _____________________________________________________________
        City                                              State          ZIP Code         
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.                                                 
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                             Student loans

               At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.27     Alexis Germany                                                                   Last 4 digits of account number
         _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                  $_________________
         Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
         109 Mill Run
         _____________________________________________________________
         Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Comer                               GA       30629
         _____________________________________________________________                       Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                
                                                                                          ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                          
                                                                                          ✔   Disputed

               Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                   Student loans
               At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                   
                                                                                          ✔   Other. Specify
        
        ✔       No
               Yes


   Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                              11 of ___
                                                                                                                                                                                    546
                          Case
                       EDWARD   19-15175-abl
                              STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   28 of 648
                                                                                                                                    19-15175
 Debtor 1             _______________________________________________________                                  Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Total claim
4.28 Alexis Purdie
        _____________________________________________________________                     Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                  $__________________
         2109 Hyde Place                                                                  When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street
         Apt H
        _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.
         Fayetteville                                     NC
        _____________________________________________________________
                                                                         28306
        City                                              State          ZIP Code            Contingent
                                                                                          
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                          
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                             Student loans
               Debtor 1 and Debtor 2 only
                                                                                             Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                       that you did not report as priority claims

               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.29 Alexis Wylie                                                                         Last 4 digits of account number                                          Unknown
                                                                                                                                                                  $__________________
        _____________________________________________________________                     When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         199 Cleveland Avenue
        _____________________________________________________________
        Number              Street
                                                                                          As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Macon                               GA       31204                                   Contingent
        _____________________________________________________________
        City                                              State          ZIP Code         
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.                                                 
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                             Student loans

               At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.30     Alexius Green                                                                    Last 4 digits of account number
         _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                  $_________________
         Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
         449 Butler Road
         _____________________________________________________________
         Number             Street
         A10                                                                              As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Dothan                              AL       36305
         _____________________________________________________________                       Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                
                                                                                          ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                          
                                                                                          ✔   Disputed

               Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                   Student loans
               At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                   
                                                                                          ✔   Other. Specify
        
        ✔       No
               Yes


   Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                              12 of ___
                                                                                                                                                                                    546
                          Case
                       EDWARD   19-15175-abl
                              STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   29 of 648
                                                                                                                                    19-15175
 Debtor 1             _______________________________________________________                                  Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Total claim
4.31 Alexus Glover
        _____________________________________________________________                     Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                  $__________________
         4982 Saddle Creek Circle                                                         When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.
         Ellenwood                                        GA
        _____________________________________________________________
                                                                         30294
        City                                              State          ZIP Code            Contingent
                                                                                          
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                          
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                             Student loans
               Debtor 1 and Debtor 2 only
                                                                                             Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                       that you did not report as priority claims

               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.32 Alexus O'Neal                                                                        Last 4 digits of account number                                          Unknown
                                                                                                                                                                  $__________________
        _____________________________________________________________                     When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         2692 Evans Mill Drive
        _____________________________________________________________
        Number              Street
                                                                                          As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Lithonia                            GA       30058                                   Contingent
        _____________________________________________________________
        City                                              State          ZIP Code         
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.                                                 
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                             Student loans

               At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.33     Alfredo Conde                                                                    Last 4 digits of account number
         _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                  $_________________
         Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
         118 Turning Point
         _____________________________________________________________
         Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Stockbridge                         GA       30281
         _____________________________________________________________                       Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                
                                                                                          ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                          
                                                                                          ✔   Disputed

               Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                   Student loans
               At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                   
                                                                                          ✔   Other. Specify
        
        ✔       No
               Yes


   Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                              13 of ___
                                                                                                                                                                                    546
                          Case
                       EDWARD   19-15175-abl
                              STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   30 of 648
                                                                                                                                    19-15175
 Debtor 1             _______________________________________________________                                  Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Total claim
4.34 Alicia Milligan
        _____________________________________________________________                     Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                  $__________________
         1940 S Chelton Road                                                              When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street
         Apt C212
        _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.
         Colorado Springs                                 CO
        _____________________________________________________________
                                                                         80916
        City                                              State          ZIP Code            Contingent
                                                                                          
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                          
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                             Student loans
               Debtor 1 and Debtor 2 only
                                                                                             Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                       that you did not report as priority claims

               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.35 Alison Combs                                                                         Last 4 digits of account number                                          Unknown
                                                                                                                                                                  $__________________
        _____________________________________________________________                     When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         11665 FM 1008
        _____________________________________________________________
        Number              Street
                                                                                          As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Dayton                              TX       77535                                   Contingent
        _____________________________________________________________
        City                                              State          ZIP Code         
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.                                                 
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                             Student loans

               At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.36     Allen Gilchrist                                                                  Last 4 digits of account number
         _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                  $_________________
         Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
         95 Hancock Height
         _____________________________________________________________
         Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Sparta                              GA       31087
         _____________________________________________________________                       Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                
                                                                                          ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                          
                                                                                          ✔   Disputed

               Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                   Student loans
               At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                   
                                                                                          ✔   Other. Specify
        
        ✔       No
               Yes


   Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                              14 of ___
                                                                                                                                                                                    546
                          Case
                       EDWARD   19-15175-abl
                              STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   31 of 648
                                                                                                                                    19-15175
 Debtor 1             _______________________________________________________                                  Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Total claim
4.37 Allen Keith Durham
        _____________________________________________________________                     Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                  $__________________
         228 Julia Lane Road                                                              When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.
         Pieidmont                                        AL
        _____________________________________________________________
                                                                         36272
        City                                              State          ZIP Code            Contingent
                                                                                          
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                          
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                             Student loans
               Debtor 1 and Debtor 2 only
                                                                                             Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                       that you did not report as priority claims

               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.38 Allen Lovett                                                                         Last 4 digits of account number                                          Unknown
                                                                                                                                                                  $__________________
        _____________________________________________________________                     When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         414 Lester Robinson Street
        _____________________________________________________________
        Number              Street
                                                                                          As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Mt Vernon                           GA       30445                                   Contingent
        _____________________________________________________________
        City                                              State          ZIP Code         
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.                                                 
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                             Student loans

               At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.39     Allen Sheppard                                                                   Last 4 digits of account number
         _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                  $_________________
         Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
         2612 Providence Court
         _____________________________________________________________
         Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Augusta                             GA       30904
         _____________________________________________________________                       Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                
                                                                                          ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                          
                                                                                          ✔   Disputed

               Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                   Student loans
               At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                   
                                                                                          ✔   Other. Specify
        
        ✔       No
               Yes


   Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                              15 of ___
                                                                                                                                                                                    546
                          Case
                       EDWARD   19-15175-abl
                              STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   32 of 648
                                                                                                                                    19-15175
 Debtor 1             _______________________________________________________                                  Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Total claim
4.40 Alphonso Rikard
        _____________________________________________________________                     Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                  $__________________
         6972 Pine Shadow Way                                                             When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.
         Winston                                          GA
        _____________________________________________________________
                                                                         30187
        City                                              State          ZIP Code            Contingent
                                                                                          
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                          
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                             Student loans
               Debtor 1 and Debtor 2 only
                                                                                             Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                       that you did not report as priority claims

               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.41 Alquinon Martin                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                  $__________________
        _____________________________________________________________                     When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         451 Turpin Avenue
        _____________________________________________________________
        Number              Street
                                                                                          As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Anniston                            AL       36201                                   Contingent
        _____________________________________________________________
        City                                              State          ZIP Code         
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.                                                 
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                             Student loans

               At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.42     Alton Harrison                                                                   Last 4 digits of account number
         _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                  $_________________
         Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
         1904 Windsor Avenue
         _____________________________________________________________
         Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Waco                                TX       76708
         _____________________________________________________________                       Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                
                                                                                          ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                          
                                                                                          ✔   Disputed

               Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                   Student loans
               At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                   
                                                                                          ✔   Other. Specify
        
        ✔       No
               Yes


   Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                              16 of ___
                                                                                                                                                                                    546
                          Case
                       EDWARD   19-15175-abl
                              STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   33 of 648
                                                                                                                                    19-15175
 Debtor 1             _______________________________________________________                                  Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Total claim
4.43 Alvin Tims
        _____________________________________________________________                     Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                  $__________________
         519 Great Oaks Circle                                                            When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.
         Henderson                                        TN
        _____________________________________________________________
                                                                         38305
        City                                              State          ZIP Code            Contingent
                                                                                          
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                          
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                             Student loans
               Debtor 1 and Debtor 2 only
                                                                                             Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                       that you did not report as priority claims

               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.44 Alvin Woody                                                                          Last 4 digits of account number                                          Unknown
                                                                                                                                                                  $__________________
        _____________________________________________________________                     When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         2132 Helen Street
        _____________________________________________________________
        Number              Street
                                                                                          As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Hartsville                          SC       29550                                   Contingent
        _____________________________________________________________
        City                                              State          ZIP Code         
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.                                                 
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                             Student loans

               At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.45     Alvis Truitt                                                                     Last 4 digits of account number
         _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                  $_________________
         Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
         24 Kinsey Drive
         _____________________________________________________________
         Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Stockbridge                         GA       30281
         _____________________________________________________________                       Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                
                                                                                          ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                          
                                                                                          ✔   Disputed

               Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                   Student loans
               At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                   
                                                                                          ✔   Other. Specify
        
        ✔       No
               Yes


   Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                              17 of ___
                                                                                                                                                                                    546
                          Case
                       EDWARD   19-15175-abl
                              STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   34 of 648
                                                                                                                                    19-15175
 Debtor 1             _______________________________________________________                                  Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Total claim
4.46 Alyssa Dial
        _____________________________________________________________                     Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                  $__________________
         412 Denali Court                                                                 When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.
         Ellenwood                                        GA
        _____________________________________________________________
                                                                         30294
        City                                              State          ZIP Code            Contingent
                                                                                          
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                          
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                             Student loans
               Debtor 1 and Debtor 2 only
                                                                                             Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                       that you did not report as priority claims

               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.47 Alyssa Rossetti                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                  $__________________
        _____________________________________________________________                     When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         745 Darwin Street
        _____________________________________________________________
        Number              Street
                                                                                          As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Cookeville                          TN       38501                                   Contingent
        _____________________________________________________________
        City                                              State          ZIP Code         
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.                                                 
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                             Student loans

               At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.48     Amanda Custer                                                                    Last 4 digits of account number
         _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                  $_________________
         Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
         330 Blue Heron Drive
         _____________________________________________________________
         Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Monticello                          GA       31064
         _____________________________________________________________                       Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                
                                                                                          ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                          
                                                                                          ✔   Disputed

               Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                   Student loans
               At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                   
                                                                                          ✔   Other. Specify
        
        ✔       No
               Yes


   Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                              18 of ___
                                                                                                                                                                                    546
                          Case
                       EDWARD   19-15175-abl
                              STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   35 of 648
                                                                                                                                    19-15175
 Debtor 1             _______________________________________________________                                  Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Total claim
4.49 Amanda Johns
        _____________________________________________________________                     Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                  $__________________
         400 Tidmore Bend Road                                                            When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.
         Gadsden                                          AL
        _____________________________________________________________
                                                                         35901
        City                                              State          ZIP Code            Contingent
                                                                                          
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                          
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                             Student loans
               Debtor 1 and Debtor 2 only
                                                                                             Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                       that you did not report as priority claims

               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.50 Amanda Santon                                                                        Last 4 digits of account number                                          Unknown
                                                                                                                                                                  $__________________
        _____________________________________________________________                     When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         311 Orange St.
        _____________________________________________________________
        Number              Street
                                                                                          As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Arlington                           TX       76012                                   Contingent
        _____________________________________________________________
        City                                              State          ZIP Code         
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.                                                 
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                             Student loans

               At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.51     Amanda Wales                                                                     Last 4 digits of account number
         _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                  $_________________
         Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
         PO Box 101
         _____________________________________________________________
         Number             Street
         130 Timberlake Road                                                              As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Jefferson                           TX       75657
         _____________________________________________________________                       Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                
                                                                                          ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                          
                                                                                          ✔   Disputed

               Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                   Student loans
               At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                   
                                                                                          ✔   Other. Specify
        
        ✔       No
               Yes


   Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                              19 of ___
                                                                                                                                                                                    546
                          Case
                       EDWARD   19-15175-abl
                              STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   36 of 648
                                                                                                                                    19-15175
 Debtor 1             _______________________________________________________                                  Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Total claim
4.52 Amber Dixon
        _____________________________________________________________                     Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                  $__________________
         3500 Meyers Lane                                                                 When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street
         #133
        _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.
         Waco                                             TX
        _____________________________________________________________
                                                                         76705
        City                                              State          ZIP Code            Contingent
                                                                                          
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                          
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                             Student loans
               Debtor 1 and Debtor 2 only
                                                                                             Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                       that you did not report as priority claims

               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.53 Amber Fonseca                                                                        Last 4 digits of account number                                          Unknown
                                                                                                                                                                  $__________________
        _____________________________________________________________                     When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         1300 West Martin Road
        _____________________________________________________________
        Number              Street
                                                                                          As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        San Antonio                         TX       78217                                   Contingent
        _____________________________________________________________
        City                                              State          ZIP Code         
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.                                                 
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                             Student loans

               At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.54     Amber Hannah                                                                     Last 4 digits of account number
         _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                  $_________________
         Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
         3776 A County Road 83
         _____________________________________________________________
         Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Pisgah                              AL       35765
         _____________________________________________________________                       Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                
                                                                                          ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                          
                                                                                          ✔   Disputed

               Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                   Student loans
               At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                   
                                                                                          ✔   Other. Specify
        
        ✔       No
               Yes


   Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                              20 of ___
                                                                                                                                                                                    546
                          Case
                       EDWARD   19-15175-abl
                              STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   37 of 648
                                                                                                                                    19-15175
 Debtor 1             _______________________________________________________                                  Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Total claim
4.55 Amber Heard
        _____________________________________________________________                     Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                  $__________________
         23 Crocket Creek                                                                 When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.
         Piedmont                                         SC
        _____________________________________________________________
                                                                         29673
        City                                              State          ZIP Code            Contingent
                                                                                          
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                          
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                             Student loans
               Debtor 1 and Debtor 2 only
                                                                                             Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                       that you did not report as priority claims

               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.56 Amber McCann                                                                         Last 4 digits of account number                                          Unknown
                                                                                                                                                                  $__________________
        _____________________________________________________________                     When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         4207 Confederate Point Rd
        _____________________________________________________________
        Number              Street
                                                                                          As of the date you file, the claim is: Check all that apply.
        Apt 1
        _______________________________________________________________________
        Jacksonville                        FL       32210                                   Contingent
        _____________________________________________________________
        City                                              State          ZIP Code         
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.                                                 
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                             Student loans

               At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.57     Amber Rice                                                                       Last 4 digits of account number
         _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                  $_________________
         Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
         2993 Sparta Hwy
         _____________________________________________________________
         Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Smithville                          TN       37166
         _____________________________________________________________                       Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                
                                                                                          ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                          
                                                                                          ✔   Disputed

               Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                   Student loans
               At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                   
                                                                                          ✔   Other. Specify
        
        ✔       No
               Yes


   Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                              21 of ___
                                                                                                                                                                                    546
                          Case
                       EDWARD   19-15175-abl
                              STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   38 of 648
                                                                                                                                    19-15175
 Debtor 1             _______________________________________________________                                  Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Total claim
4.58 Amber Williford
        _____________________________________________________________                     Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                  $__________________
         1721 Highland Street                                                             When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.
         Kingsport                                        TN
        _____________________________________________________________
                                                                         37664
        City                                              State          ZIP Code            Contingent
                                                                                          
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                          
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                             Student loans
               Debtor 1 and Debtor 2 only
                                                                                             Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                       that you did not report as priority claims

               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.59 Amberly Smith                                                                        Last 4 digits of account number                                          Unknown
                                                                                                                                                                  $__________________
        _____________________________________________________________                     When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         6235 Humphries Hill Road
        _____________________________________________________________
        Number              Street
                                                                                          As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Austell                             GA       30106                                   Contingent
        _____________________________________________________________
        City                                              State          ZIP Code         
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.                                                 
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                             Student loans

               At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.60     Amos Barnett                                                                     Last 4 digits of account number
         _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                  $_________________
         Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
         2107 Marshall Street
         _____________________________________________________________
         Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Gadsden                             AL       35904
         _____________________________________________________________                       Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                
                                                                                          ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                          
                                                                                          ✔   Disputed

               Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                   Student loans
               At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                   
                                                                                          ✔   Other. Specify
        
        ✔       No
               Yes


   Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                              22 of ___
                                                                                                                                                                                    546
                          Case
                       EDWARD   19-15175-abl
                              STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   39 of 648
                                                                                                                                    19-15175
 Debtor 1             _______________________________________________________                                  Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Total claim
4.61 Amy Watts
        _____________________________________________________________                     Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                  $__________________
         97 Cobb Road                                                                     When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.
         Piedmont                                         AL
        _____________________________________________________________
                                                                         36272
        City                                              State          ZIP Code            Contingent
                                                                                          
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                          
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                             Student loans
               Debtor 1 and Debtor 2 only
                                                                                             Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                       that you did not report as priority claims

               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.62 Andrae Kelley                                                                        Last 4 digits of account number                                          Unknown
                                                                                                                                                                  $__________________
        _____________________________________________________________                     When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         125 Northwood Dr.
        _____________________________________________________________
        Number              Street
                                                                                          As of the date you file, the claim is: Check all that apply.
        Apt #340
        _______________________________________________________________________
        Atlanta                             GA       30342                                   Contingent
        _____________________________________________________________
        City                                              State          ZIP Code         
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.                                                 
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                             Student loans

               At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.63     Andre McCoy                                                                      Last 4 digits of account number
         _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                  $_________________
         Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
         850 Fairburn Road NW
         _____________________________________________________________
         Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Atlanta                             GA       30331
         _____________________________________________________________                       Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                
                                                                                          ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                          
                                                                                          ✔   Disputed

               Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                   Student loans
               At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                   
                                                                                          ✔   Other. Specify
        
        ✔       No
               Yes


   Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                              23 of ___
                                                                                                                                                                                    546
                          Case
                       EDWARD   19-15175-abl
                              STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   40 of 648
                                                                                                                                    19-15175
 Debtor 1             _______________________________________________________                                  Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Total claim
4.64 Andre Scurry
        _____________________________________________________________                     Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                  $__________________
         203 Ridgeway Drive                                                               When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.
         Shelby                                           NC
        _____________________________________________________________
                                                                         28152
        City                                              State          ZIP Code            Contingent
                                                                                          
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                          
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                             Student loans
               Debtor 1 and Debtor 2 only
                                                                                             Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                       that you did not report as priority claims

               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.65 Andrea Cenac                                                                         Last 4 digits of account number                                          Unknown
                                                                                                                                                                  $__________________
        _____________________________________________________________                     When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         204 Angelle Drive
        _____________________________________________________________
        Number              Street
                                                                                          As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Houma                               LA       70360                                   Contingent
        _____________________________________________________________
        City                                              State          ZIP Code         
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.                                                 
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                             Student loans

               At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.66     Andrea DeLaCruz                                                                  Last 4 digits of account number
         _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                  $_________________
         Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
         3633 Trinidad Street
         _____________________________________________________________
         Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Evans                               CO       80620
         _____________________________________________________________                       Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                
                                                                                          ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                          
                                                                                          ✔   Disputed

               Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                   Student loans
               At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                   
                                                                                          ✔   Other. Specify
        
        ✔       No
               Yes


   Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                              24 of ___
                                                                                                                                                                                    546
                          Case
                       EDWARD   19-15175-abl
                              STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   41 of 648
                                                                                                                                    19-15175
 Debtor 1             _______________________________________________________                                  Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Total claim
4.67 Andrea Holley
        _____________________________________________________________                     Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                  $__________________
         101 Truitt Street                                                                When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.
         LaGrange                                         GA
        _____________________________________________________________
                                                                         30240
        City                                              State          ZIP Code            Contingent
                                                                                          
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                          
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                             Student loans
               Debtor 1 and Debtor 2 only
                                                                                             Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                       that you did not report as priority claims

               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.68 Andrea Johnson                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                  $__________________
        _____________________________________________________________                     When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         1115 N 13th Street
        _____________________________________________________________
        Number              Street
                                                                                          As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Waco                                TX       76707                                   Contingent
        _____________________________________________________________
        City                                              State          ZIP Code         
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.                                                 
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                             Student loans

               At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.69     Andrea Jordan                                                                    Last 4 digits of account number
         _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                  $_________________
         Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
         1252 Bay Avenue
         _____________________________________________________________
         Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Mobile                              AL       36605
         _____________________________________________________________                       Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                
                                                                                          ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                          
                                                                                          ✔   Disputed

               Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                   Student loans
               At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                   
                                                                                          ✔   Other. Specify
        
        ✔       No
               Yes


   Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                              25 of ___
                                                                                                                                                                                    546
                          Case
                       EDWARD   19-15175-abl
                              STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   42 of 648
                                                                                                                                    19-15175
 Debtor 1             _______________________________________________________                                  Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Total claim
4.70 Andrea Ortega
        _____________________________________________________________                     Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                  $__________________
         14300 SW 121st Place                                                             When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.
         Miami                                            FL
        _____________________________________________________________
                                                                         33186
        City                                              State          ZIP Code            Contingent
                                                                                          
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                          
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                             Student loans
               Debtor 1 and Debtor 2 only
                                                                                             Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                       that you did not report as priority claims

               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.71 Andrew Castillo                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                  $__________________
        _____________________________________________________________                     When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         802 Booth Street
        _____________________________________________________________
        Number              Street
                                                                                          As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Houston                             TX       77009                                   Contingent
        _____________________________________________________________
        City                                              State          ZIP Code         
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.                                                 
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                             Student loans

               At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.72     Andrew Morrison                                                                  Last 4 digits of account number
         _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                  $_________________
         Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
         3817 N Quail Drive
         _____________________________________________________________
         Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Douglasville                        GA       30135
         _____________________________________________________________                       Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                
                                                                                          ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                          
                                                                                          ✔   Disputed

               Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                   Student loans
               At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                   
                                                                                          ✔   Other. Specify
        
        ✔       No
               Yes


   Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                              26 of ___
                                                                                                                                                                                    546
                          Case
                       EDWARD   19-15175-abl
                              STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   43 of 648
                                                                                                                                    19-15175
 Debtor 1             _______________________________________________________                                  Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Total claim
4.73 Andrew Phillips
        _____________________________________________________________                     Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                  $__________________
         160 Crowder Street                                                               When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.
         Barnesville                                      GA
        _____________________________________________________________
                                                                         30204
        City                                              State          ZIP Code            Contingent
                                                                                          
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                          
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                             Student loans
               Debtor 1 and Debtor 2 only
                                                                                             Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                       that you did not report as priority claims

               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.74 Andrew Terry                                                                         Last 4 digits of account number                                          Unknown
                                                                                                                                                                  $__________________
        _____________________________________________________________                     When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         309 Alco Drive
        _____________________________________________________________
        Number              Street
                                                                                          As of the date you file, the claim is: Check all that apply.
        Apt 3
        _______________________________________________________________________
        Brewton                             AL       36426                                   Contingent
        _____________________________________________________________
        City                                              State          ZIP Code         
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.                                                 
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                             Student loans

               At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.75     Andrey Strozier                                                                  Last 4 digits of account number
         _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                  $_________________
         Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
         3706 Crosby Drive
         _____________________________________________________________
         Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Atlanta                             GA       30331
         _____________________________________________________________                       Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                
                                                                                          ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                          
                                                                                          ✔   Disputed

               Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                   Student loans
               At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                   
                                                                                          ✔   Other. Specify
        
        ✔       No
               Yes


   Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                              27 of ___
                                                                                                                                                                                    546
                          Case
                       EDWARD   19-15175-abl
                              STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   44 of 648
                                                                                                                                    19-15175
 Debtor 1             _______________________________________________________                                  Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Total claim
4.76 Angel Perryman
        _____________________________________________________________                     Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                  $__________________
         2766 Oakland Terrace                                                             When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.
         Decatur                                          GA
        _____________________________________________________________
                                                                         30032
        City                                              State          ZIP Code            Contingent
                                                                                          
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                          
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                             Student loans
               Debtor 1 and Debtor 2 only
                                                                                             Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                       that you did not report as priority claims

               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.77 Angela Carter                                                                        Last 4 digits of account number                                          Unknown
                                                                                                                                                                  $__________________
        _____________________________________________________________                     When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         1300 Corinne Street
        _____________________________________________________________
        Number              Street
                                                                                          As of the date you file, the claim is: Check all that apply.
        Apt 6
        _______________________________________________________________________
        Hattiesburg                         MS       39401                                   Contingent
        _____________________________________________________________
        City                                              State          ZIP Code         
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.                                                 
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                             Student loans

               At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.78     Angela Corto                                                                     Last 4 digits of account number
         _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                  $_________________
         Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
         142 Baliey Drive
         _____________________________________________________________
         Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Jacksonville                        NC       28540
         _____________________________________________________________                       Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                
                                                                                          ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                          
                                                                                          ✔   Disputed

               Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                   Student loans
               At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                   
                                                                                          ✔   Other. Specify
        
        ✔       No
               Yes


   Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                              28 of ___
                                                                                                                                                                                    546
                          Case
                       EDWARD   19-15175-abl
                              STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   45 of 648
                                                                                                                                    19-15175
 Debtor 1             _______________________________________________________                                  Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Total claim
4.79 Angela Day
        _____________________________________________________________                     Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                  $__________________
         8217 E Hwy 163                                                                   When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.
         West Jefferson                                   NC
        _____________________________________________________________
                                                                         28694
        City                                              State          ZIP Code            Contingent
                                                                                          
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                          
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                             Student loans
               Debtor 1 and Debtor 2 only
                                                                                             Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                       that you did not report as priority claims

               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.80 Angela Foshee                                                                        Last 4 digits of account number                                          Unknown
                                                                                                                                                                  $__________________
        _____________________________________________________________                     When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         670 CR 315 South
        _____________________________________________________________
        Number              Street
                                                                                          As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Interlachen                         FL       32148                                   Contingent
        _____________________________________________________________
        City                                              State          ZIP Code         
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.                                                 
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                             Student loans

               At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.81     Angela Holmes                                                                    Last 4 digits of account number
         _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                  $_________________
         Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
         2387 Hwy. 36 E.
         _____________________________________________________________
         Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Jackson                             GA       30233
         _____________________________________________________________                       Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                
                                                                                          ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                          
                                                                                          ✔   Disputed

               Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                   Student loans
               At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                   
                                                                                          ✔   Other. Specify
        
        ✔       No
               Yes


   Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                              29 of ___
                                                                                                                                                                                    546
                          Case
                       EDWARD   19-15175-abl
                              STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   46 of 648
                                                                                                                                    19-15175
 Debtor 1             _______________________________________________________                                  Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Total claim
4.82 Angela Lewis
        _____________________________________________________________                     Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                  $__________________
         412 Lovett Street                                                                When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.
         Sandersville                                     GA
        _____________________________________________________________
                                                                         31082
        City                                              State          ZIP Code            Contingent
                                                                                          
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                          
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                             Student loans
               Debtor 1 and Debtor 2 only
                                                                                             Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                       that you did not report as priority claims

               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.83 Angela Miller                                                                        Last 4 digits of account number                                          Unknown
                                                                                                                                                                  $__________________
        _____________________________________________________________                     When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         42 Hauer Drive
        _____________________________________________________________
        Number              Street
                                                                                          As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Jonesboro                           GA       30238                                   Contingent
        _____________________________________________________________
        City                                              State          ZIP Code         
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.                                                 
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                             Student loans

               At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.84     Angela Varner                                                                    Last 4 digits of account number
         _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                  $_________________
         Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
         42 Hauer Drive
         _____________________________________________________________
         Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Jonesboro                           GA       30238
         _____________________________________________________________                       Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                
                                                                                          ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                          
                                                                                          ✔   Disputed

               Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                   Student loans
               At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                   
                                                                                          ✔   Other. Specify
        
        ✔       No
               Yes


   Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                              30 of ___
                                                                                                                                                                                    546
                          Case
                       EDWARD   19-15175-abl
                              STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   47 of 648
                                                                                                                                    19-15175
 Debtor 1             _______________________________________________________                                  Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Total claim
4.85 Angelia Taulbert
        _____________________________________________________________                     Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                  $__________________
         1204 Schaub Drive                                                                When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street
         Unit D
        _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.
         Raleigh                                          NC
        _____________________________________________________________
                                                                         27606
        City                                              State          ZIP Code            Contingent
                                                                                          
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                          
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                             Student loans
               Debtor 1 and Debtor 2 only
                                                                                             Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                       that you did not report as priority claims

               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.86 Angeliqua Palmer                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                  $__________________
        _____________________________________________________________                     When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         128 Lockwood Street SW
        _____________________________________________________________
        Number              Street
                                                                                          As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Milledgeville                       GA       31061                                   Contingent
        _____________________________________________________________
        City                                              State          ZIP Code         
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.                                                 
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                             Student loans

               At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.87     Anitra Ward                                                                      Last 4 digits of account number
         _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                  $_________________
         Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
         2700 Westridge
         _____________________________________________________________
         Number             Street
         Apt 129                                                                          As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Houston                             TX       77054
         _____________________________________________________________                       Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                
                                                                                          ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                          
                                                                                          ✔   Disputed

               Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                   Student loans
               At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                   
                                                                                          ✔   Other. Specify
        
        ✔       No
               Yes


   Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                              31 of ___
                                                                                                                                                                                    546
                          Case
                       EDWARD   19-15175-abl
                              STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   48 of 648
                                                                                                                                    19-15175
 Debtor 1             _______________________________________________________                                  Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Total claim
4.88 Anitra Wilson
        _____________________________________________________________                     Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                  $__________________
         809 Pine Street                                                                  When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.
         Donaldsonville                                   LA
        _____________________________________________________________
                                                                         70346
        City                                              State          ZIP Code            Contingent
                                                                                          
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                          
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                             Student loans
               Debtor 1 and Debtor 2 only
                                                                                             Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                       that you did not report as priority claims

               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.89 Ann Olsen                                                                            Last 4 digits of account number                                          Unknown
                                                                                                                                                                  $__________________
        _____________________________________________________________                     When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         2022 Kirkham Way
        _____________________________________________________________
        Number              Street
                                                                                          As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Taylorsville                        UT       84123                                   Contingent
        _____________________________________________________________
        City                                              State          ZIP Code         
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.                                                 
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                             Student loans

               At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.90     Anna Holliday Rowell                                                             Last 4 digits of account number
         _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                  $_________________
         Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
         2310 Rocky Hollow Road
         _____________________________________________________________
         Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Jacksonville                        AL       36265
         _____________________________________________________________                       Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                
                                                                                          ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                          
                                                                                          ✔   Disputed

               Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                   Student loans
               At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                   
                                                                                          ✔   Other. Specify
        
        ✔       No
               Yes


   Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                              32 of ___
                                                                                                                                                                                    546
                          Case
                       EDWARD   19-15175-abl
                              STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   49 of 648
                                                                                                                                    19-15175
 Debtor 1             _______________________________________________________                                  Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Total claim
4.91 Anne Fredrickson
        _____________________________________________________________                     Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                  $__________________
         18651 N. 43rd Place                                                              When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.
         Phoenix                                          AZ
        _____________________________________________________________
                                                                         85050
        City                                              State          ZIP Code            Contingent
                                                                                          
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                          
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                             Student loans
               Debtor 1 and Debtor 2 only
                                                                                             Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                       that you did not report as priority claims

               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.92 Annie Mendez                                                                         Last 4 digits of account number                                          Unknown
                                                                                                                                                                  $__________________
        _____________________________________________________________                     When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         1461 Wesley Drive
        _____________________________________________________________
        Number              Street
                                                                                          As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Griffin                             GA       30224                                   Contingent
        _____________________________________________________________
        City                                              State          ZIP Code         
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.                                                 
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                             Student loans

               At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.93     Ansel Cole                                                                       Last 4 digits of account number
         _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                  $_________________
         Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
         4417 Pompano Drive
         _____________________________________________________________
         Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Tampa                               FL       33617
         _____________________________________________________________                       Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                
                                                                                          ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                          
                                                                                          ✔   Disputed

               Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                   Student loans
               At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                   
                                                                                          ✔   Other. Specify
        
        ✔       No
               Yes


   Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                              33 of ___
                                                                                                                                                                                    546
                          Case
                       EDWARD   19-15175-abl
                              STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   50 of 648
                                                                                                                                    19-15175
 Debtor 1             _______________________________________________________                                  Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Total claim
4.94 Anthony Bennett
        _____________________________________________________________                     Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                  $__________________
         8849 Woodland Avenue                                                             When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.
         Kansas City                                      MO
        _____________________________________________________________
                                                                         64131
        City                                              State          ZIP Code            Contingent
                                                                                          
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                          
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                             Student loans
               Debtor 1 and Debtor 2 only
                                                                                             Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                       that you did not report as priority claims

               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.95 Anthony Brown                                                                        Last 4 digits of account number                                          Unknown
                                                                                                                                                                  $__________________
        _____________________________________________________________                     When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         319 Rogers Avenue
        _____________________________________________________________
        Number              Street
                                                                                          As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Macon                               GA       31204                                   Contingent
        _____________________________________________________________
        City                                              State          ZIP Code         
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.                                                 
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                             Student loans

               At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.96     Anthony Contreras                                                                Last 4 digits of account number
         _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                  $_________________
         Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
         2300 S Park Avenue
         _____________________________________________________________
         Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Waco                                TX       76706
         _____________________________________________________________                       Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                
                                                                                          ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                          
                                                                                          ✔   Disputed

               Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                   Student loans
               At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                   
                                                                                          ✔   Other. Specify
        
        ✔       No
               Yes


   Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                              34 of ___
                                                                                                                                                                                    546
                          Case
                       EDWARD   19-15175-abl
                              STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   51 of 648
                                                                                                                                    19-15175
 Debtor 1             _______________________________________________________                                  Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Total claim
4.97 Anthony Cullum
        _____________________________________________________________                     Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                  $__________________
         5400 Memorial Drive                                                              When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street
         2E
        _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.
         Stone Mountain                                   GA
        _____________________________________________________________
                                                                         30083
        City                                              State          ZIP Code            Contingent
                                                                                          
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                          
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                             Student loans
               Debtor 1 and Debtor 2 only
                                                                                             Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                       that you did not report as priority claims

               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.98 Anthony Fitzsimmons                                                                  Last 4 digits of account number                                          Unknown
                                                                                                                                                                  $__________________
        _____________________________________________________________                     When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         1001 Boardwalk Cove
        _____________________________________________________________
        Number              Street
                                                                                          As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Jackson                             TN       38301                                   Contingent
        _____________________________________________________________
        City                                              State          ZIP Code         
                                                                                          ✔   Unliquidated
        Who incurred the debt? Check one.                                                 
                                                                                          ✔   Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                             Student loans

               At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.99     Anthony Flores                                                                   Last 4 digits of account number
         _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                  $_________________
         Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
         4100 Square Dance
         _____________________________________________________________
         Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         El Paso                             TX       79938
         _____________________________________________________________                       Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                
                                                                                          ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                          
                                                                                          ✔   Disputed

               Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                   Student loans
               At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                   
                                                                                          ✔   Other. Specify
        
        ✔       No
               Yes


   Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                              35 of ___
                                                                                                                                                                                    546
                        Case
                     EDWARD   19-15175-abl
                            STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   52 of 648
                                                                                                                                  19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.100 Anthony Hearst
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       722 Lincoln Circle                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Washington                                       GA
      _____________________________________________________________
                                                                       30673
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.101 Anthony Hill                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1831 Meadow Lane
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Decatur                             GA       30032                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.102 Anthony L. Walsh                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       4285 Hwy 81 West
       _____________________________________________________________
       Number             Street
       Lot 1                                                                            As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Hampton                             GA       30228
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            36 of ___
                                                                                                                                                                                  546
                        Case
                     EDWARD   19-15175-abl
                            STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   53 of 648
                                                                                                                                  19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.103 Anthony Levins
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       5763 Lexington Drive                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Columbus                                         GA
      _____________________________________________________________
                                                                       31907
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.104 Anthony O'Brien                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       PO Box 144
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Leivasy                             WV       26676                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.105 Anthony Smith                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       4124 Pinnacle Way
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Augusta                             GA       30906
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            37 of ___
                                                                                                                                                                                  546
                        Case
                     EDWARD   19-15175-abl
                            STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   54 of 648
                                                                                                                                  19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.106 Anthony Walker
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       6215 Cousin Drive                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Mebane                                           NC
      _____________________________________________________________
                                                                       27302
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.107 Antiard Hayes                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1766 Cahoon Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Atlanta                             GA       30310                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.108 Antoine Gauthier                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       211 West 4th Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Donaldsonville                      LA       70346
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            38 of ___
                                                                                                                                                                                  546
                        Case
                     EDWARD   19-15175-abl
                            STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   55 of 648
                                                                                                                                  19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.109 Antoine Wade
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       335 Rogers St.                                                                   When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       McDonough                                        GA
      _____________________________________________________________
                                                                       30135
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.110 Antoney Minish                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       61 Horizon Place
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Rainbow City                        AL       35906                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.111 Antonio Brown                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1444 N Tonti Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       New Orleans                         LA       70119
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            39 of ___
                                                                                                                                                                                  546
                        Case
                     EDWARD   19-15175-abl
                            STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   56 of 648
                                                                                                                                  19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.112 Antonio Dodd
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       761 Wellington Road                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Wellington                                       AL
      _____________________________________________________________
                                                                       36279
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.113 Antonio Easley                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       3046 Hillcrest Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Macon                               GA       31204                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.114 Antonio Hall                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       146 Plum Nelly Circle
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Bainbridge                          GA       39817
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            40 of ___
                                                                                                                                                                                  546
                        Case
                     EDWARD   19-15175-abl
                            STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   57 of 648
                                                                                                                                  19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.115 Antonio Law
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       5834 Colonnade Drive                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Rex                                              GA
      _____________________________________________________________
                                                                       30273
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.116 Antonio Murdock                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1410 Distinct Circle
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt D
       _______________________________________________________________________
       Fayetteville                        NC       28314                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.117 Antonio Rice                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       404 Snider Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       High Point                          NC       27268
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            41 of ___
                                                                                                                                                                                  546
                        Case
                     EDWARD   19-15175-abl
                            STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   58 of 648
                                                                                                                                  19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.118 Antonio Sarratt
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       214 Mill Street                                                                  When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Gaffney                                          SC
      _____________________________________________________________
                                                                       29341
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.119 Antwan Evans                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       11 Church Circle
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Mcdonough                           GA       30253                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.120 Antwan Souder                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1400 Donnelly Avenue SW
       _____________________________________________________________
       Number             Street
       C-12                                                                             As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Atlanta                             GA       30310
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            42 of ___
                                                                                                                                                                                  546
                        Case
                     EDWARD   19-15175-abl
                            STEVEN BURDEKIN                        Doc 31            Entered 08/26/19 17:22:59                     Page   59 of 648
                                                                                                                                    19-15175
 Debtor 1           _______________________________________________________                                    Case number (if known)_____________________________________
                    First Name       Middle Name             Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Total claim
4.121 Antwyne Warren
      _____________________________________________________________                       Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                   Unknown
                                                                                                                                                                  $__________________
       3204 West Main                                                                     When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.
       Belleville                                       IL
      _____________________________________________________________
                                                                         62220
      City                                              State            ZIP Code            Contingent
                                                                                          
                                                                                          ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                          
                                                                                          ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                             Student loans
             Debtor 1 and Debtor 2 only
                                                                                             Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                         that you did not report as priority claims

             Check if this claim is for a community debt                                    Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.122 Anzriell Smith                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                  $__________________
       _____________________________________________________________                      When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       210 E Main Street
       _____________________________________________________________
       Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Rome                                GA       30161                                    Contingent
       _____________________________________________________________
       City                                             State            ZIP Code         
                                                                                          ✔   Unliquidated
       Who incurred the debt? Check one.                                                  
                                                                                          ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                             Student loans

             At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
             Check if this claim is for a community debt                                    Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.123 April Bates                                                                         Last 4 digits of account number
       _____________________________________________________________                                                                                               Unknown
                                                                                                                                                                  $_________________
       Nonpriority Creditor’s Name                                                        When was the debt incurred?           ____________
       3445 Arbroath Drive
       _____________________________________________________________
       Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Douglasville                        GA       30135
       _____________________________________________________________                         Contingent
       City                                             State             ZIP Code
       Who incurred the debt? Check one.                                                  
                                                                                          ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                          
                                                                                          ✔   Disputed

             Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                     Student loans
             At least one of the debtors and another                                        Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
             Check if this claim is for a community debt                                    Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                     
                                                                                          ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                          page __
                                                                                                                                                                              43 of ___
                                                                                                                                                                                    546
                        Case
                     EDWARD   19-15175-abl
                            STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   60 of 648
                                                                                                                                  19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.124 Arianna Hernandez
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       200 N 35th Avenue                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       #63
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Greeley                                          CO
      _____________________________________________________________
                                                                       80634
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.125 Arielle Green                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       906 Cumberland Circle
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Minneola                            FL       34715                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.126 Arnetra Lamar                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       3410 Wilmington Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Macon                               GA       31204
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            44 of ___
                                                                                                                                                                                  546
                        Case
                     EDWARD   19-15175-abl
                            STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   61 of 648
                                                                                                                                  19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.127 Artavious McKinney
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       724 SW 69th Street                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Gainesville                                      FL
      _____________________________________________________________
                                                                       32607
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.128 Arthur Bicksler                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       136 Serenity Hills Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Cornelia                            GA       30548                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.129 Arthur Jordan                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       3643 W Chantrey Street
       _____________________________________________________________
       Number             Street
       #7                                                                               As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Memphis                             TN       38128
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            45 of ___
                                                                                                                                                                                  546
                        Case
                     EDWARD   19-15175-abl
                            STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   62 of 648
                                                                                                                                  19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.130 Arthur Mathis
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       681 Mt Zion Road                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt E4
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Jonesboro                                        GA
      _____________________________________________________________
                                                                       30236
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.131 Ashely Gray                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2280 Orleans Ave.
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Marietta                            GA       30062                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.132 Ashley Atwater                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       4900 Delane Road
       _____________________________________________________________
       Number             Street
       Apt 3A                                                                           As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Atlanta                             GA       30349
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            46 of ___
                                                                                                                                                                                  546
                        Case
                     EDWARD   19-15175-abl
                            STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   63 of 648
                                                                                                                                  19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.133 Ashley Brenes
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       4790 NW 196th Terrace                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Miami Garden                                     FL
      _____________________________________________________________
                                                                       33055
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.134 Ashley Clark                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       109 TRLR15 Embert Lane
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Shelby                              NC       28152                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.135 Ashley Smith                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       8380 Highway 54
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Sharpsburg                          GA       30277
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            47 of ___
                                                                                                                                                                                  546
                        Case
                     EDWARD   19-15175-abl
                            STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   64 of 648
                                                                                                                                  19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.136 Ashley Vitch
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1573 Athens Hwy                                                                  When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Elberton                                         GA
      _____________________________________________________________
                                                                       30635
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.137 Ashlynn Carmichael                                                                Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       4475 Hardwood St.
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Ladson                              SC       29456                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.138 Ashunqueate Cornell                                                               Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       381 Bass Street SW
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Atlanta                             GA       30310
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            48 of ___
                                                                                                                                                                                  546
                        Case
                     EDWARD   19-15175-abl
                            STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   65 of 648
                                                                                                                                  19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.139 Asiana Johnson
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       215 Jacobs Court                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Loganville                                       GA
      _____________________________________________________________
                                                                       30052
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.140 Atashia Fair                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       7000 Goodson Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Unit 141
       _______________________________________________________________________
       Union City                          GA       30291                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.141 Aubrey Davis                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       34B Somerset Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Sumter                              SC       29150
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            49 of ___
                                                                                                                                                                                  546
                        Case
                     EDWARD   19-15175-abl
                            STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   66 of 648
                                                                                                                                  19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.142 Audrey Poindexter
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       721 Natchez Railroad Avenue                                                      When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Jackson                                          MS
      _____________________________________________________________
                                                                       39203
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.143 Aundre Dendy                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       4224 Ogburn Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Winston Salem                       NC       27105                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.144 Austin Nelson                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       6081 Tidmore Bend Rd.
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Gadsden                             AL       35901
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            50 of ___
                                                                                                                                                                                  546
                        Case
                     EDWARD   19-15175-abl
                            STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   67 of 648
                                                                                                                                  19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.145 Avery Smith
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       6 Mallory Drive                                                                  When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       B
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Adairsville                                      GA
      _____________________________________________________________
                                                                       30103
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.146 Azell Harshaw                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       171 Hickman Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt 5
       _______________________________________________________________________
       Hudson                              NC       28638                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.147 Azure Ramirez                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1518 Cantrell Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Waco                                TX       76704
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            51 of ___
                                                                                                                                                                                  546
                        Case
                     EDWARD   19-15175-abl
                            STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   68 of 648
                                                                                                                                  19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.148 Bakimo Surall
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       7197 Raintree Loop                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Jonesboro                                        GA
      _____________________________________________________________
                                                                       30236
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.149 Barbara Hundrieser                                                                Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       101 E Villa Capri Circle
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt C
       _______________________________________________________________________
       Deland                              FL       32724                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.150 Barbara Jean Lisiecki                                                             Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       190 Carolina Crossin Blvd
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Little River                        SC       29566
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            52 of ___
                                                                                                                                                                                  546
                        Case
                     EDWARD   19-15175-abl
                            STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   69 of 648
                                                                                                                                  19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.151 Barbara Osborne
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       435 Tampa Gold Road                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Wedgefield                                       SC
      _____________________________________________________________
                                                                       29168
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.152 Barbara Saas                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1320 Fairview Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Stockbridge                         GA       30281                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.153 Barbara Smith                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       2511 Terri Lane
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Cocoa                               FL       32926
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            53 of ___
                                                                                                                                                                                  546
                        Case
                     EDWARD   19-15175-abl
                            STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   70 of 648
                                                                                                                                  19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.154 Barbara Wiley
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       130 Hunters Ridge                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Danville                                         VA
      _____________________________________________________________
                                                                       24540
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.155 Barbii Strong                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       6081 Tidmore Bend Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Gadsden                             AL       35901                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.156 Benjamin Griffin                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       488 McKenzie Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Milner                              GA       30257
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            54 of ___
                                                                                                                                                                                  546
                        Case
                     EDWARD   19-15175-abl
                            STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   71 of 648
                                                                                                                                  19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.157 Benjamin Leighton Gellespie
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1379 Gravely Road                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Pickens                                          SC
      _____________________________________________________________
                                                                       29671
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.158 Bernard Brown                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       5449 James Madison Hwy
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt 3
       _______________________________________________________________________
       Fork Union                          VA       23038                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.159 Bernard Davis                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       2352 Polar Rock Ave
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Atlanta                             GA       30315
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            55 of ___
                                                                                                                                                                                  546
                        Case
                     EDWARD   19-15175-abl
                            STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   72 of 648
                                                                                                                                  19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.160 Bernice Manuel
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       PO Box 223                                                                       When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Cascade                                          VA
      _____________________________________________________________
                                                                       24069
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.161 Bessie Baham                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       28950 Hoyt Lane
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Holden                              LA       70744                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.162 Bianca Ruiz                                                                       Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       538 Lincoln Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Calumet City                        IL       60409
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            56 of ___
                                                                                                                                                                                  546
                        Case
                     EDWARD   19-15175-abl
                            STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   73 of 648
                                                                                                                                  19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.163 Billie Ayala
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       3000 St Johns Avenue                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Palatka                                          FL
      _____________________________________________________________
                                                                       32177
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.164 Bobby Green                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       4135 W Bellfort
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt 40
       _______________________________________________________________________
       Houston                             TX       77025                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.165 Bonnie Dehn                                                                       Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       106 B Pete Jones Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Richland                            NC       28574
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            57 of ___
                                                                                                                                                                                  546
                        Case
                     EDWARD   19-15175-abl
                            STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   74 of 648
                                                                                                                                  19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.166 Bradford Burkholder
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       3301 Monroe Street NE                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Unit H89
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Albuquerque                                      NM
      _____________________________________________________________
                                                                       87110
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.167 Bradi Mose                                                                        Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       601 Waverly Lane
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Grand Junction                      CO       81504                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.168 Branden Scruggs                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       9414 West River Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Palmyra                             VA       22963
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            58 of ___
                                                                                                                                                                                  546
                        Case
                     EDWARD   19-15175-abl
                            STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   75 of 648
                                                                                                                                  19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.169 Brandon Barkley
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       76 Roger Street SE                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Atlanta                                          GA
      _____________________________________________________________
                                                                       30317
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.170 Brandon Bigelow                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       113 Norris Branch Ln
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Thomaston                           GA       30286                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.171 Brandon Bradwell                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       140 Peridot Place
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       College Park                        GA       30349
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            59 of ___
                                                                                                                                                                                  546
                        Case
                     EDWARD   19-15175-abl
                            STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   76 of 648
                                                                                                                                  19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.172 Brandon Carmichael
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1682 Hearthstone Court                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Jonesboro                                        GA
      _____________________________________________________________
                                                                       30236
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.173 Brandon Gray                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       3197 Pennington Circle
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Atlanta                             GA       30354                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.174 Brandon Gregg                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1194 N Lafayette Drive
       _____________________________________________________________
       Number             Street
       Apt 9                                                                            As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Sumter                              SC       29150
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            60 of ___
                                                                                                                                                                                  546
                        Case
                     EDWARD   19-15175-abl
                            STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   77 of 648
                                                                                                                                  19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.175 Brandon Henley
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       125 East Hall Street                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Augusta                                          GA
      _____________________________________________________________
                                                                       30901
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.176 Brandon Jones                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2305 Burroughs Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Atlanta                             GA       30315                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.177 Brandon Lee                                                                       Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       3016 Virginia Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Waycross                            GA       31503
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            61 of ___
                                                                                                                                                                                  546
                        Case
                     EDWARD   19-15175-abl
                            STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   78 of 648
                                                                                                                                  19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.178 Brandon Long
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       480 Brownlee Road                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt 33
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Jackson                                          GA
      _____________________________________________________________
                                                                       30233
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.179 Brandon Ray                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       3700 Ethel Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Waco                                TX       76707                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.180 Brandon Seth Gray                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1461 Wesley Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Griffin                             GA       30224
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            62 of ___
                                                                                                                                                                                  546
                        Case
                     EDWARD   19-15175-abl
                            STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   79 of 648
                                                                                                                                  19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.181 Brandon Strickland
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       3016 Virginia Avenue                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Waycross                                         GA
      _____________________________________________________________
                                                                       31503
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.182 Brandon Wells                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1935 Perry Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Jacksonville                        FL       32206                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.183 Brandy Fritsch                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       203 Ridgeway Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Shelby                              NC       28152
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            63 of ___
                                                                                                                                                                                  546
                        Case
                     EDWARD   19-15175-abl
                            STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   80 of 648
                                                                                                                                  19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.184 Brandy Nevels
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       5340 Winslow Xing North                                                          When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Lithonia                                         GA
      _____________________________________________________________
                                                                       30038
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.185 Braylon Stinson                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       4920 Broadleaf Court
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Dallas                              NC       28034                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.186 Breona Lewis                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       134 Carolina Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Mount Airy                          NC       27030
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            64 of ___
                                                                                                                                                                                  546
                        Case
                     EDWARD   19-15175-abl
                            STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   81 of 648
                                                                                                                                  19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.187 Brian Hawkins
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       8 Tree View Drive                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Lithonia                                         GA
      _____________________________________________________________
                                                                       30038
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.188 Brian Henderson                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2591 Etheridge Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt. A112
       _______________________________________________________________________
       Atlanta                             GA       30318                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.189 Brian Hines                                                                       Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       127 Flower Circle
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Coldwater                           MS       38618
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            65 of ___
                                                                                                                                                                                  546
                        Case
                     EDWARD   19-15175-abl
                            STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   82 of 648
                                                                                                                                  19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.190 Brian Jones
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       550 High Street                                                                  When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Huntingdon                                       TN
      _____________________________________________________________
                                                                       38344
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.191 Brian Lewis                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       6261 London Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       New Orleans                         LA       70122                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.192 Brian Njoroge                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       616 Walding Landing Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Hampton                             GA       30228
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            66 of ___
                                                                                                                                                                                  546
                        Case
                     EDWARD   19-15175-abl
                            STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   83 of 648
                                                                                                                                  19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.193 Brian Overton
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       208 Walnut Street                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Elizabeth CIty                                   NC
      _____________________________________________________________
                                                                       27909
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.194 Brian Ruffin                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2343 Basswood Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Augusta                             GU       30906                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.195 Briana Cobb                                                                       Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       PO Box 272
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Ailey                               GA       30410
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            67 of ___
                                                                                                                                                                                  546
                        Case
                     EDWARD   19-15175-abl
                            STEVEN BURDEKIN                        Doc 31            Entered 08/26/19 17:22:59                     Page   84 of 648
                                                                                                                                    19-15175
 Debtor 1           _______________________________________________________                                    Case number (if known)_____________________________________
                    First Name       Middle Name             Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Total claim
4.196 Briana Norwood
      _____________________________________________________________                       Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                   Unknown
                                                                                                                                                                  $__________________
       3643 Jackson Street                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.
       Lansing                                          IL
      _____________________________________________________________
                                                                         60438
      City                                              State            ZIP Code            Contingent
                                                                                          
                                                                                          ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                          
                                                                                          ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                             Student loans
             Debtor 1 and Debtor 2 only
                                                                                             Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                         that you did not report as priority claims

             Check if this claim is for a community debt                                    Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.197 Brier Creps                                                                         Last 4 digits of account number                                          Unknown
                                                                                                                                                                  $__________________
       _____________________________________________________________                      When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       112 Williams Road
       _____________________________________________________________
       Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Jacksonville                        NC       28540                                    Contingent
       _____________________________________________________________
       City                                             State            ZIP Code         
                                                                                          ✔   Unliquidated
       Who incurred the debt? Check one.                                                  
                                                                                          ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                             Student loans

             At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
             Check if this claim is for a community debt                                    Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.198 Brionna Mouzan                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                               Unknown
                                                                                                                                                                  $_________________
       Nonpriority Creditor’s Name                                                        When was the debt incurred?           ____________
       2105 Keithshier Court SE
       _____________________________________________________________
       Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Conyers                             GA       30013
       _____________________________________________________________                         Contingent
       City                                             State             ZIP Code
       Who incurred the debt? Check one.                                                  
                                                                                          ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                          
                                                                                          ✔   Disputed

             Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                     Student loans
             At least one of the debtors and another                                        Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
             Check if this claim is for a community debt                                    Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                     
                                                                                          ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                          page __
                                                                                                                                                                              68 of ___
                                                                                                                                                                                    546
                        Case
                     EDWARD   19-15175-abl
                            STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   85 of 648
                                                                                                                                  19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.199 Britney Gray
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       41074 S. Range Rd.                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Lot 32
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Ponchatoula                                      LA
      _____________________________________________________________
                                                                       70454
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.200 Brittaney Hain                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       6714 US Hwy 80 East
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Lot 815
       _______________________________________________________________________
       Marshall                            TX       75672                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.201 Brittany Brewington                                                               Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       3255 Emmaus Church Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Mount Olive                         NC       28365
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            69 of ___
                                                                                                                                                                                  546
                        Case
                     EDWARD   19-15175-abl
                            STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   86 of 648
                                                                                                                                  19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.202 Brittany Hicks
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       128 Railway Drive                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Pelham                                           NC
      _____________________________________________________________
                                                                       27311
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.203 Brittany Parnell                                                                  Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       511 Cox Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Campbellville                       KY       42718                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.204 Brittney Cook                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       480 Brownlee Road
       _____________________________________________________________
       Number             Street
       Apt 33                                                                           As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Jackson                             GA       30233
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            70 of ___
                                                                                                                                                                                  546
                        Case
                     EDWARD   19-15175-abl
                            STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   87 of 648
                                                                                                                                  19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.205 Brittney Dowdy
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       104 Claytor Road                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Brookneal                                        VA
      _____________________________________________________________
                                                                       24528
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.206 Broderick Hawkins                                                                 Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       8 Tree View Dirve
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Lithonia                            GA       30038                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.207 Broderick Jackson                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1668 Delano Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Decatur                             GA       30032
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            71 of ___
                                                                                                                                                                                  546
                        Case
                     EDWARD   19-15175-abl
                            STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   88 of 648
                                                                                                                                  19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.208 Bryan Laflamme
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       106 Mulberry Dr.                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Summerville                                      SC
      _____________________________________________________________
                                                                       29486
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.209 Bryant Dennis                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       9087 Huntwood Lane
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Riverdale                           GA       30274                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.210 Bryant Monchaud                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1225 Truxton Street
       _____________________________________________________________
       Number             Street
       Apt 2                                                                            As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Gretna                              LA       70053
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            72 of ___
                                                                                                                                                                                  546
                        Case
                     EDWARD   19-15175-abl
                            STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   89 of 648
                                                                                                                                  19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.211 Bryant Portee
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       90 Spencer Lane                                                                  When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Rembert                                          SC
      _____________________________________________________________
                                                                       29128
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.212 Bryce Kotnick                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       4597 Targhee Place
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Chubbuck                            ID       83202                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.213 Bryndis Henderson                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       497 Boulevard Place NE
       _____________________________________________________________
       Number             Street
       Apt 203                                                                          As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Atlanta                             GA       30308
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            73 of ___
                                                                                                                                                                                  546
                        Case
                     EDWARD   19-15175-abl
                            STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   90 of 648
                                                                                                                                  19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.214 Bryon Carter
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       3150 Briarcliff Road NE                                                          When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt J
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Atlanta                                          GA
      _____________________________________________________________
                                                                       30329
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.215 Buffey Reed                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2387 HWY 36 E
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Jackson                             GA       30233                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.216 Byron Hawkins                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       2510 Birchfield St NW
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Huntsville                          AL       35810
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            74 of ___
                                                                                                                                                                                  546
                        Case
                     EDWARD   19-15175-abl
                            STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   91 of 648
                                                                                                                                  19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.217 C/O Matt Whaley
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       9555 County Rd. 134                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Valley Head                                      AL
      _____________________________________________________________
                                                                       35989
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.218 Cailee Januss                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       4651 Gunderson Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Waterford                           WI       53185                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.219 Caleb Harshaw                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       3394 Laws Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Lenoir                              NC       28645
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            75 of ___
                                                                                                                                                                                  546
                        Case
                     EDWARD   19-15175-abl
                            STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   92 of 648
                                                                                                                                  19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.220 Caleb Nelson
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       3431 West Meighan Blvd                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Gadsden                                          AL
      _____________________________________________________________
                                                                       35904
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.221 Caleb Wynne                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       309 Sunset Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Marshall                            TX       75672                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.222 Calistro Lopez                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       8902 N. 19th Ave.
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Phoenix                             AZ       85021
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            76 of ___
                                                                                                                                                                                  546
                        Case
                     EDWARD   19-15175-abl
                            STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   93 of 648
                                                                                                                                  19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.223 Callie Smith
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       5250 Spencer Hale Road                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Morristown                                       NC
      _____________________________________________________________
                                                                       37813
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.224 Calvin Bashir                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       3932 McGill Court
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Decatur                             GA       30034                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.225 Calvin Jackson                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1751 W Nettleton Avneu
       _____________________________________________________________
       Number             Street
       Apt 202E                                                                         As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Jonesboro                           AR       72401
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            77 of ___
                                                                                                                                                                                  546
                        Case
                     EDWARD   19-15175-abl
                            STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   94 of 648
                                                                                                                                  19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.226 Camaron Higgs
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       9870 Old Savannah Road                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Sandersville                                     GA
      _____________________________________________________________
                                                                       31082
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.227 Camina A. Taylor                                                                  Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1619 North 5th Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt. C
       _______________________________________________________________________
       Leavenworth                         KS       66048                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.228 Candace Irvin                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       846 E Confederate Avenue SE
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Atlanta                             GA       30316
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            78 of ___
                                                                                                                                                                                  546
                        Case
                     EDWARD   19-15175-abl
                            STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   95 of 648
                                                                                                                                  19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.229 Capital One
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 904.43
                                                                                                                                                                $__________________
       PO Box 71803                                                                     When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Charlotte                                        NC
      _____________________________________________________________
                                                                       28272
      City                                              State          ZIP Code            Contingent
                                                                                           Unliquidated
      Who incurred the debt? Check one.
                                                                                           Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify Credit Card Debt
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.230 Caretha Bunn                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       13226 Soujourner Court
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt 14
       _______________________________________________________________________
       Newport News                        VA       23602                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.231 Carl Koches                                                                       Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       787 Swanson Ave.
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Charleston                          SC       29412
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            79 of ___
                                                                                                                                                                                  546
                        Case
                     EDWARD   19-15175-abl
                            STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   96 of 648
                                                                                                                                  19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.232 Carl Vogel
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       405 Pettyjohn Road                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Kingsport                                        TN
      _____________________________________________________________
                                                                       37664
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.233 Carlos Mckie                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1839 B Wrightsboro Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Augusta                             GA       30904                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.234 Carlos Sanchez                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       3875 San Pablo Road S
       _____________________________________________________________
       Number             Street
       Apt 408                                                                          As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Jacksonville                        FL       32224
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            80 of ___
                                                                                                                                                                                  546
                        Case
                     EDWARD   19-15175-abl
                            STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   97 of 648
                                                                                                                                  19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.235 Carolina Amador
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       2130 Franklin Avenue                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       New Orleans                                      LA
      _____________________________________________________________
                                                                       70117
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.236 Carolyn Davis                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       Unknown
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Unknown                             NC       Unknown                                Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.237 Carrie Adams                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       107 Forest Morrison Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Lawndale                            NC       28090
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            81 of ___
                                                                                                                                                                                  546
                        Case
                     EDWARD   19-15175-abl
                            STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   98 of 648
                                                                                                                                  19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.238 Cartious Wright
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       40 Candler Road                                                                  When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Atlanta                                          GA
      _____________________________________________________________
                                                                       30317
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.239 Case Hess                                                                         Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1022 Friendly Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Trl 4
       _______________________________________________________________________
       Eden                                NC       27288                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.240 Casey Herring                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       106 W Main Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Lexington                           GA       30648
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            82 of ___
                                                                                                                                                                                  546
                        Case
                     EDWARD   19-15175-abl
                            STEVEN BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                     Page   99 of 648
                                                                                                                                  19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.241 Casey Roach
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       107 Pickens Drive                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt 39
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Pickens                                          SC
      _____________________________________________________________
                                                                       29671
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.242 Cass Smith                                                                        Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2308 Old Compton Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt A2
       _______________________________________________________________________
       Harvey                              LA       70058                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.243 Catarious Ricks                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       108 MLK Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Valley City                         AL       36854
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            83 of ___
                                                                                                                                                                                  546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  100 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.244 Cathy Harvey
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       311 Orange Street                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Arlington                                        TX
      _____________________________________________________________
                                                                       76012
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.245 Cathy McAlister                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1379 Gravely Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Pickens                             SC       29671                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.246 Cecilia Payne                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       530 Crisp Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Macon                               GA       31206
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            84 of ___
                                                                                                                                                                                  546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  101 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.247 Cedrick Gibson
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       11823 Parker Lakes Drive                                                         When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Jacksonville                                     FL
      _____________________________________________________________
                                                                       32221
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.248 Celia Julian                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       207 Mendel Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Savannah                            GA       31406                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.249 Chad Mincher                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       2070 Carter Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Madisonville                        KY       42431
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            85 of ___
                                                                                                                                                                                  546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  102 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.250 Chadwick Holt
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       3400 Shady Hill Drive                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt B78
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Baytown                                          TX
      _____________________________________________________________
                                                                       77521
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.251 Chamaro Steele                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2720 N Prieur Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       New Orleans                         LA       70119                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.252 Chance Turner                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       7245 Buck Creek Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Fairburn                            GA       30213
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            86 of ___
                                                                                                                                                                                  546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  103 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.253 Chandra Philpolt
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       120 Riverknoll Court                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Fayetteville                                     GA
      _____________________________________________________________
                                                                       30214
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.254 Chantavia Collins                                                                 Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       5777 Forrest Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Columbua                            GA       31907                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.255 Chantez Jackson                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       99 Park Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Atlanta                             GA       30315
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            87 of ___
                                                                                                                                                                                  546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  104 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.256 Charise Vines
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1920 Peach Orchard Road                                                          When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Lot 2
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Sumter                                           SC
      _____________________________________________________________
                                                                       29154
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.257 Charity Faulkner                                                                  Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       109 N. Rochester Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Burlington                          WI       53105                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.258 Charles Arnold                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1714 Atherton Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Decatur                             GA       30035
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            88 of ___
                                                                                                                                                                                  546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  105 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.259 Charles Barnes
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1291 Juniper Drive                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       C
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Gilroy                                           CA
      _____________________________________________________________
                                                                       95020
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.260 Charles Carter                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       145 Wilson Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Stockbridge                         GA       30281                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.261 Charles Godfrey                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       5 Genesis Place
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Los Lunas                           NM       87031
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            89 of ___
                                                                                                                                                                                  546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  106 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.262 Charles McCarty
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       2102 Tree Crest Pkwy                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Decatur                                          GA
      _____________________________________________________________
                                                                       30035
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.263 Charles Michael Houston                                                           Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       128 Maltba Rd
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Newland                             NC       28657                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.264 Charles Soukup                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       20214 Misty Pines Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Humble                              TX       77346
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            90 of ___
                                                                                                                                                                                  546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  107 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.265 Charles Varner
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       42 Haverd Drive                                                                  When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Jonesboro                                        GA
      _____________________________________________________________
                                                                       30238
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.266 Charles White                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1110 12th Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Augusta                             GA       30901                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.267 Charlie Smith                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       622 Hwy 49 South
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Americus                            GA       31719
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            91 of ___
                                                                                                                                                                                  546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  108 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.268 Charman Williams
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       PO Box 44                                                                        When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Haddick                                          GA
      _____________________________________________________________
                                                                       31033
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.269 Chase Newsome                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       5033 KY Route 680
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Grethel                             KY       41631                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.270 Chase Rogers                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       21571 Dunn
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       New Caney                           TX       77357
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            92 of ___
                                                                                                                                                                                  546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  109 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.271 Chasity Holt
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       2327 East Faylest                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Baytown                                          TX
      _____________________________________________________________
                                                                       77521
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.272 Chavoris Norman                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       114 Davis Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Milledgeville                       GA       31061                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.273 Chelsey Carter                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       4818 Ryan Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Ackworth                            GA       30102
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            93 of ___
                                                                                                                                                                                  546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  110 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.274 Cheryl Stivers
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       3850 Flat Creek Road                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Frankfort                                        KY
      _____________________________________________________________
                                                                       40601
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.275 Chester Thirkield                                                                 Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2125 Joseph E. Boone Blvd. NW
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt. 13D
       _______________________________________________________________________
       Atlanta                             GA       30314                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.276 Chicora Everett                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       175 Gray Town Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Jacksonville                        NC       28540
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            94 of ___
                                                                                                                                                                                  546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  111 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.277 Chris Allan Mccubbin
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       311 Orange St.                                                                   When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Arlington                                        TX
      _____________________________________________________________
                                                                       76012
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.278 Chris Benson                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       210 Edgerton Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Kansas City                         KS       66101                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.279 Chris Brammer                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       6125 Kingsport Hwy 10
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Johnson City                        TN       37615
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            95 of ___
                                                                                                                                                                                  546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  112 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.280 Chris Coast
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       755 Hennepin Terrace                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       McDonough                                        GA
      _____________________________________________________________
                                                                       30253
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.281 Chris Garegnani                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2235 Hwy 247
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Belton                              SC       29627                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.282 Chris Homeles                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       800 Sunset Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Atlanta                             GA       30308
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            96 of ___
                                                                                                                                                                                  546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  113 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.283 Chris Rich
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       2531 Shorter Avenue                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Lot 53
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Rome                                             GA
      _____________________________________________________________
                                                                       30165
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.284 Chris Strong                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       6081 Tidmore Bend Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Gadsden                             AL       35901                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.285 Chris Vasser                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       2531 Shorter Avenue
       _____________________________________________________________
       Number             Street
       #53                                                                              As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Rome                                GA       30165
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            97 of ___
                                                                                                                                                                                  546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  114 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.286 Chris Watford
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       329 Beauville Drive                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Dothan                                           AL
      _____________________________________________________________
                                                                       36303
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.287 Chrisitan Mejia                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2242 NW 4th Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Miami                               FL       33125                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.288 Christa Worthen                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       238 Stuart Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Chubbuck                            ID       83202
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            98 of ___
                                                                                                                                                                                  546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  115 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.289 Christal Daniels
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       521 Erie Street                                                                  When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Jackson                                          MS
      _____________________________________________________________
                                                                       39203
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.290 Christi Lee Witt                                                                  Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       PO Box 403
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Diana                               TX       75640                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.291 Christian Gage Jackson                                                            Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       139 East Chicken Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Chester                             GA       31012
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            99 of ___
                                                                                                                                                                                  546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  116 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.292 Christian Gray
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1461 Wesley Drive                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Griffin                                          GA
      _____________________________________________________________
                                                                       30224
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.293 Christina Crisp                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       413 Hummingbird Lane
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Poteet                              TX       78065                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.294 Christina Isais                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       146 Rancho Manor Court
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       San Jose                            CA       95111
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            100
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  117 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.295 Christine Caldwell
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       9964 Legacy Drive                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Fort Worth                                       TX
      _____________________________________________________________
                                                                       76108
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.296 Christine Wheeler                                                                 Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       311 Orange Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Arlington                           TX       76012                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.297 Christon Anthony                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       3619 San SebastianDrive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Hephzibah                           GA       30815
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            101
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                        Doc 31             Entered 08/26/19 17:22:59                   Page  118 of 648
                                                                                                                                  19-15175
 Debtor 1           _______________________________________________________                                    Case number (if known)_____________________________________
                    First Name       Middle Name             Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Total claim
4.298 Christopher Baker
      _____________________________________________________________                       Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                   Unknown
                                                                                                                                                                  $__________________
       8656 S. Keeler Ave.                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt. 2
      _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.
       Chicago                                          IL
      _____________________________________________________________
                                                                         60652
      City                                              State            ZIP Code            Contingent
                                                                                          
                                                                                          ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                          
                                                                                          ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                             Student loans
             Debtor 1 and Debtor 2 only
                                                                                             Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                         that you did not report as priority claims

             Check if this claim is for a community debt                                    Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.299 Christopher Carpenter                                                               Last 4 digits of account number                                          Unknown
                                                                                                                                                                  $__________________
       _____________________________________________________________                      When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       376 Navaho Rd.
       _____________________________________________________________
       Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Locust Grove                        GA       30248                                    Contingent
       _____________________________________________________________
       City                                             State            ZIP Code         
                                                                                          ✔   Unliquidated
       Who incurred the debt? Check one.                                                  
                                                                                          ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                             Student loans

             At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
             Check if this claim is for a community debt                                    Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.300 Christopher George                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                               Unknown
                                                                                                                                                                  $_________________
       Nonpriority Creditor’s Name                                                        When was the debt incurred?           ____________
       6638 Etterlee Drive
       _____________________________________________________________
       Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Stone Mountain                      GA       30087
       _____________________________________________________________                         Contingent
       City                                             State             ZIP Code
       Who incurred the debt? Check one.                                                  
                                                                                          ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                          
                                                                                          ✔   Disputed

             Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                     Student loans
             At least one of the debtors and another                                        Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
             Check if this claim is for a community debt                                    Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                     
                                                                                          ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                          page __
                                                                                                                                                                              102
                                                                                                                                                                                  of ___
                                                                                                                                                                                     546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  119 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.301 Christopher Karrick
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       2408 Echo Valley Road                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Lily                                             KY
      _____________________________________________________________
                                                                       40740
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.302 Christopher Lamar Pennyman                                                        Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       222 W. Moores Crossing Rd.
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Thomaston                           GA       30286                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.303 Christopher Lovett                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1992 Lovejoy Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Hampton                             GA       30228
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            103
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  120 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.304 Christopher Magallanes
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       8725 W Sheridan Street                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Phoenix                                          AZ
      _____________________________________________________________
                                                                       85037
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.305 Christopher Martinez                                                              Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       8430 Antoine Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt 174
       _______________________________________________________________________
       Houston                             TX       77088                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.306 Christopher McClattie                                                             Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1807 Arch Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Augusta                             GA       30904
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            104
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  121 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.307 Christopher Rouse
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       517 Greenridge Road                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Snow Hill                                        NC
      _____________________________________________________________
                                                                       28580
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.308 Christopher Sims                                                                  Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       616 Kinley Lane
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Stockbridge                         GA       30281                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.309 Christopher Thomas                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       908 Coleman Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Atlanta                             GA       30310
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            105
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  122 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.310 Christopher Thompkins
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       8337 Beechwood Court                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Riverdale                                        GA
      _____________________________________________________________
                                                                       30274
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.311 Ciente Day                                                                        Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       335 North 2nd Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Depo                                IL       62239                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.312 Cinard Floyd                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       6479 East Meyer Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Morrow                              GA       30260
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            106
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  123 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.313 Cindy Robbins
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       3632 Mill Lake Drive                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Douglasville                                     GA
      _____________________________________________________________
                                                                       30135
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.314 Citibank, N.A.                                                                    Last 4 digits of account number       9381                               228.43
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       P.O. Box 6191
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Sioux Falls                         SD       57117                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code            Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify Credit Card Debt
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.315 Claranda Green                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       260 Pebble Ridge Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Covington                           GA       30014
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            107
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  124 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.316 Claudia Espinosa
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       5077 NW 7th Street                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Miami                                            FL
      _____________________________________________________________
                                                                       33126
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.317 Clifton McFadden III                                                              Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       110 Fieldcrest Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Jacksonville                        NC       28546                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.318 Clyde Mack                                                                        Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       774 Copley Court
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Stone Mountain                      GA       30088
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            108
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  125 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.319 Cody Moody
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       109 Hibiscus Drive                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Interlachen                                      FL
      _____________________________________________________________
                                                                       32148
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.320 Cody Smith                                                                        Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       7761 US Highway 158 West
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Reidsville                          NC       27320                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.321 Constance Lee                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       809 Carswell Terrace
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Arlington                           TX       76010
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            109
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  126 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.322 Corey Gaddy
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       232 Keswick Avenue                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Charlotte                                        NC
      _____________________________________________________________
                                                                       28206
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.323 Corey Gaines                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       640 Hooter Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Bridge City                         LA       70094                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.324 Corey McCarson                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       6371 Highway 252
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Donalds                             SC       29638
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            110
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  127 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.325 Corey Simmons
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       757 Hwy 24 E                                                                     When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Milledgeville                                    GA
      _____________________________________________________________
                                                                       31061
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.326 Corey Stepp                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1515 Hogansville Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt 150
       _______________________________________________________________________
       Lagrange                            GA       30241                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.327 Corey Turner                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1518 Old Heritage Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Orlando                             FL       32839
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            111
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  128 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.328 Corey Walker
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       206 S Lafayette Street                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt B
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Marshall                                         TX
      _____________________________________________________________
                                                                       75670
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.329 Corey Williams                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       5530 Old Dixie Hwy
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt R5
       _______________________________________________________________________
       Forest Park                         GA       30297                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.330 Cornelia Dunbar                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       2910 Blan Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Columbus                            GA       31903
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            112
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  129 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.331 Cornell Harrell
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       2200 Godby Road                                                                  When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       G6
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       College Park                                     GA
      _____________________________________________________________
                                                                       30349
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.332 Cornicklous Banks                                                                 Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       36 E Patricia Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Sumter                              SC       29150                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.333 Cortney Asberry                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       819 Humphries Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Atlanta                             GA       30310
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            113
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  130 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.334 Courtney Franks
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       131 Dodd Blvd                                                                    When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt E1
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Rome                                             GA
      _____________________________________________________________
                                                                       30161
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.335 Courtney Lamb                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1554 Ponder Trammell Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Juliette                            GA       31046                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.336 Courtney Nelson                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       130 Brewer Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Kingston                            GA       30145
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            114
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  131 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.337 Courtney Newton
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       4940 Campbell Drive                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Atlanta                                          GA
      _____________________________________________________________
                                                                       30349
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.338 Courtney Stripling                                                                Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       124 Norman Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Washington                          ga       30673                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.339 Craig Harley                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       4936 Rancho Court
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Winston                             GA       30187
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            115
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  132 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.340 Craig Joiner
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       PO Box 291                                                                       When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Rock Hall                                        MD
      _____________________________________________________________
                                                                       21661
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.341 Cristy Lusk                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       144 Boyce Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Anderson                            SC       29625                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.342 Crystal Drennan                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       2701 Lynnwood Drive
       _____________________________________________________________
       Number             Street
       #241                                                                             As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Arlington                           TX       76013
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            116
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  133 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.343 Crystal Jacobs
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       418 A Blueberry Street                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Mount Vernon                                     GA
      _____________________________________________________________
                                                                       30445
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.344 Crystal Rickett                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1522 East Powell Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Ft Worth                            TX       76104                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.345 Crystal Williams                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       504 Stephens Street SW
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Atlanta                             GA       30310
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            117
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  134 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.346 Cubit Spaulding
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       767 E 216 St.                                                                    When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt 2
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Bronx                                            NY
      _____________________________________________________________
                                                                       10467
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.347 Curtis Askew                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       206 Ravenwood Way
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Warner Robbins                      GA       31093                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.348 Curtis Copeland                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       115 Greenhill Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Campbellsville                      KY       42718
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            118
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  135 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.349 Curtis Hicks
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       128 Railway Drive                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Pelham                                           NC
      _____________________________________________________________
                                                                       27311
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.350 D'Andre Hollis                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       4190 Grant Forest Cir.
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Ellenwood                           GA       30294                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.351 D'Lisa Curry                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       21132 Dunn
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       New Caney                           TX       77357
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            119
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                      CaseSTEVEN
                    EDWARD 19-15175-abl
                                 BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  136 of 648
                                                                                                                               19-15175
Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
    
    ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                                 Total claim
4.352 Da'Monta Miller
      _____________________________________________________________                    Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                Unknown
                                                                                                                                                               $__________________
       501 Goodwin Avenue                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street
       Apt D
      _______________________________________________________________________
                                                                                       As of the date you file, the claim is: Check all that apply.
       Anniston                                        AL
      _____________________________________________________________
                                                                      36201
      City                                             State          ZIP Code            Contingent
                                                                                       
                                                                                       ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                       
                                                                                       ✔   Disputed
      
      ✔      Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
            Debtor 2 only
                                                                                          Student loans
            Debtor 1 and Debtor 2 only
                                                                                          Obligations arising out of a separation agreement or divorce
            At least one of the debtors and another                                       that you did not report as priority claims

            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                       
                                                                                       ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.353 Da'rell Wilson                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                               $__________________
      _____________________________________________________________                    When was the debt incurred?           ____________
      Nonpriority Creditor’s Name
       1854 Voorhies Road
      _____________________________________________________________
      Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Jacksonville                        FL       32209                                  Contingent
      _____________________________________________________________
      City                                             State          ZIP Code         
                                                                                       ✔   Unliquidated
      Who incurred the debt? Check one.                                                
                                                                                       ✔   Disputed
      
      ✔      Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
            Debtor 2 only
            Debtor 1 and Debtor 2 only
                                                                                          Student loans

            At least one of the debtors and another
                                                                                          Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                       
                                                                                       ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.354 DaShawn Ross                                                                     Last 4 digits of account number
      _____________________________________________________________                                                                                             Unknown
                                                                                                                                                               $_________________
      Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       812 Thesslonia Road
      _____________________________________________________________
      Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Bremo Bluff                         VA       23022
      _____________________________________________________________                       Contingent
      City                                             State           ZIP Code
      Who incurred the debt? Check one.                                                
                                                                                       ✔   Unliquidated

      
      ✔      Debtor 1 only
                                                                                       
                                                                                       ✔   Disputed

            Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                                   Student loans
            At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  
                                                                                       ✔   Other. Specify
      
      ✔      No
            Yes


  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                           120
                                                                                                                                                                               of ___
                                                                                                                                                                                  546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  137 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.355 DaVonte Zack
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       2601 Roosevelt Hwy.                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt. A3
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       College Park                                     GA
      _____________________________________________________________
                                                                       30337
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.356 Daina Carr                                                                        Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       311 Cedar Creek Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Winder                              GA       30580                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.357 Dakota Crowell                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       177 Brittany Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Woodville                           AL       35776
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            121
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  138 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.358 Dakota Johnson
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       2955 N River Road                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Waterford                                        WI
      _____________________________________________________________
                                                                       53185
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.359 Dakota Kongphila                                                                  Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       7905 W Shore Circle
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Riverdale                           GA       30296                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.360 Dakota Rushing                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       PO Box 374
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Diana                               TX       75640
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            122
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  139 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.361 Dalano Nevels
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       2780 Napier Avenue                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Macon                                            GA
      _____________________________________________________________
                                                                       31204
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.362 Daliyah Ray                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       126 Johnson Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Red Springs                         NC       28377                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.363 Dalton Hamilton                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       16903 Blue Breeze
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Elmondorft                          TX       78112
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            123
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  140 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.364 Dalvin Jenkins
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       6621 Klein Peter Road                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Baton Rouge                                      LA
      _____________________________________________________________
                                                                       70811
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.365 Damarcus Dukes                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       6350 Oakley Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt 1605
       _______________________________________________________________________
       Union City                          GA       30291                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.366 Damion Bradwell                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       140 Peridot Place
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       College Park                        GA       30349
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            124
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  141 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.367 Damita Wallace
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       3351 N Lumpkin Road                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       #5303
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Columbus                                         GA
      _____________________________________________________________
                                                                       31903
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.368 Dammian Mickens                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2808 Jordan Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Augusta                             GA       30906                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.369 Damon Stewart                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       7348 Highview Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Columbia                            SC       29223
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            125
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  142 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.370 Dana Richards
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       2116 Reedy Branch Road                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Eastman                                          GA
      _____________________________________________________________
                                                                       31023
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.371 Dandre Ridley                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       5401 Old National Hwy
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       707
       _______________________________________________________________________
       College Park                        GA       30349                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.372 Daniel Brown                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       107 Brooksdale Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Warner Robins                       GA       31088
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            126
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  143 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.373 Daniel De La Rosa
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       10215 Beechnut Street                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt 1001
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Houston                                          TX
      _____________________________________________________________
                                                                       77072
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.374 Daniel Lee Rawlins                                                                Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       125 Quail Trail
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Jackson                             GA       30233                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.375 Daniel Nelson                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       7240 W. Turqoise Ave.
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Peoria                              AZ       85245
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            127
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  144 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.376 Daniel Smith
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1022 Friendly Road                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Lot A1
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Eden                                             NC
      _____________________________________________________________
                                                                       27288
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.377 Danielle Lindsey                                                                  Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       202 Chuck Circle
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Warner Robbins                      GA       31093                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.378 Danielle Riles                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       3110 Eydie Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Dalzell                             SC       29040
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            128
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  145 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.379 Danielle Rutledge
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       15 Sycamore Lane                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Albertville                                      AL
      _____________________________________________________________
                                                                       35950
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.380 Danny Franklin                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       4701 Fort Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt 54
       _______________________________________________________________________
       Waco                                TX       76710                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.381 Danny Howard                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       524 North Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Richmond                            KY       40475
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            129
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  146 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.382 Dany Morales
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       5450 Peps St.                                                                    When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Orlando                                          FL
      _____________________________________________________________
                                                                       32807
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.383 Darell Bennett                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1135 Rhonda Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Sumter                              SC       29154                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.384 Darin Brooks                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       806 Harmon Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Dothan                              AL       36301
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            130
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  147 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.385 Darius McPowell
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       131 Burney Road                                                                  When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Gordon                                           GA
      _____________________________________________________________
                                                                       31031
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.386 Darius Wilder                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       Unknown
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Unknown
       _______________________________________________________________________
       Conway                              SC                                              Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.387 Darlene Sanford                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1418 Valley Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Attalla                             AL       35954
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            131
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  148 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.388 Darrell Asberry
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       221 July Lane SW                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Atlanta                                          GA
      _____________________________________________________________
                                                                       30315
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.389 Darrell Mickens                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       465 Coachman Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Sumter                              SC       29154                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.390 Darrell Powell                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       608 East Evans Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Bonifay                             FL       32425
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            132
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  149 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.391 Darren Parker
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1516 Columbia College                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Columbia                                         SC
      _____________________________________________________________
                                                                       29205
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.392 Darryl Cole                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       3950 Cole Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Jamestown                           NC       27262                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.393 Darvon Coles                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1559 Montreat Place SW Side
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Atlanta                             GA       30311
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            133
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  150 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.394 Daryl Hamilton
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1615 Myrtle Walk                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Baton Rouge                                      LA
      _____________________________________________________________
                                                                       70802
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.395 Daryl Whittaker                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2022 N Carrolton Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Indianpolis                         IN       46229                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.396 Davia Chandler                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1683 Terrell Ridge Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Marietta                            GA       30067
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            134
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  151 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.397 David Allen Naundorff
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       548 Cactus Lane                                                                  When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Hartsville                                       SC
      _____________________________________________________________
                                                                       29550
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.398 David Astin                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       7395 Cascade-Palmetto Hwy
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Palmetto                            GA       30268                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.399 David Brown                                                                       Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1414 Westood Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Winchester                          KY       40391
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            135
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  152 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.400 David Cuffe
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1150 Mt Gilead Road                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Jacksonville                                     AL
      _____________________________________________________________
                                                                       36265
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.401 David Eugene Oden                                                                 Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       542 Piedmont Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Barnesville                         GA       30204                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.402 David Jackson                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       2800 Middleburg Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       College Park                        GA       30349
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            136
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  153 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.403 David Lee
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       153 S Fillmore Avenue                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Louisville                                       CO
      _____________________________________________________________
                                                                       80027
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.404 David Lovan                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       8583 Santa Rosa Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Frisco                              TX       75033                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.405 David McLeod                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       5841 Charlie Little Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Granite Falls                       NC       28630
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            137
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  154 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.406 David Minero Molina
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       3644 Maxson Road                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt Q
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       El Monte                                         CA
      _____________________________________________________________
                                                                       91732
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.407 David Richardson                                                                  Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1605 1st Avenue West
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Birmingham                          AL       35208                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.408 David Tutor                                                                       Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       803 South Roden Lane
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Gladewater                          TX       75647
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            138
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                      CaseSTEVEN
                    EDWARD 19-15175-abl
                                 BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  155 of 648
                                                                                                                               19-15175
Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
    
    ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                                 Total claim
4.409 David Umana
      _____________________________________________________________                    Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                Unknown
                                                                                                                                                               $__________________
       200 Kings Pond Drive                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street
       Apt 212
      _______________________________________________________________________
                                                                                       As of the date you file, the claim is: Check all that apply.
       Jacksonville                                    NC
      _____________________________________________________________
                                                                      28546
      City                                             State          ZIP Code            Contingent
                                                                                       
                                                                                       ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                       
                                                                                       ✔   Disputed
      
      ✔      Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
            Debtor 2 only
                                                                                          Student loans
            Debtor 1 and Debtor 2 only
                                                                                          Obligations arising out of a separation agreement or divorce
            At least one of the debtors and another                                       that you did not report as priority claims

            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                       
                                                                                       ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.410 David Waters                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                               $__________________
      _____________________________________________________________                    When was the debt incurred?           ____________
      Nonpriority Creditor’s Name
       411 Curtis Road
      _____________________________________________________________
      Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Greenville                          SC       29611                                  Contingent
      _____________________________________________________________
      City                                             State          ZIP Code         
                                                                                       ✔   Unliquidated
      Who incurred the debt? Check one.                                                
                                                                                       ✔   Disputed
      
      ✔      Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
            Debtor 2 only
            Debtor 1 and Debtor 2 only
                                                                                          Student loans

            At least one of the debtors and another
                                                                                          Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                       
                                                                                       ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.411 Dawn Crum                                                                        Last 4 digits of account number
      _____________________________________________________________                                                                                             Unknown
                                                                                                                                                               $_________________
      Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1948 Park Drive
      _____________________________________________________________
      Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Corinth                             MS       38834
      _____________________________________________________________                       Contingent
      City                                             State           ZIP Code
      Who incurred the debt? Check one.                                                
                                                                                       ✔   Unliquidated

      
      ✔      Debtor 1 only
                                                                                       
                                                                                       ✔   Disputed

            Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                                   Student loans
            At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  
                                                                                       ✔   Other. Specify
      
      ✔      No
            Yes


  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                           139
                                                                                                                                                                               of ___
                                                                                                                                                                                  546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  156 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.412 Dawn Farrell
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       555 Shore Road                                                                   When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       B8
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Somers Point                                     NJ
      _____________________________________________________________
                                                                       8244
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.413 Dawud Gillion                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       3373 Pio Nono Circle
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Macon                               GA       31206                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.414 Daydrienna Williams                                                               Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       369 Johnson Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Gary                                IN       46402
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            140
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  157 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.415 Dayna Crandall
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       301 Tennessee Avenue                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Rossville                                        GA
      _____________________________________________________________
                                                                       30741
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.416 DeAllen Williams                                                                  Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       7003 Raleigh Court
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt A
       _______________________________________________________________________
       Jonesboro                           GA       30236                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.417 DeJon Riley                                                                       Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1671 Village Place Circle
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Conyers                             GA       30072
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            141
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                      CaseSTEVEN
                    EDWARD 19-15175-abl
                                 BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  158 of 648
                                                                                                                               19-15175
Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
    
    ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                                 Total claim
4.418 DeQuan Atwaters
      _____________________________________________________________                    Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                Unknown
                                                                                                                                                               $__________________
       2615 Roosevelt Hwy                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                       As of the date you file, the claim is: Check all that apply.
       Atlanta                                         GA
      _____________________________________________________________
                                                                      30337
      City                                             State          ZIP Code            Contingent
                                                                                       
                                                                                       ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                       
                                                                                       ✔   Disputed
      
      ✔      Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
            Debtor 2 only
                                                                                          Student loans
            Debtor 1 and Debtor 2 only
                                                                                          Obligations arising out of a separation agreement or divorce
            At least one of the debtors and another                                       that you did not report as priority claims

            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                       
                                                                                       ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.419 DeVaughn Dyson                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                               $__________________
      _____________________________________________________________                    When was the debt incurred?           ____________
      Nonpriority Creditor’s Name
       8332 S Claiborne Avenue
      _____________________________________________________________
      Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      New Orleans                         LA       70118                                  Contingent
      _____________________________________________________________
      City                                             State          ZIP Code         
                                                                                       ✔   Unliquidated
      Who incurred the debt? Check one.                                                
                                                                                       ✔   Disputed
      
      ✔      Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
            Debtor 2 only
            Debtor 1 and Debtor 2 only
                                                                                          Student loans

            At least one of the debtors and another
                                                                                          Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                       
                                                                                       ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.420 DeWayne Robinson                                                                 Last 4 digits of account number
      _____________________________________________________________                                                                                             Unknown
                                                                                                                                                               $_________________
      Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       408 Tina Hely Court
      _____________________________________________________________
      Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Stockbridge                         GA       30281
      _____________________________________________________________                       Contingent
      City                                             State           ZIP Code
      Who incurred the debt? Check one.                                                
                                                                                       ✔   Unliquidated

      
      ✔      Debtor 1 only
                                                                                       
                                                                                       ✔   Disputed

            Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                                   Student loans
            At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  
                                                                                       ✔   Other. Specify
      
      ✔      No
            Yes


  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                           142
                                                                                                                                                                               of ___
                                                                                                                                                                                  546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  159 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.421 Deanglis Brown
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       100 Lumby Court                                                                  When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       #5308
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Decatur                                          GA
      _____________________________________________________________
                                                                       30034
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.422 Deanthony Domineck                                                                Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2858 Darrah Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Atlanta                             GA       30331                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.423 Deashia Austin                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       2907 Buckskin Trail
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Marietta                            GA       30064
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            143
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  160 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.424 Deborah Bohlinger
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       8686 W Beaver Creek Road                                                         When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Fall Creek                                       WI
      _____________________________________________________________
                                                                       54742
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.425 Deborah Gardner                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       9514 Diggs Gap Road #71
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Heiskell                            TN       37754                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.426 Debra Gordon                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       10505 Paces Avenue
       _____________________________________________________________
       Number             Street
       Apt 1615                                                                         As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Matthews                            NC       28105
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            144
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  161 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.427 Debra Johnsen
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       5590 Harpeth Haven Drive                                                         When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Pegram                                           TN
      _____________________________________________________________
                                                                       37143
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.428 Deja Phillips                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1345 Ramsey Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Jacksonville                        NC       28546                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.429 Delonte Bell                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       813 8th St.
       _____________________________________________________________
       Number             Street
       Apt. 202                                                                         As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Laurel                              MD       20707
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            145
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  162 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.430 Delphyn Sauls
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       200 Jellison Blvd                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       #1208
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Duncanville                                      TX
      _____________________________________________________________
                                                                       75116
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.431 Delton Artis                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       617 Christine Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Troy                                TX       76579                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.432 Demetri Padgett                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       211 Nobility Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Columbia                            SC       29210
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            146
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  163 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.433 Demetrice Davis
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       410 Jackson Street                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Washington                                       GA
      _____________________________________________________________
                                                                       30673
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.434 Demetris Lowe                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       130 Middleber Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Covington                           GA       30016                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.435 Demetrius Cross                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       7025 Winkfield Place
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       College Park                        GA       30349
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            147
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  164 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.436 Demetrius Harper
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       205 Shenandoah Drive                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Covington                                        GA
      _____________________________________________________________
                                                                       30016
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.437 Demetrius Headspeth                                                               Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       8422 North Pond Dr.
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Riverdale                           GA       30274                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.438 Demetrius Morgan                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       344 Andrew Drive
       _____________________________________________________________
       Number             Street
       Apt 14                                                                           As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Washington                          GA       30673
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            148
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  165 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.439 Demonoique Hall
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       12740 W Indian School Road                                                       When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       O112
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Litchfield Park                                  AZ
      _____________________________________________________________
                                                                       85379
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.440 Demontarius Ferrell                                                               Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       333 S Mock Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt 157
       _______________________________________________________________________
       Albany                              GA       31705                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.441 Demory Williams                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       603 Trevor Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Hinesville                          GA       31313
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            149
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  166 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.442 Dene Isabel
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1584 Autumn Hurst Trail                                                          When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Stone Mountain                                   GA
      _____________________________________________________________
                                                                       30088
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.443 Deneaga McMillian                                                                 Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       14 East First Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Alamo                               GA       30411                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.444 Denise Neely                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       4900 Delano Road
       _____________________________________________________________
       Number             Street
       Apt 8A                                                                           As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       College Park                        GA       30349
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            150
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  167 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.445 Dennis Fowler
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       4282 County Rd 2105                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Kilgore                                          TX
      _____________________________________________________________
                                                                       75662
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.446 Dennis Freeman                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       7550 Clear Creek Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Lithonia                            GA       30058                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.447 Denquavion Nelson                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       217 Hearth Stone Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       LaGrange                            GA       30241
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            151
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  168 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.448 Deonna Buie
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       126 Johnson Street                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Red Springs                                      NC
      _____________________________________________________________
                                                                       28377
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.449 Deonta Henderson                                                                  Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2907 Buckskin Trail
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Marietta                            GA       30064                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.450 Deontre Bryant                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       6131 NW 23rd Terrace
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Gainesville                         FL       32653
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            152
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  169 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.451 Deranus Terrell Moorer
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       346 Piedmont Ave NE                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Atlanta                                          GA
      _____________________________________________________________
                                                                       30308
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.452 Derek Thompson                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       515 Rachel Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Augusta                             GA       30901                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.453 Derric Boone                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       312 N Ash
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Allen                               TX       75002
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            153
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  170 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.454 Derrick Baldwin
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       2078 Louise XIV Lane                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       College Park                                     GA
      _____________________________________________________________
                                                                       30349
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.455 Derrick Lamont Atkins, Jr.                                                        Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1714 Grove Way
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Hampton                             GA       30228                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.456 Derwayne Raynor                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       2215 Marbut Farms Tr
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Lithonia                            GA       30058
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            154
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  171 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.457 Derwin Wideman Jr
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1479 Elizabeth Lane                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       East Point                                       GA
      _____________________________________________________________
                                                                       30344
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.458 Detra Bayler                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       605 Beeaufort Ave
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Augusta                             GA       30901                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.459 Detric Kelly Jr.                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       9961 Sparrow Hawk Lane
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Fort Worth                          TX       76108
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            155
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  172 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.460 Devin Anderson
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       7037 68th St. N                                                                  When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Pinellas Park                                    FL
      _____________________________________________________________
                                                                       33781
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.461 Devin Bocek                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2116 Daine Lane
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Pocatello                           ID       83201                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.462 Devin Cullens                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       725 W 107st
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Chicago                             IL       60628
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            156
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  173 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.463 Devin Jacobs
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       218 Meadowlark Lane                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Jonesboro                                        GA
      _____________________________________________________________
                                                                       30236
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.464 Devin Jones                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       5200 Owl's Hollow Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Gadsden                             AL       35901                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.465 Devon Benson                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       3091 N 22nd St
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Kansas City                         KS       66104
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            157
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  174 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.466 Devon Osborne
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       435 Tampa Gold Road                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Wedgefield                                       SC
      _____________________________________________________________
                                                                       29168
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.467 Devrae Jefferson                                                                  Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2399 Parkland Drive NE
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt 1206
       _______________________________________________________________________
       Atlanta                             GA       30324                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.468 Devyn Morgan                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       98 Sam Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Pikeville                           TN       37367
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            158
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  175 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.469 Dewaun Austin
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       2907 Buckskin Trail                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Marietta                                         GA
      _____________________________________________________________
                                                                       30064
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.470 Deyante Tompkins                                                                  Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2354 Bremhaven Court
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Indianapolis                        IN       46229                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.471 Diamond Summerset                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       500 Grand Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Vidalia                             GA       30474
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            159
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  176 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.472 Diane Manley
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       PO Box 22                                                                        When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Bethel Springs                                   TN
      _____________________________________________________________
                                                                       38315
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.473 Dianna Cervantes                                                                  Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1265 South White Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Pomona                              CA       91766                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.474 Dietrich Heard-Snead                                                              Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       411 Curtis Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Greenville                          SC       29611
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            160
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  177 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.475 Diondre Warner
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1480 Flat Shoals Road                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       College Park                                     GA
      _____________________________________________________________
                                                                       30349
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.476 Dominic Robinson                                                                  Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1371 Kimberly Way SW
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt 19306
       _______________________________________________________________________
       Atlanta                             GA       30331                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.477 Dominique Deberry                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       125 Edmondson
       _____________________________________________________________
       Number             Street
       Lot 15                                                                           As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Moultrie                            GA       31786
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            161
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  178 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.478 Dominique Starks
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       415 Bloedel Reserve Way                                                          When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Augusta                                          GA
      _____________________________________________________________
                                                                       30907
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.479 Dominique Williams                                                                Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       8407 North Pond Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Riverdale                           GA       30274                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.480 Domique Primus                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       819 Brookley Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Warner Robbins                      GA       31098
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            162
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  179 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.481 Donald Abraham
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       502 North Circle                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Baytown                                          TX
      _____________________________________________________________
                                                                       77520
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.482 Donald Faison                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1598 Union Port Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt 2 F
       _______________________________________________________________________
       Bronx                               NY       10462                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.483 Donnell Jackson                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       200 Jellison Blvd
       _____________________________________________________________
       Number             Street
       #1208                                                                            As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Duncanville                         TX       75116
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            163
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  180 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.484 Donovan Burston
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       207 Darth Maul Drive                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Grover                                           NC
      _____________________________________________________________
                                                                       28073
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.485 Donta Moses                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1788 Alvarado Terrace SW
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Atlanta                             GA       30310                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.486 Dontavious Stokes                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       200 16th STreet
       _____________________________________________________________
       Number             Street
       Apt 303 E                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Phenix City                         AL       36867
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            164
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  181 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.487 Douglas Bell
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       3796 Shenfield Drive                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Union City                                       GA
      _____________________________________________________________
                                                                       30291
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.488 Dustin Cofield                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       392 Sowell Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Mcdonough                           GA       30252                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.489 Dustin Lucy                                                                       Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       195 Horseshoe Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Hurt                                VA       24563
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            165
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  182 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.490 Dustin Westbrooks
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       489 Blue Heron Drive                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Monticello                                       GA
      _____________________________________________________________
                                                                       31064
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.491 Dwayne Russell                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       135 Thurman Way
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Gray                                GA       31032                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.492 Dylan Atkinson                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       330 Blue Heron Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Monticello                          GA       31064
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            166
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  183 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.493 Dymond Rudd
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1308 Delaware Avenue                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Knoxville                                        TN
      _____________________________________________________________
                                                                       37921
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.494 Eddie Austin                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2201 Parkside Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Jonesboro                           AR       72401                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.495 Edward Franklin                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       143 Hansel Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Bishopville                         SC       29010
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            167
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  184 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.496 Edward Holliday
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       2310 Rocky Hollow Road                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Jacksonville                                     AL
      _____________________________________________________________
                                                                       36265
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.497 Edward Pierce                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       24580 Pierce Rd.
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Angie                               LA       70426                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.498 Edward Warthen                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       211 Morningside Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Sandersville                        GA       31082
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            168
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  185 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.499 Edwin Granados
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       6802 San Remo Dr.                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Houston                                          TX
      _____________________________________________________________
                                                                       77083
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.500 Edwin Hernandez                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       3805 Sherwood Lane
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt 32
       _______________________________________________________________________
       Houston                             TX       77092                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.501 Edwin Lindsey IV                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       202 Chuch Circle
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Warner Robbins                      GA       31043
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            169
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  186 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.502 Ekendru Badger
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1523 Lane Avenue                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Lot 9
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Jacksonville                                     FL
      _____________________________________________________________
                                                                       32254
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.503 Elaine Gonzalez                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2324 Chanaral
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Hemet                               CA       92545                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.504 Elgin Barden                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       12345 I-10 Service Road
       _____________________________________________________________
       Number             Street
       Apt 3105                                                                         As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       New Orleans                         LA       70128
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            170
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  187 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.505 Elice Wilson
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       118 Spivey Ridge Circle                                                          When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Jonesboro                                        GA
      _____________________________________________________________
                                                                       30236
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.506 Elie Salem                                                                        Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       116 Adrian Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Robinson                            TX       76706                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.507 Elijah Bridges                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       358 8th Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Troy                                NY       12180
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            171
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  188 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.508 Eliseo Marco Aragon
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       5239 Eisenhower Road                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       San Antonio                                      TX
      _____________________________________________________________
                                                                       78218
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.509 Elissia Thelismont                                                                Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       416 SW 9th Court
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Delray Beach                        FL       33444                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.510 Elizabeth Boyd                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       717 University Avenue SW
       _____________________________________________________________
       Number             Street
       #12                                                                              As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Atlanta                             GA       30310
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            172
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  189 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.511 Elizabeth Tipton
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1818 11th St                                                                     When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Greeley                                          CO
      _____________________________________________________________
                                                                       80631
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.512 Eloise Moore                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2125 13th Street North
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Bessemer                            AL       35020                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.513 Emanuel Harris                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       PO Box 1342
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Texas City                          TX       77592
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            173
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  190 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.514 Emett Dane Monroe
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       6541 E Hwy 80                                                                    When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Longview                                         TX
      _____________________________________________________________
                                                                       75605
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.515 Emily Espinosa                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       4747 N 58th Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Phoenix                             AZ       85031                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.516 Emma Patrick                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       903 Jonathan Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Dothan                              AL       36301
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            174
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  191 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.517 Emmanuel Mitchell
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       2678 Charlestown Drive                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Atlanta                                          GA
      _____________________________________________________________
                                                                       30337
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.518 Emmanuel White                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1951 South Hampton Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt F5
       _______________________________________________________________________
       College Park                        GA       30349                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.519 Enrique Dixon                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       7025 Winkfield Place
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Atlanta                             GA       30349
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            175
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  192 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.520 Eric Brewster
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       3097 John Freeman Way                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       East Point                                       GA
      _____________________________________________________________
                                                                       30344
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.521 Eric Brown                                                                        Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       12555 Ashford River
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Houston                             TX       77072                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.522 Eric Perkins                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1590 Pintail Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Jonesboro                           GA       30238
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            176
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  193 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.523 Eric Sankey
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       2782 Cedar Trace Drive                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Ellenwood                                        Ga
      _____________________________________________________________
                                                                       30294
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.524 Eric Singleton                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       PO Box 83
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Haddock                             GA       31033                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.525 Erica Northrup                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       4597 Targhee Place
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Chubbuck                            ID       83202
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            177
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  194 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.526 Erica White
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       300 Silver Leaf Lane                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Chuckey                                          TN
      _____________________________________________________________
                                                                       37641
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.527 Erika Gascon                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       775 Gulf Shore Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       #8220
       _______________________________________________________________________
       Destin                              FL       32541                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.528 Erika Jackson                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1451 New Castle Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Macon                               GA       31204
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            178
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  195 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.529 Ernest Nava
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       3307 Walhalla Dr.                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Houston                                          TX
      _____________________________________________________________
                                                                       77066
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.530 Ervin Thomas                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2783 Rex Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Ellenwood                           GA       30294                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.531 Erwin Dukes                                                                       Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       484 King Arnold Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Atlanta                             GA       30354
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            179
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  196 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.532 Estella Graf
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       8990 W 10400 N                                                                   When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Tremonton                                        UT
      _____________________________________________________________
                                                                       84337
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.533 Estoria Mordica                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       21 East Wyok Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Decatur                             GA       30032                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.534 Eugene Escobar                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1341 Briar Ridge Lane
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Jonesboro                           GA       30238
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            180
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  197 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.535 Eunice Pool
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       264 Wicks Road                                                                   When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       West Point                                       MS
      _____________________________________________________________
                                                                       39773
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.536 Evalicia Marta                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1921 2nd Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       #2
       _______________________________________________________________________
       Greeley                             CO       80631                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.537 Eveangel Hines                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       2016 A Shadowood Court
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Greenville                          NC       27858
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            181
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  198 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.538 Ezhara Buie
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1023 SE 48th Terrace                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Gainesville                                      FL
      _____________________________________________________________
                                                                       32641
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.539 Ezra Abers                                                                        Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       68 Ford
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt 4
       _______________________________________________________________________
       New Haven                           IL       62867                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.540 Farris Smith                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       11 L Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Sumter                              SC       29150
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            182
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  199 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.541 Faustino Garcia
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1203 Johnston Street                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Houston                                          TX
      _____________________________________________________________
                                                                       77022
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.542 Favio Lopez                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1622 Kennings Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Crosby                              TX       77532                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.543 Felicia Carney                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       3700 Old Northeast Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Lake Waccamaw                       NC       28450
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            183
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  200 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.544 Felix Acosta
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       913 Rittenhouse Street                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Houston                                          TX
      _____________________________________________________________
                                                                       77076
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.545 Felix Jackson Jr                                                                  Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       740 Lovvorn Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Carrollton                          GA       30117                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.546 Francis Smith                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       2900 Camp Creek Pkwy
       _____________________________________________________________
       Number             Street
       Apt E9                                                                           As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       College Park                        GA       30337
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            184
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  201 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.547 Francis Whitlock
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1123 Clover Street                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Bellmead                                         TX
      _____________________________________________________________
                                                                       76705
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.548 Francisco Hernandez                                                               Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       14675 Judson Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       San Antonio                         TX       78233                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.549 Frank Fusco                                                                       Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       784 County Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Rainsville                          AL       35986
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            185
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  202 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.550 Frank Griffin
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       157 Bowen Hill Road                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Haddock                                          GA
      _____________________________________________________________
                                                                       31033
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.551 Franklin Smith                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       112 Oakwood Street NW
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Rome                                GA       30165                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.552 Franko Harris                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       519 Taylor Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Suwanee                             GA       30024
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            186
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  203 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.553 Frederick Bedford
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       2550 Thornton Dr.                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Atlanta                                          GA
      _____________________________________________________________
                                                                       30349
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.554 Frederick Coleman                                                                 Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       8430 N Pond Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Riverdale                           GA       30216                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.555 Frederick Hickman III                                                             Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       506 Whitney Chase
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Stone Mountain                      GA       30088
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            187
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  204 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.556 Frederick LeClair
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1500 Blythe Avenue SE                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Cleveland                                        TN
      _____________________________________________________________
                                                                       37311
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.557 Frederico Gaines                                                                  Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1710 Perry Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Bastrop                             LA       71220                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.558 Freida Hess                                                                       Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1022 Friendly Road
       _____________________________________________________________
       Number             Street
       Trl 4                                                                            As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Eden                                NC       27288
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            188
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  205 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.559 Frelon Newsom
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1022 Friendly Road                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Lot 4
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Eden                                             NC
      _____________________________________________________________
                                                                       27288
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.560 Gabe Torres                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       10405 S Interlochen Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Palos Hills                         IL       60465                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.561 Gage Ledbetter                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       94 Boozer Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Jacksonville                        AL       36265
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            189
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  206 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.562 Gail Akins
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       293 Avalon Street                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       PO Box 1665
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       West Point                                       MS
      _____________________________________________________________
                                                                       39773
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.563 Gary Benson                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       110 Caney Creek Lane
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Drakesboro                          KY       42337                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.564 Gary Fricks Jr.                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       2209 Calhoun Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Rome                                GA       30161
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            190
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  207 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.565 Gary Lynch
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1823 1/2 5th Street                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Greeley                                          CO
      _____________________________________________________________
                                                                       80634
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.566 Gary Stewart                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       7348 Highview Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Columbia                            SC       29223                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.567 Gary Stout                                                                        Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       3708 Old State Route 34
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Limestone                           TN       37681
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            191
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  208 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.568 Gary Williams
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       2936 Hollingsworth Drive                                                         When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Wellington                                       AL
      _____________________________________________________________
                                                                       36279
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.569 Geoffrey Landon Whaley                                                            Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       113 Norris Branch Ln
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Thomaston                           GA       30286                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.570 George Hamelin                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       519 Cotton Indian Creek Rd.
       _____________________________________________________________
       Number             Street
       Apt B                                                                            As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       McDonough                           GA       30252
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            192
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  209 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.571 George Harper
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       3803 River Lake Shore                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Ellenwood                                        GA
      _____________________________________________________________
                                                                       30294
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.572 George Harris                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       4757 Shalimar Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       New Orleans                         LA       70126                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.573 George Robert Fielder III                                                         Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1554 Ponder Trammell Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Juliette                            GA       31046
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            193
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  210 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.574 George Winn
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       5055 Davis Road                                                                  When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Rembert                                          SC
      _____________________________________________________________
                                                                       29128
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.575 Gerald Murphy                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       418 Turpin Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Anniston                            AL       36201                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.576 Gilbert Brown                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       7001 Bundy Road
       _____________________________________________________________
       Number             Street
       Apt V31                                                                          As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       New Orleans                         LA       70127
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            194
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  211 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.577 Gilbert Green
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       200 Riley Road                                                                   When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Greenville                                       SC
      _____________________________________________________________
                                                                       29611
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.578 Ginger Welles                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1211 Husson Ave.
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Palatka                             FL       32177                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.579 Gladys Barlow                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1517 Buckingham PL
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Stockbridge                         GA       30281
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            195
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  212 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.580 Graham Bolton
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       2251 Moody Road                                                                  When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       203A
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Warner Robbins                                   GA
      _____________________________________________________________
                                                                       31088
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.581 Greg Price                                                                        Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       7740 Southside Blvd
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       #1705
       _______________________________________________________________________
       Jacksonville                        FL       32256                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.582 Gregory Baxter                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       4285 Hwy 81 North
       _____________________________________________________________
       Number             Street
       Lot 4                                                                            As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Hampton                             GA       30228
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            196
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  213 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.583 Gregory Bigham
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1300 W Martin                                                                    When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       San Antonio                                      TX
      _____________________________________________________________
                                                                       78218
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.584 Gregory Borinstein                                                                Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       139 East Chicken Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Chester                             GA       31012                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.585 Gregory Jenkins                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       13329 North Larussa Lane
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Independence                        LA       70443
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            197
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  214 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.586 Gregory Williams
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       542 Rosemont Drive                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Decatur                                          GA
      _____________________________________________________________
                                                                       30032
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.587 Grover Long Jr                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       8715 N Tangerine Place
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Tampa                               FL       33617                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.588 Hadyn Robinson                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       13056 N 55th Dr
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Glendale                            AZ       85304
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            198
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  215 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.589 Hannah Nichols
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1150 Mount Gilead Road                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Jacksonville                                     AL
      _____________________________________________________________
                                                                       36265
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.590 Harriet Turk                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       171 Allen Memorial Drive SW
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Milledgeville                       GA       31061                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.591 Harrison Cummings                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       6189 Valdez Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Rex                                 GA       30273
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            199
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                      CaseSTEVEN
                    EDWARD 19-15175-abl
                                 BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  216 of 648
                                                                                                                               19-15175
Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
    
    ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                                 Total claim
4.592 Harvey Thompson
      _____________________________________________________________                    Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                Unknown
                                                                                                                                                               $__________________
       4775 Elkan Avenue                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                       As of the date you file, the claim is: Check all that apply.
       Macon                                           GA
      _____________________________________________________________
                                                                      31206
      City                                             State          ZIP Code            Contingent
                                                                                       
                                                                                       ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                       
                                                                                       ✔   Disputed
      
      ✔      Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
            Debtor 2 only
                                                                                          Student loans
            Debtor 1 and Debtor 2 only
                                                                                          Obligations arising out of a separation agreement or divorce
            At least one of the debtors and another                                       that you did not report as priority claims

            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                       
                                                                                       ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.593 Hassan Herrera                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                               $__________________
      _____________________________________________________________                    When was the debt incurred?           ____________
      Nonpriority Creditor’s Name
       9445 Concourse Drive
      _____________________________________________________________
      Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Houston                             TX       77036                                  Contingent
      _____________________________________________________________
      City                                             State          ZIP Code         
                                                                                       ✔   Unliquidated
      Who incurred the debt? Check one.                                                
                                                                                       ✔   Disputed
      
      ✔      Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
            Debtor 2 only
            Debtor 1 and Debtor 2 only
                                                                                          Student loans

            At least one of the debtors and another
                                                                                          Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                       
                                                                                       ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.594 Hassan Reed                                                                      Last 4 digits of account number
      _____________________________________________________________                                                                                             Unknown
                                                                                                                                                               $_________________
      Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       Unknown
      _____________________________________________________________
      Number             Street
       Unknown                                                                         As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Unknown                             GA
      _____________________________________________________________                       Contingent
      City                                             State           ZIP Code
      Who incurred the debt? Check one.                                                
                                                                                       ✔   Unliquidated

      
      ✔      Debtor 1 only
                                                                                       
                                                                                       ✔   Disputed

            Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                                   Student loans
            At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  
                                                                                       ✔   Other. Specify
      
      ✔      No
            Yes


  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                           200
                                                                                                                                                                               of ___
                                                                                                                                                                                  546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  217 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.595 Hayden Robinson
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       13056 N 55th Drive                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Glendale                                         AZ
      _____________________________________________________________
                                                                       85304
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.596 Heather Davis                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       213 S Marshall Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Anniston                            AL       36201                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.597 Heather Thomas                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       311 Orange Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Arlington                           TX       76012
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            201
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  218 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.598 Heidi Raby
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       99 Sunfish Bee Spring Rd                                                         When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Bee Spring                                       KY
      _____________________________________________________________
                                                                       42207
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.599 Helena Allen                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       75 N Second Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       McKal                               GA       31055                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.600 Hendric Dunn                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1294 Old Scenic Hwy
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Zachary                             LA       70791
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            202
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  219 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.601 Henry Aviles
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1265 S White Avenue                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Pomana                                           CA
      _____________________________________________________________
                                                                       91766
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.602 Henry Reed                                                                        Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       6535 Manchester Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       New Orleans                         LA       70126                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.603 Herbert King                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       6246 Dodgen Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Mableton                            GA       30126
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            203
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  220 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.604 Hilario Urbina
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       410 Henry Street                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Houston                                          TX
      _____________________________________________________________
                                                                       77009
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.605 Hilda Chavaz                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       8725 W Sheridan Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Phoenix                             AZ       85037                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.606 Hollie Thomas                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1948 Park Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Corinth                             MS       38834
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            204
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                      CaseSTEVEN
                    EDWARD 19-15175-abl
                                 BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  221 of 648
                                                                                                                               19-15175
Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
    
    ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                                 Total claim
4.607 Holly Meredith
      _____________________________________________________________                    Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                Unknown
                                                                                                                                                               $__________________
       2973 Detour Road                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                       As of the date you file, the claim is: Check all that apply.
       Bowling Green                                   KY
      _____________________________________________________________
                                                                      42101
      City                                             State          ZIP Code            Contingent
                                                                                       
                                                                                       ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                       
                                                                                       ✔   Disputed
      
      ✔      Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
            Debtor 2 only
                                                                                          Student loans
            Debtor 1 and Debtor 2 only
                                                                                          Obligations arising out of a separation agreement or divorce
            At least one of the debtors and another                                       that you did not report as priority claims

            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                       
                                                                                       ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.608 Homer Hess                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                               $__________________
      _____________________________________________________________                    When was the debt incurred?           ____________
      Nonpriority Creditor’s Name
       1022 Frienly Road
      _____________________________________________________________
      Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      Trl 4
      _______________________________________________________________________
      Eden                                NC       27258                                  Contingent
      _____________________________________________________________
      City                                             State          ZIP Code         
                                                                                       ✔   Unliquidated
      Who incurred the debt? Check one.                                                
                                                                                       ✔   Disputed
      
      ✔      Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
            Debtor 2 only
            Debtor 1 and Debtor 2 only
                                                                                          Student loans

            At least one of the debtors and another
                                                                                          Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                       
                                                                                       ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.609 Howard Thomas                                                                    Last 4 digits of account number
      _____________________________________________________________                                                                                             Unknown
                                                                                                                                                               $_________________
      Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       213 Gettysburgh Road
      _____________________________________________________________
      Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Belleville                          IL       62226
      _____________________________________________________________                       Contingent
      City                                             State           ZIP Code
      Who incurred the debt? Check one.                                                
                                                                                       ✔   Unliquidated

      
      ✔      Debtor 1 only
                                                                                       
                                                                                       ✔   Disputed

            Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                                   Student loans
            At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  
                                                                                       ✔   Other. Specify
      
      ✔      No
            Yes


  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                           205
                                                                                                                                                                               of ___
                                                                                                                                                                                  546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  222 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.610 Hunter Card
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1111 Sunday Lane                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Jonesboro                                        GA
      _____________________________________________________________
                                                                       30236
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.611 Hunter Kelly                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       18113 Monthaven Park Place
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Hendersonville                      TN       30375                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.612 Ian Connell                                                                       Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       2755 Shoemaker Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Birmingham                          AL       35235
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            206
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  223 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.613 Ieasha Anthony
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       410 Randolph Drive                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt 2B
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Vidalia                                          GA
      _____________________________________________________________
                                                                       30474
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.614 Ifagbemi Olamina                                                                  Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       14105 NW 157th Place
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Alachua                             FL       32615                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.615 Ifasade Ogunlano                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       4307 NE 70th Place
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Gainesville                         FL       32609
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            207
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  224 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.616 Ignacio Ramirez Jr
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       17050 Imperial Valley Drive                                                      When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt 58
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Houston                                          TX
      _____________________________________________________________
                                                                       77060
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.617 Ignacio Remirez                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       4211 Sherwood Lane
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt 68
       _______________________________________________________________________
       Hosuton                             TX       77092                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.618 Ilsa Westmark                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       3301 Monroe NE 489
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Albuquerque                         NM       87110
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            208
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  225 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.619 India Bowen
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       249 Weyman Rd.                                                                   When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Riegelwood                                       NC
      _____________________________________________________________
                                                                       28456
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.620 Ira Seiber                                                                        Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       150 Highland Circle
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Stockbridge                         GA       30287                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.621 Irvin Isaac                                                                       Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       7504 Butterfild Cir.
       _____________________________________________________________
       Number             Street
       #706                                                                             As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Fort Worth                          TX       76612
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            209
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  226 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.622 Isaac Wallis
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       5228 Lakeview Court                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       New Orleans                                      LA
      _____________________________________________________________
                                                                       70126
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.623 Isaiah Danner                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1508 Vanderlip Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Gastonia                            NC       28052                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.624 Ishmael Rahkin                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       3714 Sherbourne Lane
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Greensboro                          NC       27405
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            210
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  227 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.625 Ivan Burkett
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       6385 Seths Way                                                                   When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Lithonia                                         GA
      _____________________________________________________________
                                                                       30058
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.626 Izarious Duncan                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1351 Vandiver Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Greensboro                          GA       30642                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.627 J.C. Kemp                                                                         Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       3001 Buttercup Lane
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Cottondale                          FL       52431
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            211
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  228 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.628 JA'Kendrick Remo
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1441 Grace Avenue                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Natchitoches                                     LA
      _____________________________________________________________
                                                                       71457
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.629 Ja'Quen Jefferson                                                                 Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       5139 Borden Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Rembert                             SC       29128                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.630 Jabari Bashir                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       3932 McGill Court
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Decatur                             GA       30034
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            212
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  229 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.631 Jabari Phillips
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       2101 Mckleroy Avenue                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Anniston                                         AL
      _____________________________________________________________
                                                                       36201
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.632 Jacki Peck                                                                        Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1810 Zach Russel Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Cedar Park                          TX       78613                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.633 Jacob Bailey                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       310 Arrowhead Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Maryville                           TN       37801
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            213
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  230 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.634 Jacob Creps
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       112 Williams Rd                                                                  When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Jacksonville                                     NC
      _____________________________________________________________
                                                                       28540
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.635 Jacob Evans                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       3253 Sailmaker Lane
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Plano                               TX       75023                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.636 Jacob Griffin                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       710 North Bethany Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       McDonough                           GA       30252
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            214
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  231 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.637 Jacob Herring
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       127 Grayton Court                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       West Columbia                                    SC
      _____________________________________________________________
                                                                       29170
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.638 Jacob Holland                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1194 Private Road 1332
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Marshall                            TX       75672                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.639 Jacob King                                                                        Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       5516 Huber Clay Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Aiken                               SC       29803
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            215
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  232 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.640 Jacob Quinn
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       3117 W Krall Street                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Phoenix                                          AZ
      _____________________________________________________________
                                                                       85017
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.641 Jacob Thackston                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       670 Luther Court
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Powder Springs                      GA       30127                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.642 Jacobie Sutton                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       7507 Beach Blvd
       _____________________________________________________________
       Number             Street
       #703                                                                             As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Jacksonville                        FL       32216
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            216
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  233 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.643 Jacoby White
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       208 Ora Road                                                                     When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt 1
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Weaver                                           AL
      _____________________________________________________________
                                                                       36277
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.644 Jacqueline Feliciano                                                              Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       10683 Tibet Hwy SE
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Lot 10
       _______________________________________________________________________
       Allenhurst                          GA       31301                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.645 Jacquelyn Miner                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       2970 Hwy 252
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Laurens                             SC       29360
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            217
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  234 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.646 Jade Watson
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       239 Clara Street                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Slidell                                          LA
      _____________________________________________________________
                                                                       70428
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.647 Jaeron Wise                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       113 Parkway Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Soperton                            GA       30457                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.648 Jahrin Price                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       2485 Fieldspring Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Lithonia                            GA       30058
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            218
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  235 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.649 Jalen Warren
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       704 Cedar Court                                                                  When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Montezuma                                        GA
      _____________________________________________________________
                                                                       31063
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.650 Jamal Carter                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       99 Evergreen Trail
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt B
       _______________________________________________________________________
       Cartersville                        GA       30121                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.651 Jamal Harper                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       7042 Browns Mill Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Lithonia                            GA       30038
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            219
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                   Page  236 of 648
                                                                                                                               19-15175
 Debtor 1           _______________________________________________________                                 Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                 Total claim
4.652 Jamal Mack
      _____________________________________________________________                    Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                Unknown
                                                                                                                                                               $__________________
       Unknown                                                                         When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Unknown
      _______________________________________________________________________
                                                                                       As of the date you file, the claim is: Check all that apply.
       Unknown                                          NC
      _____________________________________________________________
      City                                              State          ZIP Code           Contingent
                                                                                       
                                                                                       ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                       
                                                                                       ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                          Student loans
             Debtor 1 and Debtor 2 only
                                                                                          Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                      that you did not report as priority claims

             Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                       
                                                                                       ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.653 Jamal Mack                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                               $__________________
       _____________________________________________________________                   When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       125 East Hall St.
       _____________________________________________________________
       Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Augusta                             GA       30901                                 Contingent
       _____________________________________________________________
       City                                             State          ZIP Code        
                                                                                       ✔   Unliquidated
       Who incurred the debt? Check one.                                               
                                                                                       ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                          Student loans

             At least one of the debtors and another
                                                                                          Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
             Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                       
                                                                                       ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.654 Jamal Thomas                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                            Unknown
                                                                                                                                                               $_________________
       Nonpriority Creditor’s Name                                                     When was the debt incurred?           ____________
       2200 Godby Road
       _____________________________________________________________
       Number             Street
       G6                                                                              As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       College Park                        GA       30349
       _____________________________________________________________                      Contingent
       City                                             State          ZIP Code
       Who incurred the debt? Check one.                                               
                                                                                       ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                       
                                                                                       ✔   Disputed

             Debtor 2 only                                                            Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                  Student loans
             At least one of the debtors and another                                     Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
             Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  
                                                                                       ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                        page __
                                                                                                                                                                           220
                                                                                                                                                                               of ___
                                                                                                                                                                                  546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  237 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.655 Jamal Wing
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       4307 NE 70th Place                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Gainesville                                      FL
      _____________________________________________________________
                                                                       32609
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.656 Jameia Cash                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       3451 Saland Way
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Jacksonville                        FL       32246                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.657 Jamel Boose                                                                       Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       224 Orchard View
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Ellenwood                           GA       30294
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            221
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  238 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.658 James Butler
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       40 Dover Square                                                                  When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Sharpsburg                                       GA
      _____________________________________________________________
                                                                       30290
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.659 James Dawkins                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       717 University Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       #4
       _______________________________________________________________________
       Atlanta                             GA       30310                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.660 James Eric Williams Sr.                                                           Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       2936 Hollingsworth Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Wellington                          AL       36279
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            222
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  239 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.661 James Gonzalez
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       6501 Spring Lark Street                                                          When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       San Antonio                                      TX
      _____________________________________________________________
                                                                       78249
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.662 James Grogan                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2969 Cedar Place
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Grand Junction                      CO       81504                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.663 James Hicks III                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       120 Caldwell Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Athens                              WV       24712
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            223
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  240 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.664 James Johnson
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1515 Hogansville Rd                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt 150
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Lagrange                                         GA
      _____________________________________________________________
                                                                       30241
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.665 James Johnson                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1515 Hogansville Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt 150
       _______________________________________________________________________
       Lagrange                            GA       30241                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.666 James Mooney, Jr                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       231 South Cleveland Church Roa
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Mcdonough                           GA       30253
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            224
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                      CaseSTEVEN
                    EDWARD 19-15175-abl
                                 BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  241 of 648
                                                                                                                               19-15175
Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
    
    ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                                 Total claim
4.667 James Roberts
      _____________________________________________________________                    Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                Unknown
                                                                                                                                                               $__________________
       50 Mt Zion Road                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street
       X28
      _______________________________________________________________________
                                                                                       As of the date you file, the claim is: Check all that apply.
       Atlanta                                         GA
      _____________________________________________________________
                                                                      30331
      City                                             State          ZIP Code            Contingent
                                                                                       
                                                                                       ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                       
                                                                                       ✔   Disputed
      
      ✔      Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
            Debtor 2 only
                                                                                          Student loans
            Debtor 1 and Debtor 2 only
                                                                                          Obligations arising out of a separation agreement or divorce
            At least one of the debtors and another                                       that you did not report as priority claims

            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                       
                                                                                       ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.668 James Smith                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                               $__________________
      _____________________________________________________________                    When was the debt incurred?           ____________
      Nonpriority Creditor’s Name
       3850 Flat Creek Road
      _____________________________________________________________
      Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Frankfort                           KY       40601                                  Contingent
      _____________________________________________________________
      City                                             State          ZIP Code         
                                                                                       ✔   Unliquidated
      Who incurred the debt? Check one.                                                
                                                                                       ✔   Disputed
      
      ✔      Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
            Debtor 2 only
            Debtor 1 and Debtor 2 only
                                                                                          Student loans

            At least one of the debtors and another
                                                                                          Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                       
                                                                                       ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.669 James Snead                                                                      Last 4 digits of account number
      _____________________________________________________________                                                                                             Unknown
                                                                                                                                                               $_________________
      Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       411 Curtis Road
      _____________________________________________________________
      Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Greenville                          SC       29611
      _____________________________________________________________                       Contingent
      City                                             State           ZIP Code
      Who incurred the debt? Check one.                                                
                                                                                       ✔   Unliquidated

      
      ✔      Debtor 1 only
                                                                                       
                                                                                       ✔   Disputed

            Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                                   Student loans
            At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  
                                                                                       ✔   Other. Specify
      
      ✔      No
            Yes


  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                           225
                                                                                                                                                                               of ___
                                                                                                                                                                                  546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  242 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.670 James Sorrow
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       525 Hood Avenue                                                                  When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Fayetteville                                     GA
      _____________________________________________________________
                                                                       30215
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.671 James Williams                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2936 Hollingsworth Dr.
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Wellington                          AL       36279                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.672 James Wilson                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       603 Asa Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Columbus                            GA       31907
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            226
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  243 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.673 Jamie Barraza
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       2150 S Kisneer Rd                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt. 1111
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Houston                                          TX
      _____________________________________________________________
                                                                       77068
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.674 Jamie Fortier                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       346 Merin Height Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Jacksonville                        NC       28540                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.675 Jamieyonia Felder                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       43353 Happywoods Road
       _____________________________________________________________
       Number             Street
       Lot 35                                                                           As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Hammond                             LA       73403
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            227
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                      CaseSTEVEN
                    EDWARD 19-15175-abl
                                 BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  244 of 648
                                                                                                                               19-15175
Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
    
    ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                                 Total claim
4.676 Jamiko Hughes
      _____________________________________________________________                    Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                Unknown
                                                                                                                                                               $__________________
       159 Old Stage Road                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                       As of the date you file, the claim is: Check all that apply.
       Milledgeville                                   GA
      _____________________________________________________________
                                                                      31061
      City                                             State          ZIP Code            Contingent
                                                                                       
                                                                                       ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                       
                                                                                       ✔   Disputed
      
      ✔      Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
            Debtor 2 only
                                                                                          Student loans
            Debtor 1 and Debtor 2 only
                                                                                          Obligations arising out of a separation agreement or divorce
            At least one of the debtors and another                                       that you did not report as priority claims

            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                       
                                                                                       ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.677 Jamisha Rheams                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                               $__________________
      _____________________________________________________________                    When was the debt incurred?           ____________
      Nonpriority Creditor’s Name
       212 Kings Pond Drive
      _____________________________________________________________
      Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Jacksonville                        NC       28546                                  Contingent
      _____________________________________________________________
      City                                             State          ZIP Code         
                                                                                       ✔   Unliquidated
      Who incurred the debt? Check one.                                                
                                                                                       ✔   Disputed
      
      ✔      Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
            Debtor 2 only
            Debtor 1 and Debtor 2 only
                                                                                          Student loans

            At least one of the debtors and another
                                                                                          Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                       
                                                                                       ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.678 Jamone Simon                                                                     Last 4 digits of account number
      _____________________________________________________________                                                                                             Unknown
                                                                                                                                                               $_________________
      Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       5825 S Oak Drive
      _____________________________________________________________
      Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Marrero                             LA       70072
      _____________________________________________________________                       Contingent
      City                                             State           ZIP Code
      Who incurred the debt? Check one.                                                
                                                                                       ✔   Unliquidated

      
      ✔      Debtor 1 only
                                                                                       
                                                                                       ✔   Disputed

            Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                                   Student loans
            At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  
                                                                                       ✔   Other. Specify
      
      ✔      No
            Yes


  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                           228
                                                                                                                                                                               of ___
                                                                                                                                                                                  546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  245 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.679 Janay Williams
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       4729 Majestic Oaks                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       New Orleans                                      LA
      _____________________________________________________________
                                                                       70126
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.680 Janet Fortune                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       5520 N Henry Blvd
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       I8
       _______________________________________________________________________
       Stockbridge                         GA       30281                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.681 Janet Pierce                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1444 N Tonti Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       New Orleans                         LA       70119
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            229
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  246 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.682 Jaquen Bradwell
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       2303 Sutton Place                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt. 206
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Wilson                                           NC
      _____________________________________________________________
                                                                       27896
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.683 Jaquerius Rushing                                                                 Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       317 East Hobson Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Sylvester                           GA       31791                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.684 Jared Moliere                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       7001 Bundy Road
       _____________________________________________________________
       Number             Street
       Apt C13                                                                          As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       New Orleans                         LA       70127
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            230
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  247 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.685 Jarmel Thomas
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       4428 Dorsey Drive                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Lot 82
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Sumter                                           SC
      _____________________________________________________________
                                                                       29154
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.686 Jarvan Turk                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       171 Allen Memorial Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Milledgeville                       GA       31061                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.687 Jarvelle Gaston                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       6442 Walker Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Riverdale                           GA       30296
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            231
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  248 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.688 Jarvis Henry
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       2183 Waters Run                                                                  When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Stone Mountain                                   GA
      _____________________________________________________________
                                                                       30083
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.689 Jarvis Williams                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2305 N Franklin Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Marshall                            TX       75670                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.690 Jarvis Williams Jr                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       4096 Canby Lane
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Decatur                             GA       30035
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            232
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  249 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.691 Jashima Reid
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1837 Highland Place                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Decatur                                          GA
      _____________________________________________________________
                                                                       30035
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.692 Jasmine Bray                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       661 Bonita Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       #72
       _______________________________________________________________________
       San Jose                            CA       95116                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.693 Jasmine Griffin                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       309 Woodlawn Heights Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Woodlawn                            TX       75694
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            233
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  250 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.694 Jasmine May
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       102 JF Hall Road                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt 3
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Milledgeville                                    GA
      _____________________________________________________________
                                                                       31061
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.695 Jason Arnold                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1724 Atherton Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Decatur                             GA       30088                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.696 Jason Bell                                                                        Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       200 S Linden Avenue
       _____________________________________________________________
       Number             Street
       Apt 16S                                                                          As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Rialto                              CA       92376
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            234
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  251 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.697 Jason Bliss
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1007 Alexandria Road SW                                                          When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Lot 52
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Jacksonville                                     AL
      _____________________________________________________________
                                                                       36206
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.698 Jason Briggs                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       4312 Fern Lake Cutoff
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Marshall                            TX       75672                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.699 Jason Cathell                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       2201 Baytree Road
       _____________________________________________________________
       Number             Street
       Apt 413B                                                                         As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Valdosta                            GA       31602
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            235
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  252 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.700 Jason Dower
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       3110 Petre Road                                                                  When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Cheasepeake                                      VA
      _____________________________________________________________
                                                                       23325
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.701 Jason Ellison                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       31 County Road 539
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Moulton                             AL       36650                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.702 Jason Gibson                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       6878 State Rte 143 N
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Clay                                KY       42404
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            236
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  253 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.703 Jason Hudgins
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       2541 Wellington Road                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Wellington                                       AL
      _____________________________________________________________
                                                                       36279
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.704 Jason Jacobs Valenzuela                                                           Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       6713 Park Haven Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       San Antonio                         TX       78244                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.705 Jason O'Conner                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       2023 Dawson Cabin Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Jacksonville                        NC       28540
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            237
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  254 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.706 Jason Valin
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1030 Herman Duduis Road                                                          When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Breaux Bridge                                    LA
      _____________________________________________________________
                                                                       70517
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.707 Jason Watts                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       22846 Hwy 22
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Daviston                            AL       36256                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.708 Javahn Riley                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1887 Dalton Way
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Hampton                             GA       30228
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            238
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  255 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.709 Javares Davis
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       3892 Austin Cir.                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       apt 7
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Decatur                                          GA
      _____________________________________________________________
                                                                       30032
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.710 Javis Burston                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       105 Pullen Circle
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Lawndale                            NC       28090                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.711 Javonte Daniel                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       217 Hearthstone Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       LaGrange                            GA       30241
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            239
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  256 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.712 Javoris Garrett
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       4178 Lone Oak Lane                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt K
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Marianna                                         FL
      _____________________________________________________________
                                                                       32443
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.713 Jawara Dance                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       53 Eric Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Tennille                            GA       31089                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.714 Jawara Reid                                                                       Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1837 Highland Place
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Decatur                             GA       30033
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            240
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  257 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.715 Jay Raymond
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1763 Bethel Road                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Morganton                                        NC
      _____________________________________________________________
                                                                       28655
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.716 Jazmyn Jordan                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1466 Steam Engine Way NE
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Conyers                             GA       30013                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.717 Jean Everson                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       223 Twin Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Caseyville                          IL       62232
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            241
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  258 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.718 Jeff Altidor
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       10374 Boca Entrada Blvd                                                          When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt 129
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Boca Raton                                       FL
      _____________________________________________________________
                                                                       33428
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.719 Jeff Duricko                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       124 West Lexington Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Winchester                          KY       40391                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.720 Jeffery Burton                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       2385 Patrick Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Hephzibah                           GA       30815
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            242
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  259 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.721 Jeffrey Emory
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       2810 S. Saris Cir.                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       W. Valley City                                   UT
      _____________________________________________________________
                                                                       84119
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.722 Jeffrey Mickens                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2808 Jordan Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Augusta                             GA       30906                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.723 Jeffrey Ruffin                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       610 S Hoskins Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Charlotte                           NC       28208
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            243
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  260 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.724 Jeffrey Umana
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       510 A Holyoke Lane                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Lake Worth                                       FL
      _____________________________________________________________
                                                                       33467
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.725 Jeime Ann Zequeira                                                                Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1900 SW 18th Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Miami                               FL       33145                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.726 Jeina Augustin                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       4630 Myrtle Lane
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       West Palm Beach                     FL       33417
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            244
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  261 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.727 Jenell Feaster
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       21 Quail Acres                                                                   When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Broadway                                         NC
      _____________________________________________________________
                                                                       27505
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.728 Jenna Champion                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       107 Heatherbrook Dr
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Lagrange                            GA       30240                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.729 Jennifer Barnett                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       3953 Sherwood Heights Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Morganton                           NC       28655
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            245
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  262 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.730 Jennifer Blake
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1886 Tin Mine Road                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Lincolnton                                       NC
      _____________________________________________________________
                                                                       28092
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.731 Jennifer Carroll                                                                  Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1575 Florida Hwy 40
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Astor                               FL       32102                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.732 Jennifer Carter                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       514 E Lawson Street
       _____________________________________________________________
       Number             Street
       Apt F                                                                            As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Hahira                              GA       31632
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            246
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  263 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.733 Jennifer Kilgore
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       136 Serenity Hills Drive                                                         When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Cornelia                                         GA
      _____________________________________________________________
                                                                       30531
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.734 Jennifer Riggs                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       915 Pell Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Lewisport                           KY       42351                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.735 Jennifer Sangster                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       4725 Cobb Pkwy N
       _____________________________________________________________
       Number             Street
       #154                                                                             As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Acworth                             GA       30101
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            247
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  264 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.736 Jerald Ray
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       415 W Howry Avenue                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt A
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Deland                                           FL
      _____________________________________________________________
                                                                       32720
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.737 Jeremy Cady                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2160 Martin Luther King Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Cottondale                          FL       32431                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.738 Jeremy Carter                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       2665 Favor Rd.
       _____________________________________________________________
       Number             Street
       Apt. 2L18                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Marietta                            GA       30060
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            248
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  265 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.739 Jeremy Hopkins
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       98 Gowens Circle                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Gadsden                                          AL
      _____________________________________________________________
                                                                       35901
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.740 Jeremy Klemmer                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1973 Columbia Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Decatur                             GA       30032                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.741 Jeremy Rogers                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1763 Bethel Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Morganton                           NC       28655
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            249
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  266 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.742 Jeremy Wilson
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       8298 County Road 141                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Ider                                             AL
      _____________________________________________________________
                                                                       35981
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.743 Jermaine Edwards                                                                  Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1097 McConaughy Court
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       McDonough                           GA       30253                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.744 Jermaine Harris                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       3806 Oxford Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Hephzibah                           GA       30815
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            250
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  267 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.745 Jermaine Marshall
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1540 Olympian Cir.                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       #5
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Atlanta                                          GA
      _____________________________________________________________
                                                                       30310
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.746 Jermel Redd                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       409 East Church Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Sandersville                        GA       31082                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.747 Jerome Jordan                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       320 Ballpark Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Soperton                            GA       30457
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            251
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  268 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.748 Jerrell Davis
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       3482 Newton's Crest Circle                                                       When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Snellville                                       GA
      _____________________________________________________________
                                                                       30078
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.749 Jerry Davidson                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       55 Blue Heron Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Monticello                          GA       31064                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.750 Jerry Mullins                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       3850 Flat Creek Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Frankfort                           KY       40601
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            252
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  269 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.751 Jerry Rodriguez
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       6600 Fairdale                                                                    When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt 38
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       San Antonio                                      TX
      _____________________________________________________________
                                                                       78218
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.752 Jerry Saint Louis                                                                 Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       322 East Central Blvd
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt 1605
       _______________________________________________________________________
       Orlando                             FL       32801                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.753 Jesicca Jupin                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1721 Highland Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Kingsport                           TN       37664
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            253
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  270 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.754 Jesse Arenas
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1590 Lassater Road                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Jefferson                                        TX
      _____________________________________________________________
                                                                       75657
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.755 Jessica Burgess                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       81 Honeysuckle Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Pittsboro                           NC       27312                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.756 Jessica Daniels                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       PO Box 22078
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Mesa                                AZ       85277
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            254
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  271 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.757 Jessica Porter
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       3686 Thurman Road                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Atlanta                                          GA
      _____________________________________________________________
                                                                       30349
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.758 Jessica Tinson                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       548 Highway 90
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt 218
       _______________________________________________________________________
       Waveland                            MS       39576                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.759 Jessica Turner                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       80 Gann Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Oxford                              AL       36203
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            255
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  272 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.760 Jessie Barber
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       266 Macon Street                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Monticello                                       GA
      _____________________________________________________________
                                                                       31064
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.761 Jessie Long                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       403 S Harrison Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       McGregor                            TX       76657                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.762 Jessie Rader                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1570 Hawkins Branch Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Bethpage                            TN       37022
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            256
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  273 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.763 Jessie West
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       3237 Chestnut Road                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Nathalie                                         VA
      _____________________________________________________________
                                                                       24577
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.764 Jesus Gonzalez                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       190 Lakeshore Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Oakfield                            TN       38362                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.765 Jillian Anderson                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       PO Box 364
       _____________________________________________________________
       Number             Street
       1214 Vine Street                                                                 As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Gilcrest                            CO       80623
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            257
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  274 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.766 Jim Gongora
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1518 Cantrell Street                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Waco                                             TX
      _____________________________________________________________
                                                                       76704
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.767 Jimi Norwood                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       Unknown
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Unknown
       _______________________________________________________________________
       Unknown                             GA                                              Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.768 Jimmy McCrary                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       7000 Goodson Road
       _____________________________________________________________
       Number             Street
       Unit 127                                                                         As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Union City                          GA       30291
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            258
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  275 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.769 Joan Jenkins
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       425 Hampton Avenue                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Murphy                                           NC
      _____________________________________________________________
                                                                       28906
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.770 Joanne Boschetti                                                                  Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       101 E Villa Capri Circle
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt C
       _______________________________________________________________________
       Deland                              FL       32724                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.771 Jockques Cliatt                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       4307 Lake Richmond Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Orlando                             FL       32811
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            259
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  276 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.772 Jodi Wall
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       23606 Maple Vista Lane                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Spring                                           TX
      _____________________________________________________________
                                                                       77373
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.773 Jody Ray Harris                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       101 Ray Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Campbellsville                      KY       42718                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.774 Joe Rush                                                                          Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1251 Lynwyn Ln.
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Atlanta                             GA       30316
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            260
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  277 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.775 Joey Dooley
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       104 Hill Ct                                                                      When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Sebring                                          FL
      _____________________________________________________________
                                                                       33875
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.776 Johana Oliva                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1450 NW 34th Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Miami                               FL       33125                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.777 John Anderson                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       PO Box 567
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Pauden                              AZ       86334
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            261
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  278 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.778 John Beach
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       2993 Sparta Hwy                                                                  When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Smithville                                       TN
      _____________________________________________________________
                                                                       37166
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.779 John Brown                                                                        Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       34 B Somerset Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Sumter                              SC       29150                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.780 John Campbell                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       8700 Calmont Avenue
       _____________________________________________________________
       Number             Street
       Apt 41                                                                           As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Fort Worth                          TX       76116
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            262
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  279 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.781 John Duffey
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1680 S Olympian Way                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Atlanta                                          GA
      _____________________________________________________________
                                                                       30310
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.782 John Ehrman                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       311 Orange Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Arlington                           TX       76012                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.783 John Elbert                                                                       Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       6917 Bartow Dublin Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Wrightsville                        GA       31096
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            263
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  280 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.784 John Padgett
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       5364 Chicory Circle                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Middleburg                                       FL
      _____________________________________________________________
                                                                       32068
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.785 John Ruff                                                                         Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       52 Landmark Lane
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Marietta                            GA       30060                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.786 John Smith                                                                        Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       2326 Tubman Home Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Augusta                             GA       30906
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            264
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  281 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.787 Johna Charles
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       PO Box 533                                                                       When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Ironton                                          OH
      _____________________________________________________________
                                                                       45638
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.788 Johnathan Burchett                                                                Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       29 N Greenwood Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt F6
       _______________________________________________________________________
       Ware Shoals                         SC       29692                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.789 Johnathan Johnson                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       549 Springwood Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Forest Park                         GA       30297
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            265
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  282 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.790 Johnathan Ray
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       5442 County Road 38                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Section                                          AL
      _____________________________________________________________
                                                                       35771
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.791 Johnea Wallis                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1816 N Yayoso Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       New Orleans                         LA       70119                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.792 Johnny Baron                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1951 Southampton Road
       _____________________________________________________________
       Number             Street
       Apt M3                                                                           As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       College Park                        GA       30349
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            266
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  283 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.793 Johnny Elkins
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       799 County Road 611                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Valley Head                                      AL
      _____________________________________________________________
                                                                       35989
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.794 Johnny Franks                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2312 Maple Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Rome                                GA       30161                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.795 Jonathan Broughton                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       2000 Bouldercrest Road
       _____________________________________________________________
       Number             Street
       E-14                                                                             As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Atlanta                             GA       30316
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            267
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  284 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.796 Jonathan Mischke
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       188 Jessie Road or 9th Street                                                    When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Trinity                                          TX
      _____________________________________________________________
                                                                       75862
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.797 Jonathan Moore                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2815 Virginia Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Augusta                             GA       30906                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.798 Jonathan Naundorff                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       7105 McCain Blvd
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Warhaw                              NC       28173
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            268
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  285 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.799 Jonathan Patman
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1605 San Gabriel Avenue                                                          When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Decatur                                          GA
      _____________________________________________________________
                                                                       30032
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.800 Jonathan Roy                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1095 County Road 116
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Fort Payne                          AL       35968                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.801 Jonathon Batson                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       56 Jones Circle
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Gadsden                             AL       35901
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            269
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  286 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.802 Joni Hinson
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       548 Cactus Lane                                                                  When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Hartsville                                       SC
      _____________________________________________________________
                                                                       29550
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.803 Jonita Dowell                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       4190 Monterey
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Memphis                             TN       38128                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.804 Jordan Hunter                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       34 Somerset Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Sumter                              SC       29150
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            270
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  287 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.805 Jordan Jones
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       115 Holmes Street                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Hawkins                                          TX
      _____________________________________________________________
                                                                       75657
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.806 Jordan Sawyers                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       754 Woodbriar Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Mt Airy                             NC       27030                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.807 Jorge Cordon                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       305 Tabor Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Houston                             TX       77009
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            271
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  288 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.808 Jose Alvarenga
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       806 W Monterey Street                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Carlsbad                                         NM
      _____________________________________________________________
                                                                       88220
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.809 Jose Castillo                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       8215 Lockwood Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Houston                             TX       77016                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.810 Jose Enrique Carnejo Banda                                                        Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       13535 Sralla Road
       _____________________________________________________________
       Number             Street
       #30                                                                              As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Crosby                              TX       77532
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            272
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  289 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.811 Jose Medina
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       7811 Bovis Court                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Live Oak                                         TX
      _____________________________________________________________
                                                                       78233
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.812 Jose Sierra                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1008 N Valley Mills Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt 226
       _______________________________________________________________________
       Waco                                TX       76710                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.813 Joseph Boyd                                                                       Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       659 Redland Dr.
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Jonesboro                           GA       30238
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            273
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  290 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.814 Joseph Cole
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       700 MLK Jr Avenue                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt C-10
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Sandersville                                     GA
      _____________________________________________________________
                                                                       31082
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.815 Joseph Ferrara Jr                                                                 Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       760 Highway 102 W
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Ayden                               NC       28513                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.816 Joseph Hancock                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       2955 Kemblewick Drive
       _____________________________________________________________
       Number             Street
       Apt 208                                                                          As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Melbourne                           FL       32935
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            274
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  291 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.817 Joseph Lee Coslan
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       PO Box 135                                                                       When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Independence                                     LA
      _____________________________________________________________
                                                                       70443
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.818 Joseph Malloy                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       6612 Lake Park Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Greenbelt                           MD       21060                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.819 Joseph Shiver                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       113 Harry Green Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Eastover                            SC       29044
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            275
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  292 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.820 Joseph Williams
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       214 Golden Way                                                                   When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Augusta                                          GA
      _____________________________________________________________
                                                                       30906
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.821 Josh Craig                                                                        Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       3624 Walahalla Hwy
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Six Mile                            SC       29682                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.822 Josh Griffin                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       104 Cumberland Rd
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Griffin                             GA       30224
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            276
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  293 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.823 Josh Hirst
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       5664 W 5300 South                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Hooper                                           UT
      _____________________________________________________________
                                                                       84315
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.824 Josh Lipham                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2531 Shorter Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Lot 88
       _______________________________________________________________________
       Rome                                GA       30165                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.825 Joshua Anderson                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       981 West Union Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Walhalla                            SC       29691
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            277
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  294 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.826 Joshua Braley
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       9270 FM 1793                                                                     When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Marshall                                         TX
      _____________________________________________________________
                                                                       75670
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.827 Joshua Britton                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       487 Spring Branch Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Charleston                          WV       25312                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.828 Joshua Compton                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       2891 Springdale Road
       _____________________________________________________________
       Number             Street
       #907                                                                             As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Atlanta                             GA       30315
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            278
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  295 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.829 Joshua Dula
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       849 Corpening Place                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Lenoir                                           NC
      _____________________________________________________________
                                                                       28645
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.830 Joshua Lafitte                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1825 Ridgefield Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt 1
       _______________________________________________________________________
       Thibodaux                           LA       70301                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.831 Joshua Lynch                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1613 Royster Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Ft Worth                            TX       76134
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            279
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  296 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.832 Joshua Megginson
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       5103 Elaine Dr.                                                                  When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Charleston                                       WV
      _____________________________________________________________
                                                                       25306
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.833 Joshua Savard                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       80 Gann Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Oxford                              AL       36203                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.834 Joshua Valenzeula                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       6117 Farragut
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       San Antonio                         TX       78238
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            280
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  297 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.835 Joshua Watts
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       3625 Stanley Avenue                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Ft Worth                                         TX
      _____________________________________________________________
                                                                       76110
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.836 Joshua Whitaker                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       5020 W. Peoria Ave.
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt. 126
       _______________________________________________________________________
       Glendale                            AZ       85302                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.837 Joshua Wright                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       121 Heritage Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Greenville                          NC       27858
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            281
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  298 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.838 Joslynn Willier
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       2531 Shorter Avenue                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Lot 88
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Rome                                             GA
      _____________________________________________________________
                                                                       30165
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.839 Jossey Romero                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       14300 SW 121st Place
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Miami                               FL       33186                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.840 Josten Compton                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       121 Julia Helen Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       San Antonio                         TX       78222
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            282
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  299 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.841 Juan Jofre
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       2308 Old Compton Road                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt A
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Harvey                                           LA
      _____________________________________________________________
                                                                       70058
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.842 Juan Thomas Herbert, Sr.                                                          Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       8715 S. Claiborne Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       New Orleans                         LA       70118                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.843 Juann Jones                                                                       Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       7911 Cypress Edge Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Cypress                             TX       77433
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            283
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  300 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.844 Judy Guillotte
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1179 Benoist Farms Road                                                          When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt 205
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       W Palm Beach                                     FL
      _____________________________________________________________
                                                                       33411
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.845 Julie Burch                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       172 Powel Circle
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Flomaton                            AL       36441                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.846 Jusitn Connolly                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1051 Brookview Lane
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Hampton                             GA       30228
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            284
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  301 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.847 Justin Armstead
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       5418 Thyme Lane                                                                  When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Baytown                                          TX
      _____________________________________________________________
                                                                       77521
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.848 Justin Connolly                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1051 Brookview Lane
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Hampton                             GA       30228                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.849 Justin McClain                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       2608 Beal Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Deltona                             FL       32738
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            285
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  302 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.850 Justin Morgan
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1221 Galltin Court                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Lovejoy                                          GA
      _____________________________________________________________
                                                                       30228
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.851 Justin Roscoe                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2275 Clifton Springs Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Decatur                             GA       30034                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.852 Justin Walker                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       830 Montague Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Angier                              NC       27501
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            286
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  303 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.853 Kadeem Washington
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       146 Baskerville Court                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt C
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Danville                                         VA
      _____________________________________________________________
                                                                       24541
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.854 Kailey Harley                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       4936 Rancho Court
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Winston                             GA       30187                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.855 Kaitlyn Johnson                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1515 Hogansville Rd
       _____________________________________________________________
       Number             Street
       Apt 150                                                                          As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Lagrange                            GA       30241
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            287
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  304 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.856 Kala Parrish
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       614 W Whitsett Street                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Graham                                           NC
      _____________________________________________________________
                                                                       27253
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.857 Kaleel Millender                                                                  Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       329 Beauville Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Kinsey                              AL       36301                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.858 Kalen Wilson                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1640 N 44th Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Baton Rouge                         LA       70802
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            288
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                      CaseSTEVEN
                    EDWARD 19-15175-abl
                                 BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  305 of 648
                                                                                                                               19-15175
Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
    
    ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                                 Total claim
4.859 Kalilah Cook
      _____________________________________________________________                    Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                Unknown
                                                                                                                                                               $__________________
       2418 Piering Drive                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                       As of the date you file, the claim is: Check all that apply.
       Lithonia                                        GA
      _____________________________________________________________
                                                                      30038
      City                                             State          ZIP Code            Contingent
                                                                                       
                                                                                       ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                       
                                                                                       ✔   Disputed
      
      ✔      Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
            Debtor 2 only
                                                                                          Student loans
            Debtor 1 and Debtor 2 only
                                                                                          Obligations arising out of a separation agreement or divorce
            At least one of the debtors and another                                       that you did not report as priority claims

            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                       
                                                                                       ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.860 Kalisha Kinslow                                                                  Last 4 digits of account number                                          Unknown
                                                                                                                                                               $__________________
      _____________________________________________________________                    When was the debt incurred?           ____________
      Nonpriority Creditor’s Name
       5840 Newtown Arch
      _____________________________________________________________
      Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      #202
      _______________________________________________________________________
      Virginia Beach                      VA       23462                                  Contingent
      _____________________________________________________________
      City                                             State          ZIP Code         
                                                                                       ✔   Unliquidated
      Who incurred the debt? Check one.                                                
                                                                                       ✔   Disputed
      
      ✔      Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
            Debtor 2 only
            Debtor 1 and Debtor 2 only
                                                                                          Student loans

            At least one of the debtors and another
                                                                                          Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                       
                                                                                       ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.861 Kameko O'Nan                                                                     Last 4 digits of account number
      _____________________________________________________________                                                                                             Unknown
                                                                                                                                                               $_________________
      Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       108 Taylor Street
      _____________________________________________________________
      Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Clay                                KY       42404
      _____________________________________________________________                       Contingent
      City                                             State           ZIP Code
      Who incurred the debt? Check one.                                                
                                                                                       ✔   Unliquidated

      
      ✔      Debtor 1 only
                                                                                       
                                                                                       ✔   Disputed

            Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                                   Student loans
            At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  
                                                                                       ✔   Other. Specify
      
      ✔      No
            Yes


  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                           289
                                                                                                                                                                               of ___
                                                                                                                                                                                  546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  306 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.862 Kameron Wilkie
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       71 E. 7th St.                                                                    When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Greenville                                       SC
      _____________________________________________________________
                                                                       29611
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.863 Kamron Burgess                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       119 Freeman Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Barnesville                         GA       30207                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.864 Kandy Veasey                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       2561 Lee Rd 201
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Salem                               AL       36874
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            290
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  307 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.865 Kareem Mills
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       6238 Creekfield Lane                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Lithonia                                         GA
      _____________________________________________________________
                                                                       30058
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.866 Kareem Moreland                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       77 Springside Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Atlanta                             GA       30354                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.867 Karen Alderson                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       254 Old Highway 64 East
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Hayesville                          NC       28904
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            291
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  308 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.868 Karen Baldwin
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       2078 Louis XIV Lane                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       College Park                                     GA
      _____________________________________________________________
                                                                       30349
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.869 Karen Wright                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       344 Blue Heron Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Monticello                          GA       31064                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.870 Kashton Harshaw                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       122 Sunset Street NW
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Lenoir                              NC       28645
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            292
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  309 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.871 Kathrina Tinson
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       128 Camille Street                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Lafayette                                        LA
      _____________________________________________________________
                                                                       70503
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.872 Kathy Storm                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       203 Kenwood Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Fayetteville                        GA       30214                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.873 Katrina Brown                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       5270 Borden Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Rembert                             SC       29128
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            293
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  310 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.874 Katryna Dixon
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       715 Glendale Avenue                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Danville                                         VA
      _____________________________________________________________
                                                                       24541
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.875 Kayid McIntosh                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       271 Moose Lodge Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Griffin                             GA       30224                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.876 Kayla Gaddis                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       8380 Highway 54
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Sharpsburg                          GA       30277
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            294
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  311 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.877 Kayluh Grenier
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       9665 Whitefield Ave.                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Lot 14
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Savannah                                         GA
      _____________________________________________________________
                                                                       31406
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.878 Keairra Felder                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       700 Bowen Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Sumter                              SC       29150                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.879 Keegan Brown                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       116 Hill Court
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Sebring                             FL       33875
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            295
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  312 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.880 Keenan Williams
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       115 Tower Gate Place                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Atlanta                                          GA
      _____________________________________________________________
                                                                       30350
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.881 Keesha Atkinson                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2016 A Shadowood Court
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Greenville                          NC       27858                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.882 Kefim Robinson                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       604 E Blount Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Pensacola                           FL       32503
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            296
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  313 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.883 Keisha Smith
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1421 Logan Street                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Jacksonville                                     FL
      _____________________________________________________________
                                                                       32209
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.884 Keith Borden                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       935 Vermont
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Columbia                            SC       29203                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.885 Keith Campbell                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1543 Bowie Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Columbus                            GA       31903
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            297
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  314 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.886 Keith Wise
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       792 Langford Street                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Prosperity                                       SC
      _____________________________________________________________
                                                                       29127
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.887 Keith Wright                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2352 Polar Rock Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Atlanta                             GA       30315                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.888 Kel Purdie                                                                        Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       985 Elkton Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Clarkston                           NC       28433
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            298
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  315 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.889 Keldrick Bailey
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       3047 Broadway Avenue                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Jacksonvill                                      FL
      _____________________________________________________________
                                                                       32254
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.890 Kelly Combs                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1414 Westwood Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Winchester                          KY       40391                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.891 Kelsee Robison                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       411 Curtis Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Greenville                          SC       29611
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            299
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  316 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.892 Kelvin Davis
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       2517 Hwy 111                                                                     When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Little River                                     SC
      _____________________________________________________________
                                                                       29566
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.893 Kelvin Tate                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       850 Griffin Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Lot 4 b
       _______________________________________________________________________
       Allenhurst                          GA       31301                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.894 Kelvin White                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       348 Brookwood Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Anniston                            AL       36206
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            300
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  317 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.895 Kenan Massey
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       529 Martin Luther King Jr Ave                                                    When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Sandersville                                     GA
      _____________________________________________________________
                                                                       31082
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.896 Kendall Edwards                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       348 Brookwood Dr.
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Anniston                            AL       36201                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.897 Kendrick Farrow                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       514 Balboa Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Greensboro                          NC       27405
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            301
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  318 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.898 Kennard Walker
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       7032 Marvin Avenue                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Jacksonville                                     FL
      _____________________________________________________________
                                                                       32208
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.899 Kenneth Dakota Ryan Borders                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       511 Cox Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Campbellsville                      KY       42718                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.900 Kenneth Dupree                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       PO Box 962
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Ellaville                           GA       31006
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            302
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  319 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.901 Kenneth Myrick
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       11665 FM 1008                                                                    When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Dayton                                           TX
      _____________________________________________________________
                                                                       77535
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.902 Kenny Floyd                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       554 Goldrock Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Rocky Mount                         NC       27804                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.903 Kenny Helms                                                                       Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1418 Valley Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Attalla                             AL       35954
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            303
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  320 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.904 Kentavius Dunson
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1246 Mooty Bridge Road                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt 3
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Lagrange                                         GA
      _____________________________________________________________
                                                                       30241
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.905 Kenya Mills                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       585 Seddon Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Sumter                              SC       29150                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.906 Kenyatta Shelton                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1357 Shoreham Dr.
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       College Park                        GA       30349
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            304
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  321 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.907 Keoka Alexis
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       818 Colcord Avenue                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt 5305
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Waco                                             TX
      _____________________________________________________________
                                                                       76707
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.908 Kerry Hardin                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       3335 Garden Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt 114
       _______________________________________________________________________
       Waco                                TX       56706                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.909 Kesha Bass                                                                        Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       4869 Plymouth Trace
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Decatur                             GA       30035
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            305
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  322 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.910 Kevin Anderson
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       722 South 150 W                                                                  When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Tremonton                                        UT
      _____________________________________________________________
                                                                       84337
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.911 Kevin Banks                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       3771 Lavilla Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Powder Springs                      GA       30127                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.912 Kevin Daniels                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1545 Acorn Forest
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Stone Mountain                      GA       30088
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            306
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  323 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.913 Kevin Hampton
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       117 Mount Carmel Road                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Senoia                                           GA
      _____________________________________________________________
                                                                       30276
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.914 Kevin Lee                                                                         Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       3626 Washington Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       New Orleans                         LA       70125                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.915 Kevin Sheppard                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       2208 Hill Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Gadsden                             AL       35904
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            307
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  324 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.916 Kevin Stewart
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       115 Mockingbird Rd.                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Hallsville                                       TX
      _____________________________________________________________
                                                                       75650
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.917 Kevin Tejeda                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       247 Sandra Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Lilburn                             GA       30047                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.918 Keyanna Brown                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       289 Whitworth Court SW
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Atlanta                             GA       30331
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            308
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                        Doc 31             Entered 08/26/19 17:22:59                   Page  325 of 648
                                                                                                                                  19-15175
 Debtor 1           _______________________________________________________                                    Case number (if known)_____________________________________
                    First Name       Middle Name             Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Total claim
4.919 Keyante Tompkins
      _____________________________________________________________                       Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                   Unknown
                                                                                                                                                                  $__________________
       11745 East 9th Street                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.
       Indianapolis                                     IN
      _____________________________________________________________
                                                                         46229
      City                                              State            ZIP Code            Contingent
                                                                                          
                                                                                          ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                          
                                                                                          ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                             Student loans
             Debtor 1 and Debtor 2 only
                                                                                             Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                         that you did not report as priority claims

             Check if this claim is for a community debt                                    Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.920 Keyona Noel                                                                         Last 4 digits of account number                                          Unknown
                                                                                                                                                                  $__________________
       _____________________________________________________________                      When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1919 W. 9th St.
       _____________________________________________________________
       Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Texarkana                           TX       75501                                    Contingent
       _____________________________________________________________
       City                                             State            ZIP Code         
                                                                                          ✔   Unliquidated
       Who incurred the debt? Check one.                                                  
                                                                                          ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                             Student loans

             At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
             Check if this claim is for a community debt                                    Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.921 Keyshawn Reddice                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                               Unknown
                                                                                                                                                                  $_________________
       Nonpriority Creditor’s Name                                                        When was the debt incurred?           ____________
       515 Blvd Road
       _____________________________________________________________
       Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Sumter                              SC       29150
       _____________________________________________________________                         Contingent
       City                                             State             ZIP Code
       Who incurred the debt? Check one.                                                  
                                                                                          ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                          
                                                                                          ✔   Disputed

             Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                     Student loans
             At least one of the debtors and another                                        Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
             Check if this claim is for a community debt                                    Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                     
                                                                                          ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                          page __
                                                                                                                                                                              309
                                                                                                                                                                                  of ___
                                                                                                                                                                                     546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  326 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.922 Khalidis Goddard
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       143 South Main Street                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Milledgeville                                    GA
      _____________________________________________________________
                                                                       31061
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.923 Khamari Williams                                                                  Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1640 S Lowe Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Chicago                             IL       60628                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.924 Khary Smith                                                                       Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       329 NE 2nd Street
       _____________________________________________________________
       Number             Street
       Apt 4                                                                            As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Hallandale Beach                    FL       33009
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            310
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  327 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.925 Khelon Robinson-Fraser
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       25373 Hemlock Avenue                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Moreno Valley                                    CA
      _____________________________________________________________
                                                                       92557
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.926 Kiana Singletary                                                                  Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       4405 Old Chapel Hill Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Durham                              NC       27707                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.927 Kiante Berry                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       4637 Burks Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Forest Park                         GA       30297
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            311
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  328 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.928 Kiara Cannon
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       116 Walker Drive                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Milledgeville                                    GA
      _____________________________________________________________
                                                                       31061
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.929 Kiara Tyler                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       110 Baywood Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Milledgeville                       GA       31061                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.930 Kiera Wilson                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       127 Kirt's Ridge
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Jackson                             GA       30233
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            312
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  329 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.931 Kimberley Pfaff
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       655 Morris Demps Road                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Sparta                                           TN
      _____________________________________________________________
                                                                       38583
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.932 Kimberly Davis                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       87 Hiwon Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Conroe                              TX       77304                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.933 Kimberly Franklin                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       6815 Kenny Lane
       _____________________________________________________________
       Number             Street
       #205                                                                             As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Portsmouth                          VA       23703
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            313
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  330 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.934 Kimberly Hipps
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       219 Bannister Street                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Belton                                           SC
      _____________________________________________________________
                                                                       29627
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.935 Kimberly Newsom                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1022 Friendly Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Lot 4
       _______________________________________________________________________
       Eden                                NC       27288                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.936 Kimberly Wiley                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       5461 CR 961
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Brazoria                            TX       77422
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            314
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  331 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.937 Kirby Bonnet
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       322 Harbor Mist Drive                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Crosby                                           TX
      _____________________________________________________________
                                                                       77532
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.938 Kirstan Fox                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2197 Blevins Creeks Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Elk Park                            NC       28622                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.939 Kortni Harley                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       4232 Daniel Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Winston                             GA       30187
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            315
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                        Doc 31             Entered 08/26/19 17:22:59                   Page  332 of 648
                                                                                                                                  19-15175
 Debtor 1           _______________________________________________________                                    Case number (if known)_____________________________________
                    First Name       Middle Name             Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Total claim
4.940 Kristen Carlson
      _____________________________________________________________                       Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                   Unknown
                                                                                                                                                                  $__________________
       288 Madison Avenue                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.
       Hanover                                          IN
      _____________________________________________________________
                                                                         47243
      City                                              State            ZIP Code            Contingent
                                                                                          
                                                                                          ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                          
                                                                                          ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                             Student loans
             Debtor 1 and Debtor 2 only
                                                                                             Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                         that you did not report as priority claims

             Check if this claim is for a community debt                                    Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.941 Kristi Anderson                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                  $__________________
       _____________________________________________________________                      When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2700 West C Street
       _____________________________________________________________
       Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
       #71
       _______________________________________________________________________
       Greeley                             CO       80631                                    Contingent
       _____________________________________________________________
       City                                             State            ZIP Code         
                                                                                          ✔   Unliquidated
       Who incurred the debt? Check one.                                                  
                                                                                          ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                             Student loans

             At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
             Check if this claim is for a community debt                                    Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.942 Kristin Shireman                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                               Unknown
                                                                                                                                                                  $_________________
       Nonpriority Creditor’s Name                                                        When was the debt incurred?           ____________
       3096 Mobley Bridge Rd. Apt. C
       _____________________________________________________________
       Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Hogansville                         GA       30230
       _____________________________________________________________                         Contingent
       City                                             State             ZIP Code
       Who incurred the debt? Check one.                                                  
                                                                                          ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                          
                                                                                          ✔   Disputed

             Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                     Student loans
             At least one of the debtors and another                                        Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
             Check if this claim is for a community debt                                    Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                     
                                                                                          ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                          page __
                                                                                                                                                                              316
                                                                                                                                                                                  of ___
                                                                                                                                                                                     546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  333 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.943 Krystal Giordano
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       2930 US Hwy 98 N                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Unit 4108
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Lakeland                                         FL
      _____________________________________________________________
                                                                       33805
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.944 Krysten Pulsifer                                                                  Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1302 Quail Hollow Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Warsaw                              NC       28398                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.945 Ky'Air Brewster                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       13302 Waldrop CV
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Decatur                             GA       30034
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            317
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  334 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.946 Kyle Jackson
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       248 Clemson Place                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt 402
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Kenner                                           LA
      _____________________________________________________________
                                                                       70065
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.947 Kyra Pipkin                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2260 Chevalier Place
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Merritt Island                      FL       32952                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.948 L'Monte Robertson                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1605 Westfield Court
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Lawrenceville                       GA       30043
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            318
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  335 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.949 LaQuintay Bernard Whisnant
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       6006 Maple Valley Drive                                                          When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Shelby                                           NC
      _____________________________________________________________
                                                                       28150
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.950 LaTonja Williams                                                                  Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       5228 Lakeview Court
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       New Orleans                         LA       70126                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.951 LaToya Williams                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       4873 Pinnacle Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Stone Mountain                      GA       30088
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            319
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  336 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.952 Ladre Robertson
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       2343 Basswood Drive                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Augusta                                          GA
      _____________________________________________________________
                                                                       30906
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.953 Lakasha Rich                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2651 Favor Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt 1J05
       _______________________________________________________________________
       Marietta                            GA       30060                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.954 Lakeasha Howard                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       PO Box 1172
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Zephyrhills                         FL       33539
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            320
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  337 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.955 Lakeisha Parks
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1612 Groves Blvd                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       North Augusta                                    SC
      _____________________________________________________________
                                                                       29841
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.956 Lakeithia Dixon                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       c/o 329 Beauville Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Kinsey                              AL       36301                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.957 Lakela Robinson                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       3700 N 22nd St
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Waco                                TX       76708
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            321
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  338 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.958 Lakeshia Grant
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       103 West Walnut Street                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt C-4
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Montezuma                                        GA
      _____________________________________________________________
                                                                       31063
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.959 Lakevious Riley                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1400 Cromartie Beach Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Albany                              GA       31705                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.960 Lakitsha Woodard                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       511 Norfolk St.
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Wilson                              NC       27893
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            322
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  339 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.961 Lamar Astin
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       4900 Delano Road                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt 11-H
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       College Park                                     GA
      _____________________________________________________________
                                                                       30349
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.962 Lamont Brown                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       420 Perry Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Elizabeth CIty                      NC       27909                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.963 Lamonze Robinson                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       5415 Tucker Phillips Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Wingate                             NC       28174
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            323
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  340 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.964 Lanay Swann
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       97 Ida Street                                                                    When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Danville                                         VA
      _____________________________________________________________
                                                                       24540
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.965 Lance Fulgium                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       4079 Steam Mill Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Columbus                            GA       31907                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.966 Landrick Clemons                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       180 Logans Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Milledgeville                       GA       31061
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            324
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  341 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.967 Lanorris Chappell
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1147 Hubbard St.                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Atlanta                                          GA
      _____________________________________________________________
                                                                       30310
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.968 Laquan Little                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2780 Napier Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Macon                               GA       31204                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.969 Laquavious Robinson                                                               Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       107 Glass Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Valley City                         AL       36854
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            325
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                        Doc 31             Entered 08/26/19 17:22:59                   Page  342 of 648
                                                                                                                                  19-15175
 Debtor 1           _______________________________________________________                                    Case number (if known)_____________________________________
                    First Name       Middle Name             Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Total claim
4.970 Laricia Thomas
      _____________________________________________________________                       Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                   Unknown
                                                                                                                                                                  $__________________
       518 Rhey Street                                                                    When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       #2
      _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.
       Waterloo                                         IA
      _____________________________________________________________
                                                                         50703
      City                                              State            ZIP Code            Contingent
                                                                                          
                                                                                          ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                          
                                                                                          ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                             Student loans
             Debtor 1 and Debtor 2 only
                                                                                             Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                         that you did not report as priority claims

             Check if this claim is for a community debt                                    Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.971 Larry Forbes                                                                        Last 4 digits of account number                                          Unknown
                                                                                                                                                                  $__________________
       _____________________________________________________________                      When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1100 Oakland Avenue
       _____________________________________________________________
       Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Florence                            SC       29506                                    Contingent
       _____________________________________________________________
       City                                             State            ZIP Code         
                                                                                          ✔   Unliquidated
       Who incurred the debt? Check one.                                                  
                                                                                          ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                             Student loans

             At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
             Check if this claim is for a community debt                                    Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.972 Larry Lee Newsom                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                               Unknown
                                                                                                                                                                  $_________________
       Nonpriority Creditor’s Name                                                        When was the debt incurred?           ____________
       1181 Craig Moore Road
       _____________________________________________________________
       Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Lewsburg                            TN       37091
       _____________________________________________________________                         Contingent
       City                                             State             ZIP Code
       Who incurred the debt? Check one.                                                  
                                                                                          ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                          
                                                                                          ✔   Disputed

             Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                     Student loans
             At least one of the debtors and another                                        Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
             Check if this claim is for a community debt                                    Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                     
                                                                                          ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                          page __
                                                                                                                                                                              326
                                                                                                                                                                                  of ___
                                                                                                                                                                                     546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  343 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.973 Larry Matthews
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       2516 S Galvez Street                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       New Orleans                                      LA
      _____________________________________________________________
                                                                       70130
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.974 Larry Watson                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       4701 Fort Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       #54
       _______________________________________________________________________
       Waco                                TX       76710                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.975 Lashelle Spann                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       3575 Oakdale Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Decatur                             GA       30034
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            327
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  344 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.976 Lashonda Dawkins
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1517 Glassy Mill Road                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Auburn                                           AL
      _____________________________________________________________
                                                                       36830
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.977 Latasha Ivory                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       960 Lake Victoria Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt A
       _______________________________________________________________________
       W Palm Beach                        FL       33411                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.978 Latasha Newsome                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       5715 Bemiss Road
       _____________________________________________________________
       Number             Street
       Lot 4                                                                            As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Valdosta                            GA       31605
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            328
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  345 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.979 Latesha Gupton
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       5 Hodges Way                                                                     When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Franklinton                                      NC
      _____________________________________________________________
                                                                       27525
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.980 Latika Randolph                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       925 N 26th Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt 19
       _______________________________________________________________________
       Waco                                TX       76707                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.981 Latisha Wingham                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       285 Mitchell Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       McKenzie                            TN       38201
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            329
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  346 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.982 Latrisha Redfield
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       c/o 2326 Tubman Home Road                                                        When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Augusta                                          GA
      _____________________________________________________________
                                                                       30906
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.983 Laura Rogers                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2564 Jackson Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       #5
       _______________________________________________________________________
       Laramie                             WY       82070                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.984 Laura Smith                                                                       Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       981 West Union Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Walhalla                            SC       29691
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            330
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  347 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.985 Lauren Martin
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       3036 Alabama Hwy 40                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Dutton                                           AL
      _____________________________________________________________
                                                                       35744
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.986 Lauren Storm                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       203 Kenwood Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Fayetteville                        GA       30214                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.987 Lauren Taylor Moncrief                                                            Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       PO Box 696
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Jackson                             GA       30233
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            331
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  348 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.988 Lavone Ogle
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       11277 Town Country DRive                                                         When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Riverside                                        CA
      _____________________________________________________________
                                                                       92505
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.989 Lavonte' Grimes                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       112 Schoolhouse Lane
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt 112
       _______________________________________________________________________
       Dublin                              GA       31021                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.990 Leah Long                                                                         Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1625 East 13th Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Jacksonville                        FL       32206
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            332
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  349 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.991 Leah Mims
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       205 Silver Creek Lane                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Stockbridge                                      GA
      _____________________________________________________________
                                                                       30281
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.992 Leandra Jackson                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       3030 Homestead Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Montgomery                          AL       36108                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.993 Leatha Breland                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       806 S Kilbourne Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Columbia                            SC       29206
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            333
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  350 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.994 Leon Pride
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       7009 Prosperity PK Road E                                                        When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Jacksonville                                     FL
      _____________________________________________________________
                                                                       32244
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.995 Leona Edwards                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1341 Briar Ridge Lane
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Jonesboro                           GA       30238                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.996 Leonard Jackson                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       4875 Savoie Court
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       New Orleans                         LA       70129
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            334
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  351 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.997 Leonel Espinoza
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1627 NW 3rd Street                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt 3
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Miami                                            FL
      _____________________________________________________________
                                                                       33125
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.998 Leslie Chamlee                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       6 Cliffview Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt 3
       _______________________________________________________________________
       Rome                                GA       30165                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.999 Lester Arnold                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1714 Atherton Dr.
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Decatur                             GA       30035
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            335
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  352 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1000Letroil Townsend
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       4727 Allendale Drive                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Memphis                                          TN
      _____________________________________________________________
                                                                       38128
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1001Levi Bell                                                                         Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       174 Ashley Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Mcdonough                           GA       30252                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1002Levi Knowles                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       300 Marion Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Thomaston                           GA       30286
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            336
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  353 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1003Lex Hutchins
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       4285 Hwy 81W                                                                     When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Lot 3
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Hampton                                          GA
      _____________________________________________________________
                                                                       30228
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1004Linda Sumner                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       5480 Meadow Oaks Park
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Jackson                             MS       39211                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1005Lindsey Godby                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1341 Briar Ridge Lane
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Jonesboro                           GA       30238
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            337
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  354 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1006Lionell Jenkins
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       5004 Princely Avenue                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Jacksonville                                     FL
      _____________________________________________________________
                                                                       32208
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1007Lisa Biddy                                                                        Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       208 Blue Heron Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Monticello                          GA       31064                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1008Lisa Burston                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       207 Darth Maul Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Grover                              NC       28073
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            338
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  355 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1009Lisa Coggins
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       16335 Hwy 268                                                                    When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Elkin                                            NC
      _____________________________________________________________
                                                                       28621
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1010Lisa Johnson                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2121 Parrott Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Waco                                TX       76707                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1011Lisa Lucas                                                                        Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       12970 Fairgreen Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Dover                               FL       33527
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            339
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  356 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1012Lloyd Adams
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       764 Midway Creek Road                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Murphy                                           NC
      _____________________________________________________________
                                                                       28906
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1013Logan Franks                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       39 Tency Lane
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Rome                                GA       30165                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1014Lorenzo Gaines                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1710 Perry Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Bastrop                             LA       71220
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            340
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  357 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1015Luis De La Rosa
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       3305 Sarah Lane                                                                  When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Lagrange                                         NC
      _____________________________________________________________
                                                                       28551
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1016Luis Mandujano                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1051 Hirsch Blvd.
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Calumet City                        IL       60409                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1017Luis Mandujano                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1051 Hirsch Blvd
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Calumet City                        IL       60409
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            341
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  358 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1018Luther Skinner
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       100 Sutton Drive                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Lagrange                                         NC
      _____________________________________________________________
                                                                       30241
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1019Luwata Dunbar                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       817 3rd Street SE
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Moultrie                            GA       31768                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1020Lynn Tavares                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       178 Ambrose Circle
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Jackson                             GA       30233
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            342
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  359 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1021Lynsey Oblisk
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       20574 White Bark Drive                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Strongsville                                     OH
      _____________________________________________________________
                                                                       44149
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1022Machelle Mc Mcgaha                                                                Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       258 Love & Care Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Six Mile                            SC       29682                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1023Mackeal Rawls                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       209 Raven Wood Way
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Warner Robbins                      GA       31093
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            343
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  360 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1024Madalynn Harper
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       315 Grady Street                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Gadsdon                                          AL
      _____________________________________________________________
                                                                       35904
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1025Maidson Benton                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       53489 Rock Ridge Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Loranger                            LA       70446                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1026Makenzie Brown                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1414 Westwood Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Winchester                          KY       40391
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            344
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  361 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1027Malachi Buie
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       4307 NE 70th Place                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Gainesville                                      FL
      _____________________________________________________________
                                                                       32609
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1028Malcolm Pettigrew                                                                 Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1232 Fairlawn Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Rantoul                             IL       61866                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1029Malcom Jenkins                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       2752 Terrell Ridge Court
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Marietta                            GA       30067
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            345
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  362 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1030Maleena Maestas
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       5664 W 5300 S                                                                    When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Hooper                                           UT
      _____________________________________________________________
                                                                       84315
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1031Malik Dozier                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       4858 Montegut Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       New Orleans                         LA       70126                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1032Malik Hall                                                                        Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       665 Booker T Washington
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Clarkton                            NC       28433
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            346
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  363 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1033Malik Jones
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       720 Tidewater Circle                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt 15D
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Macon                                            GA
      _____________________________________________________________
                                                                       31211
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1034Malik Williams                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       6345 Heirs Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Rembert                             SC       29128                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1035Malisha Stepny                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       302 North Steel Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Sanford                             NC       27330
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            347
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  364 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1036Mandy Ray Crump
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       4867 Red Top Drive                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Acworth                                          GA
      _____________________________________________________________
                                                                       36102
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1037Maneika Ridley                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       5401 Old National Hwy
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt 707
       _______________________________________________________________________
       College Park                        GA       30349                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1038Marcel Simpson                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       813 8th Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Laurel                              MD       20707
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            348
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  365 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1039Marchand Barnes
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1895 Old Clinton Road                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt 504
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Macon                                            GA
      _____________________________________________________________
                                                                       31211
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1040Marcia Bonner                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       29 Coyote Lane
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Lumber City                         GA       31549                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1041Marcia Henry-Bailey                                                               Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       19501 West Little York Road
       _____________________________________________________________
       Number             Street
       #4305                                                                            As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Katy                                TX       77449
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            349
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  366 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1042Marcus Brown
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       PO Box 1172                                                                      When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Zephyrhills                                      FL
      _____________________________________________________________
                                                                       33539
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1043Marcus Eaddy                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       3513 Lynview Court W
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Decatur                             GA       30034                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1044Marcus Edwards                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       14706 N 132nd Court
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Suprise                             AZ       85379
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            350
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  367 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1045Marcus Ford
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1724 Atherton Drive                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Decatur                                          GA
      _____________________________________________________________
                                                                       30035
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1046Marcus Varner                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       6972 Pine Shadow Way
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Winston                             GA       30187                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1047Marcus Ybarra                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       4022 Dogwood Hill Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Pasadena                            TX       77503
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            351
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  368 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1048Marcy Walker
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       10122 Road 246                                                                   When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Union                                            MS
      _____________________________________________________________
                                                                       39365
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1049Margaret Blount                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       280 Richardson Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt 2
       _______________________________________________________________________
       Atlanta                             GA       30312                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1050Margaret King                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1864 Glenn Echo Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Decatur                             GA       30332
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            352
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  369 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1051Margaret Lipsie
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       A 1982 Maryland Avenue                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Winston-Salem                                    NC
      _____________________________________________________________
                                                                       27101
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1052Margo Morrison                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       4789 Box Elder Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Salt Lake City                      UT       84107                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1053Maria Brown                                                                       Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       5834 Colonnade Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Rex                                 GA       30273
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            353
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  370 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1054Marie Bartell
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       204 E 4th Street                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt A
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Fostoria                                         OH
      _____________________________________________________________
                                                                       44830
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1055Mario Gooden                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       751 Fairburn Road SW
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt 2104
       _______________________________________________________________________
       Atlanta                             GA       30331                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1056Mario Grissom                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       7025 Wink Field Place
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Atlanta                             GA       30349
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            354
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  371 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1057Mario Malcolm
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1420 Edenfield Court                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Lithonia                                         GA
      _____________________________________________________________
                                                                       80058
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1058Mario Malcolm                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1420 Edenfield Ct
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Lithonia                            GA       30058                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1059Marion Pope                                                                       Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       2399 Wexford Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       College Park                        GA       30349
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            355
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  372 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1060Marion Pringle
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       5075 Dennis Road                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Remdart                                          SC
      _____________________________________________________________
                                                                       29128
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1061Mark Anthony McDaniel, Jr.                                                        Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       405 Lady Guenivere Way
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Jonesboro                           GA       30236                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1062Mark Anthony McDaniel, Sr.                                                        Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       2915 Thompson Circle
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Decatur                             GA       30034
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            356
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  373 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1063Mark Christian Riddick
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1622 Kennings Rd.                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Crosby                                           TX
      _____________________________________________________________
                                                                       77532
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1064Mark Hicks                                                                        Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       4049 Long Lane Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Cookeville                          TN       38506                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1065Mark Montano                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       19310 Pinewood Mist Lane
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Humble                              TX       77346
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            357
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  374 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1066Mark Vande Velde
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       413 Dale Drive                                                                   When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Burlington                                       WI
      _____________________________________________________________
                                                                       53105
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1067Markaila Wimbley                                                                  Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       229 Andy Carr Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Alcoa                               TN       37701                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1068Markayle Frost                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       99 Tiffany Lane
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Warner Robbins                      GA       31093
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            358
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  375 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1069Markeith Reese
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       3355 Misty Valley Road                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Decatur                                          GA
      _____________________________________________________________
                                                                       30032
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1070Markevious Williams                                                               Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       412 Lovett
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Sandersville                        GA       31082                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1071Marquice Johnson                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       213 Sharon Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Americus                            GA       31709
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            359
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  376 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1072Marquis Lagrant
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       303 Old Dairy Road                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Aily                                             GA
      _____________________________________________________________
                                                                       30410
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1073Marquis Lane                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       391 Piney Heights Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Warrensville                        SC       29851                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1074Marrionto Perry                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       2253 boulder Springs Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Ellenwood                           GA       30294
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            360
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  377 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1075Martin Miller
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       3496 Primrose Road                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Decatur                                          GA
      _____________________________________________________________
                                                                       30032
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1076Martina Floyd                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1239 12th Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Augusta                             GA       30901                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1077Marty Fowler                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1550 Larimer St.
       _____________________________________________________________
       Number             Street
       Apt. 189                                                                         As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Denver                              CO       80202
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            361
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  378 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1078Marvin Bruce Willis
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       2479 Perkerson Road                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Atlanta                                          GA
      _____________________________________________________________
                                                                       30315
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1079Marvin Westbrooks                                                                 Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2964 Canfield Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt E
       _______________________________________________________________________
       St. Louis                           MO       63136                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1080Mary Ann Adams                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       764 Midway Creek Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Murphy                              NC       28906
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            362
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  379 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1081Mary Crawford
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       181 Bob Corpus Lane                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt C
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Madisonville                                     KY
      _____________________________________________________________
                                                                       42431
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1082Mary Cummings                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       182 Wendover Lane
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Roanoke Rapids                      NC       27870                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1083Mary Souder                                                                       Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       674 Jett St. NW
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Atlanta                             GA       30318
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            363
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  380 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1084Matt Whaley
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       9555 County Rd. 137                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Valley Head                                      AL
      _____________________________________________________________
                                                                       35989
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1085Matthew Allen                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2414 Buckingham Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Greenville                          TN       37741                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1086Matthew Arnold                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1155 Suburban Acres
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Marshall                            TX       75672
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            364
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  381 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1087Matthew Blake Allen
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       11136 Chelsea Lane                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Hampton                                          GA
      _____________________________________________________________
                                                                       30228
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1088Matthew Bullis                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1221 New Browns Ford Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Wilkesboro                          NC       28697                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1089Matthew Edwards                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       8380 Highway 54
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Sharpsburg                          GA       30277
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            365
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                        Doc 31             Entered 08/26/19 17:22:59                   Page  382 of 648
                                                                                                                                  19-15175
 Debtor 1           _______________________________________________________                                    Case number (if known)_____________________________________
                    First Name       Middle Name             Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Total claim
4.1090Matthew Green
      _____________________________________________________________                       Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                   Unknown
                                                                                                                                                                  $__________________
       11640 S. Watkins                                                                   When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.
       Chicago                                          IL
      _____________________________________________________________
                                                                         60643
      City                                              State            ZIP Code            Contingent
                                                                                          
                                                                                          ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                          
                                                                                          ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                             Student loans
             Debtor 1 and Debtor 2 only
                                                                                             Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                         that you did not report as priority claims

             Check if this claim is for a community debt                                    Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1091Matthew Vela                                                                        Last 4 digits of account number                                          Unknown
                                                                                                                                                                  $__________________
       _____________________________________________________________                      When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       4121 Acree
       _____________________________________________________________
       Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Waco                                TX       76711                                    Contingent
       _____________________________________________________________
       City                                             State            ZIP Code         
                                                                                          ✔   Unliquidated
       Who incurred the debt? Check one.                                                  
                                                                                          ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                             Student loans

             At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
             Check if this claim is for a community debt                                    Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1092Matthew Yarbrough                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                               Unknown
                                                                                                                                                                  $_________________
       Nonpriority Creditor’s Name                                                        When was the debt incurred?           ____________
       1007 Alexandria Road
       _____________________________________________________________
       Number             Street
       Lot 52                                                                             As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Jacksonville                        AL       36265
       _____________________________________________________________                         Contingent
       City                                             State             ZIP Code
       Who incurred the debt? Check one.                                                  
                                                                                          ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                          
                                                                                          ✔   Disputed

             Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                     Student loans
             At least one of the debtors and another                                        Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
             Check if this claim is for a community debt                                    Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                     
                                                                                          ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                          page __
                                                                                                                                                                              366
                                                                                                                                                                                  of ___
                                                                                                                                                                                     546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  383 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1093Maurice Patrick
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       903 Jonathan Street                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Dothan                                           AL
      _____________________________________________________________
                                                                       36301
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1094Maurice Stanford                                                                  Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       17064 Cregier Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       S. Holland                          IL       60473                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1095Maurice Williams                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1040 Alexander Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Augusta                             GA       30709
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            367
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  384 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1096Maxie Helms
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       PO Box 374                                                                       When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Diana                                            TX
      _____________________________________________________________
                                                                       75640
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1097Maya Atwater                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       4900 Delane Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt 3A
       _______________________________________________________________________
       Atlanta                             GA       30349                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1098McKinsey Luckett                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       805 Carver Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Carthage                            MS       39051
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            368
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  385 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1099Meghan Pickens
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       521 Cutrer Avenue                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Lambert                                          MS
      _____________________________________________________________
                                                                       38643
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1100Melinda Rogers                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       320 Edge Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Cedartown                           GA       30125                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1101Melisa Edwards                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       244 CR 3379
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Cleveland                           TX       77327
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            369
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  386 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1102Melissa LeGare
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       2246 Oakridge Conn                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Blackshear                                       GA
      _____________________________________________________________
                                                                       31516
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1103Melissa Ratzlaff                                                                  Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       8583 Santa Rosa
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Frisco                              TX       75033                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1104Melvin Andrews                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       2860 S. 200 E
       _____________________________________________________________
       Number             Street
       Apt. 1                                                                           As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Salt Lake City                      UT       84115
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            370
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  387 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1105Melvin Humphrey
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       2801 Walnut Bend Lane                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt 41
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Houston                                          TX
      _____________________________________________________________
                                                                       77042
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1106Melvin Lonas                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       3250 Soutel Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Jacksonville                        FL       32208                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1107Menika Johnson                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       127 Flower Circle
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Coldwater                           MS       38618
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            371
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  388 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1108Meoshi Williams
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       3000 Eclipse Loop                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       APT 3202
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Aiken                                            SC
      _____________________________________________________________
                                                                       29801
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1109Miah McSwain                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       467 Fredonia Church Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Barnesville                         GA       30204                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1110Michael Acord                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       601 Waverly Lane
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Grand Junction                      CO       81504
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            372
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  389 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1111Michael Broughton
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       80 Gann Road                                                                     When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Oxford                                           AL
      _____________________________________________________________
                                                                       36203
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1112Michael Dennis                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       3813 Leland Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Waco                                TX       76708                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1113Michael Edwards                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       7272 Lee Road 240
       _____________________________________________________________
       Number             Street
       Apt 6                                                                            As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Phenix City                         AL       36085
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            373
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  390 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1114Michael Gauthier
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       809 Pine Street                                                                  When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Donaldsonville                                   LA
      _____________________________________________________________
                                                                       70346
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1115Michael George                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       8583 Santa Rosa
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Frisco                              TX       75033                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1116Michael Germany                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       3019 Brighton Court
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Conyers                             GA       30094
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            374
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  391 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1117Michael Grimes
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       920 Fortner Street                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Dothan                                           AL
      _____________________________________________________________
                                                                       36303
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1118Michael Harroway                                                                  Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1309 Bonford Pass
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Marietta                            GA       30064                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1119Michael Jamison                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       2945 Lyme Regis Quay
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Virginia Beach                      VA       23452
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            375
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  392 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1120Michael Liles
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       445 Old Cheraw Hwy                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Rockingham                                       NC
      _____________________________________________________________
                                                                       28379
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1121Michael Mancheck                                                                  Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       13812 Ashland Heights
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Diana                               TX       75640                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1122Michael McCallister                                                               Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       81 West Elm Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Clay                                KY       42404
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            376
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  393 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1123Michael Novak
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       474 4th Street Rear Apt                                                          When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Troy                                             NY
      _____________________________________________________________
                                                                       12180
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1124Michael Reed                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       4371 Glenwood Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt I9
       _______________________________________________________________________
       Decatur                             GA       30083                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1125Michael Reiland                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       238 Stuart Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Chubbuck                            ID       83202
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            377
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  394 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1126Michael Reives
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       2388 Harmony Ridge Court                                                         When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Lithonia                                         GA
      _____________________________________________________________
                                                                       30058
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1127Michael Shaw                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       670 CR 315 South
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Independence                        FL       32148                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1128Michael Stanley                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       213A Henderson Dr.
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Jacksonville                        NC       28540
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            378
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  395 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1129Michael Suber
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1821 W Broad Avenue                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Albany                                           GA
      _____________________________________________________________
                                                                       31707
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1130Michel K. Steele                                                                  Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2713 Sandalwood Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Sandy Springs                       GA       30350                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1131Michele Brown                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1414 Westwood Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Winchester                          KY       40391
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            379
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  396 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1132Michelle Achuff
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       4867 Red Top Drive                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Acworth                                          GA
      _____________________________________________________________
                                                                       30102
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1133Michelle Barnard                                                                  Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       117 Cherokee Nation Lane
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Jacksonville                        NC       28540                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1134Michelle Clark                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       215 Smith Road SW
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Rome                                GA       30165
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            380
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  397 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1135Michelle Raymond
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       171 Hickman Avenue                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Hudson                                           NC
      _____________________________________________________________
                                                                       28638
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1136Micquail Clark                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2304 Laura Court
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt B
       _______________________________________________________________________
       Milledgeville                       GA       31061                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1137Miguel Mathis                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       4304 Luke Way
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Ellenwood                           GA       30294
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            381
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  398 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1138Mikael Frails
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1612 Grooves Blvd                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       North Augusta                                    SC
      _____________________________________________________________
                                                                       29841
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1139Mike Davis                                                                        Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       711 Elm Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Atlanta                             GA       30308                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1140Mikel Scott                                                                       Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1640 N 44th Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Baton Rouge                         LA       70802
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            382
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  399 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1141Miles White
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1190 Tara Road                                                                   When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Jonesboro                                        GA
      _____________________________________________________________
                                                                       30238
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1142Millard Rich                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2531 Shorter Ave.
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Lot #88
       _______________________________________________________________________
       Rome                                GA       30165                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1143Milton Grier                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       2402 Graywall Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       East Point                          GA       30344
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            383
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  400 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1144Milton Lewis
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       3848 S. Deerwood                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Harvey                                           LA
      _____________________________________________________________
                                                                       70058
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1145Minmey Ahmed                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       333 Lake Montonia Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Kings Mountain                      NC       38086                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1146Mitchell Edwards                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       8380 Hwy 54
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Sharpsburg                          GA       30277
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            384
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31            Entered 08/26/19 17:22:59                   Page  401 of 648
                                                                                                                               19-15175
 Debtor 1           _______________________________________________________                                 Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                 Total claim
4.1147Mohamed Tariq Samidon
      _____________________________________________________________                    Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                Unknown
                                                                                                                                                               $__________________
       Unknown                                                                         When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Unknown
      _______________________________________________________________________
                                                                                       As of the date you file, the claim is: Check all that apply.
       Unknown                                          CA
      _____________________________________________________________
      City                                              State          ZIP Code           Contingent
                                                                                       
                                                                                       ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                       
                                                                                       ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                          Student loans
             Debtor 1 and Debtor 2 only
                                                                                          Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                      that you did not report as priority claims

             Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                       
                                                                                       ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1148Molli McLeod                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                               $__________________
       _____________________________________________________________                   When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       5845 Charlie Little Road
       _____________________________________________________________
       Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Granite Falls                       NC       28630                                 Contingent
       _____________________________________________________________
       City                                             State          ZIP Code        
                                                                                       ✔   Unliquidated
       Who incurred the debt? Check one.                                               
                                                                                       ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                          Student loans

             At least one of the debtors and another
                                                                                          Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
             Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                       
                                                                                       ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1149Mona Lisa Olive                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                            Unknown
                                                                                                                                                               $_________________
       Nonpriority Creditor’s Name                                                     When was the debt incurred?           ____________
       217 Raliegh Avenue
       _____________________________________________________________
       Number             Street
       #4                                                                              As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Carolina Beach                      NC       28428
       _____________________________________________________________                      Contingent
       City                                             State          ZIP Code
       Who incurred the debt? Check one.                                               
                                                                                       ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                       
                                                                                       ✔   Disputed

             Debtor 2 only                                                            Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                  Student loans
             At least one of the debtors and another                                     Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
             Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  
                                                                                       ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                        page __
                                                                                                                                                                           385
                                                                                                                                                                               of ___
                                                                                                                                                                                  546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  402 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1150Monay Dave
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       PO Box 56732                                                                     When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Atlanta                                          GA
      _____________________________________________________________
                                                                       31156
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1151Monica Chisolm                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       153 N Franklin Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Florence                            SC       29501                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1152Montavier Sanders                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       105 Wisteria Way
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Covington                           GA       30016
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            386
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  403 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1153Montavious Adams
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       3575 Oakvale Road                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Decatur                                          GA
      _____________________________________________________________
                                                                       30034
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1154Montray Celestine                                                                 Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2601 Roosevelt Hwy
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt. A3
       _______________________________________________________________________
       College Park                        GA       30337                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1155Mony Pryor                                                                        Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       3661 Eaglesfield S
       _____________________________________________________________
       Number             Street
       Apt 1                                                                            As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Memphis                             TN       38118
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            387
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  404 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1156Myareion Tinson
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       548 Highway 90                                                                   When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt 218
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Wareland                                         MS
      _____________________________________________________________
                                                                       39576
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1157Mykel McCrea                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       3925 West Robson Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Tampa                               FL       33614                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1158Myron Tinson                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       18973 Hwy 15
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Pointa Lattach                      LA       70082
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            388
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  405 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1159Nakia Harper
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       809 Rue De Lasalle Street                                                        When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Waveland                                         MS
      _____________________________________________________________
                                                                       39576
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1160Namon Mazyk                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       5270 Borden Rd.
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Rembert                             SC       29128                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1161Nancy Kitchens                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       22846 Hwy 22 East
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Daviston                            AL       36256
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            389
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  406 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1162Nancy Thomas
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       9001 Kingcrest Pkwy                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Baton Rouge                                      LA
      _____________________________________________________________
                                                                       70810
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1163Natasha Martin                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       7365 Edmonton Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Columbia                            KY       42728                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1164Nathan Maye                                                                       Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       629 Green Valley Raod
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Gadsden                             AL       35905
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            390
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  407 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1165Nathan Quinn
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       10380 Briarbay Drive                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Jonesboro                                        GA
      _____________________________________________________________
                                                                       30238
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1166Nathaniel Clay                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       408 Ward St
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Waner Robins                        GA       30281                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1167Nathaniel Haynes                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       5485 Moncrief Road W
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Jacksonville                        FL       32219
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            391
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  408 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1168Nathaniel Hook
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       4867 Red Top Drive                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Ackworth                                         GA
      _____________________________________________________________
                                                                       30102
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1169Nathaniel Shead                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       4701 Flat Shoals Rd.
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Union City                          GA       30291                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1170National Resets & Remodels, LLC                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       4232 Daniel Dr.
       _____________________________________________________________
       Number             Street
       C/O Kortni Harley                                                                As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Winston                             GA       30187
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            392
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  409 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1171Natyjah Gilliam
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       8005 Rosewood Avenue                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Cleveland                                        OH
      _____________________________________________________________
                                                                       44105
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1172Naylaemma Evora Gonzalez                                                          Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       14300 SW 121st Place
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Miami                               FL       33186                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1173Nelda Marie Britt                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       PO Box 403
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Diana                               TX       75640
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            393
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  410 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1174Neva Jackson
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       303 Sandpiper Drive                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Portsmouth                                       VA
      _____________________________________________________________
                                                                       23704
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1175Nic'Jaha Hamilton                                                                 Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       515 East Dover Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt A2
       _______________________________________________________________________
       Shelby                              NC       28150                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1176Nicholas Hartman                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       4076 Casaloma Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Decatur                             GA       30034
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            394
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  411 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1177Nicholas Hinton
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       514 Anniston Avenue                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Piedmont                                         AL
      _____________________________________________________________
                                                                       36272
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1178Nicholas Lewis                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1901 Ritcher
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       #2206
       _______________________________________________________________________
       Waco                                TX       76711                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1179Nicholas Miller                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       6847 Richardson Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Jacksonville                        FL       32209
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            395
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  412 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1180Nickolas Jones
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1255 FM 1969                                                                     When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Avinger                                          TX
      _____________________________________________________________
                                                                       75630
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1181Nicole Edwards                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       3324 Avalon Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Charlotte                           NC       28208                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1182Nicole Matthews                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1702 Lachelle Lane
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Arlington                           TX       76010
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            396
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  413 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1183Nicole Matthews
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1505 Terrace St.                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Arlington                                        TX
      _____________________________________________________________
                                                                       76012
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1184Nigel Towler                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       6106 Hunter Ridge Circle
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Columbus                            GA       31907                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1185Nikitra Bennett                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       3104 Park Avenue
       _____________________________________________________________
       Number             Street
       Apt 203                                                                          As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Kansas City                         MO       64109
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            397
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  414 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1186Noble Lewis
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       2133 Vandivere Road                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt 7D
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Augusta                                          GA
      _____________________________________________________________
                                                                       30904
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1187Nora Roberts                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       4021 CR 3502
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Willis Point                        TX       75169                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1188Octavius Johnson                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       171 Allen Memoria Dr., SW
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Milledgeville                       GA       31061
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            398
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  415 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1189Oladuni McKinney
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       4307 NE 70 Place                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Gainesville                                      FL
      _____________________________________________________________
                                                                       32609
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1190Olatuwon Davis                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       721 Lincoln Circle
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Washington                          GA       30673                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1191Olga Velasquez                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       26809 Merced Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Menifee                             CA       92854
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            399
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  416 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1192Oltavious Johnson
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       114 Johnson Hough Road                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Haddock                                          GA
      _____________________________________________________________
                                                                       31033
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1193Omar Chavez                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       10131 Trade Winds Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Houston                             TX       77086                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1194Omari Jackson                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       480 Willow Creek
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Fairburn                            GA       30213
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            400
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  417 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1195Omi Olumuyiwa
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       4307 NE 70th Place                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Gainesville                                      FL
      _____________________________________________________________
                                                                       32609
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1196Orville Brooks                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       14306 Shepard Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Dolton                              IL       60419                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1197Osbourne Crooms                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       8430 N. Pond Dr.
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Riverdale                           GA       30216
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            401
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  418 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1198Pablo Estrada
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       5000 Clarmar Road                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Louisville                                       KY
      _____________________________________________________________
                                                                       40299
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1199Pacee' Moses                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       6244 Silverleaf Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Baton Rouge                         LA       70812                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1200Paigelyn Smith                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       505 Dixon Nursery Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Brewton                             AL       36426
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            402
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  419 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1201Pam Baader
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       206 S Stone Street                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Augusta                                          WI
      _____________________________________________________________
                                                                       54722
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1202Pamela Bullis                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1221 New Browns Ford Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Wilkesboro                          NC       28697                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1203Pamela Crane                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1048 Fairview Road
       _____________________________________________________________
       Number             Street
       Apt 11                                                                           As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Beech Island                        SC       29842
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            403
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  420 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1204Parker Way
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       553 Stembridge Road                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Milledgeville                                    GA
      _____________________________________________________________
                                                                       31061
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1205Parthena Stokes                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       9110 Huntwood Lane
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Riverdale                           GA       30274                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1206Patricia Pixley                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       3000 Eclipse loop
       _____________________________________________________________
       Number             Street
       APT 3202                                                                         As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Aiken                               SC       29801
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            404
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  421 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1207Patricia Pixley
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       3000 Eclipse Loop                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt 3202
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Aiken                                            SC
      _____________________________________________________________
                                                                       29801
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1208Patrick Bullis                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1221 New Browns Ford Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Wilkesboro                          NC       28697                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1209Patrick DiDomonico                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       213 Florida Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Spindale                            NC       28160
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            405
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  422 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1210Patrick Giles
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       333 Angier Avenue                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt 104 A
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Atlanta                                          GA
      _____________________________________________________________
                                                                       30312
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1211Patrick Nolan                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       252 Victory Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Franklin                            GA       30217                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1212Patrick Prickett                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       2689 Catalina Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Grand Junction                      CO       81506
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            406
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                        Doc 31             Entered 08/26/19 17:22:59                   Page  423 of 648
                                                                                                                                  19-15175
 Debtor 1           _______________________________________________________                                    Case number (if known)_____________________________________
                    First Name       Middle Name             Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Total claim
4.1213Paul Barnes
      _____________________________________________________________                       Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                   Unknown
                                                                                                                                                                  $__________________
       223 Twin Drive                                                                     When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.
       Caseyville                                       IL
      _____________________________________________________________
                                                                         62282
      City                                              State            ZIP Code            Contingent
                                                                                          
                                                                                          ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                          
                                                                                          ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                             Student loans
             Debtor 1 and Debtor 2 only
                                                                                             Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                         that you did not report as priority claims

             Check if this claim is for a community debt                                    Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1214Paul Butler                                                                         Last 4 digits of account number                                          Unknown
                                                                                                                                                                  $__________________
       _____________________________________________________________                      When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1014 Northfield Circle
       _____________________________________________________________
       Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Dothan                              AL       36303                                    Contingent
       _____________________________________________________________
       City                                             State            ZIP Code         
                                                                                          ✔   Unliquidated
       Who incurred the debt? Check one.                                                  
                                                                                          ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                             Student loans

             At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
             Check if this claim is for a community debt                                    Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1215Paula Woodford                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                               Unknown
                                                                                                                                                                  $_________________
       Nonpriority Creditor’s Name                                                        When was the debt incurred?           ____________
       625 South 28th Street
       _____________________________________________________________
       Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Paducah                             KY       42003
       _____________________________________________________________                         Contingent
       City                                             State             ZIP Code
       Who incurred the debt? Check one.                                                  
                                                                                          ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                          
                                                                                          ✔   Disputed

             Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                     Student loans
             At least one of the debtors and another                                        Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
             Check if this claim is for a community debt                                    Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                     
                                                                                          ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                          page __
                                                                                                                                                                              407
                                                                                                                                                                                  of ___
                                                                                                                                                                                     546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  424 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1216Percy Harrison
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1164 Clydesbank Street                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Harvey                                           LA
      _____________________________________________________________
                                                                       77058
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1217Peter Hernandez                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       109 N Rochester Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Burlington                          WI       53105                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1218Peter Saujon                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1153 Grand Ange Hwy
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Breaux Bridge                       LA       70517
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            408
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  425 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1219Peterson Fonrose
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       11644 NW 23 Road                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Coral Springs                                    FL
      _____________________________________________________________
                                                                       33065
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1220Phyllis Johnson                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       702 Greenburg Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Bogalusa                            LA       70427                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1221Precious Ellington                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       117 South Leisure Lane SE
       _____________________________________________________________
       Number             Street
       Lot 6                                                                            As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Milledgeville                       GA       31061
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            409
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  426 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1222Princess Carter
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1724 Atherton Drive                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Decatur                                          GA
      _____________________________________________________________
                                                                       30035
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1223Priscilla Scott                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       449 Butler Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Lot A10
       _______________________________________________________________________
       Dothan                              AL       36305                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1224Quamaine Fletcher                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       348 Cross Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Whiteville                          TN       38075
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            410
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  427 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1225Quandaris Johnson
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       391 Pine Valley Drive                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Roanoke                                          AL
      _____________________________________________________________
                                                                       36274
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1226Quanterian Rollins                                                                Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1864 Glen Echo Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Decatur                             GA       30032                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1227Quenesha Thornton                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       8546 Braylen Manor Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Douglasville                        GA       30134
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            411
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  428 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1228Quenides Urbaez
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       89 Hillside Avenue                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Dover                                            NJ
      _____________________________________________________________
                                                                       7801
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1229Quentin Veal                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       131 Burney Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Gordon                              GA       31031                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1230Quincy Harris                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       21W549 North Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Lombard                             IL       60148
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            412
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                        Doc 31             Entered 08/26/19 17:22:59                   Page  429 of 648
                                                                                                                                  19-15175
 Debtor 1           _______________________________________________________                                    Case number (if known)_____________________________________
                    First Name       Middle Name             Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Total claim
4.1231Quincy Harris
      _____________________________________________________________                       Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                   Unknown
                                                                                                                                                                  $__________________
       21W549 North Avenue                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.
       Lombard                                          IL
      _____________________________________________________________
                                                                         60148
      City                                              State            ZIP Code            Contingent
                                                                                          
                                                                                          ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                          
                                                                                          ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                             Student loans
             Debtor 1 and Debtor 2 only
                                                                                             Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                         that you did not report as priority claims

             Check if this claim is for a community debt                                    Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1232Quintavious Smith                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                  $__________________
       _____________________________________________________________                      When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       5401 Old National Hwy
       _____________________________________________________________
       Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
       707
       _______________________________________________________________________
       College Park                        GA       30349                                    Contingent
       _____________________________________________________________
       City                                             State            ZIP Code         
                                                                                          ✔   Unliquidated
       Who incurred the debt? Check one.                                                  
                                                                                          ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                             Student loans

             At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
             Check if this claim is for a community debt                                    Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1233Quinton Moreland                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                               Unknown
                                                                                                                                                                  $_________________
       Nonpriority Creditor’s Name                                                        When was the debt incurred?           ____________
       310 Devon Court
       _____________________________________________________________
       Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Fairburn                            GA       30213
       _____________________________________________________________                         Contingent
       City                                             State             ZIP Code
       Who incurred the debt? Check one.                                                  
                                                                                          ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                          
                                                                                          ✔   Disputed

             Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                     Student loans
             At least one of the debtors and another                                        Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
             Check if this claim is for a community debt                                    Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                     
                                                                                          ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                          page __
                                                                                                                                                                              413
                                                                                                                                                                                  of ___
                                                                                                                                                                                     546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  430 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1234Quintrez Farley
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       433 Stone Crest Court                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Macon                                            GA
      _____________________________________________________________
                                                                       31216
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1235Qulavia Ridley                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       5401 Old National Hwy
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt 707
       _______________________________________________________________________
       College Park                        GA       30349                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1236Qulonda Brown                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1826 Shelton Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Jacksonville                        FL       32211
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            414
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  431 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1237Qyderricko Holmes
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1093 West Avenue                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt 121
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Atlanta                                          GA
      _____________________________________________________________
                                                                       30315
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1238Rachael Dupre                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       204 Angelle Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Houma                               LA       70360                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1239Rachel McHale                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1506 31st Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Greeley                             CO       80634
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            415
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  432 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1240Rackwon Price
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       808 Montgomery Street                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Wadesboro                                        NC
      _____________________________________________________________
                                                                       28170
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1241Rahiem Davis                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       c/o 2326 Tubman Home Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Augusta                             GA       30906                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1242Rajee Heard                                                                       Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       411 Curtis Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Greenville                          SC       29611
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            416
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  433 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1243Ramone Moliere
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       7001 Bundy Road                                                                  When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt C13
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       New Orleans                                      LA
      _____________________________________________________________
                                                                       70127
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1244Randall LeGare                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2246 Oakridge Conn.
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Blackshear                          GA       31516                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1245Randall Osborne                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       4400 Broad Street
       _____________________________________________________________
       Number             Street
       Lot 40                                                                           As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Sumter                              SC       29154
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            417
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  434 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1246Raquel Long
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       72 Fletcher Street                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Tonawanda                                        NY
      _____________________________________________________________
                                                                       14150
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1247Rashad Ford                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       7270 Buck Creek Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Fairburn                            GA       30213                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1248Rashad Merriell                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       3408 Pakenham Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Chalmette                           LA       70043
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            418
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  435 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1249Rashad Sellers
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       4343 Cedar Lake Cove                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Conley                                           GA
      _____________________________________________________________
                                                                       30288
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1250Rasheed Johnson                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       5505 Peppertree Circle
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt C
       _______________________________________________________________________
       Atlanta                             GA       30032                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1251Rasheen Sellars                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       446 Griffin Road SE
       _____________________________________________________________
       Number             Street
       Lot 39                                                                           As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Allenhurst                          GA       31301
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            419
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  436 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1252Rashida Fields
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       2905 Arrowhead Drive                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt G4
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Augusta                                          GA
      _____________________________________________________________
                                                                       30909
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1253Rashida Womack                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       4900 N Tamiami Traile
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt 153
       _______________________________________________________________________
       Sarasota                            FL       34234                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1254Rashonda Ndikum                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1051 Villa Court SE
       _____________________________________________________________
       Number             Street
       Apt. 198                                                                         As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Atlanta                             GA       30316
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            420
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  437 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1255Raul Hernandez Jr.
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       19310 Pinewood Mist Lane                                                         When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Humble                                           TX
      _____________________________________________________________
                                                                       77346
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1256Raven Britt                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       PO Box 374
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Diana                               TX       75640                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1257Raven Watkins                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       3500 Meyers Lane
       _____________________________________________________________
       Number             Street
       #133                                                                             As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Waco                                TX       76705
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            421
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                      CaseSTEVEN
                    EDWARD 19-15175-abl
                                 BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  438 of 648
                                                                                                                               19-15175
Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
    
    ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                                 Total claim
4.1258Raygine Robinson
      _____________________________________________________________                    Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                Unknown
                                                                                                                                                               $__________________
       99 Evergreen Trail                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                       As of the date you file, the claim is: Check all that apply.
       Cartersville                                    GA
      _____________________________________________________________
                                                                      30121
      City                                             State          ZIP Code            Contingent
                                                                                       
                                                                                       ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                       
                                                                                       ✔   Disputed
      
      ✔      Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
            Debtor 2 only
                                                                                          Student loans
            Debtor 1 and Debtor 2 only
                                                                                          Obligations arising out of a separation agreement or divorce
            At least one of the debtors and another                                       that you did not report as priority claims

            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                       
                                                                                       ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.1259Raymon Hudson                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                               $__________________
      _____________________________________________________________                    When was the debt incurred?           ____________
      Nonpriority Creditor’s Name
       2324 Sweetgum Drive
      _____________________________________________________________
      Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Bonifay                             FL       32425                                  Contingent
      _____________________________________________________________
      City                                             State          ZIP Code         
                                                                                       ✔   Unliquidated
      Who incurred the debt? Check one.                                                
                                                                                       ✔   Disputed
      
      ✔      Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
            Debtor 2 only
            Debtor 1 and Debtor 2 only
                                                                                          Student loans

            At least one of the debtors and another
                                                                                          Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                       
                                                                                       ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.1260Raymond Brown                                                                    Last 4 digits of account number
      _____________________________________________________________                                                                                             Unknown
                                                                                                                                                               $_________________
      Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       2200 Godby Rd
      _____________________________________________________________
      Number             Street
       Apt. F3                                                                         As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      College Park                        GA       30349
      _____________________________________________________________                       Contingent
      City                                             State           ZIP Code
      Who incurred the debt? Check one.                                                
                                                                                       ✔   Unliquidated

      
      ✔      Debtor 1 only
                                                                                       
                                                                                       ✔   Disputed

            Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                                   Student loans
            At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  
                                                                                       ✔   Other. Specify
      
      ✔      No
            Yes


  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                           422
                                                                                                                                                                               of ___
                                                                                                                                                                                  546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  439 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1261Raymond Gribbins
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       99 Sunfish Bee Spring Road                                                       When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Bee Spring                                       KY
      _____________________________________________________________
                                                                       42207
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1262Raymond Jones                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       8682 Lewisburg Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Lewisburg                           KY       42256                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1263Rebecca Boyd                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       179 Calvert City Circle
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Benton                              KY       42025
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            423
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  440 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1264Rebecca Brown
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       590 Furnie Folks Road                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Webb                                             AL
      _____________________________________________________________
                                                                       36376
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1265Rebecca Fincher                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       230 Liberty Hill Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Griffin                             GA       30223                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1266Rebecca Koenig-Gasper                                                             Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       523 Bay Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Chippewa Falls                      WI       54729
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            424
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  441 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1267Rebecca Wilson
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       399 Four Points Road                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Jackson                                          GA
      _____________________________________________________________
                                                                       30233
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1268Reco Eckerson                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       Unknown
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Unknown
       _______________________________________________________________________
       Unknown                             WA                                              Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1269Reco Richardson                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       169 Northtowne Core
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Stockbridge                         GA       30281
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            425
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  442 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1270Reginald Graham
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       2511 Louise Street                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Johnson City                                     TN
      _____________________________________________________________
                                                                       37601
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1271Reginald Love                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       490 Piney Fork Lane
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       College Park                        GA       30349                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1272Reginald Roberts                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       441 Dorsey Road
       _____________________________________________________________
       Number             Street
       Apt 4                                                                            As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Atlanta                             GA       30354
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            426
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  443 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1273Reginald Ross
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       2305 N. Franklin St.                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Marshall                                         TX
      _____________________________________________________________
                                                                       75670
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1274Reginald Walton                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2215 Marbut Farms Trace
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Lithonia                            GA       30058                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1275Renardo Hendrix                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       858 Haven Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Atlanta                             GA       30315
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            427
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                      CaseSTEVEN
                    EDWARD 19-15175-abl
                                 BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  444 of 648
                                                                                                                               19-15175
Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
    
    ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                                 Total claim
4.1276Renee King
      _____________________________________________________________                    Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                Unknown
                                                                                                                                                               $__________________
       3622 Drew Street                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                       As of the date you file, the claim is: Check all that apply.
       Jacksonville                                    FL
      _____________________________________________________________
                                                                      32207
      City                                             State          ZIP Code            Contingent
                                                                                       
                                                                                       ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                       
                                                                                       ✔   Disputed
      
      ✔      Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
            Debtor 2 only
                                                                                          Student loans
            Debtor 1 and Debtor 2 only
                                                                                          Obligations arising out of a separation agreement or divorce
            At least one of the debtors and another                                       that you did not report as priority claims

            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                       
                                                                                       ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.1277Renee Landers                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                               $__________________
      _____________________________________________________________                    When was the debt incurred?           ____________
      Nonpriority Creditor’s Name
       4285 Hwy 81
      _____________________________________________________________
      Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      Lot 2
      _______________________________________________________________________
      Hampton                             GA       30228                                  Contingent
      _____________________________________________________________
      City                                             State          ZIP Code         
                                                                                       ✔   Unliquidated
      Who incurred the debt? Check one.                                                
                                                                                       ✔   Disputed
      
      ✔      Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
            Debtor 2 only
            Debtor 1 and Debtor 2 only
                                                                                          Student loans

            At least one of the debtors and another
                                                                                          Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                       
                                                                                       ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.1278Rhonda Dowdy                                                                     Last 4 digits of account number
      _____________________________________________________________                                                                                             Unknown
                                                                                                                                                               $_________________
      Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       464 Pittsboro Goldston Road
      _____________________________________________________________
      Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Pittsboro                           NC       27312
      _____________________________________________________________                       Contingent
      City                                             State           ZIP Code
      Who incurred the debt? Check one.                                                
                                                                                       ✔   Unliquidated

      
      ✔      Debtor 1 only
                                                                                       
                                                                                       ✔   Disputed

            Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                                   Student loans
            At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  
                                                                                       ✔   Other. Specify
      
      ✔      No
            Yes


  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                           428
                                                                                                                                                                               of ___
                                                                                                                                                                                  546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  445 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1279Rhonda Shelton
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       128 Edgewood Drive                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Cedartown                                        GA
      _____________________________________________________________
                                                                       30125
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1280Ricardo Marshall                                                                  Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       989 Clubhouse CR West
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt A
       _______________________________________________________________________
       Decatur                             GA       30032                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1281Richard Barnett                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       935 Delmont Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Gadsden                             AL       35901
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            429
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  446 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1282Richard Burk
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1837 Highland Place                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Decatur                                          GA
      _____________________________________________________________
                                                                       30035
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1283Richard Gray                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       319 Sue Craig Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Six Mile                            SC       29682                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1284Richard Hayes                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       3707 A Kimberly Lane
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Wilson                              NC       27893
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            430
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  447 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1285Richard Koenig-Gasper
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       523 Bay Street                                                                   When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Chippewa Falls                                   WI
      _____________________________________________________________
                                                                       54729
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1286Richard Long                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       PO Box 8894
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Gallatin                            TN       37066                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1287Richard Smith, Jr.                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       6231 Hwy 85
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Riverdale                           GA       30274
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            431
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  448 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1288Richard Teiran
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       13914 Cedar Pointe Drive                                                         When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Houston                                          TX
      _____________________________________________________________
                                                                       77070
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1289Richard Umana                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       200 Kings Pond Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt 212
       _______________________________________________________________________
       Jacksonville                        NC       28546                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1290Ricky Humphrey                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       5834 Collonnade Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Rex                                 GA       30273
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            432
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  449 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1291Rita Mettle
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       2850 Highview Drive                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       PO Box 145
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Chipley                                          FL
      _____________________________________________________________
                                                                       32428
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1292Robert Balkcom                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       319 Beechwood Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Romeoville                          IL       60446                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1293Robert Brooks                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1507 Galaxie Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Dothan                              AL       36301
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            433
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  450 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1294Robert Brown
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       210 South Hubbard Street                                                         When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Bonifay                                          FL
      _____________________________________________________________
                                                                       32425
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1295Robert Carter                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       550 Rosemont Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Decatur                             GA       30032                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1296Robert Freeman                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1206 S Fourth Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Aurora                              IL       60505
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            434
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  451 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1297Robert Melton
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1372 N TWP Road 21                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Fostoria                                         OH
      _____________________________________________________________
                                                                       44830
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1298Robert Orr                                                                        Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1220 Hwy 42 South
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Flovilla                            GA       30233                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1299Robert Penman                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       6002 Radford Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Riverdale                           GA       30296
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            435
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  452 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1300Robert Pierce
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       802 Portland Avenue                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Columbus                                         GA
      _____________________________________________________________
                                                                       31906
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1301Robert Powers                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       5300 Coke Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       #140
       _______________________________________________________________________
       Houston                             TX       77020                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1302Robert Sua                                                                        Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1611 Valleywood Place
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       High Point                          NC       27265
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            436
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  453 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1303Robert Synenberg
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       99 Evergreen Trail                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt C
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Cartersville                                     GA
      _____________________________________________________________
                                                                       30121
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1304Robert Tack, Jr.                                                                  Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       165 Hardwood Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Covington                           GA       30016                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1305Robert W. Burdekin                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                             75,000.00
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       155 Rising Star Road,
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Fayetteville                        GA       30215
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                   Unliquidated

      
      ✔       Debtor 1 only
                                                                                           Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify Money Loaned
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            437
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                      CaseSTEVEN
                    EDWARD 19-15175-abl
                                 BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  454 of 648
                                                                                                                               19-15175
Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
    
    ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                                 Total claim
4.1306Robert Williams
      _____________________________________________________________                    Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                Unknown
                                                                                                                                                               $__________________
       1020 S 12th Street                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street
       Apt 10A
      _______________________________________________________________________
                                                                                       As of the date you file, the claim is: Check all that apply.
       San Jose                                        CA
      _____________________________________________________________
                                                                      95112
      City                                             State          ZIP Code            Contingent
                                                                                       
                                                                                       ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                       
                                                                                       ✔   Disputed
      
      ✔      Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
            Debtor 2 only
                                                                                          Student loans
            Debtor 1 and Debtor 2 only
                                                                                          Obligations arising out of a separation agreement or divorce
            At least one of the debtors and another                                       that you did not report as priority claims

            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                       
                                                                                       ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.1307Roberto Gonzalez                                                                 Last 4 digits of account number                                          Unknown
                                                                                                                                                               $__________________
      _____________________________________________________________                    When was the debt incurred?           ____________
      Nonpriority Creditor’s Name
       11918 Arroya Vista Lane
      _____________________________________________________________
      Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Houston                             TX       77067                                  Contingent
      _____________________________________________________________
      City                                             State          ZIP Code         
                                                                                       ✔   Unliquidated
      Who incurred the debt? Check one.                                                
                                                                                       ✔   Disputed
      
      ✔      Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
            Debtor 2 only
            Debtor 1 and Debtor 2 only
                                                                                          Student loans

            At least one of the debtors and another
                                                                                          Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                       
                                                                                       ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.1308Robyn Ramsey                                                                     Last 4 digits of account number
      _____________________________________________________________                                                                                             Unknown
                                                                                                                                                               $_________________
      Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       207 Poplar Street
      _____________________________________________________________
      Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Clover                              SC       29710
      _____________________________________________________________                       Contingent
      City                                             State           ZIP Code
      Who incurred the debt? Check one.                                                
                                                                                       ✔   Unliquidated

      
      ✔      Debtor 1 only
                                                                                       
                                                                                       ✔   Disputed

            Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                                   Student loans
            At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  
                                                                                       ✔   Other. Specify
      
      ✔      No
            Yes


  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                           438
                                                                                                                                                                               of ___
                                                                                                                                                                                  546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  455 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1309Rochelle Siciliano
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       240 White Oak Blvd                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Jacksonville                                     NC
      _____________________________________________________________
                                                                       28546
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1310Roderick Montgomery                                                               Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1490 Woods Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Sumter                              SC       29153                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1311Rodney Dozier                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1721 1/2 Gallier Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       New Orleans                         LA       70117
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            439
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  456 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1312Rodney Dozier III
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1164 Clydesbanks Street                                                          When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt B
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Harvey                                           LA
      _____________________________________________________________
                                                                       70058
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1313Rodney Dozier Jr                                                                  Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1721 Gallier Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       New Orleans                         LA       70117                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1314Rodney Foshee                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       670 CR 315 South
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Interlachen                         FL       32148
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            440
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                      CaseSTEVEN
                    EDWARD 19-15175-abl
                                 BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  457 of 648
                                                                                                                               19-15175
Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
    
    ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                                 Total claim
4.1315Rodney Young
      _____________________________________________________________                    Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                Unknown
                                                                                                                                                               $__________________
       10948 LeJardin Circle                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street
       Apt 202
      _______________________________________________________________________
                                                                                       As of the date you file, the claim is: Check all that apply.
       Temple Terrace                                  FL
      _____________________________________________________________
                                                                      33617
      City                                             State          ZIP Code            Contingent
                                                                                       
                                                                                       ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                       
                                                                                       ✔   Disputed
      
      ✔      Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
            Debtor 2 only
                                                                                          Student loans
            Debtor 1 and Debtor 2 only
                                                                                          Obligations arising out of a separation agreement or divorce
            At least one of the debtors and another                                       that you did not report as priority claims

            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                       
                                                                                       ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.1316Romero Davis                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                               $__________________
      _____________________________________________________________                    When was the debt incurred?           ____________
      Nonpriority Creditor’s Name
       1715 North St. Paul Church Rd
      _____________________________________________________________
      Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Sumter                              SC       29154                                  Contingent
      _____________________________________________________________
      City                                             State          ZIP Code         
                                                                                       ✔   Unliquidated
      Who incurred the debt? Check one.                                                
                                                                                       ✔   Disputed
      
      ✔      Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
            Debtor 2 only
            Debtor 1 and Debtor 2 only
                                                                                          Student loans

            At least one of the debtors and another
                                                                                          Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                       
                                                                                       ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.1317Romm Thongchai                                                                   Last 4 digits of account number
      _____________________________________________________________                                                                                             Unknown
                                                                                                                                                               $_________________
      Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       2019 Bridge Cross Lane
      _____________________________________________________________
      Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Houston                             TX       77067
      _____________________________________________________________                       Contingent
      City                                             State           ZIP Code
      Who incurred the debt? Check one.                                                
                                                                                       ✔   Unliquidated

      
      ✔      Debtor 1 only
                                                                                       
                                                                                       ✔   Disputed

            Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                                   Student loans
            At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  
                                                                                       ✔   Other. Specify
      
      ✔      No
            Yes


  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                           441
                                                                                                                                                                               of ___
                                                                                                                                                                                  546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  458 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1318Romona Molizone
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       4953 Metropolitan Drive                                                          When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       New Orleans                                      LA
      _____________________________________________________________
                                                                       70126
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1319Ron McDonald                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       525 Derrick Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Jackson                             MS       39203                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1320Ronald Alligood                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1955 Emorywood Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Rural Hall                          NC       27045
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            442
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  459 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1321Ronald Barnett
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       4629 Brenda Court                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Charlotte                                        NC
      _____________________________________________________________
                                                                       28269
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1322Ronald McNair                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       12 Ward Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt 108
       _______________________________________________________________________
       Midland City                        AL       36350                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1323Ronald Patterson                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       2139 Shirley Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Augusta                             GA       30904
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            443
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  460 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1324Ronald Shutter
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       213 Florida Avenue                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Spindale                                         NC
      _____________________________________________________________
                                                                       28160
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1325Ronda Harper                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       61 Horizon PL
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Rainbow City                        AL       35906                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1326Ronda Tapia                                                                       Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       496 Prairie Way
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Perris                              CA       92571
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            444
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  461 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1327Ronnie Bond
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       805 Cabarrus Street                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Edenton                                          NC
      _____________________________________________________________
                                                                       27932
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1328Ronnie Mozingo                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       6958 Clarkdale 356
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Meridian                            MS       39301                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1329Ronte Malcolm                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       828 Tradd Court
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Stone Mountain                      GA       30087
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            445
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  462 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1330Ronte Malcolm
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       828 Tradd Cout                                                                   When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Stone Mountain                                   GA
      _____________________________________________________________
                                                                       30087
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1331Ruben Bacote                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       120 Daisy Hill
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Tyrone                              GA       30290                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1332Ryan Barker                                                                       Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       4015 Redstone Circle
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Blackshear                          GA       31516
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            446
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  463 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1333Ryan Felix
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       548 Highway 90                                                                   When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt. 218
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Waveland                                         MS
      _____________________________________________________________
                                                                       39576
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1334Ryan Harris                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2414 Dublin Court
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Augusta                             GA       30906                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1335Ryan Seay                                                                         Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       100 Thomas Trail
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Covington                           GA       30016
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            447
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  464 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1336Ryen Cockerill
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       113 N Greensburg Street                                                          When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Hodgenville                                      KY
      _____________________________________________________________
                                                                       42748
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1337Sabania McCourt                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       217 Clay Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Jackson                             TN       38301                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1338Sabretia Hunt                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       912 Slaughter Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Auburn                              AL       36832
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            448
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                      CaseSTEVEN
                    EDWARD 19-15175-abl
                                 BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  465 of 648
                                                                                                                               19-15175
Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
    
    ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                                 Total claim
4.1339Salewa McKinney
      _____________________________________________________________                    Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                Unknown
                                                                                                                                                               $__________________
       4307 NE 70th Place                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street
       B
      _______________________________________________________________________
                                                                                       As of the date you file, the claim is: Check all that apply.
       Gainesville                                     FL
      _____________________________________________________________
                                                                      32607
      City                                             State          ZIP Code            Contingent
                                                                                       
                                                                                       ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                       
                                                                                       ✔   Disputed
      
      ✔      Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
            Debtor 2 only
                                                                                          Student loans
            Debtor 1 and Debtor 2 only
                                                                                          Obligations arising out of a separation agreement or divorce
            At least one of the debtors and another                                       that you did not report as priority claims

            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                       
                                                                                       ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.1340Salina Meade                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                               $__________________
      _____________________________________________________________                    When was the debt incurred?           ____________
      Nonpriority Creditor’s Name
       3875 San Pablo Road S
      _____________________________________________________________
      Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      #408
      _______________________________________________________________________
      Jacksonville                        FL       32224                                  Contingent
      _____________________________________________________________
      City                                             State          ZIP Code         
                                                                                       ✔   Unliquidated
      Who incurred the debt? Check one.                                                
                                                                                       ✔   Disputed
      
      ✔      Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
            Debtor 2 only
            Debtor 1 and Debtor 2 only
                                                                                          Student loans

            At least one of the debtors and another
                                                                                          Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                       
                                                                                       ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.1341Samantha Hogan                                                                   Last 4 digits of account number
      _____________________________________________________________                                                                                             Unknown
                                                                                                                                                               $_________________
      Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       109 Mill Run Drive
      _____________________________________________________________
      Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Comer                               GA       30629
      _____________________________________________________________                       Contingent
      City                                             State           ZIP Code
      Who incurred the debt? Check one.                                                
                                                                                       ✔   Unliquidated

      
      ✔      Debtor 1 only
                                                                                       
                                                                                       ✔   Disputed

            Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                                   Student loans
            At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  
                                                                                       ✔   Other. Specify
      
      ✔      No
            Yes


  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                           449
                                                                                                                                                                               of ___
                                                                                                                                                                                  546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  466 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1342Samantha Perry
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1930 Hardee Street                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Jacksonville                                     FL
      _____________________________________________________________
                                                                       32209
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1343Samantha Turpin                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       203 Brannan Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       McDonough                           GA       30253                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1344Samantha Valin                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       102 Row 4
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Lafayette                           LA       70508
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            450
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  467 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1345Samonn Frazier
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       5235 Richard Road                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Virginia Beach                                   VA
      _____________________________________________________________
                                                                       23462
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1346Samuel Carroll                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       4507 Heritage Parkway
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Atlanta                             GA       30349                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1347Samuel Deshoen Ford                                                               Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       2900 Waerly Ave.
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Kansas City                         KS       66104
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            451
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  468 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1348Samuel Drinks
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       502 Ashley Place                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Stone Mountain                                   GA
      _____________________________________________________________
                                                                       30083
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1349Samuel Glover                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       3724 Sullivan Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Douglasville                        GA       30135                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1350Samuel Pierce                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1828 P.R. 1332
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Marshall                            TX       75688
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            452
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  469 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1351Samuel Winn
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       5055 Dais Road                                                                   When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Rembert                                          SC
      _____________________________________________________________
                                                                       29128
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1352Santeria Webb                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       113 C Scott Hill Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Milledgeville                       GA       31061                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1353Santiago Gonzalez                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       703 North Santa Marcos
       _____________________________________________________________
       Number             Street
       Apt 1308                                                                         As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       San Antonio                         TX       78207
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            453
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  470 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1354Santiago Shumake
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       517 James Ridge Lane                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Stockbridge                                      GA
      _____________________________________________________________
                                                                       30281
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1355Sara Nelson                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       3214 Valley Bluff Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Doraville                           GA       30340                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1356Savadorl LoGiudice                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1554 Hunters Creek Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Cantonment                          FL       32533
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            454
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  471 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1357Scott Spicer
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       208 Campbell Ct.                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Gadsden                                          AL
      _____________________________________________________________
                                                                       35904
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1358Sean Ostrander                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       3276 Rocky Hollow Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Jacksonville                        AL       36265                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1359Sedrevious Cottman                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       4253 Parkwood Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Augusta                             GA       30906
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            455
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  472 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1360Sergio Simon Alvarado Jr
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       100 Sutton Drive                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Lagrange                                         NC
      _____________________________________________________________
                                                                       28551
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1361Shaina Mothershed                                                                 Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       501 S Park Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Okmulgee                            OK       74447                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1362Shaka Brewster                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1404 Pebble Beach Ln.
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Hampton                             GA       30228
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            456
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                      CaseSTEVEN
                    EDWARD 19-15175-abl
                                 BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  473 of 648
                                                                                                                               19-15175
Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
    
    ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                                 Total claim
4.1363Shakira Freeman
      _____________________________________________________________                    Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                Unknown
                                                                                                                                                               $__________________
       2780 Napier Avenue                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                       As of the date you file, the claim is: Check all that apply.
       Macon                                           GA
      _____________________________________________________________
                                                                      31204
      City                                             State          ZIP Code            Contingent
                                                                                       
                                                                                       ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                       
                                                                                       ✔   Disputed
      
      ✔      Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
            Debtor 2 only
                                                                                          Student loans
            Debtor 1 and Debtor 2 only
                                                                                          Obligations arising out of a separation agreement or divorce
            At least one of the debtors and another                                       that you did not report as priority claims

            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                       
                                                                                       ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.1364Shakira Owens                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                               $__________________
      _____________________________________________________________                    When was the debt incurred?           ____________
      Nonpriority Creditor’s Name
       719 Fleetwood Street
      _____________________________________________________________
      Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Elizabeth CIty                      NC       27909                                  Contingent
      _____________________________________________________________
      City                                             State          ZIP Code         
                                                                                       ✔   Unliquidated
      Who incurred the debt? Check one.                                                
                                                                                       ✔   Disputed
      
      ✔      Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
            Debtor 2 only
            Debtor 1 and Debtor 2 only
                                                                                          Student loans

            At least one of the debtors and another
                                                                                          Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                       
                                                                                       ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.1365Shamarcus Simmons                                                                Last 4 digits of account number
      _____________________________________________________________                                                                                             Unknown
                                                                                                                                                               $_________________
      Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       102 Ogden Place
      _____________________________________________________________
      Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Milledgeville                       GA       31061
      _____________________________________________________________                       Contingent
      City                                             State           ZIP Code
      Who incurred the debt? Check one.                                                
                                                                                       ✔   Unliquidated

      
      ✔      Debtor 1 only
                                                                                       
                                                                                       ✔   Disputed

            Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                                   Student loans
            At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  
                                                                                       ✔   Other. Specify
      
      ✔      No
            Yes


  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                           457
                                                                                                                                                                               of ___
                                                                                                                                                                                  546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  474 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1366Shane Headman
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       10378 Commons Crossing                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Jonesboro                                        GA
      _____________________________________________________________
                                                                       30238
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1367Shanean Yarbrough                                                                 Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       6447 Gordon Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt B
       _______________________________________________________________________
       Lithia Springs                      GA       30122                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1368Shanika Abrams                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       2614 Corning St
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Hephzibah                           GA       30815
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            458
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  475 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1369Shanika Robinson
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       113 Canterbury Drive West                                                        When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Rivera Beach                                     FL
      _____________________________________________________________
                                                                       33404
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1370Shannon Fox                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       128 Maltba Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Newland                             NC       28657                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1371Shannon Mullins                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       3850 Flat Creek Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Frankfort                           KY       40601
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            459
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  476 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1372Shantilla May
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       301 Magnolia Avenue                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt B
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Milledgeville                                    GA
      _____________________________________________________________
                                                                       31061
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1373Shaqielle Williams                                                                Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       505A Borton Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       LaGrange                            GA       30241                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1374Sharita Lindsey                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       2011 Mitzi Lane
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Jonesboro                           AR       72405
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            460
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  477 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1375Sharon Shand
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       5108 Elaine Dr.                                                                  When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Charleston                                       WV
      _____________________________________________________________
                                                                       25306
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1376Sharon Stiles                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       425 Hampton Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Murphy                              NC       28906                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1377Sharrifia Simpson                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       2107 N Dixie Hwy
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       West Palm Beach                     FL       33407
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            461
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  478 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1378Sharrod Ross
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1941 Long Ridge Drive                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Macon                                            GA
      _____________________________________________________________
                                                                       31211
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1379Shatareon Mann                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1559 Montreat Place SW Side
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Atlanta                             GA       30311                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1380Shateika Phillips                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       520 Salem Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Wadesboro                           NC       28170
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            462
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  479 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1381Shatoya Poole
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       5637 Tempest Street                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Jacksonville                                     FL
      _____________________________________________________________
                                                                       32244
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1382Shaun Pollard                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       4053 Mississippi Ave.
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt 58
       _______________________________________________________________________
       Cahokia                             IL       62206                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1383Shauntae Green                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       PO Box 884
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       South Boston                        VA       24592
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            463
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                      CaseSTEVEN
                    EDWARD 19-15175-abl
                                 BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  480 of 648
                                                                                                                               19-15175
Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
    
    ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                                 Total claim
4.1384Shauntay Johnson
      _____________________________________________________________                    Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                Unknown
                                                                                                                                                               $__________________
       106 Harbour Street                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                       As of the date you file, the claim is: Check all that apply.
       Greenville                                      SC
      _____________________________________________________________
                                                                      29611
      City                                             State          ZIP Code            Contingent
                                                                                       
                                                                                       ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                       
                                                                                       ✔   Disputed
      
      ✔      Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
            Debtor 2 only
                                                                                          Student loans
            Debtor 1 and Debtor 2 only
                                                                                          Obligations arising out of a separation agreement or divorce
            At least one of the debtors and another                                       that you did not report as priority claims

            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                       
                                                                                       ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.1385Shawn Brock                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                               $__________________
      _____________________________________________________________                    When was the debt incurred?           ____________
      Nonpriority Creditor’s Name
       6081 Tidmore Bend Road
      _____________________________________________________________
      Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Gadsden                             AL       35901                                  Contingent
      _____________________________________________________________
      City                                             State          ZIP Code         
                                                                                       ✔   Unliquidated
      Who incurred the debt? Check one.                                                
                                                                                       ✔   Disputed
      
      ✔      Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
            Debtor 2 only
            Debtor 1 and Debtor 2 only
                                                                                          Student loans

            At least one of the debtors and another
                                                                                          Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                       
                                                                                       ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.1386Shawn Green                                                                      Last 4 digits of account number
      _____________________________________________________________                                                                                             Unknown
                                                                                                                                                               $_________________
      Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       533 Harper Road
      _____________________________________________________________
      Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Atlanta                             GA       30315
      _____________________________________________________________                       Contingent
      City                                             State           ZIP Code
      Who incurred the debt? Check one.                                                
                                                                                       ✔   Unliquidated

      
      ✔      Debtor 1 only
                                                                                       
                                                                                       ✔   Disputed

            Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                                   Student loans
            At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  
                                                                                       ✔   Other. Specify
      
      ✔      No
            Yes


  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                           464
                                                                                                                                                                               of ___
                                                                                                                                                                                  546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  481 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1387Shawn Luna
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1248 Newton Road                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Griffin                                          GA
      _____________________________________________________________
                                                                       30223
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1388Shawn Romano                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       8277 San Jose Trail
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Jonesboro                           GA       30236                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1389Shawn Schwartz                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       16521 86th Ave. N.
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Maple Grove                         MN       55311
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            465
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  482 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1390Shawn Stiles
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       71 Clove Road                                                                    When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Gadsden                                          AL
      _____________________________________________________________
                                                                       35403
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1391Shawn Williams                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       7013 Salem Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       New Orleans                         LA       70127                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1392Shawn Wilson                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       9307 Stonecrest Trail
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Lithonia                            GA       30038
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            466
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  483 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1393Shayla Wilson
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       2225 Lenox Road                                                                  When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt 4
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Atlanta                                          GA
      _____________________________________________________________
                                                                       30324
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1394Sheila Parrett                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       76 Falcon Lane
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Bradhead                            KY       40409                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1395Shelby Murray                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       247 Ina Lane
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Oxford                              AL       36203
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            467
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  484 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1396Shelton Hall
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       665 Booker T Washington                                                          When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Clarkton                                         NC
      _____________________________________________________________
                                                                       28433
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1397Shemiah Rawls                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       206 Ravenwood Way
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Warner Robbins                      GA       31093                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1398Shenika Lowe                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1008 Birch Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Macon                               GA       31204
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            468
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  485 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1399Shenika McNeil
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       4428 Dorsey Drive                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Lot 82
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Sumter                                           SC
      _____________________________________________________________
                                                                       29154
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1400Sheree Butts                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2560 Delk Road SE
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt E6
       _______________________________________________________________________
       Marietta                            GA       30067                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1401Sherie Coley                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       19807 NW 37th Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Starke                              FL       32091
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            469
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  486 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1402Sherri Howard
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1625 East 13th Street                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Jacksonville                                     FL
      _____________________________________________________________
                                                                       32206
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1403Sherry Williams                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       6447 Raymond Dr.
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Union City                          GA       30291                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1404Shiloh Livingston                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       2850 Highview Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Chipley                             FL       32428
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            470
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  487 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1405Shirley Bradshaw
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       3700 N 22nd St                                                                   When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Waco                                             TX
      _____________________________________________________________
                                                                       76708
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1406Shon-Tieria Cooper                                                                Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       3121 Richardson Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Zebulon                             NC       27597                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1407Shonta Johnson                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1760 Geddings Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Paxville                            SC       29102
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            471
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  488 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1408Shrod Pinkston
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       2224 Lenox Rd NE                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt. 4
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Atlanta                                          GA
      _____________________________________________________________
                                                                       30324
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1409Shymir Drivers                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2303 Sutton Place
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt 206
       _______________________________________________________________________
       Wilson                              NC       27896                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1410SirXavier Bradshaw                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       3200 North 22nd
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Waco                                TX       76708
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            472
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  489 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1411Sirjourna Malone
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1580 Melanie Ct.                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Decatur                                          GA
      _____________________________________________________________
                                                                       30032
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1412Sonny Gentry                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1008 South Love Lady
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Cookeville                          TN       38506                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1413Sonya Harley                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       4232 Daniel Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Winston                             GA       30187
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            473
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  490 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1414Stacey Wallace
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       703 Shady Lane                                                                   When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       High Point                                       NC
      _____________________________________________________________
                                                                       27262
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1415Stacy Jackson                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       5100 Metropolitan Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       New Orleans                         LA       70126                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1416Stacy Jackson Jr.                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       3026 Panama Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       New Orleans                         LA       70065
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            474
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  491 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1417Stacy Love
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       PO Box 374                                                                       When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Diana                                            TX
      _____________________________________________________________
                                                                       75640
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1418Stairish Thomas                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       507 Wyatts Mills Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Jarratt                             VA       23867                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1419Stanley Brown                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       2313 Courtland Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Columbus                            GA       31907
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            475
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  492 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1420Stanley Jackson
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       13605 Platte Creek Circle                                                        When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt 12
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Tampa                                            FL
      _____________________________________________________________
                                                                       33607
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1421Stanley Lewis                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       315 Grady Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Gadsden                             AL       35904                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1422Starrlette Jackson                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       510 Smith Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Tennille                            GA       31089
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            476
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  493 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1423Steffany Storm
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1445 Rainey Road                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Temple                                           GA
      _____________________________________________________________
                                                                       30179
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1424Stephanie Beechum                                                                 Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       441 Needmore Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt 615
       _______________________________________________________________________
       Clarksville                         TN       37040                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1425Stephen Smith                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1545 Brookdale Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Cookeville                          TN       38501
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            477
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  494 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1426Stephen Spruill
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1940 Atlanta Road SE                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt H
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Smyrna                                           GA
      _____________________________________________________________
                                                                       30080
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1427Stephen Stewart                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       7348 Highview Dr.
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Columbia                            SC       29223                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1428Stephen Williams                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       428 CR 433
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Tenaha                              TX       75974
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            478
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  495 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1429Steve Adams
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       6006 Maple Valley Drive                                                          When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Shelby                                           NC
      _____________________________________________________________
                                                                       28150
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1430Steven Crockett                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1570 Woods Rd
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       apt 109
       _______________________________________________________________________
       Winston-Salem                       NC       27106                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1431Steven Hembree                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       3953 Sherwood Heights
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Morganton                           NC       28655
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            479
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                        Doc 31             Entered 08/26/19 17:22:59                   Page  496 of 648
                                                                                                                                  19-15175
 Debtor 1           _______________________________________________________                                    Case number (if known)_____________________________________
                    First Name       Middle Name             Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Total claim
4.1432Steven Smith
      _____________________________________________________________                       Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                   Unknown
                                                                                                                                                                  $__________________
       2684 Monroe Street                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.
       Gary                                             IN
      _____________________________________________________________
                                                                         46407
      City                                              State            ZIP Code            Contingent
                                                                                          
                                                                                          ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                          
                                                                                          ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                             Student loans
             Debtor 1 and Debtor 2 only
                                                                                             Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                         that you did not report as priority claims

             Check if this claim is for a community debt                                    Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1433Steven Willis                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                  $__________________
       _____________________________________________________________                      When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1814 Charles Raper Jonas Hwy
       _____________________________________________________________
       Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
       Apt B
       _______________________________________________________________________
       Mt Holly                            NC       28120                                    Contingent
       _____________________________________________________________
       City                                             State            ZIP Code         
                                                                                          ✔   Unliquidated
       Who incurred the debt? Check one.                                                  
                                                                                          ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                             Student loans

             At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
             Check if this claim is for a community debt                                    Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1434Stevie Dodd                                                                         Last 4 digits of account number
       _____________________________________________________________                                                                                               Unknown
                                                                                                                                                                  $_________________
       Nonpriority Creditor’s Name                                                        When was the debt incurred?           ____________
       761 Wellington Road
       _____________________________________________________________
       Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Wellington                          AL       36279
       _____________________________________________________________                         Contingent
       City                                             State             ZIP Code
       Who incurred the debt? Check one.                                                  
                                                                                          ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                          
                                                                                          ✔   Disputed

             Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                     Student loans
             At least one of the debtors and another                                        Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
             Check if this claim is for a community debt                                    Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                     
                                                                                          ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                          page __
                                                                                                                                                                              480
                                                                                                                                                                                  of ___
                                                                                                                                                                                     546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  497 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1435Suantava Fulton
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1906 Amesbury Drive                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Decatur                                          GA
      _____________________________________________________________
                                                                       30032
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1436Sue Dodge                                                                         Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       228 Winners Circle S
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Jacksonville                        NC       28546                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1437Summer Milstead                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       106 W Main Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Lexington                           GA       30648
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            481
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  498 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1438Sunny Johnson
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       5140 St Ferdinand                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       New Orleans                                      LA
      _____________________________________________________________
                                                                       70117
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1439Susan Strong                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1002 Hwy 98E
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Unit 1211
       _______________________________________________________________________
       Destin                              FL       32541                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1440Susheela Williams                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       113 Roland Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Campbellville                       KY       42718
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            482
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  499 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1441Susie Steele
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       2720 N Prieur Street                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       New Orleans                                      LA
      _____________________________________________________________
                                                                       70117
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1442Synchrony Bank                                                                    Last 4 digits of account number       5228                               0.00
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       PO Box 5937
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Bridgewater                         NJ       8807                                   Contingent
       _____________________________________________________________
       City                                             State          ZIP Code            Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify Credit Card Debt
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1443T'erra McGhee                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       801 Trollingwood Hawfields Rd
       _____________________________________________________________
       Number             Street
       Lot 75                                                                           As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Mebane                              NC       27302
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            483
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  500 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1444TJ Steel
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1207 Susan Lane                                                                  When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Sandusky                                         OH
      _____________________________________________________________
                                                                       44870
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1445Ta'Lor Lewis                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       720 Beaumont Circle
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Milledgeville                       GA       31061                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1446TaMario Reeves                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       231 Yelton Court
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Nashville                           TN       37211
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            484
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  501 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1447Tabitha Cordova
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       107 Walnut Way                                                                   When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Eatonton                                         GA
      _____________________________________________________________
                                                                       31024
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1448Tajee Heard                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       411 Curtis Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Greenville                          SC       29611                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1449Takeeina Isom                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       3609 Milan Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       New Orleans                         LA       70125
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            485
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  502 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1450Takija Redding
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1128 Oconee Street                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Milledgeville                                    GA
      _____________________________________________________________
                                                                       31061
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1451Takisha Wolfe                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1912 Henry Crumpton Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Birmingham                          AL       35211                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1452Takiyah Leak                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       614 Briarhill Lane
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Riverdale                           GA       30274
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            486
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  503 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1453Talon Matthews
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       130 Berea 1                                                                      When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Jefferson                                        TX
      _____________________________________________________________
                                                                       75657
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1454Tamara Le                                                                         Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       14712 Kalamatha Court
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Westminster                         CO       80023                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1455Tamara Osborne                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       4400 Broad Street
       _____________________________________________________________
       Number             Street
       Lot 40                                                                           As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Sumter                              SC       29154
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            487
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  504 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1456Tamarik Washington
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       156 North Oak Street                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Haddock                                          GA
      _____________________________________________________________
                                                                       31033
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1457Tameca Jones                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2313 Courtland Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Columbus                            GA       31907                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1458Tamiara Weber                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       2109 Teal Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Slidell                             LA       70460
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            488
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  505 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1459Tammy Jean Clark
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       Unknown                                                                          When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Unknown                                          AL
      _____________________________________________________________
                                                                       Unknown
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1460Tammy Smith                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       8380 Hwy 54
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Sharpsburg                          GA       30277                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1461Tampa Perry                                                                       Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       855 Mount Zion Road
       _____________________________________________________________
       Number             Street
       Apt E3                                                                           As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Jonesboro                           GA       30236
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            489
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  506 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1462Tanisha Washington
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1618 21st Street SW                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Lanett                                           AL
      _____________________________________________________________
                                                                       36863
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1463Tanjia King                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       806 S Kilbourne Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Columbia                            SC       29205                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1464Tarjanace Mercadel                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       2692 Evans Mill Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Lithonia                            GA       30058
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            490
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  507 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1465Tarnation Smith
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1371 Kimberly Road                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Atlanta                                          GA
      _____________________________________________________________
                                                                       30331
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1466Taulant Berisha                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       9936 Blue Bell Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Fort Worth                          TX       76108                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1467Tavares Smith                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       527 Richmond Hill Road
       _____________________________________________________________
       Number             Street
       Apt F-1                                                                          As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Augusta                             GA       30906
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            491
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  508 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1468Tavoris Alford
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       104 Brown Drive                                                                  When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Sylvester                                        GA
      _____________________________________________________________
                                                                       31791
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1469Taylor Batten                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       902 Roswell Glen
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Wilmington                          NC       28411                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1470Taylor Delong                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       735 Maple Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Riverdale                           GA       30274
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            492
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                      CaseSTEVEN
                    EDWARD 19-15175-abl
                                 BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  509 of 648
                                                                                                                               19-15175
Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
    
    ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                                 Total claim
4.1471Taylor Heath
      _____________________________________________________________                    Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                Unknown
                                                                                                                                                               $__________________
       104 N Herring Avenue                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                       As of the date you file, the claim is: Check all that apply.
       Garland                                         NC
      _____________________________________________________________
                                                                      28441
      City                                             State          ZIP Code            Contingent
                                                                                       
                                                                                       ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                       
                                                                                       ✔   Disputed
      
      ✔      Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
            Debtor 2 only
                                                                                          Student loans
            Debtor 1 and Debtor 2 only
                                                                                          Obligations arising out of a separation agreement or divorce
            At least one of the debtors and another                                       that you did not report as priority claims

            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                       
                                                                                       ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.1472Teaira Jones                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                               $__________________
      _____________________________________________________________                    When was the debt incurred?           ____________
      Nonpriority Creditor’s Name
       835 Morgan Circle
      _____________________________________________________________
      Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Madison                             GA       30650                                  Contingent
      _____________________________________________________________
      City                                             State          ZIP Code         
                                                                                       ✔   Unliquidated
      Who incurred the debt? Check one.                                                
                                                                                       ✔   Disputed
      
      ✔      Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
            Debtor 2 only
            Debtor 1 and Debtor 2 only
                                                                                          Student loans

            At least one of the debtors and another
                                                                                          Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                       
                                                                                       ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.1473Teasha Shaw                                                                      Last 4 digits of account number
      _____________________________________________________________                                                                                             Unknown
                                                                                                                                                               $_________________
      Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       678 Justin Drive
      _____________________________________________________________
      Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Valdosta                            GA       31602
      _____________________________________________________________                       Contingent
      City                                             State           ZIP Code
      Who incurred the debt? Check one.                                                
                                                                                       ✔   Unliquidated

      
      ✔      Debtor 1 only
                                                                                       
                                                                                       ✔   Disputed

            Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                                   Student loans
            At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  
                                                                                       ✔   Other. Specify
      
      ✔      No
            Yes


  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                           493
                                                                                                                                                                               of ___
                                                                                                                                                                                  546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  510 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1474Ted Bridges
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       3305 Devilla Trace                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Atlanta                                          GA
      _____________________________________________________________
                                                                       30349
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1475Tenisha Brown                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       420 Perry Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Elizabeth CIty                      NC       27909                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1476Terand Brown                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       4945 Oled Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       New Orleans                         LA       70129
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            494
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  511 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1477Teresa Beaudoin
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       90 Ashley Cagle Road                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Sylva                                            NC
      _____________________________________________________________
                                                                       28779
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1478Terrance Bertrand                                                                 Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2820 Mandavallie
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt A
       _______________________________________________________________________
       New Orleans                         LA       70116                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1479Terrance Diamond                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       512 Heron Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Columbia                            SC       29203
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            495
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                        Doc 31             Entered 08/26/19 17:22:59                   Page  512 of 648
                                                                                                                                  19-15175
 Debtor 1           _______________________________________________________                                    Case number (if known)_____________________________________
                    First Name       Middle Name             Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Total claim
4.1480Terrance Mays
      _____________________________________________________________                       Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                   Unknown
                                                                                                                                                                  $__________________
       411 W Locust Street                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt 1
      _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.
       Dubuque                                          IA
      _____________________________________________________________
                                                                         52001
      City                                              State            ZIP Code            Contingent
                                                                                          
                                                                                          ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                          
                                                                                          ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                             Student loans
             Debtor 1 and Debtor 2 only
                                                                                             Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                         that you did not report as priority claims

             Check if this claim is for a community debt                                    Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1481Terrance McClurkin                                                                  Last 4 digits of account number                                          Unknown
                                                                                                                                                                  $__________________
       _____________________________________________________________                      When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       154 High Hill Street
       _____________________________________________________________
       Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Irwinton                            GA       31042                                    Contingent
       _____________________________________________________________
       City                                             State            ZIP Code         
                                                                                          ✔   Unliquidated
       Who incurred the debt? Check one.                                                  
                                                                                          ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                             Student loans

             At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
             Check if this claim is for a community debt                                    Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1482Terrance Partridge                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                               Unknown
                                                                                                                                                                  $_________________
       Nonpriority Creditor’s Name                                                        When was the debt incurred?           ____________
       801 Hickory Level Road
       _____________________________________________________________
       Number             Street
       #2232                                                                              As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Villa Rica                          GA       30180
       _____________________________________________________________                         Contingent
       City                                             State             ZIP Code
       Who incurred the debt? Check one.                                                  
                                                                                          ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                          
                                                                                          ✔   Disputed

             Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                     Student loans
             At least one of the debtors and another                                        Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
             Check if this claim is for a community debt                                    Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                     
                                                                                          ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                          page __
                                                                                                                                                                              496
                                                                                                                                                                                  of ___
                                                                                                                                                                                     546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  513 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1483Terrell Funcesh
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       16011 Imperial Valley Drive                                                      When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Houston                                          TX
      _____________________________________________________________
                                                                       77060
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1484Terrence Cross                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       6870 Mountain Circle
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Riverdale                           GA       30274                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1485Terrence Culpepper                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       19518 Arbor Pines Lane
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Humble                              TX       77346
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            497
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                        Doc 31             Entered 08/26/19 17:22:59                   Page  514 of 648
                                                                                                                                  19-15175
 Debtor 1           _______________________________________________________                                    Case number (if known)_____________________________________
                    First Name       Middle Name             Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Total claim
4.1486Terrence Dugan
      _____________________________________________________________                       Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                   Unknown
                                                                                                                                                                  $__________________
       4222 Erna Drive                                                                    When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt 4
      _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.
       Belleville                                       IL
      _____________________________________________________________
                                                                         62206
      City                                              State            ZIP Code            Contingent
                                                                                          
                                                                                          ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                          
                                                                                          ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                             Student loans
             Debtor 1 and Debtor 2 only
                                                                                             Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                         that you did not report as priority claims

             Check if this claim is for a community debt                                    Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1487Terrie Roadarmel                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                  $__________________
       _____________________________________________________________                      When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       17 Lakeview Court
       _____________________________________________________________
       Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Cartersville                        GA       30120                                    Contingent
       _____________________________________________________________
       City                                             State            ZIP Code         
                                                                                          ✔   Unliquidated
       Who incurred the debt? Check one.                                                  
                                                                                          ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                             Student loans

             At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
             Check if this claim is for a community debt                                    Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1488Terrie Varner                                                                       Last 4 digits of account number
       _____________________________________________________________                                                                                               Unknown
                                                                                                                                                                  $_________________
       Nonpriority Creditor’s Name                                                        When was the debt incurred?           ____________
       1745 Martin Luther King Pkwy E
       _____________________________________________________________
       Number             Street
       #221                                                                               As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Wilson                              NC       27893
       _____________________________________________________________                         Contingent
       City                                             State             ZIP Code
       Who incurred the debt? Check one.                                                  
                                                                                          ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                          
                                                                                          ✔   Disputed

             Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                     Student loans
             At least one of the debtors and another                                        Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
             Check if this claim is for a community debt                                    Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                     
                                                                                          ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                          page __
                                                                                                                                                                              498
                                                                                                                                                                                  of ___
                                                                                                                                                                                     546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  515 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1489Terry Allen Robinson
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       PO Box 552                                                                       When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Buchanan                                         GA
      _____________________________________________________________
                                                                       30113
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1490Terry Eiland                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1253 Carriage House Lane
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt H
       _______________________________________________________________________
       Gastonia                            NC       28054                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1491Terry Willett                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1200 NE 18th Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Fort Lauderdale                     FL       33304
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            499
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  516 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1492Tesneem Sarwar
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       308 Lovett Street                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Sandersville                                     GA
      _____________________________________________________________
                                                                       31082
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1493Thaddeus Pouchie                                                                  Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       10707 NW 42 Ct
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Sunrise                             FL       33351                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1494The Hartford                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       PO Box 660916
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Dallas                              TX       75266
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            500
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                      CaseSTEVEN
                    EDWARD 19-15175-abl
                                 BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  517 of 648
                                                                                                                               19-15175
Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
    
    ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                                 Total claim
4.1495Theresa Mansfield
      _____________________________________________________________                    Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                Unknown
                                                                                                                                                               $__________________
       104 Claytor Road                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                       As of the date you file, the claim is: Check all that apply.
       Brookneal                                       VA
      _____________________________________________________________
                                                                      24528
      City                                             State          ZIP Code            Contingent
                                                                                       
                                                                                       ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                       
                                                                                       ✔   Disputed
      
      ✔      Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
            Debtor 2 only
                                                                                          Student loans
            Debtor 1 and Debtor 2 only
                                                                                          Obligations arising out of a separation agreement or divorce
            At least one of the debtors and another                                       that you did not report as priority claims

            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                       
                                                                                       ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.1496Theresa Newsom                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                               $__________________
      _____________________________________________________________                    When was the debt incurred?           ____________
      Nonpriority Creditor’s Name
       21285 AL Hwy 24
      _____________________________________________________________
      Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Trinity                             AL       35673                                  Contingent
      _____________________________________________________________
      City                                             State          ZIP Code         
                                                                                       ✔   Unliquidated
      Who incurred the debt? Check one.                                                
                                                                                       ✔   Disputed
      
      ✔      Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
            Debtor 2 only
            Debtor 1 and Debtor 2 only
                                                                                          Student loans

            At least one of the debtors and another
                                                                                          Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                       
                                                                                       ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.1497Thomas Brown                                                                     Last 4 digits of account number
      _____________________________________________________________                                                                                             Unknown
                                                                                                                                                               $_________________
      Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1444 N Tonti Street
      _____________________________________________________________
      Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      New Orleans                         LA       70119
      _____________________________________________________________                       Contingent
      City                                             State           ZIP Code
      Who incurred the debt? Check one.                                                
                                                                                       ✔   Unliquidated

      
      ✔      Debtor 1 only
                                                                                       
                                                                                       ✔   Disputed

            Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                                   Student loans
            At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  
                                                                                       ✔   Other. Specify
      
      ✔      No
            Yes


  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                           501
                                                                                                                                                                               of ___
                                                                                                                                                                                  546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  518 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1498Thomas Hesser
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       29 Redondo Avenue                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Salt Lake City                                   UT
      _____________________________________________________________
                                                                       84115
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1499Tiair Dawkins                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1409 Cunningham Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt J
       _______________________________________________________________________
       Greensboro                          NC       27401                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1500Tiara Clark                                                                       Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       5235 Richard Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Virginia Beach                      VA       23462
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            502
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  519 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1501Tierra Strowbridge
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       510 Smith Street                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Tennille                                         GA
      _____________________________________________________________
                                                                       31089
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1502Tiffanii Julius                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       7272 Lee Road 240
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       #6
       _______________________________________________________________________
       Phenix City                         AL       36870                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1503Tiffany Cooper                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       513 Norfolk Street S
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Wilson                              NC       27893
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            503
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  520 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1504Tiffany Ginder
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       3146 Sparta Hwy                                                                  When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Smithville                                       TN
      _____________________________________________________________
                                                                       37166
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1505Tiffany Reeves                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       8187 Red Hill Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Whiteville                          NC       28472                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1506Timberlynn Scott                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1042 Eli Court
       _____________________________________________________________
       Number             Street
       Aprt D                                                                           As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Terrytown                           LA       70056
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            504
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  521 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1507Timothy Armstrong
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       2945 Lyme Regis Qvay                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Virginia Beach                                   VA
      _____________________________________________________________
                                                                       23452
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1508Timothy Bell                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       3966 Courtney Place
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Ellenwood                           GA       30294                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1509Timothy Bostwick                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       311 Orange Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Arlington                           TX       76012
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            505
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  522 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1510Timothy Feemster
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       874 King Rd.                                                                     When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Riverdale                                        GA
      _____________________________________________________________
                                                                       30296
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1511Timothy Franks                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2312 Maple Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Rome                                GA       30161                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1512Timothy Grier                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       882 Hubbard Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Atlanta                             GA       30310
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            506
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  523 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1513Timothy Grigsby Jr.
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       2304 Old Compton Road                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt C
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Harvey                                           LA
      _____________________________________________________________
                                                                       70058
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1514Timothy Johnson                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1179 Benoist Farms Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt 205
       _______________________________________________________________________
       West Palm Beach                     FL       33411                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1515Timothy Jones                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1910 Jenkins Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Augusta                             GA       30904
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            507
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  524 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1516Timothy Winston
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       116 Lakeland Drive                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Tupelo                                           MS
      _____________________________________________________________
                                                                       38801
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1517Tina Lee                                                                          Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       205 W South Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Alvin                               TX       77511                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1518Tina Vasquez                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       146 Plum Nelly Circle
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Bainbridge                          GA       39817
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            508
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  525 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1519Titus Stokes
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       830 Synergy Hill                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       San Antonio                                      TX
      _____________________________________________________________
                                                                       78260
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1520Todd Lucks                                                                        Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       561 Chuckey Ruriton Road S
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Chuckey                             TN       37641                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1521Todd Savard                                                                       Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1608 Hollingsworth Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Wellington                          AL       36279
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            509
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                      CaseSTEVEN
                    EDWARD 19-15175-abl
                                 BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  526 of 648
                                                                                                                               19-15175
Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
    
    ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                                 Total claim
4.1522Tommie Varner
      _____________________________________________________________                    Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                Unknown
                                                                                                                                                               $__________________
       9100 Cascade- Palmetto Hwy                                                      When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street
       Apt 3A
      _______________________________________________________________________
                                                                                       As of the date you file, the claim is: Check all that apply.
       Palmetto                                        GA
      _____________________________________________________________
                                                                      30268
      City                                             State          ZIP Code            Contingent
                                                                                       
                                                                                       ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                       
                                                                                       ✔   Disputed
      
      ✔      Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
            Debtor 2 only
                                                                                          Student loans
            Debtor 1 and Debtor 2 only
                                                                                          Obligations arising out of a separation agreement or divorce
            At least one of the debtors and another                                       that you did not report as priority claims

            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                       
                                                                                       ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.1523Tommy Cole                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                               $__________________
      _____________________________________________________________                    When was the debt incurred?           ____________
      Nonpriority Creditor’s Name
       4236 Lisbon Street
      _____________________________________________________________
      Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Ft Worth                            TX       76107                                  Contingent
      _____________________________________________________________
      City                                             State          ZIP Code         
                                                                                       ✔   Unliquidated
      Who incurred the debt? Check one.                                                
                                                                                       ✔   Disputed
      
      ✔      Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
            Debtor 2 only
            Debtor 1 and Debtor 2 only
                                                                                          Student loans

            At least one of the debtors and another
                                                                                          Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                       
                                                                                       ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.1524Tommy Horne                                                                      Last 4 digits of account number
      _____________________________________________________________                                                                                             Unknown
                                                                                                                                                               $_________________
      Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1234 Beaver Ruin
      _____________________________________________________________
      Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Norcross                            GA       30093
      _____________________________________________________________                       Contingent
      City                                             State           ZIP Code
      Who incurred the debt? Check one.                                                
                                                                                       ✔   Unliquidated

      
      ✔      Debtor 1 only
                                                                                       
                                                                                       ✔   Disputed

            Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                                   Student loans
            At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  
                                                                                       ✔   Other. Specify
      
      ✔      No
            Yes


  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                           510
                                                                                                                                                                               of ___
                                                                                                                                                                                  546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  527 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1525Toney Wilson
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       603 Asa Drive                                                                    When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Columbus                                         GA
      _____________________________________________________________
                                                                       31907
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1526Toni Acoff                                                                        Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       420 Bayard Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Waterloo                            IA       50701                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1527Toni Dixon                                                                        Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       7000 Goodson Road
       _____________________________________________________________
       Number             Street
       Lot 150                                                                          As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Union City                          GA       30291
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            511
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  528 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1528Toni Easterwood
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       2312 Maple Road                                                                  When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Rome                                             GA
      _____________________________________________________________
                                                                       30161
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1529Tony Hannah                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       122 Anderson Street East
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Lot 34
       _______________________________________________________________________
       Scottsboro                          AL       35769                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1530Tony Williamson                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       2600 Cole Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Waco                                TX       76707
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            512
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  529 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1531Toribio Anderson
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1477 Iron Gate Blvd.                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Jonesboro                                        GA
      _____________________________________________________________
                                                                       30238
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1532Towenquise Horne                                                                  Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       6600 Elgywood Lane
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Apt 10
       _______________________________________________________________________
       Charlotte                           NC       28215                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1533Tracey Crowell                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       2919 Shelia Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Jackson                             MS       39209
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            513
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  530 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1534Tracy Gordon
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       6594 Splitline Court                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       College Park                                     GA
      _____________________________________________________________
                                                                       30349
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1535Tracy Lee Robinson                                                                Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       714 E Belmont
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Pasadena                            TX       77506                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1536Trajun Williams                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       804 Willow Chase Dr.
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       McDonough                           GA       30253
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            514
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  531 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1537Travis Clankdale
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1540 Olympian Circle                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Atlanta                                          GA
      _____________________________________________________________
                                                                       30310
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1538Travis Clark                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       4936 Rancho Court
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Winston                             GA       30187                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1539Travis Dubose                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       2450 Summerland Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Decatur                             GA       30032
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            515
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  532 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1540Travis Wallace
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       459 State Road 26                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Melrose                                          FL
      _____________________________________________________________
                                                                       32666
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1541Travis Woodard                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       912 Woodard Avenue SE
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Wilson                              NC       27893                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1542Trekina Spearman                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1680 S Olympian Way
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Atlanta                             GA       30310
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            516
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  533 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1543Trell Lawhorn
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       4428 Dorsey Drive                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Lot 82
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Sumter                                           SC
      _____________________________________________________________
                                                                       29154
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1544Tremel Fitzhugh                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       7744 Antebellum Lane
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Riverdale                           GA       30274                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1545Treveon Walker                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       3871 Redwine Road
       _____________________________________________________________
       Number             Street
       Unit 2110                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Atlanta                             GA       30344
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            517
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  534 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1546Trevis Johnson
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       140 Peridot Place                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       College Park                                     GA
      _____________________________________________________________
                                                                       30349
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1547Tristan Smith                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       64 Gordon Lane
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Cloudland                           GA       30131                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1548Tristen Arnold                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1155 Suburban Acres
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Marshall                            TX       75670
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            518
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  535 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1549Troy Crawford
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       625 Armitage Way                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Stockbridge                                      GA
      _____________________________________________________________
                                                                       30281
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1550Troy Hardin                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1465 Eastern Heights
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Mesquite                            TX       75149                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1551Troyqurious Gaines                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       2025 Bosque Blvd
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Waco                                TX       76707
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            519
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  536 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1552Tyesha Miller
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1351 Vandiver Road                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Greensboro                                       GA
      _____________________________________________________________
                                                                       30642
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1553Tyesha Philpot                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1139 Calhoun Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       East Point                          GA       30344                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1554Tyler Greene                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1810 Don Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Augusta                             GA       30904
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            520
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  537 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1555Tyler Harshaw
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1206 Peidmont Drive                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Lenoir                                           NC
      _____________________________________________________________
                                                                       28645
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1556Tyler Howell                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       17125 SE 82nd
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Unit 63
       _______________________________________________________________________
       Clackamas                           OR       97015                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1557Tyler McClurg                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       325 Eagle Bald Rd.
       _____________________________________________________________
       Number             Street
       Lot 5                                                                            As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Jacksonville                        GA       36265
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            521
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  538 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1558Tyler Murphy
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       100 Sutton Drive                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       LaGrange                                         NC
      _____________________________________________________________
                                                                       28551
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1559Tyler Tolbert                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1212 Polk Xing
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       McDonough                           GA       30252                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1560Tyra Hicks                                                                        Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       4400 Broad Street
       _____________________________________________________________
       Number             Street
       Lot 40                                                                           As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Sumter                              SC       29154
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            522
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  539 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1561Tyreese Gilliam
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       N Castelgate                                                                     When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       College Park                                     GA
      _____________________________________________________________
                                                                       30349
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1562Tyrell Davis                                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       507 67th Avenue N
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Myrtle Beach                        SC       29572                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1563Tyrique Brown                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       503 Evans Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Sandersville                        GA       31802
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            523
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  540 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1564Tyrone Allen
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       818 Vallette Street                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       New Orleans                                      LA
      _____________________________________________________________
                                                                       70114
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1565Tyronne Canady                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       140 Peridot Place
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       College Park                        GA       30349                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1566Ulysses Brooks                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1235 Cypress Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Macon                               GA       31204
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            524
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  541 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1567Umekka Conley
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       148 Tuscany Circle                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Lawrenceville                                    GA
      _____________________________________________________________
                                                                       30044
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1568Umekka Conley                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       148 Tuscany Circle
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Lawrenceville                       GA       30044                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1569Valencia Robinson                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1371 Kimberly Way
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Atlanta                             GA       30331
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            525
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  542 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1570Valerie Alvarenga
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       806 W Monterey Street                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Carlsbad                                         NM
      _____________________________________________________________
                                                                       88220
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1571Valerie Fulgium                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       4079 Steam Mill Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Columbus                            GA       31907                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1572Valerie Gongora                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1518 Cantrell Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Waco                                TX       76704
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            526
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  543 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1573Valerie Mcbride
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       505 Hines St.                                                                    When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Augusta                                          GA
      _____________________________________________________________
                                                                       30901
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1574Vance Davis                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       PO Box 1342
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Texas City                          TX       77592                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1575Vaneisha Johnson                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1803 Gander Cove Lane
       _____________________________________________________________
       Number             Street
       Apt 5                                                                            As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Matthews                            NC       28105
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            527
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                        Doc 31             Entered 08/26/19 17:22:59                   Page  544 of 648
                                                                                                                                  19-15175
 Debtor 1           _______________________________________________________                                    Case number (if known)_____________________________________
                    First Name       Middle Name             Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Total claim
4.1576Vanessa Ruiz
      _____________________________________________________________                       Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                   Unknown
                                                                                                                                                                  $__________________
       538 Lincoln Ave.                                                                   When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.
       Calumet City                                     IL
      _____________________________________________________________
                                                                         60409
      City                                              State            ZIP Code            Contingent
                                                                                          
                                                                                          ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                          
                                                                                          ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                             Student loans
             Debtor 1 and Debtor 2 only
                                                                                             Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                         that you did not report as priority claims

             Check if this claim is for a community debt                                    Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1577Vanessa Stewart                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                  $__________________
       _____________________________________________________________                      When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       490 Crystal Peak Road
       _____________________________________________________________
       Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Graniteville                        SC       29829                                    Contingent
       _____________________________________________________________
       City                                             State            ZIP Code         
                                                                                          ✔   Unliquidated
       Who incurred the debt? Check one.                                                  
                                                                                          ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                             Student loans

             At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
             Check if this claim is for a community debt                                    Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1578Varian Harshaw                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                               Unknown
                                                                                                                                                                  $_________________
       Nonpriority Creditor’s Name                                                        When was the debt incurred?           ____________
       2511 Meadows Park Lane
       _____________________________________________________________
       Number             Street
       Lot 9                                                                              As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Granite Falls                       NC       28630
       _____________________________________________________________                         Contingent
       City                                             State             ZIP Code
       Who incurred the debt? Check one.                                                  
                                                                                          ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                          
                                                                                          ✔   Disputed

             Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                     Student loans
             At least one of the debtors and another                                        Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
             Check if this claim is for a community debt                                    Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                     
                                                                                          ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                          page __
                                                                                                                                                                              528
                                                                                                                                                                                  of ___
                                                                                                                                                                                     546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  545 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1579Vernecia Adams
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       5401 Old National Hwy                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt 707
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       College Park                                     GA
      _____________________________________________________________
                                                                       30349
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1580Vernon Bigham                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1941 Long Ridge Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Macon                               GA       31211                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1581Vertie Adams                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       525 Derrick Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Jackson                             MS       39203
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            529
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  546 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1582Victor Gonzales
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       9565 W Mary Ann Drive                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Peoria                                           AZ
      _____________________________________________________________
                                                                       85382
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1583Victoria Wilburn                                                                  Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       PO Box 374
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Diana                               TX       75640                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1584Vittiro Washington                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       2503 Drumcliff Court
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Hephzibah                           GA       30815
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            530
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  547 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1585Wanda Bradwell
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       140 Peridot Place                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       College Park                                     GA
      _____________________________________________________________
                                                                       30349
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1586Wanda Clayton                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1839 B Wrightsboro Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Augusta                             GA       30904                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1587Warren Fontenot                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       4601 Village Lane
       _____________________________________________________________
       Number             Street
       Apt 1095                                                                         As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Baytown                             TX       77521
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            531
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  548 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1588Wayne McAllister
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       205 20th St.                                                                     When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Dunbar                                           WV
      _____________________________________________________________
                                                                       25064
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1589Wendell Duncan                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       649 Hwy 22 West
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Milledgeville                       GA       31061                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1590Wendy Finch                                                                       Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       1252 Estes Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Piedmont                            AL       36272
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            532
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  549 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1591Wendy Phillips
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1808 Holt St                                                                     When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Lavaca                                           AR
      _____________________________________________________________
                                                                       72941
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1592Wendy Poole                                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       10611 Cordoba Pines
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Houston                             TX       77088                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1593Wesley Gobert                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       4959 Bakers Plantation Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Acworth                             GA       30101
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            533
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  550 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1594Wesley Lester
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       3434 Old Tpke Road                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Lot 23
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Little Birch                                     WV
      _____________________________________________________________
                                                                       26629
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1595Wesley Orndorff                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1414 Westwood Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Winchester                          KY       40391                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1596Will Rice                                                                         Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       108 Bison Trail
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Longview                            TX       75601
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            534
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  551 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1597William Bermuda
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       8039 Chestnut Cape Drive                                                         When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Converse                                         TX
      _____________________________________________________________
                                                                       78109
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1598William Cuffee                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       172 Powell Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Danville                            VA       24541                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1599William Cupp                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       2208 Glynn Arven Court
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Augusta                             GA       30906
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            535
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  552 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1600William Davis
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       2600 Cole Avenue                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Waco                                             TX
      _____________________________________________________________
                                                                       76707
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1601William Gardner                                                                   Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2326 Tubman Hume Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Augusta                             GA       30906                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1602William Minter                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       262 Lakeview Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Locust Grove                        GA       30248
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            536
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  553 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1603William Minter
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       262 Lakeview Drive                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Locust Grove                                     GA
      _____________________________________________________________
                                                                       30248
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1604William Wales                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       PO Box 101
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Jefferson                           TX       75657                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1605Willis Cole                                                                       Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       4417 Pompano Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Tampa                               FL       33617
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            537
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  554 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1606Xavier Burnett
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       2352 Lilla Circle SW                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Atlanta                                          GA
      _____________________________________________________________
                                                                       30310
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1607Xavier Calhoun                                                                    Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1600 Ethan's Way
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       McDonough                           GA       30252                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1608Xavier D. Fuller                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       6864 Fielder Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Rex                                 GA       30273
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            538
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  555 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1609Xzavier Mills
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1078 Nobson SW                                                                   When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Atlanta                                          GA
      _____________________________________________________________
                                                                       30310
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1610Yancy Matirne                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1334 Franklin Avenue
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       New Orleans                         LA       70117                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1611Yasmine Smith                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       503 W Graham Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Shelby                              NC       28150
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            539
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  556 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1612Yolanda Aguirre
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       7240 W. Turquoise Ave.                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Peoria                                           AZ
      _____________________________________________________________
                                                                       85345
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1613Yolanda Anderson                                                                  Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       213 Gettysburgh Road
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Belleville                          IL       62226                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1614Yusuf Alsharkawy                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       2119 East 19th Street
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Owensboro                           KY       42303
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            540
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  557 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1615Zachari Jackson
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       413 Edward Street                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Longview                                         TX
      _____________________________________________________________
                                                                       75604
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1616Zachary Baker                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       692 S 150 W
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Tremonton                           UT       84337                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1617Zachary Chavous                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       2374 Travis Pines Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Augusta                             GA       30906
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            541
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  558 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1618Zachary McDaniel
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       1620 Willis Road                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Barnesville                                      GA
      _____________________________________________________________
                                                                       30204
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1619Zackary Robinson                                                                  Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1311 Russell Drive
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Weaver                              AL       36277                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1620Zakera Chadmon                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       42 Haverd Dr.
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Jonesboro                           GA       30238
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            542
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                       CaseSTEVEN
                     EDWARD 19-15175-abl
                                  BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  559 of 648
                                                                                                                                19-15175
 Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1621Zaneta Carter
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                $__________________
       3400 Shady Hill Drive                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number             Street
       Apt B78
      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Baytown                                          TX
      _____________________________________________________________
                                                                       77521
      City                                              State          ZIP Code            Contingent
                                                                                        
                                                                                        ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                        
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                           Student loans
             Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                       that you did not report as priority claims

             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1622Zavier Lagard                                                                     Last 4 digits of account number                                          Unknown
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       10214 Ince lane
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Houston                             TX       77040                                  Contingent
       _____________________________________________________________
       City                                             State          ZIP Code         
                                                                                        ✔   Unliquidated
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Disputed
      
      ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                           Student loans

             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.1623Zharee Wilson                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $_________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       67 Lee Road 423
       _____________________________________________________________
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Salem                               AL       36877
       _____________________________________________________________                       Contingent
       City                                             State           ZIP Code
       Who incurred the debt? Check one.                                                
                                                                                        ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                                   Student loans
             At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   
                                                                                        ✔   Other. Specify
      
      ✔       No
             Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                            543
                                                                                                                                                                                of ___
                                                                                                                                                                                   546
                      CaseSTEVEN
                    EDWARD 19-15175-abl
                                 BURDEKIN                      Doc 31             Entered 08/26/19 17:22:59                   Page  560 of 648
                                                                                                                               19-15175
Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
    
    ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                                 Total claim
4.1624Ziana Carter
      _____________________________________________________________                    Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                Unknown
                                                                                                                                                               $__________________
       728 Works Farm Road                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                       As of the date you file, the claim is: Check all that apply.
       Warsaw                                          NC
      _____________________________________________________________
                                                                      28398
      City                                             State          ZIP Code            Contingent
                                                                                       
                                                                                       ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                       
                                                                                       ✔   Disputed
      
      ✔      Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
            Debtor 2 only
                                                                                          Student loans
            Debtor 1 and Debtor 2 only
                                                                                          Obligations arising out of a separation agreement or divorce
            At least one of the debtors and another                                       that you did not report as priority claims

            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                       
                                                                                       ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔      No
            Yes

                                                                                       Last 4 digits of account number                                         $__________________
      _____________________________________________________________                    When was the debt incurred?           ____________
      Nonpriority Creditor’s Name

      _____________________________________________________________
      Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
                                                                                          Contingent
      _____________________________________________________________
      City                                             State          ZIP Code            Unliquidated
      Who incurred the debt? Check one.                                                   Disputed
            Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
            Debtor 2 only
            Debtor 1 and Debtor 2 only
                                                                                          Student loans

            At least one of the debtors and another
                                                                                          Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Other. Specify
      Is the claim subject to offset?
            No
            Yes

                                                                                       Last 4 digits of account number
      _____________________________________________________________                                                                                            $_________________
      Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________

      _____________________________________________________________
      Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________

      _____________________________________________________________                       Contingent
      City                                             State           ZIP Code
      Who incurred the debt? Check one.                                                   Unliquidated

            Debtor 1 only
                                                                                          Disputed

            Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                                   Student loans
            At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                     Other. Specify
            No
            Yes


  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                           544
                                                                                                                                                                               of ___
                                                                                                                                                                                  546
                   CaseSTEVEN
                 EDWARD 19-15175-abl
                              BURDEKIN                   Doc 31            Entered 08/26/19 17:22:59               Page  561 of 648
                                                                                                                    19-15175
Debtor 1        _______________________________________________________                            Case number (if known)_____________________________________
                First Name    Middle Name           Last Name



Pa rt 3 :     List Ot he rs t o Be N ot ifie d About a De bt T ha t Y ou Alre a dy List e d

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
    example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

     _____________________________________________________                   On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                             Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number          Street                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
     _____________________________________________________
                                                                             Last 4 digits of account number
     _____________________________________________________
     City                                   State               ZIP Code


     _____________________________________________________                   On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                             Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number          Street                                                                                Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                             Claims

     _____________________________________________________                   Last 4 digits of account number
     City                                   State               ZIP Code


     _____________________________________________________                   On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                             Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number          Street                                                                                Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                             Claims

     _____________________________________________________                   Last 4 digits of account number
     City                                   State               ZIP Code


     _____________________________________________________                   On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                             Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number          Street                                                                                Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                             Claims

     _____________________________________________________                   Last 4 digits of account number
     City                                   State               ZIP Code


     _____________________________________________________                   On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                             Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number          Street                                                                                Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                             Claims

     _____________________________________________________                   Last 4 digits of account number
     City                                   State               ZIP Code


     _____________________________________________________                   On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                             Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number          Street                                                                                Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                             Claims

     _____________________________________________________                   Last 4 digits of account number
     City                                   State               ZIP Code


     _____________________________________________________                   On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________                   Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number          Street
                                                                                                           Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________                   Claims

     _____________________________________________________
     City                                   State               ZIP Code
                                                                             Last 4 digits of account number


  Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                page __
                                                                                                                                                           545 of ___
                                                                                                                                                                   546
                 CaseSTEVEN
               EDWARD 19-15175-abl
                            BURDEKIN                    Doc 31        Entered 08/26/19 17:22:59             Page  562 of 648
                                                                                                             19-15175
Debtor 1       _______________________________________________________                      Case number (if known)_____________________________________
               First Name    Middle Name         Last Name



Pa rt 4 :   Add the Am ount s for Ea c h Type of U nse c ure d Cla im


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
    Add the amounts for each type of unsecured claim.




                                                                                       Total claim


                6a. Domestic support obligations                               6a.                         0.00
Total claims                                                                           $_________________________
from Part 1
                6b. Taxes and certain other debts you owe the
                    government                                                 6b.                   70,000.00
                                                                                       $_________________________

                6c. Claims for death or personal injury while you were
                    intoxicated                                                6c.                         0.00
                                                                                       $_________________________

                6d. Other. Add all other priority unsecured claims.
                    Write that amount here.                                    6d.
                                                                                     + $_________________________
                                                                                                           0.00


                6e. Total. Add lines 6a through 6d.                            6e.
                                                                                                     70,000.00
                                                                                       $_________________________



                                                                                       Total claim

                6f. Student loans                                              6f.                          0.00
Total claims                                                                            $_________________________
from Part 2
                6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                     6g.
                                                                                                            0.00
                                                                                        $_________________________

                6h. Debts to pension or profit-sharing plans, and other
                    similar debts                                              6h.                          0.00
                                                                                       $_________________________

                6i. Other. Add all other nonpriority unsecured claims.
                    Write that amount here.                                    6i.   + $_________________________
                                                                                                     76,132.86


                6j. Total. Add lines 6f through 6i.                            6j.
                                                                                                      76,132.86
                                                                                        $_________________________




  Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                      page __
                                                                                                                                                  546
                                                                                                                                                      of ___
                                                                                                                                                          546
                          Case 19-15175-abl                 Doc 31   Entered 08/26/19 17:22:59                     Page 563 of 648

 Fill in this information to identify your case:

                       EDWARD STEVEN BURDEKIN
 Debtor               __________________________________________________________________
                       First Name             Middle Name            Last Name

 Debtor 2              ________________________________________________________________
 (Spouse If filing)    First Name             Middle Name            Last Name


 United States Bankruptcy Court for the:______________________
                                        District of Nevada     District of ________
                                                                                 (State)
 Case number            19-15175
                       ___________________________________________
  (If known)                                                                                                                             Check if this is an
                                                                                                                                            amended filing


Official Form 106G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
      
      ✔    Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



      Person or company with whom you have the contract or lease                                State what the contract or lease is for


2.1                                                                                        Debtor and National Merchandising Services, LLC are parties to an
       National Merchandising Services, LLC
      _____________________________________________________________________
      Name                                                                                 employment services contract.
       350 Stonewall Avenue W
      _____________________________________________________________________
      Street
       Fayetteville                GA                 30215
      _____________________________________________________________________
      City                         State   ZIP Code

2.2
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.3
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.4
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.5
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code


Official Form 106G                             Schedule G: Executory Contracts and Unexpired Leases                                                     1
                                                                                                                                              page 1 of ___
                           Case 19-15175-abl                         Doc 31       Entered 08/26/19 17:22:59               Page 564 of 648
 Fill in this information to identify your case:

                     EDWARD STEVEN BURDEKIN
 Debtor 1           __________________________________________________________________
                        First Name                    Middle Name                 Last Name

 Debtor 2               ________________________________________________________________
 (Spouse, if filing) First Name                       Middle Name                 Last Name


 United States Bankruptcy Court for the:_______________________
                                         District of Nevada     District of ________
                                                                                              (State)
 Case number              19-15175
                        ____________________________________________
  (If known)
                                                                                                                                                    Check if this is an
                                                                                                                                                       amended filing

Official Form 106H
Sc he dule H : Y our Code bt ors                                                                                                                                  12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
          No
      
      ✔    Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      
      ✔    No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                  No
                  Yes. In which community state or territory did you live? __________________. Fill in the name and current address of that person.


                   ______________________________________________________________________
                   Name of your spouse, former spouse, or legal equivalent

                   ______________________________________________________________________
                   Number            Street

                   ______________________________________________________________________
                   City                                             State                       ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                                Column 2: The creditor to whom you owe the debt

                                                                                                              Check all schedules that apply:
3.1       National Merchandising Services, LLC
         ________________________________________________________________________________                      Schedule D, line ______
         Name
                                                                                                                                   4.54
                                                                                                              ✔ Schedule E/F, line *______
          350 Stonewall Avenue W
         ________________________________________________________________________________
          Street                                                                                              Schedule G, line ______
          Fayetteville                             GA                       30215
         ________________________________________________________________________________                     *All Creditors Except Capital One, Synchrony
         City                                                          State                       ZIP Code   Bank, Richard Burdekin, and Citibank, N.A.
3.2       National Store Retail Services, LLC
         ________________________________________________________________________________                         Schedule D, line ______
         Name
         350 Stonewall Avenue W                                                                               
                                                                                                              ✔    Schedule E/F, line *______
         ________________________________________________________________________________
          Street                                                                                                  Schedule G, line ______
          Fayetteville                             GA                       30215
         ________________________________________________________________________________                      *All Creditors Except Capital One, Synchrony
         City                                                          State                       ZIP Code    Bank, Richard Burdekin, and Citibank, N.A.
3.3
         ________________________________________________________________________________                        Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                                 Schedule E/F, line ______
          Street                                                                                                 Schedule G, line ______
         ________________________________________________________________________________
         City                                                          State                       ZIP Code



Official Form 106H                                                             Schedule H: Your Codebtors                                                            1
                                                                                                                                                          page 1 of ___
                        Case 19-15175-abl                 Doc 31     Entered 08/26/19 17:22:59                  Page 565 of 648

 Fill in this information to identify your case:

                      EDWARD STEVEN BURDEKIN
 Debtor 1           ____________________________________________________________________
                     First Name             Middle Name              Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name              Last Name


 United States Bankruptcy Court for the: ______________________
                                          District of Nevada    District
                                                                                  tate)
 Case number            19-15175
                     ___________________________________________                                      Check if this is:
  (If known)
                                                                                                       An amended filing
                                                                                                       A supplement showing postpetition chapter 13
                                                                                                         income as of the following date:
                                                                                                         ________________
Official Form 106I                                                                                       MM / DD / YYYY

Sche dule I : Your I nc om e                                                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Pa rt 1 :         De sc ribe Em ployme nt


1. Fill in your employment
    information.                                                           Debtor 1                                    Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with                                         ✔ Employed                                     ✔
    information about additional         Employment status                                                               Employed
    employers.                                                           Not employed                                    Not employed
    Include part-time, seasonal, or
    self-employed work.                                                 President                                    Manager
                                         Occupation                   __________________________________           __________________________________
    Occupation may include student
    or homemaker, if it applies.                                        National Merchandising                       National Merchandising of
                                         Employer’s name
                                                                        Services, LLC
                                                                      __________________________________
                                                                                                                     America, Inc.
                                                                                                                    __________________________________


                                         Employer’s address              350 Stonewall Avenue W
                                                                      _______________________________________        350 STONEWALL AVE W
                                                                                                                  ________________________________________
                                                                       Number Street                               Number    Street

                                                                      _______________________________________     ________________________________________

                                                                     _______________________________________      ________________________________________

                                                                         Fayetteville, GA 30214
                                                                      _______________________________________         Fayetteville, GA 30214
                                                                                                                  ________________________________________
                                                                       City            State  ZIP Code              City                State ZIP Code

                                          How long employed there?________________________                          ________________________
                                                                                                                     13 years


 Pa rt 2 :         Give De t a ils About Mont hly I nc ome

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                 For Debtor 1       For Debtor 2 or
                                                                                                                    non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.          2.      20,833.33                     0.00
                                                                                                $___________           $____________

 3. Estimate and list monthly overtime pay.                                               3.   + $___________
                                                                                                         0.00      +            0.00
                                                                                                                       $____________


 4. Calculate gross income. Add line 2 + line 3.                                          4.      20,833.33
                                                                                                $__________                     0.00
                                                                                                                       $____________




Official Form 106I                                                 Schedule I: Your Income                                                     page 1
                 EDWARD
                       Case 19-15175-abl
                             STEVEN BURDEKIN
                                                                    Doc 31             Entered 08/26/19 17:22:59                          Page 566 of 648
Debtor 1         _______________________________________________________                                                                          19-15175
                                                                                                                          Case number (if known)_____________________________________
                 First Name         Middle Name               Last Name

                                                                                                                         For Debtor 1         For Debtor 2 or
                                                                                                                                              non-filing spouse

   Copy line 4 here ............................................................................................  4.       20,833.33
                                                                                                                          $___________                    0.00
                                                                                                                                                  $_____________
5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.        4,689.31
                                                                                                                         $____________                    0.00
                                                                                                                                                  $_____________
     5b. Mandatory contributions for retirement plans                                                            5b.            0.00
                                                                                                                         $____________                    0.00
                                                                                                                                                  $_____________
     5c. Voluntary contributions for retirement plans                                                            5c.          625.00
                                                                                                                         $____________                    0.00
                                                                                                                                                  $_____________
     5d. Required repayments of retirement fund loans                                                            5d.            0.00
                                                                                                                         $____________                    0.00
                                                                                                                                                  $_____________
     5e. Insurance                                                                                               5e.          593.86
                                                                                                                         $____________                    0.00
                                                                                                                                                  $_____________
     5f. Domestic support obligations                                                                            5f.            0.00
                                                                                                                         $____________                    0.00
                                                                                                                                                  $_____________
                                                                                                                                0.00
                                                                                                                         $____________                    0.00
                                                                                                                                                  $_____________
     5g. Union dues                                                                                              5g.
     5h. Other deductions. Specify: __________________________________                                           5h.    + $____________       +   $_____________
    _____________________________________________________________                                                        $____________            $____________
    _____________________________________________________________                                                        $____________            $____________
    _____________________________________________________________                                                        $____________            $____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                   6.        5,908.17
                                                                                                                         $____________                     0.00
                                                                                                                                                  $____________
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.       14,925.17
                                                                                                                         $____________                     0.00
                                                                                                                                                  $____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                    0.00                 10,833.00
                                                                                                                         $____________            $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                 0.00                      0.00
                                                                                                                         $____________            $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________
     8e. Social Security                                                                                         8e.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.                                                       0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________

     8g. Pension or retirement income                                                                            8g.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________

     8h. Other monthly income. Specify: _______________________________                                          8h.    + $____________
                                                                                                                                 0.00         + $_____________
                                                                                                                                                         0.00
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.            0.00
                                                                                                                         $____________               10,833.00
                                                                                                                                                  $_____________

10. Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.
                                                                                                                           14,925.17
                                                                                                                         $___________     +          10,833.00
                                                                                                                                                  $_____________      =     25,758.17
                                                                                                                                                                          $_____________

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                    11. + $_____________
                                                                                                                                                                              0.00
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                            25,758.17
                                                                                                                                                                          $_____________
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                          12.
                                                                                                                                                                          Combined
                                                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
      
      ✔    No.
          Yes. Explain:


  Official Form 106I                                                               Schedule I: Your Income                                                                  page 2
                     Case 19-15175-abl        Doc 31     Entered 08/26/19 17:22:59                 Page 567 of 648
                EDWARD STEVEN BURDEKIN                                                                   19-15175
 Debtor 1                                                       _               Case number (if known)
               First Name   Middle Name   Last Name



                                             Continuation Sheet for Official Form 106I


1. Describe Employment:

Debtor: EDWARD STEVEN BURDEKIN

Occupation: President

Name of Employer: National Store Retail Services, LLC

Employer's Address: 350 Stonewall Avenue W, Fayetteville, GA 30214

Length of Employment:

-------




   Official Form 106I                                 Schedule I: Your Income
                         Case 19-15175-abl                  Doc 31         Entered 08/26/19 17:22:59                       Page 568 of 648

  Fill in this information to identify your case:

                     EDWARD STEVEN BURDEKIN
  Debtor 1          __________________________________________________________________
                      First Name              Middle Name                 Last Name                           Check if this is:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name              Middle Name                 Last Name
                                                                                                               An amended filing
                                          District of Nevada
                                                                                                               A supplement showing postpetition chapter 13
  United States Bankruptcy Court for the: ______________________ District of __________                           expenses as of the following date:
                                                                                      (State)
                       19-15175                                                                                   ________________
  Case number         ___________________________________________                                                 MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                   12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   ✔ No. Go to line 2.
   
    Yes. Does Debtor 2 live in a separate household?
                    No
                    Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                   No                                           Dependent’s relationship to              Dependent’s   Does dependent live
   Do not list Debtor 1 and                 ✔ Yes. Fill out this information for
                                                                                          Debtor 1 or Debtor 2                     age           with you?
   Debtor 2.                                    each dependent..........................
   Do not state the dependents’                                                             Daughter                                 19            No
                                                                                           _________________________                ________
   names.                                                                                                                                         
                                                                                                                                                  ✔ Yes
                                                                                            Daughter
                                                                                           _________________________                 13
                                                                                                                                    ________       No
                                                                                                                                                  
                                                                                                                                                  ✔ Yes
                                                                                            Son
                                                                                           _________________________                 12
                                                                                                                                    ________       No
                                                                                                                                                  
                                                                                                                                                  ✔ Yes

                                                                                           _________________________                ________       No
                                                                                                                                                   Yes
                                                                                           _________________________                ________       No
                                                                                                                                                   Yes
3. Do your expenses include
   expenses of people other than
                                               No
   yourself and your dependents?               Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                  Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                  2,020.99
                                                                                                                                      $_____________________
     any rent for the ground or lot.                                                                                          4.

     If not included in line 4:
                                                                                                                                                       958.33
     4a.    Real estate taxes                                                                                                 4a.     $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                                      4b.
                                                                                                                                                       316.66
                                                                                                                                      $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                                     4c.                   833.33
                                                                                                                                      $_____________________
     4d.    Homeowner’s association or condominium dues                                                                       4d.                      0.00
                                                                                                                                      $_____________________

  Official Form 106J                                             Schedule J: Your Expenses                                                               page 1
                         Case 19-15175-abl                Doc 31        Entered 08/26/19 17:22:59            Page 569 of 648

                    EDWARD STEVEN BURDEKIN                                                                           19-15175
 Debtor 1          _______________________________________________________                   Case number (if known)_____________________________________
                   First Name     Middle Name        Last Name




                                                                                                                        Your expenses

                                                                                                                       $_____________________
                                                                                                                                        0.00
 5. Additional mortgage payments for your residence, such as home equity loans                                  5.


 6. Utilities:

        6a.   Electricity, heat, natural gas                                                                    6a.    $_____________________
                                                                                                                                     900.00
        6b.   Water, sewer, garbage collection                                                                  6b.    $_____________________
                                                                                                                                     100.00
        6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.    $_____________________
                                                                                                                                     353.00
        6d.   Other. Specify: _______________________________________________                                   6d.    $_____________________
                                                                                                                                        0.00
 7. Food and housekeeping supplies                                                                              7.     $_____________________
                                                                                                                                   2,000.00
 8. Childcare and children’s education costs                                                                    8.     $_____________________
                                                                                                                                        0.00
 9. Clothing, laundry, and dry cleaning                                                                         9.     $_____________________
                                                                                                                                     420.00
10.    Personal care products and services                                                                      10.    $_____________________
                                                                                                                                     390.00
11.    Medical and dental expenses                                                                              11.    $_____________________
                                                                                                                                     294.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                       $_____________________
                                                                                                                                   1,150.00
       Do not include car payments.                                                                             12.

13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.    $_____________________
                                                                                                                                        0.00
14.     Charitable contributions and religious donations                                                        14.    $_____________________
                                                                                                                                        0.00
                                                                                                                                                      1
15.     Insurance.
        Do not include insurance deducted from your pay or included in lines 4 or 20.

        15a. Life insurance                                                                                     15a.                    0.00
                                                                                                                       $_____________________
        15b. Health insurance                                                                                   15b.   $_____________________
                                                                                                                                        0.00
        15c. Vehicle insurance                                                                                  15c.   $_____________________
                                                                                                                                     600.00
        15d. Other insurance. Specify:_______________________________________                                   15d.   $_____________________
                                                                                                                                     166.67

16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
        Specify: ________________________________________________________                                       16.
                                                                                                                                   7,500.00
                                                                                                                       $_____________________

17.    Installment or lease payments:

        17a. Car payments for Vehicle 1                                                                         17a.   $_____________________
                                                                                                                                        0.00
        17b. Car payments for Vehicle 2                                                                         17b.   $_____________________
                                                                                                                                        0.00
        17c. Other. Specify:_______________________________________________                                     17c.   $_____________________
                                                                                                                                        0.00
        17d. Other. Specify:_______________________________________________                                     17d.                    0.00
                                                                                                                       $_____________________

18.    Your payments of alimony, maintenance, and support that you did not report as deducted from
       your pay on line 5, Schedule I, Your Income (Official Form 106I).                                         18.                    0.00
                                                                                                                       $_____________________

19.    Other payments you make to support others who do not live with you.
       Specify:_______________________________________________________                                           19.
                                                                                                                                        0.00
                                                                                                                       $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

        20a. Mortgages on other property                                                                        20a.   $_____________________
                                                                                                                                        0.00
        20b. Real estate taxes                                                                                  20b.   $_____________________
                                                                                                                                        0.00
        20c. Property, homeowner’s, or renter’s insurance                                                       20c.   $_____________________
                                                                                                                                        0.00
        20d. Maintenance, repair, and upkeep expenses                                                           20d.   $_____________________
                                                                                                                                        0.00
        20e. Homeowner’s association or condominium dues                                                        20e.   $_____________________
                                                                                                                                        0.00


      Official Form 106J                                         Schedule J: Your Expenses                                                   page 2
                        Case 19-15175-abl               Doc 31       Entered 08/26/19 17:22:59                   Page 570 of 648

                   EDWARD STEVEN BURDEKIN                                                                               19-15175
Debtor 1          _______________________________________________________                       Case number (if known)_____________________________________
                  First Name    Middle Name        Last Name




21.     Other. Specify:______________________________________________________________________
                        Cleaning for Residence
                                                                                                                                        325.00
                                                                                                                   21.   +$_____________________
______________________________________________________________________________________                                   +$_____________________
______________________________________________________________________________________                                   +$_____________________
22.     Calculate your monthly expenses.

        22a. Add lines 4 through 21.                                                                             22a.                18,327.98
                                                                                                                          $_____________________

        22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22c. Add line 22a   22b.     $_____________________

        and 22b. The result is your monthly expenses.                                                            22c.                18,327.98
                                                                                                                          $_____________________


23. Calculate your monthly net income.
                                                                                                                                      25,758.17
                                                                                                                           $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

      23b.   Copy your monthly expenses from line 22c above.                                                      23b.                18,327.98
                                                                                                                         – $_____________________

      23c.   Subtract your monthly expenses from your monthly income.                                                                  7,430.19
                                                                                                                           $_____________________
             The result is your monthly net income.                                                               23c.



24. Do you expect an increase or decrease in your expenses within the year after you file this form?

       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

         No.
      
      ✔   Yes.      Explain here:   Debtor is expecting to procure life insurance as well as additional education expenses for
                                    children.




      Official Form 106J                                       Schedule J: Your Expenses                                                        page 3
                             Case 19-15175-abl            Doc 31        Entered 08/26/19 17:22:59                           Page 571 of 648

Fill in this information to identify your case:

Debtor 1           EDWARD STEVEN BURDEKIN
                  __________________________________________________________________
                    First Name              Middle Name             Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name              Middle Name             Last Name


                                        ______________________
United States Bankruptcy Court for the:District of Nevada      District of __________
                                                                                (State)
Case number         19-15175
                    ___________________________________________
(If known)
                                                                                                                                          Check if this is an
                                                                                                                                             amended filing


  Official Form 106Dec
  De cla rat ion About a n I ndividua l De bt or’s Sche dule s                                                                                        12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Be low



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       ✔     No
            Yes. Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                               Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




     /s/ EDWARD STEVEN BURDEKIN
          ______________________________________________           _____________________________
         Signature of Debtor 1                                         Signature of Debtor 2


              08/25/2019
         Date _________________                                        Date _________________
                MM /    DD       /   YYYY                                       MM / DD /   YYYY




  Official Form 106Dec                                     Declaration About an Individual Debtor’s Schedules
                        Case 19-15175-abl                 Doc 31       Entered 08/26/19 17:22:59                  Page 572 of 648

 Fill in this information to identify your case:

 Debtor 1          EDWARD STEVEN BURDEKIN
                   __________________________________________________________________
                     First Name             Middle Name                Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name                Last Name


 United States Bankruptcy Court for the: District
                                          ______________________
                                                  of Nevada      District of ______________
                                                                             (State)
 Case number         ___________________________________________
                       19-15175
  (If known)                                                                                                                             Check if this is an
                                                                                                                                           amended filing




Official Form 107
St a t e m e nt of Fina nc ia l Affa irs for I ndividua ls Filing for Ba nk rupt c y                                                                          4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.


 Pa rt 1 :       Give De t a ils About Y our M a rit a l St a t us a nd Whe re Y ou Live d Be fore


 1. What is your current marital status?


      
      ✔ Married

       Not married

 2. During the last 3 years, have you lived anywhere other than where you live now?

     
     ✔     No
          Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

               Debtor 1:                                        Dates Debtor 1         Debtor 2:                                             Dates Debtor 2
                                                                lived there                                                                  lived there

                                                                                        Same as Debtor 1                                      Same as Debtor 1

               __________________________________________       From     ________         ___________________________________________           From ________
                Number    Street                                                          Number Street
                                                                To       __________                                                             To      ________
               __________________________________________                                 ___________________________________________

               __________________________________________                                 ___________________________________________
               City                     State ZIP Code                                    City                     State ZIP Code


                                                                                        Same as Debtor 1                                      Same as Debtor 1


               __________________________________________       From     ________         ___________________________________________           From ________
                Number    Street                                                          Number Street
                                                                To       ________                                                               To      ________
               __________________________________________                                 ___________________________________________

               __________________________________________                                 ___________________________________________
               City                     State ZIP Code                                    City                     State   ZIP Code


 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property states
     and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
     
     ✔     No
          Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




 Official Form 107                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 1
                      Case 19-15175-abl                      Doc 31            Entered 08/26/19 17:22:59                      Page 573 of 648

Debtor 1        EDWARD STEVEN BURDEKIN
                _______________________________________________________                                                             19-15175
                                                                                                             Case number (if known)_____________________________________
                First Name      Middle Name             Last Name


  Pa rt 2 : Ex pla in t he Sourc e s of Y our I nc om e

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

          No
     
     ✔     Yes. Fill in the details.

                                                                Debtor 1                                              Debtor 2

                                                                Sources of income            Gross income             Sources of income           Gross income
                                                                Check all that apply.        (before deductions and   Check all that apply.       (before deductions and
                                                                                             exclusions)                                          exclusions)


            From January 1 of current year until
                                                                
                                                                ✔   Wages, commissions,                                  Wages, commissions,
                                                                    bonuses, tips            $________________
                                                                                              150,641.03                  bonuses, tips           $________________
            the date you filed for bankruptcy:
                                                                ✔ Operating a business                                  Operating a business


            For last calendar year:
                                                                
                                                                ✔   Wages, commissions,                                  Wages, commissions,
                                                                    bonuses, tips            $________________
                                                                                              175,000.00                  bonuses, tips           $________________
            (January 1 to December 31, _________)
                                       2018                     
                                                                ✔   Operating a business                                 Operating a business
                                              YYYY



            For the calendar year before that:                  
                                                                ✔   Wages, commissions,                                  Wages, commissions,
                                                                    bonuses, tips                                         bonuses, tips
                                                                                             $________________
                                                                                              106,332.00                                          $________________
            (January 1 to December 31, _________)
                                       2017                     
                                                                ✔   Operating a business                                 Operating a business
                                              YYYY



 5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

          No
     
     ✔     Yes. Fill in the details.

                                                     Debtor 1                                                          Debtor 2

                                                     Sources of income             Gross income from                   Sources of income          Gross income from
                                                     Describe below.               each source                         Describe below.            each source
                                                                                   (before deductions and                                         (before deductions and
                                                                                   exclusions)                                                    exclusions)


                                        _________________________
                                        Rental Income                              $________________
                                                                                    16,000.00                 _________________________          $________________
 From January 1 of current
 year until the date you                _________________________                  $________________          _________________________          $________________
 filed for bankruptcy:
                                        _________________________                  $_________________         _________________________          $_________________


                                         _________________________
                                         Rental Income             $________________
                                                                    24,000.00                                  _________________________         $________________
For last calendar year:
                                         _________________________ $________________                           _________________________         $________________
(January 1 to
             2018                        _________________________ $_________________                          _________________________         $_________________
December 31, _________)


For the calendar year                    _________________________
                                         Rental Income             $________________
                                                                    24,000.00                                  _________________________         $________________
before that:                             _________________________ $________________                           _________________________         $________________
(January 1 to                            _________________________ $_________________                          _________________________         $_________________
             2017
December 31, _________)




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 2
                     Case 19-15175-abl                     Doc 31       Entered 08/26/19 17:22:59                  Page 574 of 648

Debtor 1       EDWARD STEVEN BURDEKIN
               _______________________________________________________                                                    19-15175
                                                                                                   Case number (if known)_____________________________________
               First Name       Middle Name           Last Name




 Pa rt 3 :    List Ce rt a in Pa ym e nt s Y ou M a de Be fore Y ou File d for Ba nk rupt c y



 6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

     
     ✔     No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
               “incurred by an individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

               
               ✔    No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and
                    the total amount you paid that creditor. Do not include payments for domestic support obligations, such
                    as child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

          Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                   No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                         creditor. Do not include payments for domestic support obligations, such as child support and
                         alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                      Dates of      Total amount paid        Amount you still owe       Was this payment for…
                                                                      payment


                      ____________________________________           _________      $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________           _________
                      Number    Street                                                                                                   Credit card
                                                                                                                                         Loan repayment
                      ____________________________________           _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code
                                                                                                                                         Other ______________


                      ____________________________________           _________      $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________           _________                                                           Credit card
                      Number    Street
                                                                                                                                         Loan repayment
                      ____________________________________           _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________                                                                               Other ______________
                      City                    State       ZIP Code




                      ____________________________________           _________      $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________           _________                                                           Credit card
                      Number    Street
                                                                                                                                         Loan repayment
                      ____________________________________           _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________                                                                               Other _______________
                      City                    State       ZIP Code




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 3
                         Case 19-15175-abl                    Doc 31      Entered 08/26/19 17:22:59                   Page 575 of 648

Debtor 1            EDWARD STEVEN BURDEKIN
                   _______________________________________________________                            Case number (if known)19-15175
                                                                                                                            _____________________________________
                   First Name      Middle Name           Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.

          No
     
     ✔     Yes. List all payments to an insider.
                                                                        Dates of      Total amount      Amount you still    Reason for this payment
                                                                        payment       paid              owe
                                                                                                                           Repay Debtor's father for personal loan.
            Richard Burdekin
            ____________________________________________              _________      $____________
                                                                                       3,750.00    $____________
                                                                                                     75,000.00
            Insider’s Name

            155 Rising Star Road
            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________
                                                                       08/2018

            Fayetteville              GA       30215
            ____________________________________________
            City                                 State   ZIP Code



            ____________________________________________              _________      $____________ $____________
            Insider’s Name

            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code


 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

     
     ✔     No
          Yes. List all payments that benefited an insider.
                                                                       Dates of        Total amount     Amount you still   Reason for this payment
                                                                       payment         paid             owe
                                                                                                                           Include creditor’s name

            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code



                                                                                     $____________ $____________
            ____________________________________________              _________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 4
                          Case 19-15175-abl                         Doc 31          Entered 08/26/19 17:22:59                     Page 576 of 648

Debtor 1          EDWARD      STEVEN BURDEKIN
                  _______________________________________________________                                                               19-15175
                                                                                                                 Case number (if known)_____________________________________
                  First Name            Middle Name            Last Name




  Pa rt 4 :       I de nt ify Le ga l Ac t ions, Re posse ssions, a nd Fore c losure s

 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

     
     ✔     No
          Yes. Fill in the details.
                                                                      Nature of the case                   Court or agency                                 Status of the case

    Case title:
                                                                                                          ________________________________________           Pending
                                                                                                          Court Name
                                                                                                                                                             On appeal
                                                                                                          ________________________________________
                                                                                                          Number    Street                                   Concluded


                                                                                                          ________________________________________
                                                                                                          City                   State   ZIP Code
    Case number ________________________


                                                                                                          ________________________________________           Pending
                                                                                                          Court Name
    Case title:
                                                                                                                                                             On appeal
                                                                                                          ________________________________________
                                                                                                          Number    Street                                   Concluded


                                                                                                          ________________________________________
                                                                                                          City                   State   ZIP Code
    Case number ________________________

 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

     
     ✔     No. Go to line 11.
          Yes. Fill in the information below.

                                                                                Describe the property                                     Date          Value of the property



                   _________________________________________                                                                              __________     $______________
                   Creditor’s Name


                   _________________________________________
                   Number      Street                                           Explain what happened

                                                                                    Property was repossessed.
                   _________________________________________
                                                                                    Property was foreclosed.
                                                                                    Property was garnished.
                   _________________________________________
                   City                               State   ZIP Code              Property was attached, seized, or levied.

                                                                                Describe the property                                     Date           Value of the property



                                                                                                                                         __________      $______________
                   _________________________________________
                   Creditor’s Name


                   _________________________________________
                   Number      Street
                                                                                Explain what happened

                   _________________________________________                        Property was repossessed.
                                                                                    Property was foreclosed.
                   _________________________________________                        Property was garnished.
                   City                               State   ZIP Code
                                                                                    Property was attached, seized, or levied.



Official Form 107                                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 5
                        Case 19-15175-abl                     Doc 31          Entered 08/26/19 17:22:59                  Page 577 of 648

Debtor 1          EDWARD STEVEN BURDEKIN
                  _______________________________________________________                                                       19-15175
                                                                                                         Case number (if known)_____________________________________
                  First Name     Middle Name             Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
     
     ✔     No
          Yes. Fill in the details.

                                                                 Describe the action the creditor took                         Date action       Amount
                                                                                                                               was taken
           ______________________________________
           Creditor’s Name


           ______________________________________                                                                             ____________ $________________
           Number     Street


           ______________________________________

           ______________________________________
           City                           State   ZIP Code       Last 4 digits of account number: XXXX–


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?
     
     ✔     No
          Yes

 Pa rt 5 :        List Ce rt a in Gift s a nd Cont ribut ions


 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

     
     ✔     No
          Yes. Fill in the details for each gift.


             Gifts with a total value of more than $600          Describe the gifts                                            Dates you gave        Value
             per person                                                                                                        the gifts



           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________

           ______________________________________
           Number     Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you    ______________


           Gifts with a total value of more than $600            Describe the gifts                                            Dates you gave      Value
           per person                                                                                                          the gifts


           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________


           ______________________________________
           Number     Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you ______________


Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 6
                          Case 19-15175-abl                      Doc 31          Entered 08/26/19 17:22:59                         Page 578 of 648

Debtor 1            EDWARD STEVEN BURDEKIN
                    _______________________________________________________                                                            19-15175
                                                                                                                Case number (if known)_____________________________________
                    First Name     Middle Name              Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     
     ✔     No
          Yes. Fill in the details for each gift or contribution.

             Gifts or contributions to charities                   Describe what you contributed                                         Date you            Value
             that total more than $600                                                                                                   contributed



           _____________________________________                                                                                         _________           $_____________
           Charity’s Name


           _____________________________________                                                                                         _________           $_____________


           _____________________________________
           Number       Street



           _____________________________________
           City            State    ZIP Code




 Pa rt 6 :          List Ce rt a in Losse s


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
     or gambling?

     ✔    No
          Yes. Fill in the details.

             Describe the property you lost and how                 Describe any insurance coverage for the loss                         Date of your loss   Value of property
             the loss occurred                                                                                                                               lost
                                                                    Include the amount that insurance has paid. List pending insurance
                                                                    claims on line 33 of Schedule A/B: Property.


                                                                                                                                         _________           $_____________




 Pa rt 7 :        List Ce rt a in Pa ym e nt s or T ra nsfe rs

 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
     consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

          No
     
     ✔     Yes. Fill in the details.

                                                                    Description and value of any property transferred                    Date payment or   Amount of payment
                                                                                                                                         transfer was made
             ___________________________________
             Wiggam & Geer, LLC
             Person Who Was Paid

             ___________________________________
             50 Hurt Plaza, SE, Suite 1245
             Number       Street                                                                                                         _________
                                                                                                                                         08/2019             $_____________
                                                                                                                                                               20,000.00

             ___________________________________
                                                                                                                                         _________           $_____________
                                                                                                                                                               20,000.00

             ___________________________________
             Atlanta             GA      30303
             City                       State    ZIP Code


              wiggamgeer.com
             ____________________________________________
             Email or website address

             ___________________________________
             Person Who Made the Payment, if Not You



Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                              page 7
                         Case 19-15175-abl                       Doc 31          Entered 08/26/19 17:22:59                     Page 579 of 648

Debtor 1           EDWARD STEVEN BURDEKIN
                   _______________________________________________________                                                           19-15175
                                                                                                              Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




                                                                    Description and value of any property transferred                Date payment or       Amount of
                                                                                                                                     transfer was made     payment

            Debtoredu.com
            ____________________________________
            Person Who Was Paid
                                                                                                                                     08/2019
                                                                                                                                     _________               14.95
                                                                                                                                                           $_____________
            ____________________________________
            Number       Street

                                                                                                                                     _________               14.95
                                                                                                                                                           $_____________
            ____________________________________

            ____________________________________
            City                        State    ZIP Code


            debtoredu.com
            ________________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You


 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

     
     ✔     No
          Yes. Fill in the details.

                                                                    Description and value of any property transferred                Date payment or   Amount of payment
                                                                                                                                     transfer was made
            ____________________________________
            Person Who Was Paid
                                                                                                                                     _________             $____________
            ____________________________________
            Number        Street

            ____________________________________                                                                                     _________             $____________

            ____________________________________
            City                        State    ZIP Code

 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
     
     ✔     No
          Yes. Fill in the details.

                                                                    Description and value of property         Describe any property or payments received      Date transfer
                                                                    transferred                               or debts paid in exchange                       was made
            ___________________________________
            Person Who Received Transfer

            ___________________________________                                                                                                               _________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code


            Person’s relationship to you _____________

            ___________________________________
            Person Who Received Transfer
                                                                                                                                                              _________
            ___________________________________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code

            Person’s relationship to you _____________

Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 8
                         Case 19-15175-abl                      Doc 31             Entered 08/26/19 17:22:59                  Page 580 of 648

Debtor 1           EDWARD STEVEN BURDEKIN
                   _______________________________________________________                                                          19-15175
                                                                                                             Case number (if known)_____________________________________
                   First Name     Middle Name              Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     
     ✔     No
          Yes. Fill in the details.

                                                                   Description and value of the property transferred                                       Date transfer
                                                                                                                                                           was made


                                                                                                                                                           _________
           Name of trust




 Pa rt 8 : List Ce rt a in Fina nc ia l Ac c ount s, I nst rum e nt s, Sa fe De posit Box e s, a nd St ora ge U nit s

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     
     ✔     No
          Yes. Fill in the details.

                                                                   Last 4 digits of account number      Type of account or       Date account was       Last balance before
                                                                                                        instrument               closed, sold, moved,   closing or transfer
                                                                                                                                 or transferred
            ____________________________________
            Name of Financial Institution
                                                                       XXXX–___ ___ ___ ___              Checking               _________              $___________
            ____________________________________
            Number       Street
                                                                                                         Savings
            ____________________________________                                                         Money market
            ____________________________________
                                                                                                         Brokerage
            City                       State    ZIP Code                                                 Other__________

            ____________________________________                       XXXX–___ ___ ___ ___              Checking               _________              $___________
            Name of Financial Institution
                                                                                                         Savings
            ____________________________________
            Number       Street                                                                          Money market
            ____________________________________                                                         Brokerage
            ____________________________________                                                         Other__________
            City                       State    ZIP Code


 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
     securities, cash, or other valuables?
     
     ✔  No
          Yes. Fill in the details.
                                                                       Who else had access to it?                  Describe the contents                       Do you still
                                                                                                                                                               have it?

                                                                                                                                                                  No
            ____________________________________                  _______________________________________
            Name of Financial Institution                         Name
                                                                                                                                                                  Yes

            ____________________________________                  _______________________________________
            Number       Street                                   Number      Street
            ____________________________________
                                                                  _______________________________________
                                                                  City          State      ZIP Code
            ____________________________________
            City                       State    ZIP Code



Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 9
                          Case 19-15175-abl                        Doc 31              Entered 08/26/19 17:22:59                         Page 581 of 648

Debtor 1            EDWARD STEVEN BURDEKIN
                    _______________________________________________________                                                                     19-15175
                                                                                                                         Case number (if known)_____________________________________
                    First Name      Middle Name               Last Name




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
    
    ✔      No
          Yes. Fill in the details.
                                                                     Who else has or had access to it?                        Describe the contents                       Do you still
                                                                                                                                                                          have it?


             ___________________________________                     _______________________________________                                                                No
             Name of Storage Facility                                Name                                                                                                   Yes
             ___________________________________                     _______________________________________
             Number       Street                                     Number    Street

             ___________________________________                     _______________________________________
                                                                     City State ZIP Code
             ___________________________________
             City                        State     ZIP Code



 Pa rt 9 :            I de nt ify Prope rt y Y ou H old or Cont rol for Som e one Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.
        No
     
     ✔     Yes. Fill in the details.
                                                                    Where is the property?                                    Describe the property                    Value
                                                                                                                             Money in Chase Bank Account
              Andrea Burdekin
             ___________________________________
             Owner’s Name                                                                                                                                               70,000.00
                                                                                                                                                                       $__________
              100 Lucy's Place                                     _________________________________________
             ___________________________________                   Number     Street
             Number        Street
                                                                   _________________________________________
             ___________________________________
              Fayetteville       GA     30215                      _________________________________________
             ___________________________________                   City                             State     ZIP Code
             City                        State     ZIP Code


 Pa rt 1 0 :          Give De t a ils About Environm e nt a l I nform a t ion

 For the purpose of Part 10, the following definitions apply:
  Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.

  Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
     it or used to own, operate, or utilize it, including disposal sites.

  Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?


     
     ✔     No
          Yes. Fill in the details.
                                                                     Governmental unit                            Environmental law, if you know it                   Date of notice



            ____________________________________                    _______________________________                                                                    _________
            Name of site                                            Governmental unit

            ____________________________________                    _______________________________
            Number       Street                                     Number    Street

                                                                    _______________________________
            ____________________________________                    City                   State   ZIP Code


            ____________________________________
            City                        State     ZIP Code



Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                               page 10
                         Case 19-15175-abl                       Doc 31               Entered 08/26/19 17:22:59                          Page 582 of 648

Debtor 1           EDWARD STEVEN BURDEKIN
                   _______________________________________________________                                                                     19-15175
                                                                                                                        Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     
     ✔     No
          Yes. Fill in the details.
                                                                   Governmental unit                               Environmental law, if you know it                     Date of notice


            ____________________________________                  _______________________________
            Name of site                                          Governmental unit
                                                                                                                                                                          _________

            ____________________________________                  _______________________________
            Number        Street                                  Number     Street


            ____________________________________                  _______________________________
                                                                  City                  State    ZIP Code
            ____________________________________
            City                        State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     
     ✔     No
          Yes. Fill in the details.
                                                                                                                                                                          Status of the
                                                                    Court or agency                                     Nature of the case
                                                                                                                                                                          case

           Case title
                                                                    ________________________________                                                                         Pending
                                                                    Court Name
                                                                                                                                                                             On appeal
                                                                    ________________________________
                                                                    Number     Street                                                                                        Concluded


           Case number                                              ________________________________
                                                                    City                        State   ZIP Code



 Pa rt 1 1 :         Give De t a ils About Y our Busine ss or Conne c t ions t o Any Busine ss

 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
               A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           
           ✔    A member of a limited liability company (LLC) or limited liability partnership (LLP)
               A partner in a partnership
           
           ✔    An officer, director, or managing executive of a corporation
               An owner of at least 5% of the voting or equity securities of a corporation

          No. None of the above applies. Go to Part 12.
     
     ✔     Yes. Check all that apply above and fill in the details below for each business.
                                                                    Describe the nature of the business                                Employer Identification number
            National Retail Source, LLC
            ____________________________________                                                                                       Do not include Social Security number or ITIN.
            Business Name                                          Retail Remodeling Services

            350 Stonewall Avenue W
            ____________________________________                                                                                       EIN: ___
                                                                                                                                             4 ___
                                                                                                                                                 6 – ___
                                                                                                                                                     3 ___
                                                                                                                                                         3 ___
                                                                                                                                                           0 ___
                                                                                                                                                               9 ___
                                                                                                                                                                  9 ___
                                                                                                                                                                     4 ___
                                                                                                                                                                        6
            Number        Street
                                                                                                                                       Dates business existed
            ____________________________________
                                                                    Name of accountant or bookkeeper
            Fayetteville        GA     30214                       Edward Burdkein                                                     From 07/13/2009
                                                                                                                                             _______                To 12/07/2016
                                                                                                                                                                       _______
            ____________________________________
            City                        State    ZIP Code

                                                                    Describe the nature of the business                                Employer Identification number
            National Merchandising of America, Inc.
            ____________________________________                                                                                       Do not include Social Security number or ITIN.
            Business Name                                          Holding Company

            350 Stonewall Avenue, W
            ____________________________________                                                                                       EIN: ___
                                                                                                                                             2 ___
                                                                                                                                                0 – ___
                                                                                                                                                    4 ___
                                                                                                                                                        8 ___
                                                                                                                                                          0 ___
                                                                                                                                                              7 ___
                                                                                                                                                                4 ___
                                                                                                                                                                    8 ___
                                                                                                                                                                       7
            Number        Street
                                                                                                                                       Dates business existed
            ____________________________________
                                                                    Name of accountant or bookkeeper
            Fayetteville         GA     30214                      Edward Burdekin                                                     From     _______
                                                                                                                                                04/16/2004              To Current
                                                                                                                                                                           _______
            ____________________________________
            City                        State    ZIP Code


Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                     page 11
                         Case 19-15175-abl                       Doc 31           Entered 08/26/19 17:22:59                   Page 583 of 648

Debtor 1           EDWARD    STEVEN BURDEKIN
                   _______________________________________________________                                                          19-15175
                                                                                                              Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




                                                                    Describe the nature of the business                     Employer Identification number
                                                                                                                            Do not include Social Security number or ITIN.
            ____________________________________
            National Store Retail Services, LLC                    Retail Remodeling Services
            Business Name
                                                                                                                            EIN: ___
                                                                                                                                  8 ___
                                                                                                                                     4 –1
                                                                                                                                        ___ ___
                                                                                                                                            4 ___
                                                                                                                                                1 ___
                                                                                                                                                  1 ___
                                                                                                                                                      3 ___
                                                                                                                                                        9 ___
                                                                                                                                                            4
            ____________________________________
            350 Stonewall Avenue W
            Number        Street
                                                                                                                            Dates business existed

            ____________________________________

                                                                    Name of accountant or bookkeeper
            Fayetteville        GA      30214
            ____________________________________                                                                            From 07/31/2018
                                                                                                                                  _______            To Current
                                                                                                                                                        _______
            City                        State    ZIP Code          Edward Burdekin




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

     
     ✔     No
          Yes. Fill in the details below.

                                                                    Date issued



            ____________________________________                    ____________
            Name                                                    MM / DD / YYYY


            ____________________________________
            Number        Street


            ____________________________________

            ____________________________________
            City                        State    ZIP Code




 Pa rt 1 2 :       Sign Be low


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.




           /s/ EDWARD STEVEN BURDEKIN
            ______________________________________________                        _____________________________
            Signature of Debtor 1                                                    Signature of Debtor 2


            Date ________________
                  08/25/2019                                                         Date _________________

      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

            No
      
      ✔      Yes


      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
      
      ✔     No
           Yes. Name of person_____________________________________________________________. Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                               Declaration, and Signature (Official Form 119).




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 12
                    Case 19-15175-abl         Doc 31      Entered 08/26/19 17:22:59                     Page 584 of 648
               EDWARD STEVEN BURDEKIN                                                                         19-15175
 Debtor 1                                                         _                  Case number (if known)
              First Name   Middle Name   Last Name



                                             Continuation Sheet for Official Form 107
16) Debt counseling

Person who was paid: Andersen Law Firm, Ltd., 101 Convention Center Drive, Las
Vegas, NV 89109

Email or Website Address: vegaslawfirm.legal

Person who made payment, if not you:

Description and Value:

Date payment or transfer was made: 08/2019

Amount of Payments: $10,000.00

-------------


27) Businesses

Business Name: National Merchandising Services, LLC

350 Stonewall Avenue W

Fayetteville, GA 30214

Describe the Nature of the business: Retail Store Remodels

EIN: XX-XXXXXXX

Dates business existed: From: 08/28/2012 To: Current

---




  Official Form 107                         Statement of Financial Affairs for Individuals
                         Case 19-15175-abl                 Doc 31       Entered 08/26/19 17:22:59                   Page 585 of 648
 Fill in this information to identify your case:

  Debtor 1           EDWARD STEVEN BURDEKIN
                    __________________________________________________________________
                      First Name             Middle Name                Last Name

  Debtor 2            _________________________________________________________________
  (Spouse, if filing) First Name             Middle Name                Last Name


                                          ______________________
  United States Bankruptcy Court for the: District of Nevada     District of __________
                                                                                    (State)
  Case number           19-15175
                      ___________________________________________
  (If known)
                                                                                                                       Check if this is an amended filing


Official Form 122B
Cha pt e r 1 1 St a t e m e nt of Y our Curre nt M ont hly I nc om e                                                                                 12/15

You must file this form if you are an individual and are filing for bankruptcy under Chapter 11. If more space is needed, attach a separate sheet
to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and case
number (if known).


 Pa rt 1 :         Ca lc ula t e Y our Curre nt M ont hly I nc om e

 1. What is your marital and filing status? Check one only.


          Not married. Fill out Column A, lines 2-11.
          Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

      ✔
           Married and your spouse is NOT filing with you. Fill out Column A, lines 2-11.

      Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy
      case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the
      amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result.
      Do not include any income amount more than once. For example, if both spouses own the same rental property, put the income from that
      property in one column only. If you have nothing to report for any line, write $0 in the space.

                                                                                                         Column A           Column B
                                                                                                         Debtor 1           Debtor 2



 2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
    payroll deductions).                                                                                  20,833.33
                                                                                                         $____________         0.00
                                                                                                                              $__________

 3. Alimony and maintenance payments. Do not include payments from a spouse if
    Column B is filled in.                                                                                0.00
                                                                                                         $____________         0.00
                                                                                                                              $__________
 4. All amounts from any source which are regularly paid for household expenses of
    you or your dependents, including child support. Include regular contributions from
    an unmarried partner, members of your household, your dependents, parents, and
    roommates. Include regular contributions from a spouse only if Column B is not filled in.             0.00                 0.00
                                                                                                         $____________        $__________
    Do not include payments you listed on line 3.

 5. Net income from operating a business, profession,
    or farm                                                           Debtor 1        Debtor 2
      Gross receipts (before all deductions)                            0.00
                                                                       $______          10,833.00
                                                                                       $______
      Ordinary and necessary operating expenses                     – $______
                                                                       0.00 – $______
                                                                               0.00

                                                                         0.00
                                                                       $______                 Copy
                                                                                        10,833.00
                                                                                       $______
      Net monthly income from a business, profession, or farm                                    here    0.00              10,833.00
                                                                                                         $_________        $__________
 6. Net income from rental and other real property                    Debtor 1        Debtor 2
      Gross receipts (before all deductions)                            0.00
                                                                       $______          0.00
                                                                                       $______
      Ordinary and necessary operating expenses                     – $______
                                                                       0.00 – $______
                                                                               0.00
                                                                                                 Copy                       0.00
      Net monthly income from rental or other real property             0.00
                                                                       $______          0.00 here
                                                                                       $______
                                                                                                          0.00
                                                                                                         $_________        $__________




 Official Form 122B                                 Chapter 11 Statement of Your Current Monthly Income                                         page 1
                          Case 19-15175-abl                               Doc 31              Entered 08/26/19 17:22:59                    Page 586 of 648

                      EDWARD STEVEN BURDEKIN                                                                                                  19-15175
Debtor 1            _______________________________________________________                                                Case number (if known)_____________________________________
                    First Name          Middle Name                  Last Name




                                                                                                                          Column A                 Column B
                                                                                                                          Debtor 1                 Debtor 2


                                                                                                                            0.00                      0.00
 7. Interest, dividends, and royalties                                                                                    $____________             $__________

                                                                                                                            0.00                      0.00
 8. Unemployment compensation                                                                                             $____________             $__________

      Do not enter the amount if you contend that the amount received was a benefit
      under the Social Security Act. Instead, list it here: ............................... 


           For you ........................................................................    $_________


           For your spouse...........................................................          $_________


 9. Pension or retirement income. Do not include any amount received that was a                                                                       0.00
                                                                                                                            0.00
    benefit under the Social Security Act.                                                                                 $____________            $__________


 10. Income from all other sources not listed above. Specify the source and amount.
     Do not include any benefits received under the Social Security Act or payments
     received as a victim of a war crime, a crime against humanity, or international or
     domestic terrorism.
      If necessary, list other sources on a separate page and put the total below.
                                                                                                                            0.00                      0.00
           ________________________________________                                                                        $____________            $__________

                                                                                                                            0.00                      0.00
           ________________________________________                                                                        $____________            $__________

                                                                                                                            0.00                      0.00
       Total amounts from separate pages, if any.                                                                        + $____________          + $__________

 11. Calculate your total current monthly income.
     Add lines 2 through 10 for each column.                                                                              20,833.33           +     10,833.00        =    31,666.33
     Then add the total for Column A to the total for Column B.                                                          $_______________         $____________          $___________

                                                                                                                                                                         Total current
                                                                                                                                                                         monthly income




  Pa rt 2 :         Sign Be low




     By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.



      /s/ EDWARD STEVEN BURDEKIN
            ______________________________________________                                     ______________________________________
           Signature of Debtor 1                                                                 Signature of Debtor 2

                  08/25/2019                                                                          08/25/2019
           Date _________________                                                                Date_________________
                MM / DD / YYYY                                                                        MM / DD / YYYY




Official Form 122B                                                    Chapter 11 Statement of Your Current Monthly Income                                                  page 2
              Case
     B2030 (Form   19-15175-abl
                 2030) (12/15)                        Doc 31         Entered 08/26/19 17:22:59                       Page 587 of 648


                                      United States Bankruptcy Court
                                                                   District of Nevada
                                                __________________________________
     In re   EDWARD STEVEN BURDEKIN

                                                                                                             Case No. _______________
                                                                                                                      19-15175



    Debtor                                                                                                    Chapter________________
                                                                                                                      11



                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

    1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the
       above named debtor(s) and that compensation paid to me within one year before the filing of the
       petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of
       the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

    FLAT FEE
          For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
          Prior to the filing of this statement I have received. . . . . . . . . . . . . . . . . . . . . . . . $______________
          Balance Due. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
✔    RETAINER
                                                                                                                         10,000.00
          For legal services, I have agreed to accept a retainer of . . . . . . . . . . . . . . . . . . . . $_____________
                                                                                                                         360.00
          The undersigned shall bill against the retainer at an hourly rate of . . . . . . . . . . . $______________
          [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court
          approved fees and expenses exceeding the amount of the retainer.

    2. The source of the compensation paid to me was:
                 Debtor                                 Other (specify)

    3. The source of compensation to be paid to me is:
                 Debtor                                 Other (specify)

    4.         I have not agreed to share the above-disclosed compensation with any other person unless they
         are members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who
    are not members or associates of my law firm. A copy of the Agreement, together with a list of the names
    of the people sharing the compensation is attached.
    5. In return of the above-disclosed fee, I have agreed to render legal service for all aspects of the
       bankruptcy case, including:
         a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining
            whether to file a petition in bankruptcy;
         b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be
            required;
         c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any
            adjourned hearings thereof;
          Case 19-15175-abl               Doc 31   Entered 08/26/19 17:22:59     Page 588 of 648
 B2030 (Form 2030) (12/15)
      d. [Other provisions as needed]
Remainder of fees subject to Court approval.




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
Case 19-15175-abl       Doc 31      Entered 08/26/19 17:22:59          Page 589 of 648




                                       CERTIFICATION
  I certify that the foregoing is a complete statement of any agreement or arrangement for
      payment to me for representation of the debtor(s) in this bankruptcy proceeding.

 _____________________
   08/26/2019
                                   _________________________________________
                                    /s/ Ryan Andersen, 12321

 Date                                    Signature of Attorney
                                   _________________________________________
                                    Andersen Law Firm, Ltd.

                                        ​Name of law firm
                                    101 Convention Center Drive
                                    Suite 600
                                    Las Vegas, NV 89109
                                    7025221992
                                    ryan@vegaslawfirm.legal
              Case
     B2030 (Form   19-15175-abl
                 2030) (12/15)                        Doc 31         Entered 08/26/19 17:22:59                       Page 590 of 648


                                      United States Bankruptcy Court
                                                                   District of Nevada
                                                __________________________________
     In re   EDWARD STEVEN BURDEKIN

                                                                                                             Case No. _______________
                                                                                                                      19-15175



    Debtor                                                                                                    Chapter________________
                                                                                                                      11



                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

    1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the
       above named debtor(s) and that compensation paid to me within one year before the filing of the
       petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of
       the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

    FLAT FEE
          For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
          Prior to the filing of this statement I have received. . . . . . . . . . . . . . . . . . . . . . . . $______________
          Balance Due. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
✔    RETAINER
                                                                                                              20,000.00
          For legal services, I have agreed to accept a retainer of . . . . . . . . . . . . . . . . . . . . $_____________
          The undersigned shall bill against the retainer at an hourly rate of . . . . . . . . . . . $______________
                                                                                                      400.00

          [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court
          approved fees and expenses exceeding the amount of the retainer.

    2. The source of the compensation paid to me was:
                 Debtor                                 Other (specify)

    3. The source of compensation to be paid to me is:
                 Debtor                                 Other (specify)

    4.         I have not agreed to share the above-disclosed compensation with any other person unless they
         are members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who
    are not members or associates of my law firm. A copy of the Agreement, together with a list of the names
    of the people sharing the compensation is attached.
    5. In return of the above-disclosed fee, I have agreed to render legal service for all aspects of the
       bankruptcy case, including:
         a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining
            whether to file a petition in bankruptcy;
         b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be
            required;
         c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any
            adjourned hearings thereof;
          Case 19-15175-abl               Doc 31   Entered 08/26/19 17:22:59     Page 591 of 648
 B2030 (Form 2030) (12/15)
      d. [Other provisions as needed]
Remainder of fees subject to Court approval.




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
Case 19-15175-abl       Doc 31      Entered 08/26/19 17:22:59          Page 592 of 648




                                       CERTIFICATION
  I certify that the foregoing is a complete statement of any agreement or arrangement for
      payment to me for representation of the debtor(s) in this bankruptcy proceeding.

 _____________________
   08/26/2019
                                   _________________________________________
                                     /s/ Will B. Geer, 940493

 Date                                    Signature of Attorney
                                   _________________________________________
                                     Wiggam & Geer, LLC

                                       ​Name of law firm
                                     50 Hurt Plaza, SE, Suite 1245
                                     Atlanta, Georgia 30303
     Case 19-15175-abl      Doc 31   Entered 08/26/19 17:22:59     Page 593 of 648


A JE PRINCE                                   ALDREANNA KNIGHT
1401 N HAIRSTON ROAD                          3 WESTGATE TERRACE
APT 18K                                       APT B
STONE MOUNTAIN, GA 30083                      RED SPRINGS, NC 28377

AARON POWELL                                  ALEJANDRA RICO
317 WEST CLEVELAND STREET                     20574 WHITE BARK DRIVE
BAYTOWN, TX 77520                             STRONGSVILLE, OH 44149

ABDEL CONTRERAS                               ALEJANDRO GARCIA
5450 PECOS STREET                             6922 DUSTY DAWN
ORLANDO, FL 32807                             HOUSTON, TX 77086

ABRAYA COCKERMAN                              ALEJANDRO MENDOZA
320 WALKER ROAD                               1906 SW 3RD STREET
ELKIN, NC 28621                               APT 205
                                              MIAMI, FL 33135
ADAM CASTANEDA
2003 NW 24TH STREET                           ALESHEIA PERRY
BOYNTON BEACH, FL 33436                       26032 ROYAL EMERALD LANE
                                              KINGWOOD, TX 77339
ADORA NICOLE BROWN
1515 PLEASANT GROVE RD.                       ALEX FIGUEROA
CHESTER, SC 29706                             2826 HERRING PLACE
                                              LITHIA SPRINGS, GA 30122
ADRIAN AGUILAR
1703 RAINY DRIVE                              ALEX MONAHAN
HOUSTON, TX 77088                             2003 NW 24TH STREET
                                              BOYNTON BEACH, FL 33436
ADRIAN TAYLOR
107 HEATHERBROOK DR                           ALEXANDER HATMAKER
LAGRANGE, GA 30240                            2116 REEDY BRANCH RD.
                                              EASTMAN, GA 31023
AHKEEM CHARLES
6 EVERGLADES STREET                           ALEXANDER WEBB
BELLE GLADE, FL 33430                         8500 S KARLOV
                                              CHICAGO, IL 60652
AICHA DIABY
1826 SHELTON ROAD                             ALEXANDRIA BRADWELL
JACKSONVILLE, FL 32211                        2205 ANTIOCH ROAD
                                              ALBANY, GA 31705
AIMEE KELLEY
139 EAST CHICKEN ROAD                         ALEXIS BURKS
CHESTER, GA 31012                             2700 WESTRIDGE
                                              APT 129
AIMEE SHIRLEY                                 HOUSTON, TX 77054
1631 E BROADWAY
CAMPBELLSVILLE, KY 42718                      ALEXIS GERMANY
                                              109 MILL RUN
AKAURYANA CARTER                              COMER, GA 30629
2109 HYDE PLACE
APT H                                         ALEXIS PURDIE
FAYETTEVILLE, NC 28306                        2109 HYDE PLACE
                                              APT H
ALBERT OSBORNE                                FAYETTEVILLE, NC 28306
4400 BROAD STREET
LOT 40                                        ALEXIS WYLIE
SUMTER, SC 29154                              199 CLEVELAND AVENUE
                                              MACON, GA 31204
ALBERTO MORENO
3508 MARKET STREET
HOUSTON, TX 77020
     Case 19-15175-abl       Doc 31   Entered 08/26/19 17:22:59       Page 594 of 648


ALEXIUS GREEN                                  ALVIS TRUITT
449 BUTLER ROAD                                24 KINSEY DRIVE
A10                                            STOCKBRIDGE, GA 30281
DOTHAN, AL 36305
                                               ALYSSA DIAL
ALEXUS GLOVER                                  412 DENALI COURT
4982 SADDLE CREEK CIRCLE                       ELLENWOOD, GA 30294
ELLENWOOD, GA 30294
                                               ALYSSA ROSSETTI
ALEXUS O'NEAL                                  745 DARWIN STREET
2692 EVANS MILL DRIVE                          COOKEVILLE, TN 38501
LITHONIA, GA 30058
                                               AMANDA CUSTER
ALFREDO CONDE                                  330 BLUE HERON DRIVE
118 TURNING POINT                              MONTICELLO, GA 31064
STOCKBRIDGE, GA 30281
                                               AMANDA JOHNS
ALICIA MILLIGAN                                400 TIDMORE BEND ROAD
1940 S CHELTON ROAD                            GADSDEN, AL 35901
APT C212
COLORADO SPRINGS, CO 80916                     AMANDA SANTON
                                               311 ORANGE ST.
ALISON COMBS                                   ARLINGTON, TX 76012
11665 FM 1008
DAYTON, TX 77535                               AMANDA WALES
                                               PO BOX 101
ALLEN GILCHRIST                                130 TIMBERLAKE ROAD
95 HANCOCK HEIGHT                              JEFFERSON, TX 75657
SPARTA, GA 31087
                                               AMBER DIXON
ALLEN KEITH DURHAM                             3500 MEYERS LANE
228 JULIA LANE ROAD                            WACO, TX 76705
PIEIDMONT, AL 36272
                                               AMBER FONSECA
ALLEN LOVETT                                   1300 WEST MARTIN ROAD
414 LESTER ROBINSON STREET                     SAN ANTONIO, TX 78217
MT VERNON, GA 30445
                                               AMBER HANNAH
ALLEN SHEPPARD                                 3776 A COUNTY ROAD 83
2612 PROVIDENCE COURT                          PISGAH, AL 35765
AUGUSTA, GA 30904
                                               AMBER HEARD
ALPHONSO RIKARD                                23 CROCKET CREEK
6972 PINE SHADOW WAY                           PIEDMONT, SC 29673
WINSTON, GA 30187
                                               AMBER MCCANN
ALQUINON MARTIN                                4207 CONFEDERATE POINT RD
451 TURPIN AVENUE                              APT 1
ANNISTON, AL 36201                             JACKSONVILLE, FL 32210

ALTON HARRISON                                 AMBER RICE
1904 WINDSOR AVENUE                            2993 SPARTA HWY
WACO, TX 76708                                 SMITHVILLE, TN 37166

ALVIN TIMS                                     AMBER WILLIFORD
519 GREAT OAKS CIRCLE                          1721 HIGHLAND STREET
HENDERSON, TN 38305                            KINGSPORT, TN 37664

ALVIN WOODY                                    AMBERLY SMITH
2132 HELEN STREET                              6235 HUMPHRIES HILL ROAD
HARTSVILLE, SC 29550                           AUSTELL, GA 30106
     Case 19-15175-abl   Doc 31   Entered 08/26/19 17:22:59      Page 595 of 648


AMOS BARNETT                               ANDREY STROZIER
2107 MARSHALL STREET                       3706 CROSBY DRIVE
GADSDEN, AL 35904                          ATLANTA, GA 30331

AMY WATTS                                  ANGEL PERRYMAN
97 COBB ROAD                               2766 OAKLAND TERRACE
PIEDMONT, AL 36272                         DECATUR, GA 30032

ANDRAE KELLEY                              ANGELA CARTER
125 NORTHWOOD DR.                          1300 CORINNE STREET
APT #340                                   APT 6
ATLANTA, GA 30342                          HATTIESBURG, MS 39401

ANDRE MCCOY                                ANGELA CORTO
850 FAIRBURN ROAD NW                       142 BALIEY DRIVE
ATLANTA, GA 30331                          JACKSONVILLE, NC 28540

ANDRE SCURRY                               ANGELA DAY
203 RIDGEWAY DRIVE                         8217 E HWY 163
SHELBY, NC 28152                           WEST JEFFERSON, NC 28694

ANDREA CENAC                               ANGELA FOSHEE
204 ANGELLE DRIVE                          670 CR 315 SOUTH
HOUMA, LA 70360                            INTERLACHEN, FL 32148

ANDREA DELACRUZ                            ANGELA HOLMES
3633 TRINIDAD STREET                       2387 HWY. 36 E.
EVANS, CO 80620                            JACKSON, GA 30233

ANDREA HOLLEY                              ANGELA LEWIS
101 TRUITT STREET                          412 LOVETT STREET
LAGRANGE, GA 30240                         SANDERSVILLE, GA 31082

ANDREA JOHNSON                             ANGELA MILLER
1115 N 13TH STREET                         42 HAUER DRIVE
WACO, TX 76707                             JONESBORO, GA 30238

ANDREA JORDAN                              ANGELA VARNER
1252 BAY AVENUE                            42 HAUER DRIVE
MOBILE, AL 36605                           JONESBORO, GA 30238

ANDREA ORTEGA                              ANGELIA TAULBERT
14300 SW 121ST PLACE                       1204 SCHAUB DRIVE
MIAMI, FL 33186                            UNIT D
                                           RALEIGH, NC 27606
ANDREW CASTILLO
802 BOOTH STREET                           ANGELIQUA PALMER
HOUSTON, TX 77009                          128 LOCKWOOD STREET SW
                                           MILLEDGEVILLE, GA 31061
ANDREW MORRISON
3817 N QUAIL DRIVE                         ANITRA WARD
DOUGLASVILLE, GA 30135                     2700 WESTRIDGE
                                           APT 129
ANDREW PHILLIPS                            HOUSTON, TX 77054
160 CROWDER STREET
BARNESVILLE, GA 30204                      ANITRA WILSON
                                           809 PINE STREET
ANDREW TERRY                               DONALDSONVILLE, LA 70346
309 ALCO DRIVE
APT 3                                      ANN OLSEN
BREWTON, AL 36426                          2022 KIRKHAM WAY
                                           TAYLORSVILLE, UT 84123
     Case 19-15175-abl     Doc 31   Entered 08/26/19 17:22:59       Page 596 of 648


ANNA HOLLIDAY ROWELL                         ANTHONY SMITH
2310 ROCKY HOLLOW ROAD                       4124 PINNACLE WAY
JACKSONVILLE, AL 36265                       AUGUSTA, GA 30906

ANNE FREDRICKSON                             ANTHONY WALKER
18651 N. 43RD PLACE                          6215 COUSIN DRIVE
PHOENIX, AZ 85050                            MEBANE, NC 27302

ANNIE MENDEZ                                 ANTIARD HAYES
1461 WESLEY DRIVE                            1766 CAHOON STREET
GRIFFIN, GA 30224                            ATLANTA, GA 30310

ANSEL COLE                                   ANTOINE GAUTHIER
4417 POMPANO DRIVE                           211 WEST 4TH STREET
TAMPA, FL 33617                              DONALDSONVILLE, LA 70346

ANTHONY BENNETT                              ANTOINE WADE
8849 WOODLAND AVENUE                         335 ROGERS ST.
KANSAS CITY, MO 64131                        MCDONOUGH, GA 30135

ANTHONY BROWN                                ANTONEY MINISH
319 ROGERS AVENUE                            61 HORIZON PLACE
MACON, GA 31204                              RAINBOW CITY, AL 35906

ANTHONY CONTRERAS                            ANTONIO BROWN
2300 S PARK AVENUE                           1444 N TONTI STREET
WACO, TX 76706                               NEW ORLEANS, LA 70119

ANTHONY CULLUM                               ANTONIO DODD
5400 MEMORIAL DRIVE                          761 WELLINGTON ROAD
2E                                           WELLINGTON, AL 36279
STONE MOUNTAIN, GA 30083
                                             ANTONIO EASLEY
ANTHONY FITZSIMMONS                          3046 HILLCREST AVENUE
1001 BOARDWALK COVE                          MACON, GA 31204
JACKSON, TN 38301
                                             ANTONIO HALL
ANTHONY FLORES                               146 PLUM NELLY CIRCLE
4100 SQUARE DANCE                            BAINBRIDGE, GA 39817
EL PASO, TX 79938
                                             ANTONIO LAW
ANTHONY HEARST                               5834 COLONNADE DRIVE
722 LINCOLN CIRCLE                           REX, GA 30273
WASHINGTON, GA 30673
                                             ANTONIO MURDOCK
ANTHONY HILL                                 1410 DISTINCT CIRCLE
1831 MEADOW LANE                             APT D
DECATUR, GA 30032                            FAYETTEVILLE, NC 28314

ANTHONY L. WALSH                             ANTONIO RICE
4285 HWY 81 WEST                             404 SNIDER STREET
LOT 1                                        HIGH POINT, NC 27268
HAMPTON, GA 30228
                                             ANTONIO SARRATT
ANTHONY LEVINS                               214 MILL STREET
5763 LEXINGTON DRIVE                         GAFFNEY, SC 29341
COLUMBUS, GA 31907
                                             ANTWAN EVANS
ANTHONY O'BRIEN                              11 CHURCH CIRCLE
PO BOX 144                                   MCDONOUGH, GA 30253
LEIVASY, WV 26676
      Case 19-15175-abl    Doc 31   Entered 08/26/19 17:22:59       Page 597 of 648


ANTWAN SOUDER                                ASHLEY SMITH
1400 DONNELLY AVENUE SW                      8380 HIGHWAY 54
C-12                                         SHARPSBURG, GA 30277
ATLANTA, GA 30310
                                             ASHLEY VITCH
ANTWYNE WARREN                               1573 ATHENS HWY
3204 WEST MAIN                               ELBERTON, GA 30635
BELLEVILLE, IL 62220
                                             ASHLYNN CARMICHAEL
ANZRIELL SMITH                               4475 HARDWOOD ST.
210 E MAIN STREET                            LADSON, SC 29456
ROME, GA 30161
                                             ASHUNQUEATE CORNELL
APRIL BATES                                  381 BASS STREET SW
3445 ARBROATH DRIVE                          ATLANTA, GA 30310
DOUGLASVILLE, GA 30135
                                             ASIANA JOHNSON
ARIANNA HERNANDEZ                            215 JACOBS COURT
200 N 35TH AVENUE                            LOGANVILLE, GA 30052
GREELEY, CO 80634
                                             ATASHIA FAIR
ARIELLE GREEN                                7000 GOODSON ROAD
906 CUMBERLAND CIRCLE                        UNIT 141
MINNEOLA, FL 34715                           UNION CITY, GA 30291

ARNETRA LAMAR                                AUBREY DAVIS
3410 WILMINGTON DRIVE                        34B SOMERSET DRIVE
MACON, GA 31204                              SUMTER, SC 29150

ARTAVIOUS MCKINNEY                           AUDREY POINDEXTER
724 SW 69TH STREET                           721 NATCHEZ RAILROAD AVENUE
GAINESVILLE, FL 32607                        JACKSON, MS 39203

ARTHUR BICKSLER                              AUNDRE DENDY
136 SERENITY HILLS DRIVE                     4224 OGBURN AVENUE
CORNELIA, GA 30548                           WINSTON SALEM, NC 27105

ARTHUR JORDAN                                AUSTIN NELSON
3643 W CHANTREY STREET                       6081 TIDMORE BEND RD.
MEMPHIS, TN 38128                            GADSDEN, AL 35901

ARTHUR MATHIS                                AVERY SMITH
681 MT ZION ROAD                             6 MALLORY DRIVE
APT E4                                       B
JONESBORO, GA 30236                          ADAIRSVILLE, GA 30103

ASHELY GRAY                                  AZELL HARSHAW
2280 ORLEANS AVE.                            171 HICKMAN AVENUE
MARIETTA, GA 30062                           APT 5
                                             HUDSON, NC 28638
ASHLEY ATWATER
4900 DELANE ROAD                             AZURE RAMIREZ
APT 3A                                       1518 CANTRELL STREET
ATLANTA, GA 30349                            WACO, TX 76704

ASHLEY BRENES                                BAKIMO SURALL
4790 NW 196TH TERRACE                        7197 RAINTREE LOOP
MIAMI GARDEN, FL 33055                       JONESBORO, GA 30236

ASHLEY CLARK                                 BANK OF THE OZARKS
109 TRLR15 EMBERT LANE                       17901 CHENAL PARKWAY
SHELBY, NC 28152                             LITTLE ROCK, AR 72223
      Case 19-15175-abl       Doc 31   Entered 08/26/19 17:22:59       Page 598 of 648


BARBARA HUNDRIESER                              BOBBY GREEN
101 E VILLA CAPRI CIRCLE                        4135 W BELLFORT
APT C                                           APT 40
DELAND, FL 32724                                HOUSTON, TX 77025

BARBARA JEAN LISIECKI                           BONNIE DEHN
190 CAROLINA CROSSIN BLVD                       106 B PETE JONES DRIVE
LITTLE RIVER, SC 29566                          RICHLAND, NC 28574

BARBARA OSBORNE                                 BRADFORD BURKHOLDER
435 TAMPA GOLD ROAD                             3301 MONROE STREET NE
WEDGEFIELD, SC 29168                            UNIT H89
                                                ALBUQUERQUE, NM 87110
BARBARA SAAS
1320 FAIRVIEW ROAD                              BRADI MOSE
STOCKBRIDGE, GA 30281                           601 WAVERLY LANE
                                                GRAND JUNCTION, CO 81504
BARBARA SMITH
2511 TERRI LANE                                 BRANDEN SCRUGGS
COCOA, FL 32926                                 9414 WEST RIVER ROAD
                                                PALMYRA, VA 22963
BARBARA WILEY
130 HUNTERS RIDGE                               BRANDON BARKLEY
DANVILLE, VA 24540                              76 ROGER STREET SE
                                                ATLANTA, GA 30317
BARBII STRONG
6081 TIDMORE BEND ROAD                          BRANDON BIGELOW
GADSDEN, AL 35901                               113 NORRIS BRANCH LN
                                                THOMASTON, GA 30286
BENJAMIN GRIFFIN
488 MCKENZIE ROAD                               BRANDON BRADWELL
MILNER, GA 30257                                140 PERIDOT PLACE
                                                COLLEGE PARK, GA 30349
BENJAMIN LEIGHTON GELLESPIE
1379 GRAVELY ROAD                               BRANDON CARMICHAEL
PICKENS, SC 29671                               1682 HEARTHSTONE COURT
                                                JONESBORO, GA 30236
BERNARD BROWN
5449 JAMES MADISON HWY                          BRANDON GRAY
APT 3                                           3197 PENNINGTON CIRCLE
FORK UNION, VA 23038                            ATLANTA, GA 30354

BERNARD DAVIS                                   BRANDON GREGG
2352 POLAR ROCK AVE                             1194 N LAFAYETTE DRIVE
ATLANTA, GA 30315                               APT 9
                                                SUMTER, SC 29150
BERNICE MANUEL
PO BOX 223                                      BRANDON HENLEY
CASCADE, VA 24069                               125 EAST HALL STREET
                                                AUGUSTA, GA 30901
BESSIE BAHAM
28950 HOYT LANE                                 BRANDON JONES
HOLDEN, LA 70744                                2305 BURROUGHS AVENUE
                                                ATLANTA, GA 30315
BIANCA RUIZ
538 LINCOLN AVENUE                              BRANDON LEE
CALUMET CITY, IL 60409                          3016 VIRGINIA AVENUE
                                                WAYCROSS, GA 31503
BILLIE AYALA
3000 ST JOHNS AVENUE
PALATKA, FL 32177
      Case 19-15175-abl     Doc 31   Entered 08/26/19 17:22:59      Page 599 of 648


BRANDON LONG                                  BRIAN OVERTON
480 BROWNLEE ROAD                             208 WALNUT STREET
APT 33                                        ELIZABETH CITY, NC 27909
JACKSON, GA 30233
                                              BRIAN RUFFIN
BRANDON RAY                                   2343 BASSWOOD DRIVE
3700 ETHEL AVENUE                             AUGUSTA, GU 30906
WACO, TX 76707
                                              BRIANA COBB
BRANDON SETH GRAY                             PO BOX 272
1461 WESLEY DRIVE                             AILEY, GA 30410
GRIFFIN, GA 30224
                                              BRIANA NORWOOD
BRANDON STRICKLAND                            3643 JACKSON STREET
3016 VIRGINIA AVENUE                          LANSING, IL 60438
WAYCROSS, GA 31503
                                              BRIER CREPS
BRANDON WELLS                                 112 WILLIAMS ROAD
1935 PERRY STREET                             JACKSONVILLE, NC 28540
JACKSONVILLE, FL 32206
                                              BRIONNA MOUZAN
BRANDY FRITSCH                                2105 KEITHSHIER COURT SE
203 RIDGEWAY DRIVE                            CONYERS, GA 30013
SHELBY, NC 28152
                                              BRITNEY GRAY
BRANDY NEVELS                                 41074 S. RANGE RD.
5340 WINSLOW XING NORTH                       LOT 32
LITHONIA, GA 30038                            PONCHATOULA, LA 70454

BRAYLON STINSON                               BRITTANEY HAIN
4920 BROADLEAF COURT                          6714 US HWY 80 EAST
DALLAS, NC 28034                              LOT 815
                                              MARSHALL, TX 75672
BREONA LEWIS
134 CAROLINA ROAD                             BRITTANY BREWINGTON
MOUNT AIRY, NC 27030                          3255 EMMAUS CHURCH ROAD
                                              MOUNT OLIVE, NC 28365
BRIAN HAWKINS
8 TREE VIEW DRIVE                             BRITTANY HICKS
LITHONIA, GA 30038                            128 RAILWAY DRIVE
                                              PELHAM, NC 27311
BRIAN HENDERSON
2591 ETHERIDGE DRIVE                          BRITTANY PARNELL
APT. A112                                     511 COX STREET
ATLANTA, GA 30318                             CAMPBELLVILLE, KY 42718

BRIAN HINES                                   BRITTNEY COOK
127 FLOWER CIRCLE                             480 BROWNLEE ROAD
COLDWATER, MS 38618                           APT 33
                                              JACKSON, GA 30233
BRIAN JONES
550 HIGH STREET                               BRITTNEY DOWDY
HUNTINGDON, TN 38344                          104 CLAYTOR ROAD
                                              BROOKNEAL, VA 24528
BRIAN LEWIS
6261 LONDON DRIVE                             BRODERICK HAWKINS
NEW ORLEANS, LA 70122                         8 TREE VIEW DIRVE
                                              LITHONIA, GA 30038
BRIAN NJOROGE
616 WALDING LANDING DRIVE                     BRODERICK JACKSON
HAMPTON, GA 30228                             1668 DELANO DRIVE
                                              DECATUR, GA 30032
      Case 19-15175-abl   Doc 31   Entered 08/26/19 17:22:59      Page 600 of 648


BRYAN LAFLAMME                              CALLIE SMITH
106 MULBERRY DR.                            5250 SPENCER HALE ROAD
SUMMERVILLE, SC 29486                       MORRISTOWN, NC 37813

BRYANT DENNIS                               CALVIN BASHIR
9087 HUNTWOOD LANE                          3932 MCGILL COURT
RIVERDALE, GA 30274                         DECATUR, GA 30034

BRYANT MONCHAUD                             CALVIN JACKSON
1225 TRUXTON STREET                         1751 W NETTLETON AVNEU
APT 2                                       APT 202E
GRETNA, LA 70053                            JONESBORO, AR 72401

BRYANT PORTEE                               CAMARON HIGGS
90 SPENCER LANE                             9870 OLD SAVANNAH ROAD
REMBERT, SC 29128                           SANDERSVILLE, GA 31082

BRYCE KOTNICK                               CAMINA A. TAYLOR
4597 TARGHEE PLACE                          1619 NORTH 5TH AVENUE
CHUBBUCK, ID 83202                          APT. C
                                            LEAVENWORTH, KS 66048
BRYNDIS HENDERSON
497 BOULEVARD PLACE NE                      CANDACE IRVIN
APT 203                                     846 E CONFEDERATE AVENUE SE
ATLANTA, GA 30308                           ATLANTA, GA 30316

BRYON CARTER                                CAPITAL ONE
3150 BRIARCLIFF ROAD NE                     PO BOX 71803
APT J                                       CHARLOTTE, NC 28272
ATLANTA, GA 30329
                                            CARETHA BUNN
BUFFEY REED                                 13226 SOUJOURNER COURT
2387 HWY 36 E                               APT 14
JACKSON, GA 30233                           NEWPORT NEWS, VA 23602

BYRON HAWKINS                               CARL KOCHES
2510 BIRCHFIELD ST NW                       787 SWANSON AVE.
HUNTSVILLE, AL 35810                        CHARLESTON, SC 29412

C/O MATT WHALEY                             CARL VOGEL
9555 COUNTY RD. 134                         405 PETTYJOHN ROAD
VALLEY HEAD , AL 35989                      KINGSPORT, TN 37664

CAILEE JANUSS                               CARLOS MCKIE
4651 GUNDERSON ROAD                         1839 B WRIGHTSBORO ROAD
WATERFORD, WI 53185                         AUGUSTA, GA 30904

CALEB HARSHAW                               CARLOS SANCHEZ
3394 LAWS STREET                            3875 SAN PABLO ROAD S
LENOIR, NC 28645                            APT 408
                                            JACKSONVILLE, FL 32224
CALEB NELSON
3431 WEST MEIGHAN BLVD                      CAROLINA AMADOR
GADSDEN, AL 35904                           2130 FRANKLIN AVENUE
                                            NEW ORLEANS, LA 70117
CALEB WYNNE
309 SUNSET DRIVE                            CAROLYN DAVIS
MARSHALL, TX 75672                          UNKNOWN
                                            UNKNOWN, NC UNKNOWN
CALISTRO LOPEZ
8902 N. 19TH AVE.
PHOENIX, AZ 85021
      Case 19-15175-abl    Doc 31   Entered 08/26/19 17:22:59      Page 601 of 648


CARRIE ADAMS                                 CHAMARO STEELE
107 FOREST MORRISON ROAD                     2720 N PRIEUR STREET
LAWNDALE, NC 28090                           NEW ORLEANS, LA 70119

CARTIOUS WRIGHT                              CHANCE TURNER
40 CANDLER ROAD                              7245 BUCK CREEK DRIVE
ATLANTA, GA 30317                            FAIRBURN, GA 30213

CASE HESS                                    CHANDRA PHILPOLT
1022 FRIENDLY ROAD                           120 RIVERKNOLL COURT
TRL 4                                        FAYETTEVILLE, GA 30214
EDEN, NC 27288
                                             CHANTAVIA COLLINS
CASEY HERRING                                5777 FORREST ROAD
106 W MAIN STREET                            COLUMBUA, GA 31907
LEXINGTON, GA 30648
                                             CHANTEZ JACKSON
CASEY ROACH                                  99 PARK AVENUE
107 PICKENS DRIVE                            ATLANTA, GA 30315
APT 39
PICKENS, SC 29671                            CHARISE VINES
                                             1920 PEACH ORCHARD ROAD
CASS SMITH                                   LOT 2
2308 OLD COMPTON ROAD                        SUMTER, SC 29154
APT A2
HARVEY, LA 70058                             CHARITY FAULKNER
                                             109 N. ROCHESTER STREET
CATARIOUS RICKS                              BURLINGTON, WI 53105
108 MLK DRIVE
VALLEY CITY, AL 36854                        CHARLES ARNOLD
                                             1714 ATHERTON DRIVE
CATHY HARVEY                                 DECATUR, GA 30035
311 ORANGE STREET
ARLINGTON, TX 76012                          CHARLES BARNES
                                             1291 JUNIPER DRIVE
CATHY MCALISTER                              C
1379 GRAVELY ROAD                            GILROY, CA 95020
PICKENS, SC 29671
                                             CHARLES CARTER
CECILIA PAYNE                                145 WILSON ROAD
530 CRISP STREET                             STOCKBRIDGE, GA 30281
MACON, GA 31206
                                             CHARLES GODFREY
CEDRICK GIBSON                               5 GENESIS PLACE
11823 PARKER LAKES DRIVE                     LOS LUNAS, NM 87031
JACKSONVILLE, FL 32221
                                             CHARLES MCCARTY
CELIA JULIAN                                 2102 TREE CREST PKWY
207 MENDEL AVENUE                            DECATUR, GA 30035
SAVANNAH, GA 31406
                                             CHARLES MICHAEL HOUSTON
CHAD MINCHER                                 128 MALTBA RD
2070 CARTER DRIVE                            NEWLAND, NC 28657
MADISONVILLE, KY 42431
                                             CHARLES SOUKUP
CHADWICK HOLT                                20214 MISTY PINES DRIVE
3400 SHADY HILL DRIVE                        HUMBLE, TX 77346
APT B78
BAYTOWN, TX 77521                            CHARLES VARNER
                                             42 HAVERD DRIVE
                                             JONESBORO, GA 30238
     Case 19-15175-abl      Doc 31   Entered 08/26/19 17:22:59      Page 602 of 648


CHARLES WHITE                                 CHRIS GAREGNANI
1110 12TH AVENUE                              2235 HWY 247
AUGUSTA, GA 30901                             BELTON, SC 29627

CHARLIE SMITH                                 CHRIS HOMELES
622 HWY 49 SOUTH                              800 SUNSET AVENUE
AMERICUS, GA 31719                            ATLANTA, GA 30308

CHARMAN WILLIAMS                              CHRIS RICH
PO BOX 44                                     2531 SHORTER AVENUE
HADDICK, GA 31033                             LOT 53
                                              ROME, GA 30165
CHASE NEWSOME
5033 KY ROUTE 680                             CHRIS STRONG
GRETHEL, KY 41631                             6081 TIDMORE BEND ROAD
                                              GADSDEN, AL 35901
CHASE ROGERS
21571 DUNN                                    CHRIS VASSER
NEW CANEY, TX 77357                           2531 SHORTER AVENUE
                                              ROME, GA 30165
CHASITY HOLT
2327 EAST FAYLEST                             CHRIS WATFORD
BAYTOWN, TX 77521                             329 BEAUVILLE DRIVE
                                              DOTHAN, AL 36303
CHAVORIS NORMAN
114 DAVIS DRIVE                               CHRISITAN MEJIA
MILLEDGEVILLE, GA 31061                       2242 NW 4TH STREET
                                              MIAMI, FL 33125
CHELSEY CARTER
4818 RYAN ROAD                                CHRISTA WORTHEN
ACKWORTH, GA 30102                            238 STUART AVENUE
                                              CHUBBUCK, ID 83202
CHERYL STIVERS
3850 FLAT CREEK ROAD                          CHRISTAL DANIELS
FRANKFORT, KY 40601                           521 ERIE STREET
                                              JACKSON, MS 39203
CHESTER THIRKIELD
2125 JOSEPH E. BOONE BLVD. NW                 CHRISTI LEE WITT
APT. 13D                                      PO BOX 403
ATLANTA, GA 30314                             DIANA, TX 75640

CHICORA EVERETT                               CHRISTIAN GAGE JACKSON
175 GRAY TOWN ROAD                            139 EAST CHICKEN ROAD
JACKSONVILLE, NC 28540                        CHESTER, GA 31012

CHRIS ALLAN MCCUBBIN                          CHRISTIAN GRAY
311 ORANGE ST.                                1461 WESLEY DRIVE
ARLINGTON, TX 76012                           GRIFFIN, GA 30224

CHRIS BENSON                                  CHRISTINA CRISP
210 EDGERTON DRIVE                            413 HUMMINGBIRD LANE
KANSAS CITY, KS 66101                         POTEET, TX 78065

CHRIS BRAMMER                                 CHRISTINA ISAIS
6125 KINGSPORT HWY 10                         146 RANCHO MANOR COURT
JOHNSON CITY, TN 37615                        SAN JOSE, CA 95111

CHRIS COAST                                   CHRISTINE CALDWELL
755 HENNEPIN TERRACE                          9964 LEGACY DRIVE
MCDONOUGH, GA 30253                           FORT WORTH, TX 76108
     Case 19-15175-abl     Doc 31   Entered 08/26/19 17:22:59        Page 603 of 648


CHRISTINE WHEELER                            CIENTE DAY
311 ORANGE STREET                            335 NORTH 2ND STREET
ARLINGTON, TX 76012                          DEPO, IL 62239

CHRISTON ANTHONY                             CINARD FLOYD
3619 SAN SEBASTIANDRIVE                      6479 EAST MEYER DRIVE
HEPHZIBAH, GA 30815                          MORROW, GA 30260

CHRISTOPHER BAKER                            CINDY ROBBINS
8656 S. KEELER AVE.                          3632 MILL LAKE DRIVE
APT. 2                                       DOUGLASVILLE, GA 30135
CHICAGO, IL 60652
                                             CITIBANK, N.A.
CHRISTOPHER CARPENTER                        P.O. BOX 6191
376 NAVAHO RD.                               SIOUX FALLS, SD 57117
LOCUST GROVE, GA 30248
                                             CLARANDA GREEN
CHRISTOPHER GEORGE                           260 PEBBLE RIDGE DRIVE
6638 ETTERLEE DRIVE                          COVINGTON, GA 30014
STONE MOUNTAIN, GA 30087
                                             CLAUDIA ESPINOSA
CHRISTOPHER KARRICK                          5077 NW 7TH STREET
2408 ECHO VALLEY ROAD                        MIAMI, FL 33126
LILY, KY 40740
                                             CLIFTON MCFADDEN III
CHRISTOPHER LAMAR PENNYMAN                   110 FIELDCREST DRIVE
222 W. MOORES CROSSING RD.                   JACKSONVILLE, NC 28546
THOMASTON, GA 30286
                                             CLYDE MACK
CHRISTOPHER LOVETT                           774 COPLEY COURT
1992 LOVEJOY ROAD                            STONE MOUNTAIN, GA 30088
HAMPTON, GA 30228
                                             CODY MOODY
CHRISTOPHER MAGALLANES                       109 HIBISCUS DRIVE
8725 W SHERIDAN STREET                       INTERLACHEN, FL 32148
PHOENIX, AZ 85037
                                             CODY SMITH
CHRISTOPHER MARTINEZ                         7761 US HIGHWAY 158 WEST
8430 ANTOINE DRIVE                           REIDSVILLE, NC 27320
APT 174
HOUSTON, TX 77088                            CONSTANCE LEE
                                             809 CARSWELL TERRACE
CHRISTOPHER MCCLATTIE                        ARLINGTON, TX 76010
1807 ARCH DRIVE
AUGUSTA, GA 30904                            COREY GADDY
                                             232 KESWICK AVENUE
CHRISTOPHER ROUSE                            CHARLOTTE, NC 28206
517 GREENRIDGE ROAD
SNOW HILL, NC 28580                          COREY GAINES
                                             640 HOOTER ROAD
CHRISTOPHER SIMS                             BRIDGE CITY, LA 70094
616 KINLEY LANE
STOCKBRIDGE, GA 30281                        COREY MCCARSON
                                             6371 HIGHWAY 252
CHRISTOPHER THOMAS                           DONALDS, SC 29638
908 COLEMAN STREET
ATLANTA, GA 30310                            COREY SIMMONS
                                             757 HWY 24 E
CHRISTOPHER THOMPKINS                        MILLEDGEVILLE, GA 31061
8337 BEECHWOOD COURT
RIVERDALE, GA 30274
     Case 19-15175-abl      Doc 31   Entered 08/26/19 17:22:59      Page 604 of 648


COREY STEPP                                   CRAIG JOINER
1515 HOGANSVILLE ROAD                         PO BOX 291
APT 150                                       ROCK HALL, MD 21661
LAGRANGE, GA 30241
                                              CRISTY LUSK
COREY TURNER                                  144 BOYCE STREET
1518 OLD HERITAGE DRIVE                       ANDERSON, SC 29625
ORLANDO, FL 32839
                                              CRYSTAL DRENNAN
COREY WALKER                                  2701 LYNNWOOD DRIVE
206 S LAFAYETTE STREET                        ARLINGTON, TX 76013
APT B
MARSHALL, TX 75670                            CRYSTAL JACOBS
                                              418 A BLUEBERRY STREET
COREY WILLIAMS                                MOUNT VERNON, GA 30445
5530 OLD DIXIE HWY
APT R5                                        CRYSTAL RICKETT
FOREST PARK, GA 30297                         1522 EAST POWELL AVENUE
                                              FT WORTH, TX 76104
CORNELIA DUNBAR
2910 BLAN STREET                              CRYSTAL WILLIAMS
COLUMBUS, GA 31903                            504 STEPHENS STREET SW
                                              ATLANTA, GA 30310
CORNELL HARRELL
2200 GODBY ROAD                               CUBIT SPAULDING
G6                                            767 E 216 ST.
COLLEGE PARK, GA 30349                        APT 2
                                              BRONX, NY 10467
CORNICKLOUS BANKS
36 E PATRICIA DRIVE                           CURTIS ASKEW
SUMTER, SC 29150                              206 RAVENWOOD WAY
                                              WARNER ROBBINS, GA 31093
CORTNEY ASBERRY
819 HUMPHRIES STREET                          CURTIS COPELAND
ATLANTA, GA 30310                             115 GREENHILL DRIVE
                                              CAMPBELLSVILLE, KY 42718
COURTNEY FRANKS
131 DODD BLVD                                 CURTIS HICKS
APT E1                                        128 RAILWAY DRIVE
ROME, GA 30161                                PELHAM, NC 27311

COURTNEY LAMB                                 D'ANDRE HOLLIS
1554 PONDER TRAMMELL ROAD                     4190 GRANT FOREST CIR.
JULIETTE, GA 31046                            ELLENWOOD, GA 30294

COURTNEY NELSON                               D'LISA CURRY
130 BREWER ROAD                               21132 DUNN
KINGSTON, GA 30145                            NEW CANEY, TX 77357

COURTNEY NEWTON                               DA'MONTA MILLER
4940 CAMPBELL DRIVE                           501 GOODWIN AVENUE
ATLANTA, GA 30349                             APT D
                                              ANNISTON, AL 36201
COURTNEY STRIPLING
124 NORMAN STREET                             DA'RELL WILSON
WASHINGTON, GA 30673                          1854 VOORHIES ROAD
                                              JACKSONVILLE, FL 32209
CRAIG HARLEY
4936 RANCHO COURT                             DASHAWN ROSS
WINSTON, GA 30187                             812 THESSLONIA ROAD
                                              BREMO BLUFF, VA 23022
      Case 19-15175-abl   Doc 31   Entered 08/26/19 17:22:59     Page 605 of 648


DAVONTE ZACK                                DANA RICHARDS
2601 ROOSEVELT HWY.                         2116 REEDY BRANCH ROAD
APT. A3                                     EASTMAN, GA 31023
COLLEGE PARK, GA 30337
                                            DANDRE RIDLEY
DAINA CARR                                  5401 OLD NATIONAL HWY
311 CEDAR CREEK ROAD                        707
WINDER, GA 30580                            COLLEGE PARK, GA 30349

DAKOTA CROWELL                              DANIEL BROWN
177 BRITTANY DRIVE                          107 BROOKSDALE DRIVE
WOODVILLE, AL 35776                         WARNER ROBINS, GA 31088

DAKOTA JOHNSON                              DANIEL DE LA ROSA
2955 N RIVER ROAD                           10215 BEECHNUT STREET
WATERFORD, WI 53185                         APT 1001
                                            HOUSTON, TX 77072
DAKOTA KONGPHILA
7905 W SHORE CIRCLE                         DANIEL LEE RAWLINS
RIVERDALE, GA 30296                         125 QUAIL TRAIL
                                            JACKSON, GA 30233
DAKOTA RUSHING
PO BOX 374                                  DANIEL NELSON
DIANA, TX 75640                             7240 W. TURQOISE AVE.
                                            PEORIA, AZ 85245
DALANO NEVELS
2780 NAPIER AVENUE                          DANIEL SMITH
MACON, GA 31204                             1022 FRIENDLY ROAD
                                            LOT A1
DALIYAH RAY                                 EDEN, NC 27288
126 JOHNSON STREET
RED SPRINGS, NC 28377                       DANIELLE LINDSEY
                                            202 CHUCK CIRCLE
DALTON HAMILTON                             WARNER ROBBINS, GA 31093
16903 BLUE BREEZE
ELMONDORFT, TX 78112                        DANIELLE RILES
                                            3110 EYDIE STREET
DALVIN JENKINS                              DALZELL, SC 29040
6621 KLEIN PETER ROAD
BATON ROUGE, LA 70811                       DANIELLE RUTLEDGE
                                            15 SYCAMORE LANE
DAMARCUS DUKES                              ALBERTVILLE, AL 35950
6350 OAKLEY ROAD
APT 1605                                    DANNY FRANKLIN
UNION CITY, GA 30291                        4701 FORT AVENUE
                                            APT 54
DAMION BRADWELL                             WACO, TX 76710
140 PERIDOT PLACE
COLLEGE PARK, GA 30349                      DANNY HOWARD
                                            524 NORTH STREET
DAMITA WALLACE                              RICHMOND, KY 40475
3351 N LUMPKIN ROAD
COLUMBUS, GA 31903                          DANY MORALES
                                            5450 PEPS ST.
DAMMIAN MICKENS                             ORLANDO, FL 32807
2808 JORDAN STREET
AUGUSTA, GA 30906                           DARELL BENNETT
                                            1135 RHONDA STREET
DAMON STEWART                               SUMTER, SC 29154
7348 HIGHVIEW DRIVE
COLUMBIA, SC 29223
     Case 19-15175-abl        Doc 31   Entered 08/26/19 17:22:59       Page 606 of 648


DARIN BROOKS                                    DAVID BROWN
806 HARMON STREET                               1414 WESTOOD DRIVE
DOTHAN, AL 36301                                WINCHESTER, KY 40391

DARIUS MCPOWELL                                 DAVID CUFFE
131 BURNEY ROAD                                 1150 MT GILEAD ROAD
GORDON, GA 31031                                JACKSONVILLE, AL 36265

DARIUS WILDER                                   DAVID EUGENE ODEN
UNKNOWN                                         542 PIEDMONT ROAD
UNKNOWN                                         BARNESVILLE, GA 30204
CONWAY, SC
                                                DAVID JACKSON
DARLENE SANFORD                                 2800 MIDDLEBURG DRIVE
1418 VALLEY DRIVE                               COLLEGE PARK, GA 30349
ATTALLA, AL 35954
                                                DAVID LEE
DARRELL ASBERRY                                 153 S FILLMORE AVENUE
221 JULY LANE SW                                LOUISVILLE, CO 80027
ATLANTA, GA 30315
                                                DAVID LOVAN
DARRELL MICKENS                                 8583 SANTA ROSA DRIVE
465 COACHMAN DRIVE                              FRISCO, TX 75033
SUMTER, SC 29154
                                                DAVID MCLEOD
DARRELL POWELL                                  5841 CHARLIE LITTLE ROAD
608 EAST EVANS AVENUE                           GRANITE FALLS, NC 28630
BONIFAY, FL 32425
                                                DAVID MINERO MOLINA
DARREN PARKER                                   3644 MAXSON ROAD
1516 COLUMBIA COLLEGE                           APT Q
COLUMBIA, SC 29205                              EL MONTE, CA 91732

DARRYL COLE                                     DAVID RICHARDSON
3950 COLE AVENUE                                1605 1ST AVENUE WEST
JAMESTOWN, NC 27262                             BIRMINGHAM, AL 35208

DARVON COLES                                    DAVID TUTOR
1559 MONTREAT PLACE SW SIDE                     803 SOUTH RODEN LANE
ATLANTA, GA 30311                               GLADEWATER, TX 75647

DARYL HAMILTON                                  DAVID UMANA
1615 MYRTLE WALK                                200 KINGS POND DRIVE
BATON ROUGE, LA 70802                           APT 212
                                                JACKSONVILLE, NC 28546
DARYL WHITTAKER
2022 N CARROLTON AVENUE                         DAVID WATERS
INDIANPOLIS, IN 46229                           411 CURTIS ROAD
                                                GREENVILLE, SC 29611
DAVIA CHANDLER
1683 TERRELL RIDGE DRIVE                        DAWN CRUM
MARIETTA, GA 30067                              1948 PARK DRIVE
                                                CORINTH, MS 38834
DAVID ALLEN NAUNDORFF
548 CACTUS LANE                                 DAWN FARRELL
HARTSVILLE, SC 29550                            555 SHORE ROAD
                                                B8
DAVID ASTIN                                     SOMERS POINT, NJ 8244
7395 CASCADE-PALMETTO HWY
PALMETTO, GA 30268                              DAWUD GILLION
                                                3373 PIO NONO CIRCLE
                                                MACON, GA 31206
     Case 19-15175-abl      Doc 31   Entered 08/26/19 17:22:59       Page 607 of 648


DAYDRIENNA WILLIAMS                           DELONTE BELL
369 JOHNSON STREET                            813 8TH ST.
GARY, IN 46402                                APT. 202
                                              LAUREL, MD 20707
DAYNA CRANDALL
301 TENNESSEE AVENUE                          DELPHYN SAULS
ROSSVILLE, GA 30741                           200 JELLISON BLVD
                                              DUNCANVILLE, TX 75116
DEALLEN WILLIAMS
7003 RALEIGH COURT                            DELTON ARTIS
APT A                                         617 CHRISTINE STREET
JONESBORO, GA 30236                           TROY, TX 76579

DEJON RILEY                                   DEMETRI PADGETT
1671 VILLAGE PLACE CIRCLE                     211 NOBILITY DRIVE
CONYERS, GA 30072                             COLUMBIA, SC 29210

DEQUAN ATWATERS                               DEMETRICE DAVIS
2615 ROOSEVELT HWY                            410 JACKSON STREET
ATLANTA, GA 30337                             WASHINGTON, GA 30673

DEVAUGHN DYSON                                DEMETRIS LOWE
8332 S CLAIBORNE AVENUE                       130 MIDDLEBER DRIVE
NEW ORLEANS, LA 70118                         COVINGTON, GA 30016

DEWAYNE ROBINSON                              DEMETRIUS CROSS
408 TINA HELY COURT                           7025 WINKFIELD PLACE
STOCKBRIDGE, GA 30281                         COLLEGE PARK, GA 30349

DEANGLIS BROWN                                DEMETRIUS HARPER
100 LUMBY COURT                               205 SHENANDOAH DRIVE
DECATUR, GA 30034                             COVINGTON, GA 30016

DEANTHONY DOMINECK                            DEMETRIUS HEADSPETH
2858 DARRAH DRIVE                             8422 NORTH POND DR.
ATLANTA, GA 30331                             RIVERDALE, GA 30274

DEASHIA AUSTIN                                DEMETRIUS MORGAN
2907 BUCKSKIN TRAIL                           344 ANDREW DRIVE
MARIETTA, GA 30064                            APT 14
                                              WASHINGTON, GA 30673
DEBORAH BOHLINGER
8686 W BEAVER CREEK ROAD                      DEMONOIQUE HALL
FALL CREEK, WI 54742                          12740 W INDIAN SCHOOL ROAD
                                              O112
DEBORAH GARDNER                               LITCHFIELD PARK, AZ 85379
9514 DIGGS GAP ROAD #71
HEISKELL, TN 37754                            DEMONTARIUS FERRELL
                                              333 S MOCK ROAD
DEBRA GORDON                                  APT 157
10505 PACES AVENUE                            ALBANY, GA 31705
APT 1615
MATTHEWS, NC 28105                            DEMORY WILLIAMS
                                              603 TREVOR STREET
DEBRA JOHNSEN                                 HINESVILLE, GA 31313
5590 HARPETH HAVEN DRIVE
PEGRAM, TN 37143                              DENE ISABEL
                                              1584 AUTUMN HURST TRAIL
DEJA PHILLIPS                                 STONE MOUNTAIN, GA 30088
1345 RAMSEY ROAD
JACKSONVILLE, NC 28546
      Case 19-15175-abl      Doc 31     Entered 08/26/19 17:22:59       Page 608 of 648


DENEAGA MCMILLIAN                                DERWIN WIDEMAN JR
14 EAST FIRST AVENUE                             1479 ELIZABETH LANE
ALAMO, GA 30411                                  EAST POINT, GA 30344

DENISE NEELY                                     DETRA BAYLER
4900 DELANO ROAD                                 605 BEEAUFORT AVE
APT 8A                                           AUGUSTA, GA 30901
COLLEGE PARK, GA 30349
                                                 DETRIC KELLY JR.
DENNIS FOWLER                                    9961 SPARROW HAWK LANE
4282 COUNTY RD 2105                              FORT WORTH, TX 76108
KILGORE, TX 75662
                                                 DEVIN ANDERSON
DENNIS FREEMAN                                   7037 68TH ST. N
7550 CLEAR CREEK DRIVE                           PINELLAS PARK, FL 33781
LITHONIA, GA 30058
                                                 DEVIN BOCEK
DENQUAVION NELSON                                2116 DAINE LANE
217 HEARTH STONE DRIVE                           POCATELLO, ID 83201
LAGRANGE, GA 30241
                                                 DEVIN CULLENS
DEONNA BUIE                                      725 W 107ST
126 JOHNSON STREET                               CHICAGO, IL 60628
RED SPRINGS, NC 28377
                                                 DEVIN JACOBS
DEONTA HENDERSON                                 218 MEADOWLARK LANE
2907 BUCKSKIN TRAIL                              JONESBORO, GA 30236
MARIETTA, GA 30064
                                                 DEVIN JONES
DEONTRE BRYANT                                   5200 OWL'S HOLLOW ROAD
6131 NW 23RD TERRACE                             GADSDEN, AL 35901
GAINESVILLE, FL 32653
                                                 DEVON BENSON
DEPT. OF EMPLOYMENT, TRAINING & REHAB            3091 N 22ND ST
EMPLOYMENT SECURITY DIVISION                     KANSAS CITY, KS 66104
500 EAST THIRD STREET
CARSON CITY, NV 89713                            DEVON OSBORNE
                                                 435 TAMPA GOLD ROAD
DERANUS TERRELL MOORER                           WEDGEFIELD, SC 29168
346 PIEDMONT AVE NE
ATLANTA, GA 30308                                DEVRAE JEFFERSON
                                                 2399 PARKLAND DRIVE NE
DEREK THOMPSON                                   APT 1206
515 RACHEL STREET                                ATLANTA, GA 30324
AUGUSTA, GA 30901
                                                 DEVYN MORGAN
DERRIC BOONE                                     98 SAM STREET
312 N ASH                                        PIKEVILLE, TN 37367
ALLEN, TX 75002
                                                 DEWAUN AUSTIN
DERRICK BALDWIN                                  2907 BUCKSKIN TRAIL
2078 LOUISE XIV LANE                             MARIETTA, GA 30064
COLLEGE PARK, GA 30349
                                                 DEYANTE TOMPKINS
DERRICK LAMONT ATKINS, JR.                       2354 BREMHAVEN COURT
1714 GROVE WAY                                   INDIANAPOLIS, IN 46229
HAMPTON, GA 30228
                                                 DIAMOND SUMMERSET
DERWAYNE RAYNOR                                  500 GRAND STREET
2215 MARBUT FARMS TR                             VIDALIA, GA 30474
LITHONIA, GA 30058
     Case 19-15175-abl     Doc 31   Entered 08/26/19 17:22:59        Page 609 of 648


DIANE MANLEY                                 DONTAVIOUS STOKES
PO BOX 22                                    200 16TH STREET
BETHEL SPRINGS, TN 38315                     APT 303 E
                                             PHENIX CITY, AL 36867
DIANNA CERVANTES
1265 SOUTH WHITE STREET                      DOUGLAS BELL
POMONA, CA 91766                             3796 SHENFIELD DRIVE
                                             UNION CITY, GA 30291
DIETRICH HEARD-SNEAD
411 CURTIS ROAD                              DUSTIN COFIELD
GREENVILLE, SC 29611                         392 SOWELL ROAD
                                             MCDONOUGH, GA 30252
DIONDRE WARNER
1480 FLAT SHOALS ROAD                        DUSTIN LUCY
COLLEGE PARK, GA 30349                       195 HORSESHOE DRIVE
                                             HURT, VA 24563
DOMINIC ROBINSON
1371 KIMBERLY WAY SW                         DUSTIN WESTBROOKS
APT 19306                                    489 BLUE HERON DRIVE
ATLANTA, GA 30331                            MONTICELLO, GA 31064

DOMINIQUE DEBERRY                            DWAYNE RUSSELL
125 EDMONDSON                                135 THURMAN WAY
LOT 15                                       GRAY, GA 31032
MOULTRIE, GA 31786
                                             DYLAN ATKINSON
DOMINIQUE STARKS                             330 BLUE HERON DRIVE
415 BLOEDEL RESERVE WAY                      MONTICELLO, GA 31064
AUGUSTA, GA 30907
                                             DYMOND RUDD
DOMINIQUE WILLIAMS                           1308 DELAWARE AVENUE
8407 NORTH POND DRIVE                        KNOXVILLE, TN 37921
RIVERDALE, GA 30274
                                             EDDIE AUSTIN
DOMIQUE PRIMUS                               2201 PARKSIDE DRIVE
819 BROOKLEY AVENUE                          JONESBORO, AR 72401
WARNER ROBBINS, GA 31098
                                             EDWARD FRANKLIN
DONALD ABRAHAM                               143 HANSEL STREET
502 NORTH CIRCLE                             BISHOPVILLE, SC 29010
BAYTOWN, TX 77520
                                             EDWARD HOLLIDAY
DONALD FAISON                                2310 ROCKY HOLLOW ROAD
1598 UNION PORT ROAD                         JACKSONVILLE, AL 36265
APT 2 F
BRONX, NY 10462                              EDWARD PIERCE
                                             24580 PIERCE RD.
DONNELL JACKSON                              ANGIE, LA 70426
200 JELLISON BLVD
DUNCANVILLE, TX 75116                        EDWARD WARTHEN
                                             211 MORNINGSIDE DRIVE
DONOVAN BURSTON                              SANDERSVILLE, GA 31082
207 DARTH MAUL DRIVE
GROVER, NC 28073                             EDWIN GRANADOS
                                             6802 SAN REMO DR.
DONTA MOSES                                  HOUSTON, TX 77083
1788 ALVARADO TERRACE SW
ATLANTA, GA 30310                            EDWIN HERNANDEZ
                                             3805 SHERWOOD LANE
                                             APT 32
                                             HOUSTON, TX 77092
      Case 19-15175-abl    Doc 31   Entered 08/26/19 17:22:59       Page 610 of 648


EDWIN LINDSEY IV                             EMMA PATRICK
202 CHUCH CIRCLE                             903 JONATHAN STREET
WARNER ROBBINS, GA 31043                     DOTHAN, AL 36301

EKENDRU BADGER                               EMMANUEL MITCHELL
1523 LANE AVENUE                             2678 CHARLESTOWN DRIVE
LOT 9                                        ATLANTA, GA 30337
JACKSONVILLE, FL 32254
                                             EMMANUEL WHITE
ELAINE GONZALEZ                              1951 SOUTH HAMPTON ROAD
2324 CHANARAL                                APT F5
HEMET, CA 92545                              COLLEGE PARK, GA 30349

ELGIN BARDEN                                 ENRIQUE DIXON
12345 I-10 SERVICE ROAD                      7025 WINKFIELD PLACE
APT 3105                                     ATLANTA, GA 30349
NEW ORLEANS, LA 70128
                                             ERIC BREWSTER
ELICE WILSON                                 3097 JOHN FREEMAN WAY
118 SPIVEY RIDGE CIRCLE                      EAST POINT, GA 30344
JONESBORO, GA 30236
                                             ERIC BROWN
ELIE SALEM                                   12555 ASHFORD RIVER
116 ADRIAN DRIVE                             HOUSTON, TX 77072
ROBINSON, TX 76706
                                             ERIC PERKINS
ELIJAH BRIDGES                               1590 PINTAIL ROAD
358 8TH STREET                               JONESBORO, GA 30238
TROY, NY 12180
                                             ERIC SANKEY
ELISEO MARCO ARAGON                          2782 CEDAR TRACE DRIVE
5239 EISENHOWER ROAD                         ELLENWOOD, GA 30294
SAN ANTONIO, TX 78218
                                             ERIC SINGLETON
ELISSIA THELISMONT                           PO BOX 83
416 SW 9TH COURT                             HADDOCK, GA 31033
DELRAY BEACH, FL 33444
                                             ERICA NORTHRUP
ELIZABETH BOYD                               4597 TARGHEE PLACE
717 UNIVERSITY AVENUE SW                     CHUBBUCK, ID 83202
ATLANTA, GA 30310
                                             ERICA WHITE
ELIZABETH TIPTON                             300 SILVER LEAF LANE
1818 11TH ST                                 CHUCKEY, TN 37641
GREELEY, CO 80631
                                             ERIKA GASCON
ELOISE MOORE                                 775 GULF SHORE DRIVE
2125 13TH STREET NORTH                       DESTIN, FL 32541
BESSEMER, AL 35020
                                             ERIKA JACKSON
EMANUEL HARRIS                               1451 NEW CASTLE DRIVE
PO BOX 1342                                  MACON, GA 31204
TEXAS CITY, TX 77592
                                             ERNEST NAVA
EMETT DANE MONROE                            3307 WALHALLA DR.
6541 E HWY 80                                HOUSTON, TX 77066
LONGVIEW, TX 75605
                                             ERVIN THOMAS
EMILY ESPINOSA                               2783 REX ROAD
4747 N 58TH DRIVE                            ELLENWOOD, GA 30294
PHOENIX, AZ 85031
     Case 19-15175-abl    Doc 31   Entered 08/26/19 17:22:59       Page 611 of 648


ERWIN DUKES                                 FRANCIS SMITH
484 KING ARNOLD STREET                      2900 CAMP CREEK PKWY
ATLANTA, GA 30354                           APT E9
                                            COLLEGE PARK, GA 30337
ESTELLA GRAF
8990 W 10400 N                              FRANCIS WHITLOCK
TREMONTON, UT 84337                         1123 CLOVER STREET
                                            BELLMEAD, TX 76705
ESTORIA MORDICA
21 EAST WYOK ROAD                           FRANCISCO HERNANDEZ
DECATUR, GA 30032                           14675 JUDSON ROAD
                                            SAN ANTONIO, TX 78233
EUGENE ESCOBAR
1341 BRIAR RIDGE LANE                       FRANK FUSCO
JONESBORO, GA 30238                         784 COUNTY ROAD
                                            RAINSVILLE, AL 35986
EUNICE POOL
264 WICKS ROAD                              FRANK GRIFFIN
WEST POINT, MS 39773                        157 BOWEN HILL ROAD
                                            HADDOCK, GA 31033
EVALICIA MARTA
1921 2ND STREET                             FRANKLIN SMITH
GREELEY, CO 80631                           112 OAKWOOD STREET NW
                                            ROME, GA 30165
EVEANGEL HINES
2016 A SHADOWOOD COURT                      FRANKO HARRIS
GREENVILLE, NC 27858                        519 TAYLOR ROAD
                                            SUWANEE, GA 30024
EZHARA BUIE
1023 SE 48TH TERRACE                        FREDERICK BEDFORD
GAINESVILLE, FL 32641                       2550 THORNTON DR.
                                            ATLANTA, GA 30349
EZRA ABERS
68 FORD                                     FREDERICK COLEMAN
APT 4                                       8430 N POND DRIVE
NEW HAVEN, IL 62867                         RIVERDALE, GA 30216

FARRIS SMITH                                FREDERICK HICKMAN III
11 L STREET                                 506 WHITNEY CHASE
SUMTER, SC 29150                            STONE MOUNTAIN, GA 30088

FAUSTINO GARCIA                             FREDERICK LECLAIR
1203 JOHNSTON STREET                        1500 BLYTHE AVENUE SE
HOUSTON, TX 77022                           CLEVELAND, TN 37311

FAVIO LOPEZ                                 FREDERICO GAINES
1622 KENNINGS ROAD                          1710 PERRY AVENUE
CROSBY, TX 77532                            BASTROP, LA 71220

FELICIA CARNEY                              FREIDA HESS
3700 OLD NORTHEAST ROAD                     1022 FRIENDLY ROAD
LAKE WACCAMAW, NC 28450                     TRL 4
                                            EDEN, NC 27288
FELIX ACOSTA
913 RITTENHOUSE STREET                      FRELON NEWSOM
HOUSTON, TX 77076                           1022 FRIENDLY ROAD
                                            LOT 4
FELIX JACKSON JR                            EDEN, NC 27288
740 LOVVORN ROAD
CARROLLTON, GA 30117                        GABE TORRES
                                            10405 S INTERLOCHEN DRIVE
                                            PALOS HILLS, IL 60465
      Case 19-15175-abl       Doc 31    Entered 08/26/19 17:22:59       Page 612 of 648


GAGE LEDBETTER                                   GERALD MURPHY
94 BOOZER DRIVE                                  418 TURPIN AVENUE
JACKSONVILLE, AL 36265                           ANNISTON, AL 36201

GAIL AKINS                                       GILBERT BROWN
293 AVALON STREET                                7001 BUNDY ROAD
PO BOX 1665                                      APT V31
WEST POINT, MS 39773                             NEW ORLEANS, LA 70127

GARY BENSON                                      GILBERT GREEN
110 CANEY CREEK LANE                             200 RILEY ROAD
DRAKESBORO, KY 42337                             GREENVILLE, SC 29611

GARY FRICKS JR.                                  GINGER WELLES
2209 CALHOUN ROAD                                1211 HUSSON AVE.
ROME, GA 30161                                   PALATKA, FL 32177

GARY LYNCH                                       GLADYS BARLOW
1823 1/2 5TH STREET                              1517 BUCKINGHAM PL
GREELEY, CO 80634                                STOCKBRIDGE, GA 30281

GARY STEWART                                     GRAHAM BOLTON
7348 HIGHVIEW DRIVE                              2251 MOODY ROAD
COLUMBIA, SC 29223                               203A
                                                 WARNER ROBBINS, GA 31088
GARY STOUT
3708 OLD STATE ROUTE 34                          GREG PRICE
LIMESTONE, TN 37681                              7740 SOUTHSIDE BLVD
                                                 JACKSONVILLE, FL 32256
GARY WILLIAMS
2936 HOLLINGSWORTH DRIVE                         GREGORY BAXTER
WELLINGTON, AL 36279                             4285 HWY 81 NORTH
                                                 LOT 4
GEOFFREY LANDON WHALEY                           HAMPTON, GA 30228
113 NORRIS BRANCH LN
THOMASTON, GA 30286                              GREGORY BIGHAM
                                                 1300 W MARTIN
GEORGE HAMELIN                                   SAN ANTONIO, TX 78218
519 COTTON INDIAN CREEK RD.
APT B                                            GREGORY BORINSTEIN
MCDONOUGH, GA 30252                              139 EAST CHICKEN ROAD
                                                 CHESTER, GA 31012
GEORGE HARPER
3803 RIVER LAKE SHORE                            GREGORY JENKINS
ELLENWOOD, GA 30294                              13329 NORTH LARUSSA LANE
                                                 INDEPENDENCE, LA 70443
GEORGE HARRIS
4757 SHALIMAR DRIVE                              GREGORY WILLIAMS
NEW ORLEANS, LA 70126                            542 ROSEMONT DRIVE
                                                 DECATUR, GA 30032
GEORGE ROBERT FIELDER III
1554 PONDER TRAMMELL ROAD                        GROVER LONG JR
JULIETTE, GA 31046                               8715 N TANGERINE PLACE
                                                 TAMPA, FL 33617
GEORGE WINN
5055 DAVIS ROAD                                  HADYN ROBINSON
REMBERT, SC 29128                                13056 N 55TH DR
                                                 GLENDALE, AZ 85304
GEORGIA DEPARTMENT OF REVENUE
COMPLIANCE DIVISION ARCS - BANKRUPTCY            HANNAH NICHOLS
1800 CENTURY BLVD NE, SUITE 9100                 1150 MOUNT GILEAD ROAD
ATLANTA, GA 30345                                JACKSONVILLE, AL 36265
     Case 19-15175-abl        Doc 31   Entered 08/26/19 17:22:59        Page 613 of 648


HARRIET TURK                                    HILDA CHAVAZ
171 ALLEN MEMORIAL DRIVE SW                     8725 W SHERIDAN STREET
MILLEDGEVILLE, GA 31061                         PHOENIX, AZ 85037

HARRISON CUMMINGS                               HOLLIE THOMAS
6189 VALDEZ DRIVE                               1948 PARK DRIVE
REX, GA 30273                                   CORINTH, MS 38834

HARVEY THOMPSON                                 HOLLY MEREDITH
4775 ELKAN AVENUE                               2973 DETOUR ROAD
MACON, GA 31206                                 BOWLING GREEN, KY 42101

HASSAN HERRERA                                  HOMER HESS
9445 CONCOURSE DRIVE                            1022 FRIENLY ROAD
HOUSTON, TX 77036                               TRL 4
                                                EDEN, NC 27258
HASSAN REED
UNKNOWN                                         HOWARD THOMAS
UNKNOWN                                         213 GETTYSBURGH ROAD
UNKNOWN, GA                                     BELLEVILLE, IL 62226

HAYDEN ROBINSON                                 HUNTER CARD
13056 N 55TH DRIVE                              1111 SUNDAY LANE
GLENDALE, AZ 85304                              JONESBORO, GA 30236

HEATHER DAVIS                                   HUNTER KELLY
213 S MARSHALL STREET                           18113 MONTHAVEN PARK PLACE
ANNISTON, AL 36201                              HENDERSONVILLE, TN 30375

HEATHER THOMAS                                  IAN CONNELL
311 ORANGE STREET                               2755 SHOEMAKER STREET
ARLINGTON, TX 76012                             BIRMINGHAM, AL 35235

HEIDI RABY                                      IEASHA ANTHONY
99 SUNFISH BEE SPRING RD                        410 RANDOLPH DRIVE
BEE SPRING, KY 42207                            APT 2B
                                                VIDALIA, GA 30474
HELENA ALLEN
75 N SECOND AVENUE                              IFAGBEMI OLAMINA
MCKAL, GA 31055                                 14105 NW 157TH PLACE
                                                ALACHUA, FL 32615
HENDRIC DUNN
1294 OLD SCENIC HWY                             IFASADE OGUNLANO
ZACHARY, LA 70791                               4307 NE 70TH PLACE
                                                GAINESVILLE, FL 32609
HENRY AVILES
1265 S WHITE AVENUE                             IGNACIO RAMIREZ JR
POMANA, CA 91766                                17050 IMPERIAL VALLEY DRIVE
                                                APT 58
HENRY REED                                      HOUSTON, TX 77060
6535 MANCHESTER STREET
NEW ORLEANS, LA 70126                           IGNACIO REMIREZ
                                                4211 SHERWOOD LANE
HERBERT KING                                    APT 68
6246 DODGEN ROAD                                HOSUTON, TX 77092
MABLETON, GA 30126
                                                ILSA WESTMARK
HILARIO URBINA                                  3301 MONROE NE 489
410 HENRY STREET                                ALBUQUERQUE, NM 87110
HOUSTON, TX 77009
      Case 19-15175-abl   Doc 31   Entered 08/26/19 17:22:59      Page 614 of 648


INDIA BOWEN                                 JACOB BAILEY
249 WEYMAN RD.                              310 ARROWHEAD ROAD
RIEGELWOOD, NC 28456                        MARYVILLE, TN 37801

INTERNAL REVENUE SERVICE                    JACOB CREPS
CENTRALIZED INSOLVENCY OPERATION            112 WILLIAMS RD
POST OFFICE BOX 7346                        JACKSONVILLE, NC 28540
PHILADELPHIA, PA 19101-7346
                                            JACOB EVANS
IRA SEIBER                                  3253 SAILMAKER LANE
150 HIGHLAND CIRCLE                         PLANO, TX 75023
STOCKBRIDGE, GA 30287
                                            JACOB GRIFFIN
IRVIN ISAAC                                 710 NORTH BETHANY ROAD
7504 BUTTERFILD CIR.                        MCDONOUGH, GA 30252
FORT WORTH, TX 76612
                                            JACOB HERRING
ISAAC WALLIS                                127 GRAYTON COURT
5228 LAKEVIEW COURT                         WEST COLUMBIA, SC 29170
NEW ORLEANS, LA 70126
                                            JACOB HOLLAND
ISAIAH DANNER                               1194 PRIVATE ROAD 1332
1508 VANDERLIP DRIVE                        MARSHALL, TX 75672
GASTONIA, NC 28052
                                            JACOB KING
ISHMAEL RAHKIN                              5516 HUBER CLAY ROAD
3714 SHERBOURNE LANE                        AIKEN, SC 29803
GREENSBORO, NC 27405
                                            JACOB QUINN
IVAN BURKETT                                3117 W KRALL STREET
6385 SETHS WAY                              PHOENIX, AZ 85017
LITHONIA, GA 30058
                                            JACOB THACKSTON
IZARIOUS DUNCAN                             670 LUTHER COURT
1351 VANDIVER ROAD                          POWDER SPRINGS, GA 30127
GREENSBORO, GA 30642
                                            JACOBIE SUTTON
J.C. KEMP                                   7507 BEACH BLVD
3001 BUTTERCUP LANE                         JACKSONVILLE, FL 32216
COTTONDALE, FL 52431
                                            JACOBY WHITE
JA'KENDRICK REMO                            208 ORA ROAD
1441 GRACE AVENUE                           APT 1
NATCHITOCHES, LA 71457                      WEAVER, AL 36277

JA'QUEN JEFFERSON                           JACQUELINE FELICIANO
5139 BORDEN ROAD                            10683 TIBET HWY SE
REMBERT, SC 29128                           LOT 10
                                            ALLENHURST, GA 31301
JABARI BASHIR
3932 MCGILL COURT                           JACQUELYN MINER
DECATUR, GA 30034                           2970 HWY 252
                                            LAURENS, SC 29360
JABARI PHILLIPS
2101 MCKLEROY AVENUE                        JADE WATSON
ANNISTON, AL 36201                          239 CLARA STREET
                                            SLIDELL, LA 70428
JACKI PECK
1810 ZACH RUSSEL DRIVE                      JAERON WISE
CEDAR PARK, TX 78613                        113 PARKWAY DRIVE
                                            SOPERTON, GA 30457
      Case 19-15175-abl    Doc 31   Entered 08/26/19 17:22:59       Page 615 of 648


JAHRIN PRICE                                 JAMES HICKS III
2485 FIELDSPRING DRIVE                       120 CALDWELL STREET
LITHONIA, GA 30058                           ATHENS, WV 24712

JALEN WARREN                                 JAMES JOHNSON
704 CEDAR COURT                              1515 HOGANSVILLE ROAD
MONTEZUMA, GA 31063                          APT 150
                                             LAGRANGE, GA 30241
JAMAL CARTER
99 EVERGREEN TRAIL                           JAMES JOHNSON
APT B                                        1515 HOGANSVILLE RD
CARTERSVILLE, GA 30121                       APT 150
                                             LAGRANGE, GA 30241
JAMAL HARPER
7042 BROWNS MILL ROAD                        JAMES MOONEY, JR
LITHONIA, GA 30038                           231 SOUTH CLEVELAND CHURCH ROA
                                             MCDONOUGH, GA 30253
JAMAL MACK
125 EAST HALL ST.                            JAMES ROBERTS
AUGUSTA, GA 30901                            50 MT ZION ROAD
                                             X28
JAMAL MACK                                   ATLANTA, GA 30331
UNKNOWN
UNKNOWN                                      JAMES SMITH
UNKNOWN, NC                                  3850 FLAT CREEK ROAD
                                             FRANKFORT, KY 40601
JAMAL THOMAS
2200 GODBY ROAD                              JAMES SNEAD
G6                                           411 CURTIS ROAD
COLLEGE PARK, GA 30349                       GREENVILLE, SC 29611

JAMAL WING                                   JAMES SORROW
4307 NE 70TH PLACE                           525 HOOD AVENUE
GAINESVILLE, FL 32609                        FAYETTEVILLE, GA 30215

JAMEIA CASH                                  JAMES WILLIAMS
3451 SALAND WAY                              2936 HOLLINGSWORTH DR.
JACKSONVILLE, FL 32246                       WELLINGTON, AL 36279

JAMEL BOOSE                                  JAMES WILSON
224 ORCHARD VIEW                             603 ASA DRIVE
ELLENWOOD, GA 30294                          COLUMBUS, GA 31907

JAMES BUTLER                                 JAMIE BARRAZA
40 DOVER SQUARE                              2150 S KISNEER RD
SHARPSBURG, GA 30290                         APT. 1111
                                             HOUSTON, TX 77068
JAMES DAWKINS
717 UNIVERSITY AVENUE                        JAMIE FORTIER
ATLANTA, GA 30310                            346 MERIN HEIGHT ROAD
                                             JACKSONVILLE, NC 28540
JAMES ERIC WILLIAMS SR.
2936 HOLLINGSWORTH DRIVE                     JAMIEYONIA FELDER
WELLINGTON, AL 36279                         43353 HAPPYWOODS ROAD
                                             LOT 35
JAMES GONZALEZ                               HAMMOND, LA 73403
6501 SPRING LARK STREET
SAN ANTONIO, TX 78249                        JAMIKO HUGHES
                                             159 OLD STAGE ROAD
JAMES GROGAN                                 MILLEDGEVILLE, GA 31061
2969 CEDAR PLACE
GRAND JUNCTION, CO 81504
     Case 19-15175-abl     Doc 31   Entered 08/26/19 17:22:59       Page 616 of 648


JAMISHA RHEAMS                               JASHIMA REID
212 KINGS POND DRIVE                         1837 HIGHLAND PLACE
JACKSONVILLE, NC 28546                       DECATUR, GA 30035

JAMONE SIMON                                 JASMINE BRAY
5825 S OAK DRIVE                             661 BONITA AVENUE
MARRERO, LA 70072                            SAN JOSE, CA 95116

JANAY WILLIAMS                               JASMINE GRIFFIN
4729 MAJESTIC OAKS                           309 WOODLAWN HEIGHTS ROAD
NEW ORLEANS, LA 70126                        WOODLAWN, TX 75694

JANET FORTUNE                                JASMINE MAY
5520 N HENRY BLVD                            102 JF HALL ROAD
I8                                           APT 3
STOCKBRIDGE, GA 30281                        MILLEDGEVILLE, GA 31061

JANET PIERCE                                 JASON ARNOLD
1444 N TONTI STREET                          1724 ATHERTON DRIVE
NEW ORLEANS, LA 70119                        DECATUR, GA 30088

JAQUEN BRADWELL                              JASON BELL
2303 SUTTON PLACE                            200 S LINDEN AVENUE
APT. 206                                     APT 16S
WILSON, NC 27896                             RIALTO, CA 92376

JAQUERIUS RUSHING                            JASON BLISS
317 EAST HOBSON STREET                       1007 ALEXANDRIA ROAD SW
SYLVESTER, GA 31791                          LOT 52
                                             JACKSONVILLE, AL 36206
JARED MOLIERE
7001 BUNDY ROAD                              JASON BRIGGS
APT C13                                      4312 FERN LAKE CUTOFF
NEW ORLEANS, LA 70127                        MARSHALL, TX 75672

JARMEL THOMAS                                JASON CATHELL
4428 DORSEY DRIVE                            2201 BAYTREE ROAD
LOT 82                                       APT 413B
SUMTER, SC 29154                             VALDOSTA, GA 31602

JARVAN TURK                                  JASON DOWER
171 ALLEN MEMORIAL DRIVE                     3110 PETRE ROAD
MILLEDGEVILLE, GA 31061                      CHEASEPEAKE, VA 23325

JARVELLE GASTON                              JASON ELLISON
6442 WALKER ROAD                             31 COUNTY ROAD 539
RIVERDALE, GA 30296                          MOULTON, AL 36650

JARVIS HENRY                                 JASON GIBSON
2183 WATERS RUN                              6878 STATE RTE 143 N
STONE MOUNTAIN, GA 30083                     CLAY, KY 42404

JARVIS WILLIAMS                              JASON HUDGINS
2305 N FRANKLIN STREET                       2541 WELLINGTON ROAD
MARSHALL, TX 75670                           WELLINGTON, AL 36279

JARVIS WILLIAMS JR                           JASON JACOBS VALENZUELA
4096 CANBY LANE                              6713 PARK HAVEN AVENUE
DECATUR, GA 30035                            SAN ANTONIO, TX 78244
      Case 19-15175-abl     Doc 31   Entered 08/26/19 17:22:59       Page 617 of 648


JASON O'CONNER                                JEFFERY BURTON
2023 DAWSON CABIN ROAD                        2385 PATRICK AVENUE
JACKSONVILLE, NC 28540                        HEPHZIBAH, GA 30815

JASON VALIN                                   JEFFREY EMORY
1030 HERMAN DUDUIS ROAD                       2810 S. SARIS CIR.
BREAUX BRIDGE, LA 70517                       W. VALLEY CITY, UT 84119

JASON WATTS                                   JEFFREY MICKENS
22846 HWY 22                                  2808 JORDAN STREET
DAVISTON, AL 36256                            AUGUSTA, GA 30906

JAVAHN RILEY                                  JEFFREY RUFFIN
1887 DALTON WAY                               610 S HOSKINS ROAD
HAMPTON, GA 30228                             CHARLOTTE, NC 28208

JAVARES DAVIS                                 JEFFREY UMANA
3892 AUSTIN CIR.                              510 A HOLYOKE LANE
APT 7                                         LAKE WORTH, FL 33467
DECATUR, GA 30032
                                              JEIME ANN ZEQUEIRA
JAVIS BURSTON                                 1900 SW 18TH AVENUE
105 PULLEN CIRCLE                             MIAMI, FL 33145
LAWNDALE, NC 28090
                                              JEINA AUGUSTIN
JAVONTE DANIEL                                4630 MYRTLE LANE
217 HEARTHSTONE DRIVE                         WEST PALM BEACH, FL 33417
LAGRANGE, GA 30241
                                              JENELL FEASTER
JAVORIS GARRETT                               21 QUAIL ACRES
4178 LONE OAK LANE                            BROADWAY, NC 27505
APT K
MARIANNA, FL 32443                            JENNA CHAMPION
                                              107 HEATHERBROOK DR
JAWARA DANCE                                  LAGRANGE, GA 30240
53 ERIC DRIVE
TENNILLE, GA 31089                            JENNIFER BARNETT
                                              3953 SHERWOOD HEIGHTS DRIVE
JAWARA REID                                   MORGANTON, NC 28655
1837 HIGHLAND PLACE
DECATUR, GA 30033                             JENNIFER BLAKE
                                              1886 TIN MINE ROAD
JAY RAYMOND                                   LINCOLNTON, NC 28092
1763 BETHEL ROAD
MORGANTON, NC 28655                           JENNIFER CARROLL
                                              1575 FLORIDA HWY 40
JAZMYN JORDAN                                 ASTOR, FL 32102
1466 STEAM ENGINE WAY NE
CONYERS, GA 30013                             JENNIFER CARTER
                                              514 E LAWSON STREET
JEAN EVERSON                                  APT F
223 TWIN DRIVE                                HAHIRA, GA 31632
CASEYVILLE, IL 62232
                                              JENNIFER KILGORE
JEFF ALTIDOR                                  136 SERENITY HILLS DRIVE
10374 BOCA ENTRADA BLVD                       CORNELIA, GA 30531
APT 129
BOCA RATON, FL 33428                          JENNIFER RIGGS
                                              915 PELL STREET
JEFF DURICKO                                  LEWISPORT, KY 42351
124 WEST LEXINGTON AVENUE
WINCHESTER, KY 40391
     Case 19-15175-abl         Doc 31   Entered 08/26/19 17:22:59      Page 618 of 648


JENNIFER SANGSTER                                JERRY MULLINS
4725 COBB PKWY N                                 3850 FLAT CREEK ROAD
ACWORTH, GA 30101                                FRANKFORT, KY 40601

JERALD RAY                                       JERRY RODRIGUEZ
415 W HOWRY AVENUE                               6600 FAIRDALE
APT A                                            APT 38
DELAND, FL 32720                                 SAN ANTONIO, TX 78218

JEREMY CADY                                      JERRY SAINT LOUIS
2160 MARTIN LUTHER KING ROAD                     322 EAST CENTRAL BLVD
COTTONDALE, FL 32431                             APT 1605
                                                 ORLANDO, FL 32801
JEREMY CARTER
2665 FAVOR RD.                                   JESICCA JUPIN
APT. 2L18                                        1721 HIGHLAND STREET
MARIETTA, GA 30060                               KINGSPORT, TN 37664

JEREMY HOPKINS                                   JESSE ARENAS
98 GOWENS CIRCLE                                 1590 LASSATER ROAD
GADSDEN, AL 35901                                JEFFERSON, TX 75657

JEREMY KLEMMER                                   JESSICA BURGESS
1973 COLUMBIA DRIVE                              81 HONEYSUCKLE DRIVE
DECATUR, GA 30032                                PITTSBORO, NC 27312

JEREMY ROGERS                                    JESSICA DANIELS
1763 BETHEL ROAD                                 PO BOX 22078
MORGANTON, NC 28655                              MESA, AZ 85277

JEREMY WILSON                                    JESSICA PORTER
8298 COUNTY ROAD 141                             3686 THURMAN ROAD
IDER, AL 35981                                   ATLANTA, GA 30349

JERMAINE EDWARDS                                 JESSICA TINSON
1097 MCCONAUGHY COURT                            548 HIGHWAY 90
MCDONOUGH, GA 30253                              APT 218
                                                 WAVELAND, MS 39576
JERMAINE HARRIS
3806 OXFORD DRIVE                                JESSICA TURNER
HEPHZIBAH, GA 30815                              80 GANN ROAD
                                                 OXFORD, AL 36203
JERMAINE MARSHALL
1540 OLYMPIAN CIR.                               JESSIE BARBER
ATLANTA, GA 30310                                266 MACON STREET
                                                 MONTICELLO, GA 31064
JERMEL REDD
409 EAST CHURCH STREET                           JESSIE LONG
SANDERSVILLE, GA 31082                           403 S HARRISON STREET
                                                 MCGREGOR, TX 76657
JEROME JORDAN
320 BALLPARK ROAD                                JESSIE RADER
SOPERTON, GA 30457                               1570 HAWKINS BRANCH ROAD
                                                 BETHPAGE, TN 37022
JERRELL DAVIS
3482 NEWTON'S CREST CIRCLE                       JESSIE WEST
SNELLVILLE, GA 30078                             3237 CHESTNUT ROAD
                                                 NATHALIE, VA 24577
JERRY DAVIDSON
55 BLUE HERON DRIVE                              JESUS GONZALEZ
MONTICELLO, GA 31064                             190 LAKESHORE DRIVE
                                                 OAKFIELD, TN 38362
      Case 19-15175-abl    Doc 31   Entered 08/26/19 17:22:59      Page 619 of 648


JILLIAN ANDERSON                             JOHN BROWN
PO BOX 364                                   34 B SOMERSET DRIVE
1214 VINE STREET                             SUMTER, SC 29150
GILCREST, CO 80623
                                             JOHN CAMPBELL
JIM GONGORA                                  8700 CALMONT AVENUE
1518 CANTRELL STREET                         APT 41
WACO, TX 76704                               FORT WORTH, TX 76116

JIMI NORWOOD                                 JOHN DUFFEY
UNKNOWN                                      1680 S OLYMPIAN WAY
UNKNOWN                                      ATLANTA, GA 30310
UNKNOWN, GA
                                             JOHN EHRMAN
JIMMY MCCRARY                                311 ORANGE STREET
7000 GOODSON ROAD                            ARLINGTON, TX 76012
UNIT 127
UNION CITY, GA 30291                         JOHN ELBERT
                                             6917 BARTOW DUBLIN ROAD
JOAN JENKINS                                 WRIGHTSVILLE, GA 31096
425 HAMPTON AVENUE
MURPHY, NC 28906                             JOHN PADGETT
                                             5364 CHICORY CIRCLE
JOANNE BOSCHETTI                             MIDDLEBURG, FL 32068
101 E VILLA CAPRI CIRCLE
APT C                                        JOHN RUFF
DELAND, FL 32724                             52 LANDMARK LANE
                                             MARIETTA, GA 30060
JOCKQUES CLIATT
4307 LAKE RICHMOND DRIVE                     JOHN SMITH
ORLANDO, FL 32811                            2326 TUBMAN HOME ROAD
                                             AUGUSTA, GA 30906
JODI WALL
23606 MAPLE VISTA LANE                       JOHNA CHARLES
SPRING, TX 77373                             PO BOX 533
                                             IRONTON, OH 45638
JODY RAY HARRIS
101 RAY STREET                               JOHNATHAN BURCHETT
CAMPBELLSVILLE, KY 42718                     29 N GREENWOOD AVENUE
                                             APT F6
JOE RUSH                                     WARE SHOALS, SC 29692
1251 LYNWYN LN.
ATLANTA, GA 30316                            JOHNATHAN JOHNSON
                                             549 SPRINGWOOD DRIVE
JOEY DOOLEY                                  FOREST PARK, GA 30297
104 HILL CT
SEBRING, FL 33875                            JOHNATHAN RAY
                                             5442 COUNTY ROAD 38
JOHANA OLIVA                                 SECTION, AL 35771
1450 NW 34TH AVENUE
MIAMI, FL 33125                              JOHNEA WALLIS
                                             1816 N YAYOSO STREET
JOHN ANDERSON                                NEW ORLEANS, LA 70119
PO BOX 567
PAUDEN, AZ 86334                             JOHNNY BARON
                                             1951 SOUTHAMPTON ROAD
JOHN BEACH                                   APT M3
2993 SPARTA HWY                              COLLEGE PARK, GA 30349
SMITHVILLE, TN 37166
                                             JOHNNY ELKINS
                                             799 COUNTY ROAD 611
                                             VALLEY HEAD, AL 35989
     Case 19-15175-abl      Doc 31   Entered 08/26/19 17:22:59       Page 620 of 648


JOHNNY FRANKS                                 JOSE CASTILLO
2312 MAPLE ROAD                               8215 LOCKWOOD DRIVE
ROME, GA 30161                                HOUSTON, TX 77016

JONATHAN BROUGHTON                            JOSE ENRIQUE CARNEJO BANDA
2000 BOULDERCREST ROAD                        13535 SRALLA ROAD
E-14                                          CROSBY, TX 77532
ATLANTA, GA 30316
                                              JOSE MEDINA
JONATHAN MISCHKE                              7811 BOVIS COURT
188 JESSIE ROAD OR 9TH STREET                 LIVE OAK, TX 78233
TRINITY, TX 75862
                                              JOSE SIERRA
JONATHAN MOORE                                1008 N VALLEY MILLS DRIVE
2815 VIRGINIA ROAD                            APT 226
AUGUSTA, GA 30906                             WACO, TX 76710

JONATHAN NAUNDORFF                            JOSEPH BOYD
7105 MCCAIN BLVD                              659 REDLAND DR.
WARHAW, NC 28173                              JONESBORO, GA 30238

JONATHAN PATMAN                               JOSEPH COLE
1605 SAN GABRIEL AVENUE                       700 MLK JR AVENUE
DECATUR, GA 30032                             APT C-10
                                              SANDERSVILLE, GA 31082
JONATHAN ROY
1095 COUNTY ROAD 116                          JOSEPH FERRARA JR
FORT PAYNE, AL 35968                          760 HIGHWAY 102 W
                                              AYDEN, NC 28513
JONATHON BATSON
56 JONES CIRCLE                               JOSEPH HANCOCK
GADSDEN, AL 35901                             2955 KEMBLEWICK DRIVE
                                              APT 208
JONI HINSON                                   MELBOURNE, FL 32935
548 CACTUS LANE
HARTSVILLE, SC 29550                          JOSEPH LEE COSLAN
                                              PO BOX 135
JONITA DOWELL                                 INDEPENDENCE, LA 70443
4190 MONTEREY
MEMPHIS, TN 38128                             JOSEPH MALLOY
                                              6612 LAKE PARK DRIVE
JORDAN HUNTER                                 GREENBELT, MD 21060
34 SOMERSET DRIVE
SUMTER, SC 29150                              JOSEPH SHIVER
                                              113 HARRY GREEN ROAD
JORDAN JONES                                  EASTOVER, SC 29044
115 HOLMES STREET
HAWKINS, TX 75657                             JOSEPH WILLIAMS
                                              214 GOLDEN WAY
JORDAN SAWYERS                                AUGUSTA, GA 30906
754 WOODBRIAR DRIVE
MT AIRY, NC 27030                             JOSH CRAIG
                                              3624 WALAHALLA HWY
JORGE CORDON                                  SIX MILE, SC 29682
305 TABOR STREET
HOUSTON, TX 77009                             JOSH GRIFFIN
                                              104 CUMBERLAND RD
JOSE ALVARENGA                                GRIFFIN, GA 30224
806 W MONTEREY STREET
CARLSBAD, NM 88220                            JOSH HIRST
                                              5664 W 5300 SOUTH
                                              HOOPER, UT 84315
      Case 19-15175-abl   Doc 31   Entered 08/26/19 17:22:59     Page 621 of 648


JOSH LIPHAM                                 JOSLYNN WILLIER
2531 SHORTER AVENUE                         2531 SHORTER AVENUE
LOT 88                                      LOT 88
ROME, GA 30165                              ROME, GA 30165

JOSHUA ANDERSON                             JOSSEY ROMERO
981 WEST UNION ROAD                         14300 SW 121ST PLACE
WALHALLA, SC 29691                          MIAMI, FL 33186

JOSHUA BRALEY                               JOSTEN COMPTON
9270 FM 1793                                121 JULIA HELEN DRIVE
MARSHALL, TX 75670                          SAN ANTONIO, TX 78222

JOSHUA BRITTON                              JUAN JOFRE
487 SPRING BRANCH DRIVE                     2308 OLD COMPTON ROAD
CHARLESTON, WV 25312                        APT A
                                            HARVEY, LA 70058
JOSHUA COMPTON
2891 SPRINGDALE ROAD                        JUAN THOMAS HERBERT, SR.
ATLANTA, GA 30315                           8715 S. CLAIBORNE AVENUE
                                            NEW ORLEANS, LA 70118
JOSHUA DULA
849 CORPENING PLACE                         JUANN JONES
LENOIR, NC 28645                            7911 CYPRESS EDGE DRIVE
                                            CYPRESS, TX 77433
JOSHUA LAFITTE
1825 RIDGEFIELD AVENUE                      JUDY GUILLOTTE
APT 1                                       1179 BENOIST FARMS ROAD
THIBODAUX, LA 70301                         APT 205
                                            W PALM BEACH, FL 33411
JOSHUA LYNCH
1613 ROYSTER ROAD                           JULIE BURCH
FT WORTH, TX 76134                          172 POWEL CIRCLE
                                            FLOMATON, AL 36441
JOSHUA MEGGINSON
5103 ELAINE DR.                             JUSITN CONNOLLY
CHARLESTON, WV 25306                        1051 BROOKVIEW LANE
                                            HAMPTON, GA 30228
JOSHUA SAVARD
80 GANN ROAD                                JUSTIN ARMSTEAD
OXFORD, AL 36203                            5418 THYME LANE
                                            BAYTOWN, TX 77521
JOSHUA VALENZEULA
6117 FARRAGUT                               JUSTIN CONNOLLY
SAN ANTONIO, TX 78238                       1051 BROOKVIEW LANE
                                            HAMPTON, GA 30228
JOSHUA WATTS
3625 STANLEY AVENUE                         JUSTIN MCCLAIN
FT WORTH, TX 76110                          2608 BEAL STREET
                                            DELTONA, FL 32738
JOSHUA WHITAKER
5020 W. PEORIA AVE.                         JUSTIN MORGAN
APT. 126                                    1221 GALLTIN COURT
GLENDALE, AZ 85302                          LOVEJOY, GA 30228

JOSHUA WRIGHT                               JUSTIN ROSCOE
121 HERITAGE STREET                         2275 CLIFTON SPRINGS ROAD
GREENVILLE, NC 27858                        DECATUR, GA 30034

                                            JUSTIN WALKER
                                            830 MONTAGUE ROAD
                                            ANGIER, NC 27501
      Case 19-15175-abl    Doc 31   Entered 08/26/19 17:22:59       Page 622 of 648


KADEEM WASHINGTON                            KAREN BALDWIN
146 BASKERVILLE COURT                        2078 LOUIS XIV LANE
APT C                                        COLLEGE PARK, GA 30349
DANVILLE, VA 24541
                                             KAREN WRIGHT
KAILEY HARLEY                                344 BLUE HERON DRIVE
4936 RANCHO COURT                            MONTICELLO, GA 31064
WINSTON, GA 30187
                                             KASHTON HARSHAW
KAITLYN JOHNSON                              122 SUNSET STREET NW
1515 HOGANSVILLE RD                          LENOIR, NC 28645
APT 150
LAGRANGE, GA 30241                           KATHRINA TINSON
                                             128 CAMILLE STREET
KALA PARRISH                                 LAFAYETTE, LA 70503
614 W WHITSETT STREET
GRAHAM, NC 27253                             KATHY STORM
                                             203 KENWOOD ROAD
KALEEL MILLENDER                             FAYETTEVILLE, GA 30214
329 BEAUVILLE DRIVE
KINSEY, AL 36301                             KATRINA BROWN
                                             5270 BORDEN ROAD
KALEN WILSON                                 REMBERT, SC 29128
1640 N 44TH STREET
BATON ROUGE, LA 70802                        KATRYNA DIXON
                                             715 GLENDALE AVENUE
KALILAH COOK                                 DANVILLE, VA 24541
2418 PIERING DRIVE
LITHONIA, GA 30038                           KAYID MCINTOSH
                                             271 MOOSE LODGE ROAD
KALISHA KINSLOW                              GRIFFIN, GA 30224
5840 NEWTOWN ARCH
VIRGINIA BEACH, VA 23462                     KAYLA GADDIS
                                             8380 HIGHWAY 54
KAMEKO O'NAN                                 SHARPSBURG, GA 30277
108 TAYLOR STREET
CLAY, KY 42404                               KAYLUH GRENIER
                                             9665 WHITEFIELD AVE.
KAMERON WILKIE                               LOT 14
71 E. 7TH ST.                                SAVANNAH, GA 31406
GREENVILLE, SC 29611
                                             KEAIRRA FELDER
KAMRON BURGESS                               700 BOWEN DRIVE
119 FREEMAN ROAD                             SUMTER, SC 29150
BARNESVILLE, GA 30207
                                             KEEGAN BROWN
KANDY VEASEY                                 116 HILL COURT
2561 LEE RD 201                              SEBRING, FL 33875
SALEM, AL 36874
                                             KEENAN WILLIAMS
KAREEM MILLS                                 115 TOWER GATE PLACE
6238 CREEKFIELD LANE                         ATLANTA, GA 30350
LITHONIA, GA 30058
                                             KEESHA ATKINSON
KAREEM MORELAND                              2016 A SHADOWOOD COURT
77 SPRINGSIDE DRIVE                          GREENVILLE, NC 27858
ATLANTA, GA 30354
                                             KEFIM ROBINSON
KAREN ALDERSON                               604 E BLOUNT STREET
254 OLD HIGHWAY 64 EAST                      PENSACOLA, FL 32503
HAYESVILLE, NC 28904
      Case 19-15175-abl         Doc 31   Entered 08/26/19 17:22:59      Page 623 of 648


KEISHA SMITH                                      KENNARD WALKER
1421 LOGAN STREET                                 7032 MARVIN AVENUE
JACKSONVILLE, FL 32209                            JACKSONVILLE, FL 32208

KEITH BORDEN                                      KENNETH DAKOTA RYAN BORDERS
935 VERMONT                                       511 COX STREET
COLUMBIA, SC 29203                                CAMPBELLSVILLE, KY 42718

KEITH CAMPBELL                                    KENNETH DUPREE
1543 BOWIE AVENUE                                 PO BOX 962
COLUMBUS, GA 31903                                ELLAVILLE, GA 31006

KEITH WISE                                        KENNETH MYRICK
792 LANGFORD STREET                               11665 FM 1008
PROSPERITY, SC 29127                              DAYTON, TX 77535

KEITH WRIGHT                                      KENNY FLOYD
2352 POLAR ROCK AVENUE                            554 GOLDROCK ROAD
ATLANTA, GA 30315                                 ROCKY MOUNT, NC 27804

KEL PURDIE                                        KENNY HELMS
985 ELKTON ROAD                                   1418 VALLEY DRIVE
CLARKSTON, NC 28433                               ATTALLA, AL 35954

KELDRICK BAILEY                                   KENTAVIUS DUNSON
3047 BROADWAY AVENUE                              1246 MOOTY BRIDGE ROAD
JACKSONVILL, FL 32254                             APT 3
                                                  LAGRANGE, GA 30241
KELLY COMBS
1414 WESTWOOD DRIVE                               KENYA MILLS
WINCHESTER, KY 40391                              585 SEDDON DRIVE
                                                  SUMTER, SC 29150
KELSEE ROBISON
411 CURTIS ROAD                                   KENYATTA SHELTON
GREENVILLE, SC 29611                              1357 SHOREHAM DR.
                                                  COLLEGE PARK, GA 30349
KELVIN DAVIS
2517 HWY 111                                      KEOKA ALEXIS
LITTLE RIVER, SC 29566                            818 COLCORD AVENUE
                                                  APT 5305
KELVIN TATE                                       WACO, TX 76707
850 GRIFFIN ROAD
LOT 4 B                                           KERRY HARDIN
ALLENHURST, GA 31301                              3335 GARDEN DRIVE
                                                  APT 114
KELVIN WHITE                                      WACO, TX 56706
348 BROOKWOOD DRIVE
ANNISTON, AL 36206                                KESHA BASS
                                                  4869 PLYMOUTH TRACE
KENAN MASSEY                                      DECATUR, GA 30035
529 MARTIN LUTHER KING JR AVE
SANDERSVILLE, GA 31082                            KEVIN ANDERSON
                                                  722 SOUTH 150 W
KENDALL EDWARDS                                   TREMONTON, UT 84337
348 BROOKWOOD DR.
ANNISTON, AL 36201                                KEVIN BANKS
                                                  3771 LAVILLA DRIVE
KENDRICK FARROW                                   POWDER SPRINGS, GA 30127
514 BALBOA STREET
GREENSBORO, NC 27405                              KEVIN DANIELS
                                                  1545 ACORN FOREST
                                                  STONE MOUNTAIN, GA 30088
     Case 19-15175-abl       Doc 31   Entered 08/26/19 17:22:59     Page 624 of 648


KEVIN HAMPTON                                  KIARA CANNON
117 MOUNT CARMEL ROAD                          116 WALKER DRIVE
SENOIA, GA 30276                               MILLEDGEVILLE, GA 31061

KEVIN LEE                                      KIARA TYLER
3626 WASHINGTON AVENUE                         110 BAYWOOD DRIVE
NEW ORLEANS, LA 70125                          MILLEDGEVILLE, GA 31061

KEVIN SHEPPARD                                 KIERA WILSON
2208 HILL AVENUE                               127 KIRT'S RIDGE
GADSDEN, AL 35904                              JACKSON, GA 30233

KEVIN STEWART                                  KIMBERLEY PFAFF
115 MOCKINGBIRD RD.                            655 MORRIS DEMPS ROAD
HALLSVILLE, TX 75650                           SPARTA, TN 38583

KEVIN TEJEDA                                   KIMBERLY DAVIS
247 SANDRA DRIVE                               87 HIWON DRIVE
LILBURN, GA 30047                              CONROE, TX 77304

KEYANNA BROWN                                  KIMBERLY FRANKLIN
289 WHITWORTH COURT SW                         6815 KENNY LANE
ATLANTA, GA 30331                              PORTSMOUTH, VA 23703

KEYANTE TOMPKINS                               KIMBERLY HIPPS
11745 EAST 9TH STREET                          219 BANNISTER STREET
INDIANAPOLIS, IN 46229                         BELTON, SC 29627

KEYONA NOEL                                    KIMBERLY NEWSOM
1919 W. 9TH ST.                                1022 FRIENDLY ROAD
TEXARKANA, TX 75501                            LOT 4
                                               EDEN, NC 27288
KEYSHAWN REDDICE
515 BLVD ROAD                                  KIMBERLY WILEY
SUMTER, SC 29150                               5461 CR 961
                                               BRAZORIA, TX 77422
KHALIDIS GODDARD
143 SOUTH MAIN STREET                          KIRBY BONNET
MILLEDGEVILLE, GA 31061                        322 HARBOR MIST DRIVE
                                               CROSBY, TX 77532
KHAMARI WILLIAMS
1640 S LOWE AVENUE                             KIRSTAN FOX
CHICAGO, IL 60628                              2197 BLEVINS CREEKS ROAD
                                               ELK PARK, NC 28622
KHARY SMITH
329 NE 2ND STREET                              KORTNI HARLEY
APT 4                                          4232 DANIEL DRIVE
HALLANDALE BEACH, FL 33009                     WINSTON, GA 30187

KHELON ROBINSON-FRASER                         KRISTEN CARLSON
25373 HEMLOCK AVENUE                           288 MADISON AVENUE
MORENO VALLEY, CA 92557                        HANOVER, IN 47243

KIANA SINGLETARY                               KRISTI ANDERSON
4405 OLD CHAPEL HILL ROAD                      2700 WEST C STREET
DURHAM, NC 27707                               GREELEY, CO 80631

KIANTE BERRY                                   KRISTIN SHIREMAN
4637 BURKS ROAD                                3096 MOBLEY BRIDGE RD. APT. C
FOREST PARK, GA 30297                          HOGANSVILLE, GA 30230
      Case 19-15175-abl      Doc 31   Entered 08/26/19 17:22:59     Page 625 of 648


KRYSTAL GIORDANO                               LAKESHIA GRANT
2930 US HWY 98 N                               103 WEST WALNUT STREET
UNIT 4108                                      APT C-4
LAKELAND, FL 33805                             MONTEZUMA, GA 31063

KRYSTEN PULSIFER                               LAKEVIOUS RILEY
1302 QUAIL HOLLOW DRIVE                        1400 CROMARTIE BEACH DRIVE
WARSAW, NC 28398                               ALBANY, GA 31705

KY'AIR BREWSTER                                LAKITSHA WOODARD
13302 WALDROP CV                               511 NORFOLK ST.
DECATUR, GA 30034                              WILSON, NC 27893

KYLE JACKSON                                   LAMAR ASTIN
248 CLEMSON PLACE                              4900 DELANO ROAD
APT 402                                        APT 11-H
KENNER, LA 70065                               COLLEGE PARK, GA 30349

KYRA PIPKIN                                    LAMONT BROWN
2260 CHEVALIER PLACE                           420 PERRY STREET
MERRITT ISLAND, FL 32952                       ELIZABETH CITY, NC 27909

L'MONTE ROBERTSON                              LAMONZE ROBINSON
1605 WESTFIELD COURT                           5415 TUCKER PHILLIPS DRIVE
LAWRENCEVILLE, GA 30043                        WINGATE, NC 28174

LAQUINTAY BERNARD WHISNANT                     LANAY SWANN
6006 MAPLE VALLEY DRIVE                        97 IDA STREET
SHELBY, NC 28150                               DANVILLE, VA 24540

LATONJA WILLIAMS                               LANCE FULGIUM
5228 LAKEVIEW COURT                            4079 STEAM MILL ROAD
NEW ORLEANS, LA 70126                          COLUMBUS, GA 31907

LATOYA WILLIAMS                                LANDRICK CLEMONS
4873 PINNACLE DRIVE                            180 LOGANS DRIVE
STONE MOUNTAIN, GA 30088                       MILLEDGEVILLE, GA 31061

LADRE ROBERTSON                                LANORRIS CHAPPELL
2343 BASSWOOD DRIVE                            1147 HUBBARD ST.
AUGUSTA, GA 30906                              ATLANTA, GA 30310

LAKASHA RICH                                   LAQUAN LITTLE
2651 FAVOR ROAD                                2780 NAPIER AVENUE
APT 1J05                                       MACON, GA 31204
MARIETTA, GA 30060
                                               LAQUAVIOUS ROBINSON
LAKEASHA HOWARD                                107 GLASS ROAD
PO BOX 1172                                    VALLEY CITY, AL 36854
ZEPHYRHILLS, FL 33539
                                               LARICIA THOMAS
LAKEISHA PARKS                                 518 RHEY STREET
1612 GROVES BLVD                               WATERLOO, IA 50703
NORTH AUGUSTA, SC 29841
                                               LARRY FORBES
LAKEITHIA DIXON                                1100 OAKLAND AVENUE
C/O 329 BEAUVILLE DRIVE                        FLORENCE, SC 29506
KINSEY, AL 36301
                                               LARRY LEE NEWSOM
LAKELA ROBINSON                                1181 CRAIG MOORE ROAD
3700 N 22ND ST                                 LEWSBURG, TN 37091
WACO, TX 76708
     Case 19-15175-abl      Doc 31   Entered 08/26/19 17:22:59     Page 626 of 648


LARRY MATTHEWS                                LAVONE OGLE
2516 S GALVEZ STREET                          11277 TOWN COUNTRY DRIVE
NEW ORLEANS, LA 70130                         RIVERSIDE, CA 92505

LARRY WATSON                                  LAVONTE' GRIMES
4701 FORT AVENUE                              112 SCHOOLHOUSE LANE
WACO, TX 76710                                APT 112
                                              DUBLIN, GA 31021
LASHELLE SPANN
3575 OAKDALE ROAD                             LEAH LONG
DECATUR, GA 30034                             1625 EAST 13TH STREET
                                              JACKSONVILLE, FL 32206
LASHONDA DAWKINS
1517 GLASSY MILL ROAD                         LEAH MIMS
AUBURN, AL 36830                              205 SILVER CREEK LANE
                                              STOCKBRIDGE, GA 30281
LATASHA IVORY
960 LAKE VICTORIA DRIVE                       LEANDRA JACKSON
APT A                                         3030 HOMESTEAD DRIVE
W PALM BEACH, FL 33411                        MONTGOMERY, AL 36108

LATASHA NEWSOME                               LEATHA BRELAND
5715 BEMISS ROAD                              806 S KILBOURNE ROAD
LOT 4                                         COLUMBIA, SC 29206
VALDOSTA, GA 31605
                                              LEON PRIDE
LATESHA GUPTON                                7009 PROSPERITY PK ROAD E
5 HODGES WAY                                  JACKSONVILLE, FL 32244
FRANKLINTON, NC 27525
                                              LEONA EDWARDS
LATIKA RANDOLPH                               1341 BRIAR RIDGE LANE
925 N 26TH STREET                             JONESBORO, GA 30238
APT 19
WACO, TX 76707                                LEONARD JACKSON
                                              4875 SAVOIE COURT
LATISHA WINGHAM                               NEW ORLEANS, LA 70129
285 MITCHELL STREET
MCKENZIE, TN 38201                            LEONEL ESPINOZA
                                              1627 NW 3RD STREET
LATRISHA REDFIELD                             APT 3
C/O 2326 TUBMAN HOME ROAD                     MIAMI, FL 33125
AUGUSTA, GA 30906
                                              LESLIE CHAMLEE
LAURA ROGERS                                  6 CLIFFVIEW DRIVE
2564 JACKSON STREET                           APT 3
LARAMIE, WY 82070                             ROME, GA 30165

LAURA SMITH                                   LESTER ARNOLD
981 WEST UNION ROAD                           1714 ATHERTON DR.
WALHALLA, SC 29691                            DECATUR, GA 30035

LAUREN MARTIN                                 LETROIL TOWNSEND
3036 ALABAMA HWY 40                           4727 ALLENDALE DRIVE
DUTTON, AL 35744                              MEMPHIS, TN 38128

LAUREN STORM                                  LEVI BELL
203 KENWOOD ROAD                              174 ASHLEY DRIVE
FAYETTEVILLE, GA 30214                        MCDONOUGH, GA 30252

LAUREN TAYLOR MONCRIEF                        LEVI KNOWLES
PO BOX 696                                    300 MARION STREET
JACKSON, GA 30233                             THOMASTON, GA 30286
      Case 19-15175-abl   Doc 31   Entered 08/26/19 17:22:59        Page 627 of 648


LEX HUTCHINS                                LUTHER SKINNER
4285 HWY 81W                                100 SUTTON DRIVE
LOT 3                                       LAGRANGE, NC 30241
HAMPTON, GA 30228
                                            LUWATA DUNBAR
LINDA SUMNER                                817 3RD STREET SE
5480 MEADOW OAKS PARK                       MOULTRIE, GA 31768
JACKSON, MS 39211
                                            LYNN TAVARES
LINDSEY GODBY                               178 AMBROSE CIRCLE
1341 BRIAR RIDGE LANE                       JACKSON, GA 30233
JONESBORO, GA 30238
                                            LYNSEY OBLISK
LIONELL JENKINS                             20574 WHITE BARK DRIVE
5004 PRINCELY AVENUE                        STRONGSVILLE, OH 44149
JACKSONVILLE, FL 32208
                                            MACHELLE MC MCGAHA
LISA BIDDY                                  258 LOVE & CARE ROAD
208 BLUE HERON DRIVE                        SIX MILE, SC 29682
MONTICELLO, GA 31064
                                            MACKEAL RAWLS
LISA BURSTON                                209 RAVEN WOOD WAY
207 DARTH MAUL DRIVE                        WARNER ROBBINS, GA 31093
GROVER, NC 28073
                                            MADALYNN HARPER
LISA COGGINS                                315 GRADY STREET
16335 HWY 268                               GADSDON, AL 35904
ELKIN, NC 28621
                                            MAIDSON BENTON
LISA JOHNSON                                53489 ROCK RIDGE DRIVE
2121 PARROTT AVENUE                         LORANGER, LA 70446
WACO, TX 76707
                                            MAKENZIE BROWN
LISA LUCAS                                  1414 WESTWOOD DRIVE
12970 FAIRGREEN ROAD                        WINCHESTER, KY 40391
DOVER, FL 33527
                                            MALACHI BUIE
LLOYD ADAMS                                 4307 NE 70TH PLACE
764 MIDWAY CREEK ROAD                       GAINESVILLE, FL 32609
MURPHY, NC 28906
                                            MALCOLM PETTIGREW
LOGAN FRANKS                                1232 FAIRLAWN DRIVE
39 TENCY LANE                               RANTOUL, IL 61866
ROME, GA 30165
                                            MALCOM JENKINS
LORENZO GAINES                              2752 TERRELL RIDGE COURT
1710 PERRY AVENUE                           MARIETTA, GA 30067
BASTROP, LA 71220
                                            MALEENA MAESTAS
LUIS DE LA ROSA                             5664 W 5300 S
3305 SARAH LANE                             HOOPER, UT 84315
LAGRANGE, NC 28551
                                            MALIK DOZIER
LUIS MANDUJANO                              4858 MONTEGUT DRIVE
1051 HIRSCH BLVD.                           NEW ORLEANS, LA 70126
CALUMET CITY, IL 60409
                                            MALIK HALL
LUIS MANDUJANO                              665 BOOKER T WASHINGTON
1051 HIRSCH BLVD                            CLARKTON, NC 28433
CALUMET CITY, IL 60409
     Case 19-15175-abl        Doc 31   Entered 08/26/19 17:22:59     Page 628 of 648


MALIK JONES                                     MARCY WALKER
720 TIDEWATER CIRCLE                            10122 ROAD 246
APT 15D                                         UNION, MS 39365
MACON, GA 31211
                                                MARGARET BLOUNT
MALIK WILLIAMS                                  280 RICHARDSON STREET
6345 HEIRS DRIVE                                APT 2
REMBERT, SC 29128                               ATLANTA, GA 30312

MALISHA STEPNY                                  MARGARET KING
302 NORTH STEEL STREET                          1864 GLENN ECHO DRIVE
SANFORD, NC 27330                               DECATUR, GA 30332

MANDY RAY CRUMP                                 MARGARET LIPSIE
4867 RED TOP DRIVE                              A 1982 MARYLAND AVENUE
ACWORTH, GA 36102                               WINSTON-SALEM, NC 27101

MANEIKA RIDLEY                                  MARGO MORRISON
5401 OLD NATIONAL HWY                           4789 BOX ELDER STREET
APT 707                                         SALT LAKE CITY, UT 84107
COLLEGE PARK, GA 30349
                                                MARIA BROWN
MARCEL SIMPSON                                  5834 COLONNADE DRIVE
813 8TH STREET                                  REX, GA 30273
LAUREL, MD 20707
                                                MARIE BARTELL
MARCHAND BARNES                                 204 E 4TH STREET
1895 OLD CLINTON ROAD                           APT A
APT 504                                         FOSTORIA, OH 44830
MACON, GA 31211
                                                MARIO GOODEN
MARCIA BONNER                                   751 FAIRBURN ROAD SW
29 COYOTE LANE                                  APT 2104
LUMBER CITY, GA 31549                           ATLANTA, GA 30331

MARCIA HENRY-BAILEY                             MARIO GRISSOM
19501 WEST LITTLE YORK ROAD                     7025 WINK FIELD PLACE
KATY, TX 77449                                  ATLANTA, GA 30349

MARCUS BROWN                                    MARIO MALCOLM
PO BOX 1172                                     1420 EDENFIELD COURT
ZEPHYRHILLS, FL 33539                           LITHONIA, GA 80058

MARCUS EADDY                                    MARIO MALCOLM
3513 LYNVIEW COURT W                            1420 EDENFIELD CT
DECATUR, GA 30034                               LITHONIA, GA 30058

MARCUS EDWARDS                                  MARION POPE
14706 N 132ND COURT                             2399 WEXFORD DRIVE
SUPRISE, AZ 85379                               COLLEGE PARK, GA 30349

MARCUS FORD                                     MARION PRINGLE
1724 ATHERTON DRIVE                             5075 DENNIS ROAD
DECATUR, GA 30035                               REMDART, SC 29128

MARCUS VARNER                                   MARK ANTHONY MCDANIEL, JR.
6972 PINE SHADOW WAY                            405 LADY GUENIVERE WAY
WINSTON, GA 30187                               JONESBORO, GA 30236

MARCUS YBARRA                                   MARK ANTHONY MCDANIEL, SR.
4022 DOGWOOD HILL STREET                        2915 THOMPSON CIRCLE
PASADENA, TX 77503                              DECATUR, GA 30034
     Case 19-15175-abl       Doc 31   Entered 08/26/19 17:22:59      Page 629 of 648


MARK CHRISTIAN RIDDICK                         MARVIN BRUCE WILLIS
1622 KENNINGS RD.                              2479 PERKERSON ROAD
CROSBY, TX 77532                               ATLANTA, GA 30315

MARK HICKS                                     MARVIN WESTBROOKS
4049 LONG LANE ROAD                            2964 CANFIELD DRIVE
COOKEVILLE, TN 38506                           APT E
                                               ST. LOUIS, MO 63136
MARK MONTANO
19310 PINEWOOD MIST LANE                       MARY ANN ADAMS
HUMBLE, TX 77346                               764 MIDWAY CREEK ROAD
                                               MURPHY, NC 28906
MARK VANDE VELDE
413 DALE DRIVE                                 MARY CRAWFORD
BURLINGTON, WI 53105                           181 BOB CORPUS LANE
                                               APT C
MARKAILA WIMBLEY                               MADISONVILLE, KY 42431
229 ANDY CARR AVENUE
ALCOA, TN 37701                                MARY CUMMINGS
                                               182 WENDOVER LANE
MARKAYLE FROST                                 ROANOKE RAPIDS, NC 27870
99 TIFFANY LANE
WARNER ROBBINS, GA 31093                       MARY SOUDER
                                               674 JETT ST. NW
MARKEITH REESE                                 ATLANTA, GA 30318
3355 MISTY VALLEY ROAD
DECATUR, GA 30032                              MATT WHALEY
                                               9555 COUNTY RD. 137
MARKEVIOUS WILLIAMS                            VALLEY HEAD, AL 35989
412 LOVETT
SANDERSVILLE, GA 31082                         MATTHEW ALLEN
                                               2414 BUCKINGHAM DRIVE
MARQUICE JOHNSON                               GREENVILLE, TN 37741
213 SHARON DRIVE
AMERICUS, GA 31709                             MATTHEW ARNOLD
                                               1155 SUBURBAN ACRES
MARQUIS LAGRANT                                MARSHALL, TX 75672
303 OLD DAIRY ROAD
AILY, GA 30410                                 MATTHEW BLAKE ALLEN
                                               11136 CHELSEA LANE
MARQUIS LANE                                   HAMPTON, GA 30228
391 PINEY HEIGHTS ROAD
WARRENSVILLE, SC 29851                         MATTHEW BULLIS
                                               1221 NEW BROWNS FORD ROAD
MARRIONTO PERRY                                WILKESBORO, NC 28697
2253 BOULDER SPRINGS DRIVE
ELLENWOOD, GA 30294                            MATTHEW EDWARDS
                                               8380 HIGHWAY 54
MARTIN MILLER                                  SHARPSBURG, GA 30277
3496 PRIMROSE ROAD
DECATUR, GA 30032                              MATTHEW GREEN
                                               11640 S. WATKINS
MARTINA FLOYD                                  CHICAGO, IL 60643
1239 12TH STREET
AUGUSTA, GA 30901                              MATTHEW VELA
                                               4121 ACREE
MARTY FOWLER                                   WACO, TX 76711
1550 LARIMER ST.
APT. 189                                       MATTHEW YARBROUGH
DENVER, CO 80202                               1007 ALEXANDRIA ROAD
                                               LOT 52
                                               JACKSONVILLE, AL 36265
      Case 19-15175-abl    Doc 31   Entered 08/26/19 17:22:59        Page 630 of 648


MAURICE PATRICK                              MEOSHI WILLIAMS
903 JONATHAN STREET                          3000 ECLIPSE LOOP
DOTHAN, AL 36301                             APT 3202
                                             AIKEN, SC 29801
MAURICE STANFORD
17064 CREGIER STREET                         MIAH MCSWAIN
S. HOLLAND, IL 60473                         467 FREDONIA CHURCH ROAD
                                             BARNESVILLE, GA 30204
MAURICE WILLIAMS
1040 ALEXANDER DRIVE                         MICHAEL ACORD
AUGUSTA, GA 30709                            601 WAVERLY LANE
                                             GRAND JUNCTION, CO 81504
MAXIE HELMS
PO BOX 374                                   MICHAEL BROUGHTON
DIANA, TX 75640                              80 GANN ROAD
                                             OXFORD, AL 36203
MAYA ATWATER
4900 DELANE ROAD                             MICHAEL DENNIS
APT 3A                                       3813 LELAND AVENUE
ATLANTA, GA 30349                            WACO, TX 76708

MCKINSEY LUCKETT                             MICHAEL EDWARDS
805 CARVER STREET                            7272 LEE ROAD 240
CARTHAGE, MS 39051                           APT 6
                                             PHENIX CITY, AL 36085
MEGHAN PICKENS
521 CUTRER AVENUE                            MICHAEL GAUTHIER
LAMBERT, MS 38643                            809 PINE STREET
                                             DONALDSONVILLE, LA 70346
MELINDA ROGERS
320 EDGE ROAD                                MICHAEL GEORGE
CEDARTOWN, GA 30125                          8583 SANTA ROSA
                                             FRISCO, TX 75033
MELISA EDWARDS
244 CR 3379                                  MICHAEL GERMANY
CLEVELAND, TX 77327                          3019 BRIGHTON COURT
                                             CONYERS, GA 30094
MELISSA LEGARE
2246 OAKRIDGE CONN                           MICHAEL GRIMES
BLACKSHEAR, GA 31516                         920 FORTNER STREET
                                             DOTHAN, AL 36303
MELISSA RATZLAFF
8583 SANTA ROSA                              MICHAEL HARROWAY
FRISCO, TX 75033                             1309 BONFORD PASS
                                             MARIETTA, GA 30064
MELVIN ANDREWS
2860 S. 200 E                                MICHAEL JAMISON
APT. 1                                       2945 LYME REGIS QUAY
SALT LAKE CITY, UT 84115                     VIRGINIA BEACH, VA 23452

MELVIN HUMPHREY                              MICHAEL LILES
2801 WALNUT BEND LANE                        445 OLD CHERAW HWY
APT 41                                       ROCKINGHAM, NC 28379
HOUSTON, TX 77042
                                             MICHAEL MANCHECK
MELVIN LONAS                                 13812 ASHLAND HEIGHTS
3250 SOUTEL DRIVE                            DIANA, TX 75640
JACKSONVILLE, FL 32208
                                             MICHAEL MCCALLISTER
MENIKA JOHNSON                               81 WEST ELM STREET
127 FLOWER CIRCLE                            CLAY, KY 42404
COLDWATER, MS 38618
     Case 19-15175-abl     Doc 31   Entered 08/26/19 17:22:59       Page 631 of 648


MICHAEL NOVAK                                MIKAEL FRAILS
474 4TH STREET REAR APT                      1612 GROOVES BLVD
TROY, NY 12180                               NORTH AUGUSTA, SC 29841

MICHAEL REED                                 MIKE DAVIS
4371 GLENWOOD ROAD                           711 ELM STREET
APT I9                                       ATLANTA, GA 30308
DECATUR, GA 30083
                                             MIKEL SCOTT
MICHAEL REILAND                              1640 N 44TH STREET
238 STUART AVENUE                            BATON ROUGE, LA 70802
CHUBBUCK, ID 83202
                                             MILES WHITE
MICHAEL REIVES                               1190 TARA ROAD
2388 HARMONY RIDGE COURT                     JONESBORO, GA 30238
LITHONIA, GA 30058
                                             MILLARD RICH
MICHAEL SHAW                                 2531 SHORTER AVE.
670 CR 315 SOUTH                             LOT #88
INDEPENDENCE, FL 32148                       ROME, GA 30165

MICHAEL STANLEY                              MILTON GRIER
213A HENDERSON DR.                           2402 GRAYWALL STREET
JACKSONVILLE, NC 28540                       EAST POINT, GA 30344

MICHAEL SUBER                                MILTON LEWIS
1821 W BROAD AVENUE                          3848 S. DEERWOOD
ALBANY, GA 31707                             HARVEY, LA 70058

MICHEL K. STEELE                             MINMEY AHMED
2713 SANDALWOOD DRIVE                        333 LAKE MONTONIA ROAD
SANDY SPRINGS, GA 30350                      KINGS MOUNTAIN, NC 38086

MICHELE BROWN                                MITCHELL EDWARDS
1414 WESTWOOD DRIVE                          8380 HWY 54
WINCHESTER, KY 40391                         SHARPSBURG, GA 30277

MICHELLE ACHUFF                              MOHAMED TARIQ SAMIDON
4867 RED TOP DRIVE                           UNKNOWN
ACWORTH, GA 30102                            UNKNOWN
                                             UNKNOWN, CA
MICHELLE BARNARD
117 CHEROKEE NATION LANE                     MOLLI MCLEOD
JACKSONVILLE, NC 28540                       5845 CHARLIE LITTLE ROAD
                                             GRANITE FALLS, NC 28630
MICHELLE CLARK
215 SMITH ROAD SW                            MONA LISA OLIVE
ROME, GA 30165                               217 RALIEGH AVENUE
                                             CAROLINA BEACH, NC 28428
MICHELLE RAYMOND
171 HICKMAN AVENUE                           MONAY DAVE
HUDSON, NC 28638                             PO BOX 56732
                                             ATLANTA, GA 31156
MICQUAIL CLARK
2304 LAURA COURT                             MONICA CHISOLM
APT B                                        153 N FRANKLIN DRIVE
MILLEDGEVILLE, GA 31061                      FLORENCE, SC 29501

MIGUEL MATHIS                                MONTAVIER SANDERS
4304 LUKE WAY                                105 WISTERIA WAY
ELLENWOOD, GA 30294                          COVINGTON, GA 30016
     Case 19-15175-abl      Doc 31   Entered 08/26/19 17:22:59       Page 632 of 648


MONTAVIOUS ADAMS                              NATHANIEL HOOK
3575 OAKVALE ROAD                             4867 RED TOP DRIVE
DECATUR, GA 30034                             ACKWORTH, GA 30102

MONTRAY CELESTINE                             NATHANIEL SHEAD
2601 ROOSEVELT HWY                            4701 FLAT SHOALS RD.
APT. A3                                       UNION CITY, GA 30291
COLLEGE PARK, GA 30337
                                              NATIONAL MERCHANDISING SERVICES, LLC
MONY PRYOR                                    350 STONEWALL AVENUE W
3661 EAGLESFIELD S                            FAYETTEVILLE, GA 30215
APT 1
MEMPHIS, TN 38118                             NATIONAL RESETS & REMODELS, LLC
                                              4232 DANIEL DR.
MYAREION TINSON                               C/O KORTNI HARLEY
548 HIGHWAY 90                                WINSTON, GA 30187
APT 218
WARELAND, MS 39576                            NATIONAL STORE RETAIL SERVICES, LLC
                                              350 STONEWALL AVENUE W
MYKEL MCCREA                                  FAYETTEVILLE, GA 30215
3925 WEST ROBSON STREET
TAMPA, FL 33614                               NATYJAH GILLIAM
                                              8005 ROSEWOOD AVENUE
MYRON TINSON                                  CLEVELAND, OH 44105
18973 HWY 15
POINTA LATTACH, LA 70082                      NAYLAEMMA EVORA GONZALEZ
                                              14300 SW 121ST PLACE
NAKIA HARPER                                  MIAMI, FL 33186
809 RUE DE LASALLE STREET
WAVELAND, MS 39576                            NELDA MARIE BRITT
                                              PO BOX 403
NAMON MAZYK                                   DIANA, TX 75640
5270 BORDEN RD.
REMBERT, SC 29128                             NEVA JACKSON
                                              303 SANDPIPER DRIVE
NANCY KITCHENS                                PORTSMOUTH, VA 23704
22846 HWY 22 EAST
DAVISTON, AL 36256                            NEVADA DEPARTMENT OF TAXATION
                                              BANKRUPTCY SECTION
NANCY THOMAS                                  555 E. WASHINGTON AVE., #1300
9001 KINGCREST PKWY                           LAS VEGAS, NV 89101
BATON ROUGE, LA 70810
                                              NIC'JAHA HAMILTON
NATASHA MARTIN                                515 EAST DOVER STREET
7365 EDMONTON ROAD                            APT A2
COLUMBIA, KY 42728                            SHELBY, NC 28150

NATHAN MAYE                                   NICHOLAS HARTMAN
629 GREEN VALLEY RAOD                         4076 CASALOMA DRIVE
GADSDEN, AL 35905                             DECATUR, GA 30034

NATHAN QUINN                                  NICHOLAS HINTON
10380 BRIARBAY DRIVE                          514 ANNISTON AVENUE
JONESBORO, GA 30238                           PIEDMONT, AL 36272

NATHANIEL CLAY                                NICHOLAS LEWIS
408 WARD ST                                   1901 RITCHER
WANER ROBINS, GA 30281                        WACO, TX 76711

NATHANIEL HAYNES                              NICHOLAS MILLER
5485 MONCRIEF ROAD W                          6847 RICHARDSON ROAD
JACKSONVILLE, FL 32219                        JACKSONVILLE, FL 32209
      Case 19-15175-abl     Doc 31   Entered 08/26/19 17:22:59        Page 633 of 648


NICKOLAS JONES                                OMI OLUMUYIWA
1255 FM 1969                                  4307 NE 70TH PLACE
AVINGER, TX 75630                             GAINESVILLE, FL 32609

NICOLE EDWARDS                                ORVILLE BROOKS
3324 AVALON AVENUE                            14306 SHEPARD DRIVE
CHARLOTTE, NC 28208                           DOLTON, IL 60419

NICOLE MATTHEWS                               OSBOURNE CROOMS
1505 TERRACE ST.                              8430 N. POND DR.
ARLINGTON, TX 76012                           RIVERDALE, GA 30216

NICOLE MATTHEWS                               PABLO ESTRADA
1702 LACHELLE LANE                            5000 CLARMAR ROAD
ARLINGTON, TX 76010                           LOUISVILLE, KY 40299

NIGEL TOWLER                                  PACEE' MOSES
6106 HUNTER RIDGE CIRCLE                      6244 SILVERLEAF AVENUE
COLUMBUS, GA 31907                            BATON ROUGE, LA 70812

NIKITRA BENNETT                               PAIGELYN SMITH
3104 PARK AVENUE                              505 DIXON NURSERY ROAD
APT 203                                       BREWTON, AL 36426
KANSAS CITY, MO 64109
                                              PAM BAADER
NOBLE LEWIS                                   206 S STONE STREET
2133 VANDIVERE ROAD                           AUGUSTA, WI 54722
APT 7D
AUGUSTA, GA 30904                             PAMELA BULLIS
                                              1221 NEW BROWNS FORD ROAD
NORA ROBERTS                                  WILKESBORO, NC 28697
4021 CR 3502
WILLIS POINT, TX 75169                        PAMELA CRANE
                                              1048 FAIRVIEW ROAD
OCTAVIUS JOHNSON                              APT 11
171 ALLEN MEMORIA DR., SW                     BEECH ISLAND, SC 29842
MILLEDGEVILLE, GA 31061
                                              PARKER WAY
OLADUNI MCKINNEY                              553 STEMBRIDGE ROAD
4307 NE 70 PLACE                              MILLEDGEVILLE, GA 31061
GAINESVILLE, FL 32609
                                              PARTHENA STOKES
OLATUWON DAVIS                                9110 HUNTWOOD LANE
721 LINCOLN CIRCLE                            RIVERDALE, GA 30274
WASHINGTON, GA 30673
                                              PATRICIA PIXLEY
OLGA VELASQUEZ                                3000 ECLIPSE LOOP
26809 MERCED STREET                           APT 3202
MENIFEE, CA 92854                             AIKEN, SC 29801

OLTAVIOUS JOHNSON                             PATRICIA PIXLEY
114 JOHNSON HOUGH ROAD                        3000 ECLIPSE LOOP
HADDOCK, GA 31033                             APT 3202
                                              AIKEN, SC 29801
OMAR CHAVEZ
10131 TRADE WINDS DRIVE                       PATRICK BULLIS
HOUSTON, TX 77086                             1221 NEW BROWNS FORD ROAD
                                              WILKESBORO, NC 28697
OMARI JACKSON
480 WILLOW CREEK                              PATRICK DIDOMONICO
FAIRBURN, GA 30213                            213 FLORIDA AVENUE
                                              SPINDALE, NC 28160
      Case 19-15175-abl     Doc 31   Entered 08/26/19 17:22:59     Page 634 of 648


PATRICK GILES                                 QUANDARIS JOHNSON
333 ANGIER AVENUE                             391 PINE VALLEY DRIVE
APT 104 A                                     ROANOKE, AL 36274
ATLANTA, GA 30312
                                              QUANTERIAN ROLLINS
PATRICK NOLAN                                 1864 GLEN ECHO DRIVE
252 VICTORY ROAD                              DECATUR, GA 30032
FRANKLIN, GA 30217
                                              QUENESHA THORNTON
PATRICK PRICKETT                              8546 BRAYLEN MANOR DRIVE
2689 CATALINA DRIVE                           DOUGLASVILLE, GA 30134
GRAND JUNCTION, CO 81506
                                              QUENIDES URBAEZ
PAUL BARNES                                   89 HILLSIDE AVENUE
223 TWIN DRIVE                                DOVER, NJ 7801
CASEYVILLE, IL 62282
                                              QUENTIN VEAL
PAUL BUTLER                                   131 BURNEY ROAD
1014 NORTHFIELD CIRCLE                        GORDON, GA 31031
DOTHAN, AL 36303
                                              QUINCY HARRIS
PAULA WOODFORD                                21W549 NORTH AVENUE
625 SOUTH 28TH STREET                         LOMBARD, IL 60148
PADUCAH, KY 42003
                                              QUINTAVIOUS SMITH
PERCY HARRISON                                5401 OLD NATIONAL HWY
1164 CLYDESBANK STREET                        707
HARVEY, LA 77058                              COLLEGE PARK, GA 30349

PETER HERNANDEZ                               QUINTON MORELAND
109 N ROCHESTER STREET                        310 DEVON COURT
BURLINGTON, WI 53105                          FAIRBURN, GA 30213

PETER SAUJON                                  QUINTREZ FARLEY
1153 GRAND ANGE HWY                           433 STONE CREST COURT
BREAUX BRIDGE, LA 70517                       MACON, GA 31216

PETERSON FONROSE                              QULAVIA RIDLEY
11644 NW 23 ROAD                              5401 OLD NATIONAL HWY
CORAL SPRINGS, FL 33065                       APT 707
                                              COLLEGE PARK, GA 30349
PHYLLIS JOHNSON
702 GREENBURG STREET                          QULONDA BROWN
BOGALUSA, LA 70427                            1826 SHELTON ROAD
                                              JACKSONVILLE, FL 32211
PRECIOUS ELLINGTON
117 SOUTH LEISURE LANE SE                     QYDERRICKO HOLMES
LOT 6                                         1093 WEST AVENUE
MILLEDGEVILLE, GA 31061                       APT 121
                                              ATLANTA, GA 30315
PRINCESS CARTER
1724 ATHERTON DRIVE                           RACHAEL DUPRE
DECATUR, GA 30035                             204 ANGELLE DRIVE
                                              HOUMA, LA 70360
PRISCILLA SCOTT
449 BUTLER ROAD                               RACHEL MCHALE
LOT A10                                       1506 31ST AVENUE
DOTHAN, AL 36305                              GREELEY, CO 80634

QUAMAINE FLETCHER                             RACKWON PRICE
348 CROSS AVENUE                              808 MONTGOMERY STREET
WHITEVILLE, TN 38075                          WADESBORO, NC 28170
      Case 19-15175-abl     Doc 31   Entered 08/26/19 17:22:59    Page 635 of 648


RAHIEM DAVIS                                  RAUL HERNANDEZ JR.
C/O 2326 TUBMAN HOME ROAD                     19310 PINEWOOD MIST LANE
AUGUSTA, GA 30906                             HUMBLE, TX 77346

RAJEE HEARD                                   RAVEN BRITT
411 CURTIS ROAD                               PO BOX 374
GREENVILLE, SC 29611                          DIANA, TX 75640

RAMONE MOLIERE                                RAVEN WATKINS
7001 BUNDY ROAD                               3500 MEYERS LANE
APT C13                                       WACO, TX 76705
NEW ORLEANS, LA 70127
                                              RAYGINE ROBINSON
RANDALL LEGARE                                99 EVERGREEN TRAIL
2246 OAKRIDGE CONN.                           CARTERSVILLE, GA 30121
BLACKSHEAR, GA 31516
                                              RAYMON HUDSON
RANDALL OSBORNE                               2324 SWEETGUM DRIVE
4400 BROAD STREET                             BONIFAY, FL 32425
LOT 40
SUMTER, SC 29154                              RAYMOND BROWN
                                              2200 GODBY RD
RAQUEL LONG                                   APT. F3
72 FLETCHER STREET                            COLLEGE PARK, GA 30349
TONAWANDA, NY 14150
                                              RAYMOND GRIBBINS
RASHAD FORD                                   99 SUNFISH BEE SPRING ROAD
7270 BUCK CREEK DRIVE                         BEE SPRING, KY 42207
FAIRBURN, GA 30213
                                              RAYMOND JONES
RASHAD MERRIELL                               8682 LEWISBURG ROAD
3408 PAKENHAM DRIVE                           LEWISBURG, KY 42256
CHALMETTE, LA 70043
                                              REBECCA BOYD
RASHAD SELLERS                                179 CALVERT CITY CIRCLE
4343 CEDAR LAKE COVE                          BENTON, KY 42025
CONLEY, GA 30288
                                              REBECCA BROWN
RASHEED JOHNSON                               590 FURNIE FOLKS ROAD
5505 PEPPERTREE CIRCLE                        WEBB, AL 36376
APT C
ATLANTA, GA 30032                             REBECCA FINCHER
                                              230 LIBERTY HILL ROAD
RASHEEN SELLARS                               GRIFFIN, GA 30223
446 GRIFFIN ROAD SE
LOT 39                                        REBECCA KOENIG-GASPER
ALLENHURST, GA 31301                          523 BAY STREET
                                              CHIPPEWA FALLS, WI 54729
RASHIDA FIELDS
2905 ARROWHEAD DRIVE                          REBECCA WILSON
APT G4                                        399 FOUR POINTS ROAD
AUGUSTA, GA 30909                             JACKSON, GA 30233

RASHIDA WOMACK                                RECO ECKERSON
4900 N TAMIAMI TRAILE                         UNKNOWN
APT 153                                       UNKNOWN
SARASOTA, FL 34234                            UNKNOWN, WA

RASHONDA NDIKUM                               RECO RICHARDSON
1051 VILLA COURT SE                           169 NORTHTOWNE CORE
APT. 198                                      STOCKBRIDGE, GA 30281
ATLANTA, GA 30316
      Case 19-15175-abl   Doc 31   Entered 08/26/19 17:22:59      Page 636 of 648


REGINALD GRAHAM                             RICHARD KOENIG-GASPER
2511 LOUISE STREET                          523 BAY STREET
JOHNSON CITY, TN 37601                      CHIPPEWA FALLS, WI 54729

REGINALD LOVE                               RICHARD LONG
490 PINEY FORK LANE                         PO BOX 8894
COLLEGE PARK, GA 30349                      GALLATIN, TN 37066

REGINALD ROBERTS                            RICHARD SMITH, JR.
441 DORSEY ROAD                             6231 HWY 85
APT 4                                       RIVERDALE, GA 30274
ATLANTA, GA 30354
                                            RICHARD TEIRAN
REGINALD ROSS                               13914 CEDAR POINTE DRIVE
2305 N. FRANKLIN ST.                        HOUSTON, TX 77070
MARSHALL , TX 75670
                                            RICHARD UMANA
REGINALD WALTON                             200 KINGS POND DRIVE
2215 MARBUT FARMS TRACE                     APT 212
LITHONIA, GA 30058                          JACKSONVILLE, NC 28546

RENARDO HENDRIX                             RICKY HUMPHREY
858 HAVEN STREET                            5834 COLLONNADE DRIVE
ATLANTA, GA 30315                           REX, GA 30273

RENEE KING                                  RITA METTLE
3622 DREW STREET                            2850 HIGHVIEW DRIVE
JACKSONVILLE, FL 32207                      PO BOX 145
                                            CHIPLEY, FL 32428
RENEE LANDERS
4285 HWY 81                                 ROBERT BALKCOM
LOT 2                                       319 BEECHWOOD DRIVE
HAMPTON, GA 30228                           ROMEOVILLE, IL 60446

RHONDA DOWDY                                ROBERT BROOKS
464 PITTSBORO GOLDSTON ROAD                 1507 GALAXIE DRIVE
PITTSBORO, NC 27312                         DOTHAN, AL 36301

RHONDA SHELTON                              ROBERT BROWN
128 EDGEWOOD DRIVE                          210 SOUTH HUBBARD STREET
CEDARTOWN, GA 30125                         BONIFAY, FL 32425

RICARDO MARSHALL                            ROBERT CARTER
989 CLUBHOUSE CR WEST                       550 ROSEMONT DRIVE
APT A                                       DECATUR, GA 30032
DECATUR, GA 30032
                                            ROBERT FREEMAN
RICHARD BARNETT                             1206 S FOURTH STREET
935 DELMONT DRIVE                           AURORA, IL 60505
GADSDEN, AL 35901
                                            ROBERT MELTON
RICHARD BURK                                1372 N TWP ROAD 21
1837 HIGHLAND PLACE                         FOSTORIA, OH 44830
DECATUR, GA 30035
                                            ROBERT ORR
RICHARD GRAY                                1220 HWY 42 SOUTH
319 SUE CRAIG ROAD                          FLOVILLA, GA 30233
SIX MILE, SC 29682
                                            ROBERT PENMAN
RICHARD HAYES                               6002 RADFORD DRIVE
3707 A KIMBERLY LANE                        RIVERDALE, GA 30296
WILSON, NC 27893
     Case 19-15175-abl    Doc 31   Entered 08/26/19 17:22:59      Page 637 of 648


ROBERT PIERCE                               RODNEY YOUNG
802 PORTLAND AVENUE                         10948 LEJARDIN CIRCLE
COLUMBUS, GA 31906                          APT 202
                                            TEMPLE TERRACE, FL 33617
ROBERT POWERS
5300 COKE STREET                            ROMERO DAVIS
HOUSTON, TX 77020                           1715 NORTH ST. PAUL CHURCH RD
                                            SUMTER, SC 29154
ROBERT SUA
1611 VALLEYWOOD PLACE                       ROMM THONGCHAI
HIGH POINT, NC 27265                        2019 BRIDGE CROSS LANE
                                            HOUSTON, TX 77067
ROBERT SYNENBERG
99 EVERGREEN TRAIL                          ROMONA MOLIZONE
APT C                                       4953 METROPOLITAN DRIVE
CARTERSVILLE, GA 30121                      NEW ORLEANS, LA 70126

ROBERT TACK, JR.                            RON MCDONALD
165 HARDWOOD DRIVE                          525 DERRICK STREET
COVINGTON, GA 30016                         JACKSON, MS 39203

ROBERT W. BURDEKIN                          RONALD ALLIGOOD
155 RISING STAR ROAD,                       1955 EMORYWOOD ROAD
FAYETTEVILLE, GA 30215                      RURAL HALL, NC 27045

ROBERT WILLIAMS                             RONALD BARNETT
1020 S 12TH STREET                          4629 BRENDA COURT
APT 10A                                     CHARLOTTE, NC 28269
SAN JOSE, CA 95112
                                            RONALD MCNAIR
ROBERTO GONZALEZ                            12 WARD STREET
11918 ARROYA VISTA LANE                     APT 108
HOUSTON, TX 77067                           MIDLAND CITY, AL 36350

ROBYN RAMSEY                                RONALD PATTERSON
207 POPLAR STREET                           2139 SHIRLEY AVENUE
CLOVER, SC 29710                            AUGUSTA, GA 30904

ROCHELLE SICILIANO                          RONALD SHUTTER
240 WHITE OAK BLVD                          213 FLORIDA AVENUE
JACKSONVILLE, NC 28546                      SPINDALE, NC 28160

RODERICK MONTGOMERY                         RONDA HARPER
1490 WOODS STREET                           61 HORIZON PL
SUMTER, SC 29153                            RAINBOW CITY, AL 35906

RODNEY DOZIER                               RONDA TAPIA
1721 1/2 GALLIER STREET                     496 PRAIRIE WAY
NEW ORLEANS, LA 70117                       PERRIS, CA 92571

RODNEY DOZIER III                           RONNIE BOND
1164 CLYDESBANKS STREET                     805 CABARRUS STREET
APT B                                       EDENTON, NC 27932
HARVEY, LA 70058
                                            RONNIE MOZINGO
RODNEY DOZIER JR                            6958 CLARKDALE 356
1721 GALLIER STREET                         MERIDIAN, MS 39301
NEW ORLEANS, LA 70117
                                            RONTE MALCOLM
RODNEY FOSHEE                               828 TRADD COURT
670 CR 315 SOUTH                            STONE MOUNTAIN, GA 30087
INTERLACHEN, FL 32148
      Case 19-15175-abl    Doc 31   Entered 08/26/19 17:22:59     Page 638 of 648


RONTE MALCOLM                                SAMONN FRAZIER
828 TRADD COUT                               5235 RICHARD ROAD
STONE MOUNTAIN, GA 30087                     VIRGINIA BEACH, VA 23462

RUBEN BACOTE                                 SAMUEL CARROLL
120 DAISY HILL                               4507 HERITAGE PARKWAY
TYRONE, GA 30290                             ATLANTA, GA 30349

RYAN BARKER                                  SAMUEL DESHOEN FORD
4015 REDSTONE CIRCLE                         2900 WAERLY AVE.
BLACKSHEAR, GA 31516                         KANSAS CITY, KS 66104

RYAN FELIX                                   SAMUEL DRINKS
548 HIGHWAY 90                               502 ASHLEY PLACE
APT. 218                                     STONE MOUNTAIN, GA 30083
WAVELAND, MS 39576
                                             SAMUEL GLOVER
RYAN HARRIS                                  3724 SULLIVAN DRIVE
2414 DUBLIN COURT                            DOUGLASVILLE, GA 30135
AUGUSTA, GA 30906
                                             SAMUEL PIERCE
RYAN SEAY                                    1828 P.R. 1332
100 THOMAS TRAIL                             MARSHALL, TX 75688
COVINGTON, GA 30016
                                             SAMUEL WINN
RYEN COCKERILL                               5055 DAIS ROAD
113 N GREENSBURG STREET                      REMBERT, SC 29128
HODGENVILLE, KY 42748
                                             SANTERIA WEBB
SABANIA MCCOURT                              113 C SCOTT HILL STREET
217 CLAY STREET                              MILLEDGEVILLE, GA 31061
JACKSON, TN 38301
                                             SANTIAGO GONZALEZ
SABRETIA HUNT                                703 NORTH SANTA MARCOS
912 SLAUGHTER AVENUE                         APT 1308
AUBURN, AL 36832                             SAN ANTONIO, TX 78207

SALEWA MCKINNEY                              SANTIAGO SHUMAKE
4307 NE 70TH PLACE                           517 JAMES RIDGE LANE
B                                            STOCKBRIDGE, GA 30281
GAINESVILLE, FL 32607
                                             SARA NELSON
SALINA MEADE                                 3214 VALLEY BLUFF DRIVE
3875 SAN PABLO ROAD S                        DORAVILLE, GA 30340
JACKSONVILLE, FL 32224
                                             SAVADORL LOGIUDICE
SAMANTHA HOGAN                               1554 HUNTERS CREEK DRIVE
109 MILL RUN DRIVE                           CANTONMENT, FL 32533
COMER, GA 30629
                                             SCOTT SPICER
SAMANTHA PERRY                               208 CAMPBELL CT.
1930 HARDEE STREET                           GADSDEN, AL 35904
JACKSONVILLE, FL 32209
                                             SEAN OSTRANDER
SAMANTHA TURPIN                              3276 ROCKY HOLLOW ROAD
203 BRANNAN ROAD                             JACKSONVILLE, AL 36265
MCDONOUGH, GA 30253
                                             SEDREVIOUS COTTMAN
SAMANTHA VALIN                               4253 PARKWOOD DRIVE
102 ROW 4                                    AUGUSTA, GA 30906
LAFAYETTE, LA 70508
      Case 19-15175-abl     Doc 31   Entered 08/26/19 17:22:59        Page 639 of 648


SERGIO SIMON ALVARADO JR                      SHARON SHAND
100 SUTTON DRIVE                              5108 ELAINE DR.
LAGRANGE, NC 28551                            CHARLESTON, WV 25306

SHAINA MOTHERSHED                             SHARON STILES
501 S PARK AVENUE                             425 HAMPTON AVENUE
OKMULGEE, OK 74447                            MURPHY, NC 28906

SHAKA BREWSTER                                SHARRIFIA SIMPSON
1404 PEBBLE BEACH LN.                         2107 N DIXIE HWY
HAMPTON, GA 30228                             WEST PALM BEACH, FL 33407

SHAKIRA FREEMAN                               SHARROD ROSS
2780 NAPIER AVENUE                            1941 LONG RIDGE DRIVE
MACON, GA 31204                               MACON, GA 31211

SHAKIRA OWENS                                 SHATAREON MANN
719 FLEETWOOD STREET                          1559 MONTREAT PLACE SW SIDE
ELIZABETH CITY, NC 27909                      ATLANTA, GA 30311

SHAMARCUS SIMMONS                             SHATEIKA PHILLIPS
102 OGDEN PLACE                               520 SALEM STREET
MILLEDGEVILLE, GA 31061                       WADESBORO, NC 28170

SHANE HEADMAN                                 SHATOYA POOLE
10378 COMMONS CROSSING                        5637 TEMPEST STREET
JONESBORO, GA 30238                           JACKSONVILLE, FL 32244

SHANEAN YARBROUGH                             SHAUN POLLARD
6447 GORDON STREET                            4053 MISSISSIPPI AVE.
APT B                                         APT 58
LITHIA SPRINGS, GA 30122                      CAHOKIA, IL 62206

SHANIKA ABRAMS                                SHAUNTAE GREEN
2614 CORNING ST                               PO BOX 884
HEPHZIBAH, GA 30815                           SOUTH BOSTON, VA 24592

SHANIKA ROBINSON                              SHAUNTAY JOHNSON
113 CANTERBURY DRIVE WEST                     106 HARBOUR STREET
RIVERA BEACH, FL 33404                        GREENVILLE, SC 29611

SHANNON FOX                                   SHAWN BROCK
128 MALTBA ROAD                               6081 TIDMORE BEND ROAD
NEWLAND, NC 28657                             GADSDEN, AL 35901

SHANNON MULLINS                               SHAWN GREEN
3850 FLAT CREEK ROAD                          533 HARPER ROAD
FRANKFORT, KY 40601                           ATLANTA, GA 30315

SHANTILLA MAY                                 SHAWN LUNA
301 MAGNOLIA AVENUE                           1248 NEWTON ROAD
APT B                                         GRIFFIN, GA 30223
MILLEDGEVILLE, GA 31061
                                              SHAWN ROMANO
SHAQIELLE WILLIAMS                            8277 SAN JOSE TRAIL
505A BORTON STREET                            JONESBORO, GA 30236
LAGRANGE, GA 30241
                                              SHAWN SCHWARTZ
SHARITA LINDSEY                               16521 86TH AVE. N.
2011 MITZI LANE                               MAPLE GROVE, MN 55311
JONESBORO, AR 72405
      Case 19-15175-abl    Doc 31   Entered 08/26/19 17:22:59       Page 640 of 648


SHAWN STILES                                 SHIRLEY BRADSHAW
71 CLOVE ROAD                                3700 N 22ND ST
GADSDEN, AL 35403                            WACO, TX 76708

SHAWN WILLIAMS                               SHON-TIERIA COOPER
7013 SALEM DRIVE                             3121 RICHARDSON ROAD
NEW ORLEANS, LA 70127                        ZEBULON, NC 27597

SHAWN WILSON                                 SHONTA JOHNSON
9307 STONECREST TRAIL                        1760 GEDDINGS ROAD
LITHONIA, GA 30038                           PAXVILLE, SC 29102

SHAYLA WILSON                                SHROD PINKSTON
2225 LENOX ROAD                              2224 LENOX RD NE
APT 4                                        APT. 4
ATLANTA, GA 30324                            ATLANTA, GA 30324

SHEILA PARRETT                               SHYMIR DRIVERS
76 FALCON LANE                               2303 SUTTON PLACE
BRADHEAD, KY 40409                           APT 206
                                             WILSON, NC 27896
SHELBY MURRAY
247 INA LANE                                 SIRXAVIER BRADSHAW
OXFORD, AL 36203                             3200 NORTH 22ND
                                             WACO, TX 76708
SHELTON HALL
665 BOOKER T WASHINGTON                      SIRJOURNA MALONE
CLARKTON, NC 28433                           1580 MELANIE CT.
                                             DECATUR, GA 30032
SHEMIAH RAWLS
206 RAVENWOOD WAY                            SONNY GENTRY
WARNER ROBBINS, GA 31093                     1008 SOUTH LOVE LADY
                                             COOKEVILLE, TN 38506
SHENIKA LOWE
1008 BIRCH STREET                            SONYA HARLEY
MACON, GA 31204                              4232 DANIEL DRIVE
                                             WINSTON, GA 30187
SHENIKA MCNEIL
4428 DORSEY DRIVE                            STACEY WALLACE
LOT 82                                       703 SHADY LANE
SUMTER, SC 29154                             HIGH POINT, NC 27262

SHEREE BUTTS                                 STACY JACKSON
2560 DELK ROAD SE                            5100 METROPOLITAN DRIVE
APT E6                                       NEW ORLEANS, LA 70126
MARIETTA, GA 30067
                                             STACY JACKSON JR.
SHERIE COLEY                                 3026 PANAMA STREET
19807 NW 37TH AVENUE                         NEW ORLEANS, LA 70065
STARKE, FL 32091
                                             STACY LOVE
SHERRI HOWARD                                PO BOX 374
1625 EAST 13TH STREET                        DIANA, TX 75640
JACKSONVILLE, FL 32206
                                             STAIRISH THOMAS
SHERRY WILLIAMS                              507 WYATTS MILLS ROAD
6447 RAYMOND DR.                             JARRATT, VA 23867
UNION CITY, GA 30291
                                             STANLEY BROWN
SHILOH LIVINGSTON                            2313 COURTLAND AVENUE
2850 HIGHVIEW DRIVE                          COLUMBUS, GA 31907
CHIPLEY, FL 32428
     Case 19-15175-abl      Doc 31   Entered 08/26/19 17:22:59      Page 641 of 648


STANLEY JACKSON                               STEVIE DODD
13605 PLATTE CREEK CIRCLE                     761 WELLINGTON ROAD
APT 12                                        WELLINGTON, AL 36279
TAMPA, FL 33607
                                              SUANTAVA FULTON
STANLEY LEWIS                                 1906 AMESBURY DRIVE
315 GRADY STREET                              DECATUR, GA 30032
GADSDEN, AL 35904
                                              SUE DODGE
STARRLETTE JACKSON                            228 WINNERS CIRCLE S
510 SMITH STREET                              JACKSONVILLE, NC 28546
TENNILLE, GA 31089
                                              SUMMER MILSTEAD
STEFFANY STORM                                106 W MAIN STREET
1445 RAINEY ROAD                              LEXINGTON, GA 30648
TEMPLE, GA 30179
                                              SUNNY JOHNSON
STEPHANIE BEECHUM                             5140 ST FERDINAND
441 NEEDMORE ROAD                             NEW ORLEANS, LA 70117
APT 615
CLARKSVILLE, TN 37040                         SUSAN STRONG
                                              1002 HWY 98E
STEPHEN SMITH                                 UNIT 1211
1545 BROOKDALE AVENUE                         DESTIN, FL 32541
COOKEVILLE, TN 38501
                                              SUSHEELA WILLIAMS
STEPHEN SPRUILL                               113 ROLAND STREET
1940 ATLANTA ROAD SE                          CAMPBELLVILLE, KY 42718
APT H
SMYRNA, GA 30080                              SUSIE STEELE
                                              2720 N PRIEUR STREET
STEPHEN STEWART                               NEW ORLEANS, LA 70117
7348 HIGHVIEW DR.
COLUMBIA, SC 29223                            SYNCHRONY BANK
                                              PO BOX 5937
STEPHEN WILLIAMS                              BRIDGEWATER, NJ 8807
428 CR 433
TENAHA, TX 75974                              SYNOVUS BANK
                                              P.O. BOX 120
STEVE ADAMS                                   COLUMBUS, GA 31902
6006 MAPLE VALLEY DRIVE
SHELBY, NC 28150                              T'ERRA MCGHEE
                                              801 TROLLINGWOOD HAWFIELDS RD
STEVEN CROCKETT                               LOT 75
1570 WOODS RD                                 MEBANE, NC 27302
APT 109
WINSTON-SALEM, NC 27106                       TJ STEEL
                                              1207 SUSAN LANE
STEVEN HEMBREE                                SANDUSKY, OH 44870
3953 SHERWOOD HEIGHTS
MORGANTON, NC 28655                           TA'LOR LEWIS
                                              720 BEAUMONT CIRCLE
STEVEN SMITH                                  MILLEDGEVILLE, GA 31061
2684 MONROE STREET
GARY, IN 46407                                TAMARIO REEVES
                                              231 YELTON COURT
STEVEN WILLIS                                 NASHVILLE, TN 37211
1814 CHARLES RAPER JONAS HWY
APT B                                         TABITHA CORDOVA
MT HOLLY, NC 28120                            107 WALNUT WAY
                                              EATONTON, GA 31024
      Case 19-15175-abl     Doc 31   Entered 08/26/19 17:22:59      Page 642 of 648


TAJEE HEARD                                   TANJIA KING
411 CURTIS ROAD                               806 S KILBOURNE ROAD
GREENVILLE, SC 29611                          COLUMBIA, SC 29205

TAKEEINA ISOM                                 TARJANACE MERCADEL
3609 MILAN STREET                             2692 EVANS MILL DRIVE
NEW ORLEANS, LA 70125                         LITHONIA, GA 30058

TAKIJA REDDING                                TARNATION SMITH
1128 OCONEE STREET                            1371 KIMBERLY ROAD
MILLEDGEVILLE, GA 31061                       ATLANTA, GA 30331

TAKISHA WOLFE                                 TAULANT BERISHA
1912 HENRY CRUMPTON DRIVE                     9936 BLUE BELL DRIVE
BIRMINGHAM, AL 35211                          FORT WORTH, TX 76108

TAKIYAH LEAK                                  TAVARES SMITH
614 BRIARHILL LANE                            527 RICHMOND HILL ROAD
RIVERDALE, GA 30274                           APT F-1
                                              AUGUSTA, GA 30906
TALON MATTHEWS
130 BEREA 1                                   TAVORIS ALFORD
JEFFERSON, TX 75657                           104 BROWN DRIVE
                                              SYLVESTER, GA 31791
TAMARA LE
14712 KALAMATHA COURT                         TAYLOR BATTEN
WESTMINSTER, CO 80023                         902 ROSWELL GLEN
                                              WILMINGTON, NC 28411
TAMARA OSBORNE
4400 BROAD STREET                             TAYLOR DELONG
LOT 40                                        735 MAPLE DRIVE
SUMTER, SC 29154                              RIVERDALE, GA 30274

TAMARIK WASHINGTON                            TAYLOR HEATH
156 NORTH OAK STREET                          104 N HERRING AVENUE
HADDOCK, GA 31033                             GARLAND, NC 28441

TAMECA JONES                                  TEAIRA JONES
2313 COURTLAND AVENUE                         835 MORGAN CIRCLE
COLUMBUS, GA 31907                            MADISON, GA 30650

TAMIARA WEBER                                 TEASHA SHAW
2109 TEAL STREET                              678 JUSTIN DRIVE
SLIDELL, LA 70460                             VALDOSTA, GA 31602

TAMMY JEAN CLARK                              TED BRIDGES
UNKNOWN                                       3305 DEVILLA TRACE
UNKNOWN, AL UNKNOWN                           ATLANTA, GA 30349

TAMMY SMITH                                   TENISHA BROWN
8380 HWY 54                                   420 PERRY STREET
SHARPSBURG, GA 30277                          ELIZABETH CITY, NC 27909

TAMPA PERRY                                   TERAND BROWN
855 MOUNT ZION ROAD                           4945 OLED DRIVE
APT E3                                        NEW ORLEANS, LA 70129
JONESBORO, GA 30236
                                              TERESA BEAUDOIN
TANISHA WASHINGTON                            90 ASHLEY CAGLE ROAD
1618 21ST STREET SW                           SYLVA, NC 28779
LANETT, AL 36863
      Case 19-15175-abl       Doc 31   Entered 08/26/19 17:22:59        Page 643 of 648


TERRANCE BERTRAND                               TESNEEM SARWAR
2820 MANDAVALLIE                                308 LOVETT STREET
APT A                                           SANDERSVILLE, GA 31082
NEW ORLEANS, LA 70116
                                                THADDEUS POUCHIE
TERRANCE DIAMOND                                10707 NW 42 CT
512 HERON DRIVE                                 SUNRISE, FL 33351
COLUMBIA, SC 29203
                                                THE HARTFORD
TERRANCE MAYS                                   PO BOX 660916
411 W LOCUST STREET                             DALLAS, TX 75266
APT 1
DUBUQUE, IA 52001                               THERESA MANSFIELD
                                                104 CLAYTOR ROAD
TERRANCE MCCLURKIN                              BROOKNEAL, VA 24528
154 HIGH HILL STREET
IRWINTON, GA 31042                              THERESA NEWSOM
                                                21285 AL HWY 24
TERRANCE PARTRIDGE                              TRINITY, AL 35673
801 HICKORY LEVEL ROAD
VILLA RICA, GA 30180                            THOMAS BROWN
                                                1444 N TONTI STREET
TERRELL FUNCESH                                 NEW ORLEANS, LA 70119
16011 IMPERIAL VALLEY DRIVE
HOUSTON, TX 77060                               THOMAS HESSER
                                                29 REDONDO AVENUE
TERRENCE CROSS                                  SALT LAKE CITY, UT 84115
6870 MOUNTAIN CIRCLE
RIVERDALE, GA 30274                             TIAIR DAWKINS
                                                1409 CUNNINGHAM STREET
TERRENCE CULPEPPER                              APT J
19518 ARBOR PINES LANE                          GREENSBORO, NC 27401
HUMBLE, TX 77346
                                                TIARA CLARK
TERRENCE DUGAN                                  5235 RICHARD ROAD
4222 ERNA DRIVE                                 VIRGINIA BEACH, VA 23462
APT 4
BELLEVILLE, IL 62206                            TIERRA STROWBRIDGE
                                                510 SMITH STREET
TERRIE ROADARMEL                                TENNILLE, GA 31089
17 LAKEVIEW COURT
CARTERSVILLE, GA 30120                          TIFFANII JULIUS
                                                7272 LEE ROAD 240
TERRIE VARNER                                   PHENIX CITY, AL 36870
1745 MARTIN LUTHER KING PKWY E
WILSON, NC 27893                                TIFFANY COOPER
                                                513 NORFOLK STREET S
TERRY ALLEN ROBINSON                            WILSON, NC 27893
PO BOX 552
BUCHANAN, GA 30113                              TIFFANY GINDER
                                                3146 SPARTA HWY
TERRY EILAND                                    SMITHVILLE, TN 37166
1253 CARRIAGE HOUSE LANE
APT H                                           TIFFANY REEVES
GASTONIA, NC 28054                              8187 RED HILL ROAD
                                                WHITEVILLE, NC 28472
TERRY WILLETT
1200 NE 18TH AVENUE                             TIMBERLYNN SCOTT
FORT LAUDERDALE, FL 33304                       1042 ELI COURT
                                                APRT D
                                                TERRYTOWN, LA 70056
      Case 19-15175-abl      Doc 31   Entered 08/26/19 17:22:59       Page 644 of 648


TIMOTHY ARMSTRONG                              TOMMIE VARNER
2945 LYME REGIS QVAY                           9100 CASCADE- PALMETTO HWY
VIRGINIA BEACH, VA 23452                       APT 3A
                                               PALMETTO, GA 30268
TIMOTHY BELL
3966 COURTNEY PLACE                            TOMMY COLE
ELLENWOOD, GA 30294                            4236 LISBON STREET
                                               FT WORTH, TX 76107
TIMOTHY BOSTWICK
311 ORANGE STREET                              TOMMY HORNE
ARLINGTON, TX 76012                            1234 BEAVER RUIN
                                               NORCROSS, GA 30093
TIMOTHY FEEMSTER
874 KING RD.                                   TONEY WILSON
RIVERDALE, GA 30296                            603 ASA DRIVE
                                               COLUMBUS, GA 31907
TIMOTHY FRANKS
2312 MAPLE ROAD                                TONI ACOFF
ROME, GA 30161                                 420 BAYARD STREET
                                               WATERLOO, IA 50701
TIMOTHY GRIER
882 HUBBARD STREET                             TONI DIXON
ATLANTA, GA 30310                              7000 GOODSON ROAD
                                               LOT 150
TIMOTHY GRIGSBY JR.                            UNION CITY, GA 30291
2304 OLD COMPTON ROAD
APT C                                          TONI EASTERWOOD
HARVEY, LA 70058                               2312 MAPLE ROAD
                                               ROME, GA 30161
TIMOTHY JOHNSON
1179 BENOIST FARMS ROAD                        TONY HANNAH
APT 205                                        122 ANDERSON STREET EAST
WEST PALM BEACH, FL 33411                      LOT 34
                                               SCOTTSBORO, AL 35769
TIMOTHY JONES
1910 JENKINS STREET                            TONY WILLIAMSON
AUGUSTA, GA 30904                              2600 COLE AVENUE
                                               WACO, TX 76707
TIMOTHY WINSTON
116 LAKELAND DRIVE                             TORIBIO ANDERSON
TUPELO, MS 38801                               1477 IRON GATE BLVD.
                                               JONESBORO, GA 30238
TINA LEE
205 W SOUTH STREET                             TOWENQUISE HORNE
ALVIN, TX 77511                                6600 ELGYWOOD LANE
                                               APT 10
TINA VASQUEZ                                   CHARLOTTE, NC 28215
146 PLUM NELLY CIRCLE
BAINBRIDGE, GA 39817                           TRACEY CROWELL
                                               2919 SHELIA DRIVE
TITUS STOKES                                   JACKSON, MS 39209
830 SYNERGY HILL
SAN ANTONIO, TX 78260                          TRACY GORDON
                                               6594 SPLITLINE COURT
TODD LUCKS                                     COLLEGE PARK, GA 30349
561 CHUCKEY RURITON ROAD S
CHUCKEY, TN 37641                              TRACY LEE ROBINSON
                                               714 E BELMONT
TODD SAVARD                                    PASADENA, TX 77506
1608 HOLLINGSWORTH DRIVE
WELLINGTON, AL 36279
     Case 19-15175-abl   Doc 31   Entered 08/26/19 17:22:59      Page 645 of 648


TRAJUN WILLIAMS                            TROYQURIOUS GAINES
804 WILLOW CHASE DR.                       2025 BOSQUE BLVD
MCDONOUGH, GA 30253                        WACO, TX 76707

TRAVIS CLANKDALE                           TYESHA MILLER
1540 OLYMPIAN CIRCLE                       1351 VANDIVER ROAD
ATLANTA, GA 30310                          GREENSBORO, GA 30642

TRAVIS CLARK                               TYESHA PHILPOT
4936 RANCHO COURT                          1139 CALHOUN AVENUE
WINSTON, GA 30187                          EAST POINT, GA 30344

TRAVIS DUBOSE                              TYLER GREENE
2450 SUMMERLAND DRIVE                      1810 DON STREET
DECATUR, GA 30032                          AUGUSTA, GA 30904

TRAVIS WALLACE                             TYLER HARSHAW
459 STATE ROAD 26                          1206 PEIDMONT DRIVE
MELROSE, FL 32666                          LENOIR, NC 28645

TRAVIS WOODARD                             TYLER HOWELL
912 WOODARD AVENUE SE                      17125 SE 82ND
WILSON, NC 27893                           UNIT 63
                                           CLACKAMAS, OR 97015
TREKINA SPEARMAN
1680 S OLYMPIAN WAY                        TYLER MCCLURG
ATLANTA, GA 30310                          325 EAGLE BALD RD.
                                           LOT 5
TRELL LAWHORN                              JACKSONVILLE, GA 36265
4428 DORSEY DRIVE
LOT 82                                     TYLER MURPHY
SUMTER, SC 29154                           100 SUTTON DRIVE
                                           LAGRANGE, NC 28551
TREMEL FITZHUGH
7744 ANTEBELLUM LANE                       TYLER TOLBERT
RIVERDALE, GA 30274                        1212 POLK XING
                                           MCDONOUGH, GA 30252
TREVEON WALKER
3871 REDWINE ROAD                          TYRA HICKS
UNIT 2110                                  4400 BROAD STREET
ATLANTA, GA 30344                          LOT 40
                                           SUMTER, SC 29154
TREVIS JOHNSON
140 PERIDOT PLACE                          TYREESE GILLIAM
COLLEGE PARK, GA 30349                     N CASTELGATE
                                           COLLEGE PARK, GA 30349
TRISTAN SMITH
64 GORDON LANE                             TYRELL DAVIS
CLOUDLAND, GA 30131                        507 67TH AVENUE N
                                           MYRTLE BEACH, SC 29572
TRISTEN ARNOLD
1155 SUBURBAN ACRES                        TYRIQUE BROWN
MARSHALL, TX 75670                         503 EVANS STREET
                                           SANDERSVILLE, GA 31802
TROY CRAWFORD
625 ARMITAGE WAY                           TYRONE ALLEN
STOCKBRIDGE, GA 30281                      818 VALLETTE STREET
                                           NEW ORLEANS, LA 70114
TROY HARDIN
1465 EASTERN HEIGHTS                       TYRONNE CANADY
MESQUITE, TX 75149                         140 PERIDOT PLACE
                                           COLLEGE PARK, GA 30349
      Case 19-15175-abl   Doc 31   Entered 08/26/19 17:22:59      Page 646 of 648


ULYSSES BROOKS                              VICTOR GONZALES
1235 CYPRESS DRIVE                          9565 W MARY ANN DRIVE
MACON, GA 31204                             PEORIA, AZ 85382

UMEKKA CONLEY                               VICTORIA WILBURN
148 TUSCANY CIRCLE                          PO BOX 374
LAWRENCEVILLE, GA 30044                     DIANA, TX 75640

VALENCIA ROBINSON                           VITTIRO WASHINGTON
1371 KIMBERLY WAY                           2503 DRUMCLIFF COURT
ATLANTA, GA 30331                           HEPHZIBAH, GA 30815

VALERIE ALVARENGA                           WANDA BRADWELL
806 W MONTEREY STREET                       140 PERIDOT PLACE
CARLSBAD, NM 88220                          COLLEGE PARK, GA 30349

VALERIE FULGIUM                             WANDA CLAYTON
4079 STEAM MILL ROAD                        1839 B WRIGHTSBORO ROAD
COLUMBUS, GA 31907                          AUGUSTA, GA 30904

VALERIE GONGORA                             WARREN FONTENOT
1518 CANTRELL STREET                        4601 VILLAGE LANE
WACO, TX 76704                              APT 1095
                                            BAYTOWN, TX 77521
VALERIE MCBRIDE
505 HINES ST.                               WAYNE MCALLISTER
AUGUSTA, GA 30901                           205 20TH ST.
                                            DUNBAR, WV 25064
VANCE DAVIS
PO BOX 1342                                 WENDELL DUNCAN
TEXAS CITY, TX 77592                        649 HWY 22 WEST
                                            MILLEDGEVILLE, GA 31061
VANEISHA JOHNSON
1803 GANDER COVE LANE                       WENDY FINCH
APT 5                                       1252 ESTES ROAD
MATTHEWS, NC 28105                          PIEDMONT, AL 36272

VANESSA RUIZ                                WENDY PHILLIPS
538 LINCOLN AVE.                            1808 HOLT ST
CALUMET CITY, IL 60409                      LAVACA, AR 72941

VANESSA STEWART                             WENDY POOLE
490 CRYSTAL PEAK ROAD                       10611 CORDOBA PINES
GRANITEVILLE, SC 29829                      HOUSTON, TX 77088

VARIAN HARSHAW                              WESLEY GOBERT
2511 MEADOWS PARK LANE                      4959 BAKERS PLANTATION DRIVE
LOT 9                                       ACWORTH, GA 30101
GRANITE FALLS, NC 28630
                                            WESLEY LESTER
VERNECIA ADAMS                              3434 OLD TPKE ROAD
5401 OLD NATIONAL HWY                       LOT 23
APT 707                                     LITTLE BIRCH, WV 26629
COLLEGE PARK, GA 30349
                                            WESLEY ORNDORFF
VERNON BIGHAM                               1414 WESTWOOD DRIVE
1941 LONG RIDGE DRIVE                       WINCHESTER, KY 40391
MACON, GA 31211
                                            WILL RICE
VERTIE ADAMS                                108 BISON TRAIL
525 DERRICK STREET                          LONGVIEW, TX 75601
JACKSON, MS 39203
     Case 19-15175-abl     Doc 31   Entered 08/26/19 17:22:59      Page 647 of 648


WILLIAM BERMUDA                              YOLANDA ANDERSON
8039 CHESTNUT CAPE DRIVE                     213 GETTYSBURGH ROAD
CONVERSE, TX 78109                           BELLEVILLE, IL 62226

WILLIAM CUFFEE                               YUSUF ALSHARKAWY
172 POWELL AVENUE                            2119 EAST 19TH STREET
DANVILLE, VA 24541                           OWENSBORO, KY 42303

WILLIAM CUPP                                 ZACHARI JACKSON
2208 GLYNN ARVEN COURT                       413 EDWARD STREET
AUGUSTA, GA 30906                            LONGVIEW, TX 75604

WILLIAM DAVIS                                ZACHARY BAKER
2600 COLE AVENUE                             692 S 150 W
WACO, TX 76707                               TREMONTON, UT 84337

WILLIAM GARDNER                              ZACHARY CHAVOUS
2326 TUBMAN HUME ROAD                        2374 TRAVIS PINES DRIVE
AUGUSTA, GA 30906                            AUGUSTA, GA 30906

WILLIAM MINTER                               ZACHARY MCDANIEL
262 LAKEVIEW DRIVE                           1620 WILLIS ROAD
LOCUST GROVE, GA 30248                       BARNESVILLE, GA 30204

WILLIAM WALES                                ZACKARY ROBINSON
PO BOX 101                                   1311 RUSSELL DRIVE
JEFFERSON, TX 75657                          WEAVER, AL 36277

WILLIS COLE                                  ZAKERA CHADMON
4417 POMPANO DRIVE                           42 HAVERD DR.
TAMPA, FL 33617                              JONESBORO, GA 30238

XAVIER BURNETT                               ZANETA CARTER
2352 LILLA CIRCLE SW                         3400 SHADY HILL DRIVE
ATLANTA, GA 30310                            APT B78
                                             BAYTOWN, TX 77521
XAVIER CALHOUN
1600 ETHAN'S WAY                             ZAVIER LAGARD
MCDONOUGH, GA 30252                          10214 INCE LANE
                                             HOUSTON, TX 77040
XAVIER D. FULLER
6864 FIELDER ROAD                            ZHAREE WILSON
REX, GA 30273                                67 LEE ROAD 423
                                             SALEM, AL 36877
XZAVIER MILLS
1078 NOBSON SW                               ZIANA CARTER
ATLANTA, GA 30310                            728 WORKS FARM ROAD
                                             WARSAW, NC 28398
YANCY MATIRNE
1334 FRANKLIN AVENUE
NEW ORLEANS, LA 70117

YASMINE SMITH
503 W GRAHAM STREET
SHELBY, NC 28150

YOLANDA AGUIRRE
7240 W. TURQUOISE AVE.
PEORIA, AZ 85345
                          Case 19-15175-abl              Doc 31         Entered 08/26/19 17:22:59         Page 648 of 648
                          Ryan Andersen, 12321
NVB 1007-1 (Rev. 12/15)
                          101 Convention Center Drive Suite 600, Las Vegas, NV 89109
                          Tel: 7025221992
                          ryan@vegaslawfirm.legal

                    1      Name, Address, Telephone No., Bar Number, Fax No. & E-mail address

                    2
                    3
                    4                                       UNITED STATES BANKRUPTCY COURT
                    5                                                     DISTRICT OF NEVADA
                    6
                    7      In re: (Name of Debtor)                                         BK- 19-15175
                           EDWARD STEVEN BURDEKIN

                    8                                                                      Chapter: 11

                    9
                                                                                           VERIFICATION OF CREDITOR MATRIX
                  10                                              Debtor(s)

                  11
                  12        The above named Debtor hereby verifies that the attached list of creditors is true and correct to
                           to the best of his/her knowledge.
                  13
                  14
                  15
                           Date ____________________
                                08/25/2019                                                   Signature ____________________
                                                                                                       /s/ EDWARD STEVEN BURDEKIN
                  16
                  17
                  18
                           Date ____________________
                                08/25/2019                                                   Signature ____________________
                  19
                  20
                  21
                  22
                  23
                  24
                  25
                  26
                  27
                  28                                                                   1
